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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                  FILED
                                                              for the                                              Jun 23, 2025
                                                                                                               CLERK, U.S. DISTRICT COURT
                                                 Eastern District
                                               __________ Districtofof
                                                                    California
                                                                       __________                            EASTERN DISTRICT OF CALIFORNIA




                  United States of America
                             v.                          SEALED  )
                                                                 )
                                                                 )      Case No. 1:25-mj-00072-SAB
      38 Defendants listed in the attached affidavit             )
                 incorporated herein                             )
                                                                 )
                                                                 )
                          Defendant(s)


 CRIMINAL COMPLAINT%<5(/,$%/((/(&7521,&257(/(3+21,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or EHWZHHQ the date(s) of                   Various                  in the county of                Fresno                      in the
      Eastern          District of         California        , the defendant(s) violated:

            Code Section                                                   Offense Description
                                              See Attached Penalty Slip incorporated herein




         This criminal complaint is based on these facts:
See affidavit of FBI Special Agent Ryan Steger incorporated herein




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                    Ryan Steger, FBI Special Agent
                                                                                             Printed name and title
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WHOHSKRQH

Date:      Jun 23, 2025
                                                                                               Judge’s signature

City and state:                          Fresno, CA                          Hon. Stanley A. Boone, U.S. Magistrate Judge
                                                                                             Printed name and title
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 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                        CASE NO.
11
                                Plaintiff,            AFFIDAVIT IN SUPPORT OF COMPLAINT
12

13                        v.                          FILED UNDER SEAL

14   IGNACIO SANCHEZ,
       AKA “GIDDY”;
15   RAY PINON,
       AKA “LIL RAY”;
16   BENNY GONZALES,
17     AKA “HUERO”;
     RAMONA FELISCIANO;
18   JENNIFER ESCOBEDO;
     ARMANDO ALFARO,
19     AKA “WHISPER”;
     LUIS AMARO AGUILAR;
20
     SERVANDO AYALA;
21   CARLY BALBOA;
     TIMOTHY CHENOT,
22     AKA “LIL WHISPER”;
     BARBARA DIAZ;
23   BRIAN FORNES;
     SUSANNA GARCIA;
24
     AXEL GUEVARA,
25     AKA “ACTION”;
     CARLOS GUILLEN,
26     AKA “C-DOG”;
     GILBERTO HERNANDEZ;
27   ANTHONY JEFF;
       AKA “ENVY”;
28
     JOSE LICEA;
      AFFIDAVIT IN SUPPORT OF COMPLAINT               1
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 1     AKA “T-BIRD”;
     VICTORIA LIMA;
 2   ANGEL SOLORIO LOPEZ,
       AKA “RONZO”;
 3
     RICARDO LOPEZ,
 4     AKA “R-DOG”;
     DAMIEN MURPHY;
 5   BRIDGETT MURPHY;
     RICARDO NUNEZ;
 6   LAURA PLASENCIA,
       AKA “LP”;
 7
     GRACIE PULIDO;
 8   JESUS QUESADA,
       AKA “ROJO”;
 9   DANIEL LOUBET ROMERO,
       AKA “TOPO”;
10   DEBBIE SANCHEZ;
11   NAUL SANDOVAL;
     ANGEL SOTO RIOS;
12   RODRIGO RUVALCABA,
       AKA “REGAL”;
13   VICTOR TAMAYO;
     ALEXANDER VASQUEZ,
14     AKA “A-DOG”;
15   HEMIR ALONSO FEVELA VELAZQUEZ;
     HERMAN VIERA JR.;
16   LOUIS BONILLA; and
     CRYSTAL MARTINEZ.
17
     Defendants.
18

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 1            I, Ryan Steger, being first duly sworn under oath, depose and say:

 2                            I.        INTRODUCTION AND AGENT BACKGROUND

 3            A.       Purpose of Affidavit

 4            1.       I make this Affidavit in support of a complaint charging the individuals below of the

 5 following violations:

 6            a)       Count 1 - Conspiracy to Distribute and Possess with Intent to Distribute a

 7            Controlled Substance, in violation of Title 21, United States Code, Sections 846 and 841(a):

 8                                           i.    Ignacio SANCHEZ (SANCHEZ), aka “Giddy” is

 9                                   currently incarcerated at Salinas Valley State Prison, is the user of

10                                   (279) 386-7769 (Target Telephone 6) and is a user of (213) 334-1252

11                                   (Target Telephone 18). SANCHEZ is the de facto head of the

12                                   ENTERPRISE 1.

13                                         ii.     Benny GONZALEZ (GONZALES), aka “Huero” is one

14                                   of Ignacio SANCHEZ’s lieutenants, is a heroin distributor and

15                                   transporter who lives and works with his paramour Ramona

16                                   FELISCIANO at the direction of SANCHEZ, and is the user of (559)

17                                   961-6401 (Target Telephone 5).

18                                         iii.    Ramona FELISCIANO (FELISCIANO) is involved in

19                                   the day-to-day movement of money and transportation of various types

20                                   of narcotics at SANCHEZ’s direction, and lives with her paramour

21                                   Benny GONZALES.

22                                         iv.     Jennifer ESCOBEDO (ESCOBEDO) is involved in the

23                                   day-to-day movement of money and transportation of various types of

24                                   narcotics at SANCHEZ’s direction. ESCOBEDO is also the user of

25                                   (831) 596-0869 (Target Telephone 3).

26

27            1
               For the purpose of this affidavit, I will refer to the Bulldog criminal street gang alliance of the Huron Dog Life
     Bulldogs (HDL), Coalinga Dog Life Bulldogs (CDL), and San Joaquin Ruthless Perro Bulldogs (SRP) as “the
28
     ENTERPRISE”.

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 1                                 v.    Armando ALFARO (ALFARO), aka “Whisper” procured

 2                        various types of narcotics at SANCHEZ’s direction and is currently

 3                        incarcerated at the Fresno County Jail.

 4                                vi.    Luis Amaro AGUILAR (AGUILAR) is a regular supplier

 5                        of methamphetamine to members of the ENTERPRISE and is a

 6                        member of the ENTERPRISE as well.

 7                                vii.   Carly BALBOA (BALBOA) is involved in the day-to-day

 8                        movement of money and transportation of various types of narcotics at

 9                        SANCHEZ’s direction.

10                            viii.      Timothy CHENOT (CHENOT), aka “Lil Whisper”

11                        conspired with SANCHEZ to traffic narcotics into the Fresno County

12                        Jail.

13                                ix.    Barbara DIAZ (DIAZ) conspired to traffic narcotics.

14                                 x.    Susanna GARCIA (GARCIA) is an associate of

15                        SANCHEZ and is involved in the movement of money and

16                        transportation of various types of narcotics at SANCHEZ’s direction.

17                                xi.    AXEL GUEVARA (A. GUEVARA), aka “Action”

18                        attempted to distribute controlled substance into the Fresno County

19                        Jail at the direction of SANCHEZ and D. MURPHY. A. GUEVARA

20                        is also the user of (559) 404-9901 (Target Telephone 25).

21                                xii.   Carlos GUILLEN (GUILLEN), aka “C-Dog” is involved

22                        in the day-to-day movement of money and transportation of various

23                        types of narcotics at SANCHEZ’s direction. GUILLEN is also

24                        involved in the sale and distribution of firearms. GUILLEN is also the

25                        user of (559) 508-6409 (Target Telephone 9).

26                            xiii.      Gilberto HERNANDEZ (HERNANDEZ) is a regular

27                        supplier of controlled substances to members of the ENTERPRISE.

28                            xiv.       Anthony JEFF (JEFF), aka “Envy” conspired to traffic

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 1                        narcotics.

 2                             xv.     Victoria LIMA (LIMA) conspired to traffic narcotics.

 3                            xvi.     Angel Solorio LOPEZ (A. LOPEZ), aka “Rondo”

 4                        attempted to distribute controlled substance into the Fresno County

 5                        Jail at the direction of SANCHEZ and D. MURPHY. A. LOPEZ is

 6                        also the user of (559) 818-8601 (Target Telephone 8).

 7                           xvii.     Ricardo LOPEZ (R. LOPEZ), aka “R-Dog” is a regular

 8                        supplier of methamphetamine to SANCHEZ and his associates. R.

 9                        LOPEZ is the user of (559) 519-8338 (Target Telephone 20).

10                           xviii.    Damien MURPHY (D. MURPHY) conspired to traffic

11                        controlled substances into the Fresno County Jail.

12                            xix.     Bridgett MURPHY (B. MURPHY) conspired to traffic

13                        controlled substances into the Fresno County Jail.

14                             xx.     Ricardo NUNEZ (NUNEZ) conspired to traffic controlled

15                        substances into the Fresno County Jail. NUNEZ is currently

16                        incarcerated at the Fresno County Jail.

17                            xxi.     Laura PLASENCIA (L. PLASENCIA) aka “LP” is

18                        involved in the day-to-day movement of money and transportation of

19                        various types of narcotics at SANCHEZ’s direction. L. PLASENCIA

20                        is also the user of (559) 800-4470 (Target Telephone 12) and

21                        frequently uses it to facilitate SANCHEZ’s communication with

22                        sources of supply and other members of the ENTERPRISE.

23                           xxii.     Gracie PULIDO (PULIDO). PULIDO is involved in the

24                        day-to-day movement of money and transportation of various types of

25                        narcotics at SANCHEZ’s direction.

26                           xxiii.    Daniel Loubet ROMERO (ROMERO), aka “Topo” is

27                        involved in the day-to-day movement of money and transportation of

28                        various types of narcotics at SANCHEZ’s direction.

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 1                            xxiv.    Debbie SANCHEZ (D. SANCHEZ) is involved in the

 2                          day-to-day movement of money and transportation of various types of

 3                          narcotics at Ignacio SANCHEZ’s direction.

 4                             xxv.    Naul SANDOVAL (SANDOVAL) conspired to traffic

 5                          controlled substances into the Fresno County Jail.

 6                            xxvi.    Angel Soto RIOS (RIOS) distributed heroin to members

 7                          of the ENTERPRISE, as well as coordinated the procurement of

 8                          methamphetamine between SANCHEZ and a supplier.

 9                           xxvii.    Rodrigo RUVALCABA (RUVALCABA), aka “Regal” is

10                          involved in the day-to-day movement of money and transportation of

11                          various types of narcotics at SANCHEZ’s direction. RUVALCABA

12                          is also the user of (559) 210-2375 (Target Telephone 21).

13                           xxviii.   Victor TAMAYO (TAMAYO) is a regular supplier of

14                          controlled substances to members of the ENTERPRISE. TAMAYO

15                          is also the user of (559) 776-7731 (Target Telephone 17).

16                            xxix.    Louis BONILLA (BONILLA) is an associate of

17                          SANCHEZ who buys and sells narcotics on SANCHEZ’s behalf.

18                             xxx.    Crystal MARTINEZ (MARTINEZ) is an associate of

19                          SANCHEZ who buys and sells narcotics on SANCHEZ’s behalf.

20        b)     Count 2 - Distribution and Possession with Intent to Distribute a Controlled

21        Substance, in violation of Title 21, United States Code, Section 841(a):

22                     i.   Ray PINON (PINON), aka “Lil Ray” is one of SANCHEZ’s

23                          lieutenants, a methamphetamine distributor, and is the user of (559)

24                          931-4104 (Target Telephone 1) and (559) 806-4347 (Target Telephone

25                          15).

26        c)     Count 3 - Distribution and Possession with Intent to Distribute a Controlled

27        Substance, in violation of Title 21, United States Code, Section 841(a):

28                     i.   Hemir Alonso Fevela VELAZQUEZ (VELAZQUEZ) is a regular

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 1                           supplier of controlled substances to PINON. VELASQUEZ is also

 2                           the user of (213) 795-3500 (Target Telephone 14).

 3                    ii.    Ray PINON (PINON) is one of SANCHEZ’s lieutenants, a

 4                           methamphetamine distributor, and is the user of (559) 931-4104

 5                           (Target Telephone 1) and (559) 806-4347 (Target Telephone 15).

 6        d)     Count 4 – Conspiracy to Traffic in Firearms, in violation of Title 18, United States

 7        Code, Section 933(a)(1), (2), and (3):

 8                      i.   Carlos GUILLEN (GUILLEN) is involved in the sale and

 9                           distribution of firearms to members of the ENTERPRISE.

10                           GUILLEN is also the user of (559) 508-6409 (Target Telephone 9).

11        e)     Count 5 – Possession of a Firearm by a Felon, in violation of Title 18, United States

12        Code, 922(g)(1):

13                      i.   Herman VIERA JR (VIERA) possessed a firearm while involved in

14                           the sale and distribution of firearms to members of the

15                           ENTERPRISE.

16        f)     Count 6 – Conspiracy to Deal in Firearms without a License, in violation of Title 18,

17        United States Code, Sections 371 and 922(a)(1)(a):

18                      i.   Servando AYALA (AYALA) is involved in the sale and distribution of

19                           firearms to members of the ENTERPRISE.

20                    ii.    Jose LICEA (J. LICEA), aka “T-Bird” is involved in the sale and

21                           distribution of firearms to members of the ENTERPRISE. J. LICEA is also

22                           the user of 559-410-2221 (Target Telephone 2221), (559) 880-5089 (Target

23                           Telephone 26) and (559) 880-3519 (Target Telephone 29)

24                    iii.   Alexander VASQUEZ (VASQUEZ) is involved in the sale and distribution

25                           of firearms to members of the ENTERPRISE. VASQUEZ is also the user of

26                           (559) 895-2027 (Target Telephone 10).

27                    iv.    Brian FORNES (FORNES) is involved in the sale and distribution of

28                           firearms to members of the ENTERPRISE. FORNES is also the user of

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 1                             (559) 742-9396 (Target Telephone 23).

 2          g)      Count 7 – Conspiracy to Traffic in Firearms, in violation of Title 18, United States

 3          Code, Section 933(a)(1), (2), and (3):

 4                        i.   Alexander VASQUEZ (VASQUEZ) is involved in the sale and distribution

 5                             of firearms to members of the ENTERPRISE. VASQUEZ is also the user of

 6                             (559) 895-2027 (Target Telephone 10).

 7                        v.   Brian FORNES (FORNES) is involved in the sale and distribution of

 8                             firearms to members of the ENTERPRISE. FORNES is also the user of

 9                             (559) 742-9396 (Target Telephone 23).

10          h)      Count 8 -- Possession of a Firearm by a Felon, in violation of Title 18, United States

11          Code, 922(g)(1):

12                       vi.   Jose QUESADA (QUESADA), aka “Rojo” possessed a firearm while

13                             involved in the sale and distribution of firearms to members of the

14                             ENTERPRISE. QUESADA is also the user of (559) 796-3656 (Target

15                             Telephone 27).

16          B.      Agent Experience

17          2.      I am an “investigative or law enforcement officer” within the meaning of Title 18, United

18 States Code, Section 2510(7), that is, an officer of the United States who is empowered by law to

19 conduct investigations of, and to make arrests for, offenses enumerated in Title 18, United States Code,

20 Section 2516, and Title 21, United States Code.

21          3.      I am a Special Agent with the Federal Bureau of Investigation (FBI), and I am a “federal

22 law enforcement officer” within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C). I have

23 been a Special Agent with the FBI since September 2018. I received basic law enforcement instruction

24 at the FBI Academy from approximately September 2018 through February 2019. I have been assigned

25 to FBI’s Safe Streets Task Force (SSTF) in Fresno, CA since February 2019. In 2019, I completed the

26 California Department of Justice’s Electronic Surveillance Certification course, which authorizes my

27 participation in California state wire investigations for a period of five years. I then renewed that

28 authorization in February 2024.

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 1          4.      Prior to joining the FBI, I was a prosecutor at the Kane County State’s Attorney’s Office

 2 in Kane County, Illinois from approximately November 2014 until September 2018. In that position, I

 3 prosecuted offenses ranging from traffic infractions to felony-level violent offenses, drug offenses,

 4 burglaries, and gang-related offenses, and have participated in numerous investigations of the same. As

 5 a prosecutor and a Special Agent, I have attended numerous trainings related to investigating and

 6 prosecuting gang-related crimes, which most recently includes the MAGEC Regional Gang Summit in

 7 Fresno, CA in March 2025.

 8          5.      I am currently assigned to the FBI Sacramento Division – Fresno Resident Agency

 9 Violent Crime Squad, and I investigate violations of Titles 18 and 21 of the United States Code and Title

10 28 of the Federal Code of Regulations.

11          6.      As a Special Agent, I have investigated and wiretapped numerous members and

12 associates of criminal street gangs in California’s Central Valley, spoken with numerous criminal street

13 gang members, cooperators, witnesses, confidential human sources (“CHSs”), and defendants, and

14 reviewed legal documents and reports describing various Fresno-based street gangs and prison gangs

15 and their activities. Specifically, I have obtained intelligence regarding criminal prison gangs, criminal

16 street gangs, drug trafficking, illegal firearms trafficking, and human trafficking. Additionally, I have

17 reviewed the supporting affidavits of all the warrants and/or orders set out below and have spoken at

18 length with members of the investigative team who have extensive experience specifically with Bulldog

19 criminal street gang cliques. Additionally, I have previously participated in several wiretaps involving

20 Sureno criminal street gangs, Norteno criminal street gangs, the Mexican Mafia criminal prison gang,

21 the Nuestra Familia criminal prison gang, the Aryan Brotherhood criminal prison gang, and other

22 various criminal street gangs in California’s Central Valley area. As part of those investigations, I

23 reviewed tens of thousands of gang-related calls and messages and have authored numerous affidavits

24 supporting complaints, residential search warrants, pen register/trap and trace orders, precision location

25 warrants, vehicle trackers, Title III wiretap orders, and Title III audio listening device orders based on

26 that intelligence. Based on these experiences, I am aware of common themes, slang, and modus

27 operandi of gangs in California’s Central Valley, which includes the Bulldog criminal street gang

28 alliance of the Huron Dog Life Bulldogs (HDL), Coalinga Dog Life Bulldogs (CDL), and San Joaquin

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 1 Ruthless Perro Bulldogs (SRP) (“the ENTERPRISE”) and the general manner in which these gangs

 2 operate.

 3          7.      I have participated in the prosecution of Racketeer Influenced and Corrupt Organization

 4 Act (“RICO”) violations targeting criminal street gangs and criminal prison gangs in this judicial district

 5 since November 2019. I am familiar with street- and leadership-level “tax” collection activities of these

 6 gangs, specifically those which involve drug trafficking, illegal firearms trafficking, and violent activity

 7 in furtherance of their goals. I am familiar with the types and amount of profits made by firearms

 8 traffickers and gun traffickers and the methods, language, and terms which are used to disguise the

 9 source and nature of the profits from their illegal dealings. These methods include the use of telephones,

10 cellular telephones, wireless communication technology, counter surveillance, elaborately planned

11 smuggling schemes tied to legitimate businesses, false or fictitious identities, and the use of coded or

12 vague communications in an attempt to thwart law enforcement interference with illegal transactions. I

13 have also surveilled and observed gang members and contraband traffickers at length and have discussed

14 with other experienced investigators the lifestyle, appearances, and habits and methods of gang members

15 and contraband traffickers. I have also previously participated in investigations that utilized multiple

16 Title III wiretaps and/or audio listening devices and am familiar with various investigative methods used

17 in conjunction with Title III methods.

18          8.      Additionally, I have become knowledgeable about the investigative techniques that are

19 useful and viable in investigations involving criminal ENTERPRISEs and contraband traffickers and

20 those that are not. I have also consulted with other investigators who have extensive training and

21 experience in criminal ENTERPRISEs and financial investigations. I have executed numerous search

22 warrants for gang and narcotics investigations, seeking evidence of the trafficking of controlled

23 substances, weapons violations, gang indicia, and violent crimes. I have participated in multiple gang,

24 narcotic, firearms, and human trafficking investigations which utilized court-ordered interceptions of

25 wire, electronic, and/or oral communications to assist in dismantling violent criminal street gangs and

26 drug and/or firearms trafficking organizations.

27          9.      During my review of monitoring and review of legally intercepted phone calls, text

28 messages, social media postings, social media messages, and oral conversations in previous cases, I have

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 1 noted several slang terms used in reference to illegally-obtained items or illegally-possessed items. I

 2 have learned that the purpose of the use of slang during phone calls, social media messages, and text

 3 messages is to obstruct law enforcement in their investigations. During this investigation, the

 4 investigative team has reviewed hundreds and/or thousands of social media communications received

 5 from search warrants and has observed that the ENTERPRISE members and associates referenced

 6 below generally align with other Central Valley gang-related investigations in how they attempt to

 7 encode their communications.

 8          10.     Some members of the ENTERPRISE speak Spanish, and occasionally utilize the

 9 Spanish language to communicate with each other. I speak and understand Spanish in a very limited

10 capacity. Throughout this investigation, law enforcement linguists and certified Spanish-speaking

11 members of the investigative team have been employed to translate communications between

12 ENTERPRISE members, witnesses, Confidential Human Sources (CHS), and/or in reviewing social

13 media communications.

14          11.     Except where otherwise noted, the information set forth in this affidavit has been

15 provided to me by other law enforcement agents who have assisted in the investigation. Unless

16 otherwise noted, wherever in this affidavit I assert that a statement was made, the statement was made

17 by another law enforcement officer (any of whom may have had either direct or hearsay knowledge of

18 that statement) to whom I or other law enforcement officers have spoken or whose reports I have read

19 and reviewed. Such statements are reported in substance and in part, unless otherwise indicated. When

20 I use the term “investigative team”, I am referring to the Fresno County Sheriff’s Office; the Federal

21 Bureau of Investigation; the Bureau of Alcohol, Tobacco, Firearms, and Explosives; Homeland Security

22 Investigations; the Drug Enforcement Administration; and the following state and local participating

23 agencies: the California Highway Patrol, the California Department of Justice, the California

24 Department of Corrections and Rehabilitation, the Fresno Sheriff’s Office, the Fresno Police

25 Department, the Fresno County District Attorney’s Office, and other participating law enforcement

26 agencies.

27          12.     Since this affidavit is being submitted for the limited purpose of securing a complaint and

28 arrest warrants, I have not included details of every aspect of this investigation to date in describing the

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 1 probable cause for issuance of these warrants. Facts not set forth herein are not being relied on in

 2 reaching my conclusion that a warrants should be issued. Nor do I request that this Court rely on any

 3 facts not set forth herein in reviewing this complaint.

 4          C.     Summary of Investigation

 5          13.    On February 8, 2024, Members of the Multi-Agency Gang Enforcement Consortium

 6 (MAGEC) began a focused investigation into the Bulldog criminal street gang operating in Fresno

 7 County with a specific focus on the ongoing criminal activities of the Bulldog cliques Huron Dog Life

 8 (HDL), Coalinga Dog Life (CDL) and San Juaquin Ruthless Perros (SRP) (hereinafter “the

 9 ENTERPRISE”). Since that date, the investigation has expanded to include the Fresno Police

10 Department, the Federal Bureau of Investigation, Homeland Security Investigations, the California

11 Department of Justice, and the California Department of Corrections and Rehabilitation.

12          14.    During the course of this investigation, a series of wiretap applications were authorized

13 and are further described as follows.

14          a)     On April 11, 2025, the Honorable Jennifer L. Thurston authorized the interception of

15          communications to and from (559) 931-4104 (Target Telephone 1 or TT1), used by Ray

16          PINON; (559) 442-9272 (Target Telephone 2 or TT2), used by an uncharged individual; (831)

17          596-0869 (Target Telephone 3 or TT3), used by Jennifer ESCOBEDO; (559) 341-3196 (Target

18          Telephone 4 or TT4), used by an uncharged individual; and (279) 386-7769 (Target Telephone 6

19          or TT6), used by Ignacio SANCHEZ. The wire intercepts were initiated on April 14, 2025.

20          b)      On April 22, 2025, the Honorable Jennifer L. Thurston authorized the interception of

21          communications to and from (559) 961-6401 (Target Telephone 5 or TT5), used by Benny

22          GONZALES), (559) 895-2773 (Target Telephone 7 or TT7), used by an uncharged individual;

23          and (559) 818-8601 (Target Telephone 8 or TT8), used by Angel Solorio LOPEZ. The wire

24          intercepts were initiated on April 22, 2025.

25          c)     On May 7, 2025, the Honorable Jennifer L. Thurston authorized the interception of

26          communications to and from (559) 508-6409 (Target Telephone 9 or TT9), used by Carlos

27          GUILLEN; (559) 895-2027 (Target Telephone 10 or TT10), used by Alexander VASQUEZ;

28          (559) 404-9386 (Target Telephone 11 or TT11), used by an uncharged individual ; (559) 800-

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 1        4470 (Target Telephone 12 or TT12), used by Laura PLASENCIA; (559) 821-3314 (Target

 2        Telephone 13 or TT31), used by an uncharged individual; and (213) 795-3500 (Target Telephone

 3        14 or TT14), used by Hemir VELAZQUEZ. The intercepts were initiated on May 7, 2025.

 4        d)      On May 9, 2025, the Honorable Jennifer L. Thurston authorized the interception of (559)

 5        806-4347 (Target Telephone 15 or TT15), used by Ray PINON. The intercepts were initiated on

 6        May 10, 2025.

 7        e)      On May 13, 2025, the Honorable Jennifer L. Thurston authorized the continued

 8        interception of (831) 596-0869 (Target Telephone 3 or TT3), used by Jennifer ESCOBEDO;

 9        (559) 341-3196 (Target Telephone 4 or TT4), used by an uncharged individual; and (279) 386-

10        7769 (Target Telephone 6 or TT6), used by Ignacio SANCHEZ.

11        f)      On May 26, 2026, the Honorable Jennifer L. Thurston authorized interception of

12        communications to and from (559) 796-3656 (Target Telephone 27 or TT27), used by Jesus

13        QUESADA. The intercepts were initiated on May 26, 2025.

14        g)      On May 30, 2025, the Honorable Jennifer L. Thurston authorized the continued

15        interception of communications to and from (559) 961-6401 (Target Telephone 5 or TT5), used

16        by Benny GONZALES); and (559) 818-8601 (Target Telephone 8 or TT8), used by Angel

17        Solorio LOPEZ; as well as the initial interception of communications to and from (559) 803-

18        7096 (Target Telephone 16 or TT16), used by an unidentified male (HERNANDEZ); (559) 776-

19        7731 (Target Telephone 17 or TT17), used by Victor TAMAYO; (213) 334-1252 (Target

20        Telephone 18 or TT18), used by Ignacio SANCHEZ; (559) 882-8428 (Target Telephone 19 or

21        TT19), used by an uncharged individual ; (559) 519-8338 (Target Telephone 20 or TT20), used

22        by Ricardo LOPEZ; (559) 210-2375 (Target Telephone 21 or TT21), used by Rodrigo

23        RUVALCABA; (559) 573-5821 (Target Telephone 22), used by an uncharged individual; (440)

24        742-9396 (Target Telephone 23 or TT23), used by Brian FORNES; (559) 776-2856 (Target

25        Telephone 24 or TT24), used by an uncharged individual (UM369); (559) 404-9901 (Target

26        Telephone 25 or TT25), used by Axel GUEVARA; and (559) 880-5089 (Target Telephone 26 or

27        TT26), used by Jose LICEA. Intercepts on the initial authorizations commenced on May 30,

28        2025.

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 1           h)         On June 5, 2025, the Honorable Jennifer L. Thurston authorized the continued

 2           interception of communications to and from (831) 596-0869 (Target Telephone 3 or TT3), used

 3           by Jennifer ESCOBEDO; (279) 386-7769 (Target Telephone 6 or TT6), used by Ignacio

 4           SANCHEZ; (559) 508-6409 (Target Telephone 9 or TT9), used by Carlos GUILLEN; (559)

 5           895-2027 (Target Telephone 10 or TT10), used by Alexander VASQUEZ; (559) 404-9386

 6           (Target Telephone 11 or TT11), used by an uncharged individual ; (559) 800-4470 (Target

 7           Telephone 12 or TT12), used by Laura PLASENCIA; (559) 821-3314 (Target Telephone 13 or

 8           TT31), used by an uncharged individual; (213) 795-3500 (Target Telephone 14 or TT14), used

 9           by Hemir VELAZQUEZ; and (559) 806-4347 (Target Telephone 15 or TT15), used by Ray

10           PINON; as well as the initial interception of communications to and from (559) 894-9222

11           (Target Telephone 28 or TT28), used by Ricardo LOPEZ; and (559) 880-3519 (Target

12           Telephone 29 or TT29), used by Jose LICEA. Intercepts on the initial authorizations

13           commenced on June 5, 2025.

14                                              II.       PROBABLE CAUSE

15           A.         Count 1 – Members and Associates of the ENTERPRISE Conspire to Distribute and

16           Possess with Intent to Distribute Controlled Substances

17                      1.       April 17, 2025 – SANCHEZ Arranged Methamphetamine Transaction with
                                 AGUILAR, Resulting in the Arrest of ROMERO on April 17, 2025 with 1
18                               pound of methamphetamine.

19           15.        On April 17, 2025, at 9:45 AM, the investigative team intercepted a call between Ignacio

20 SANCHEZ, using (279) 386-7769 2 (TT6) and Jennifer ESCOBEDO, using (831) 596-0869 3 (TT3).

21 During this call, SANCHEZ spoke to ESCOBEDO about SANCHEZ’s inventory and how it was

22 depleted. ESCOBEDO then used (831) 596-0869 (TT3) to call Ramona FELISCIANO using (559)

23

24
             2
                 The investigative team learned via intelligence gathered from a Confidential Human Source (CHS-1) that
25 SANCHEZ possessed and utilized a contraband cell phone while incarcerated at the Salinas Valley State Prison. Through
     analysis of historical call detail records and precision location data, the contraband cell phone utilized by SANCHEZ was
26 found to be (279) 386-7769. This has been corroborated by intercepted calls in which SANCHEZ is named as “Giddy”
     which I know to be the street moniker of SANCHEZ.
27           3
                The investigative team learned via intelligence gathered from a Confidential Human Source (CHS-2) that
     ESCOBEDO’s cell phone number was (831) 596-0869. This was corroborated on May 12, 2025, when members of the
28
     investigative team intercepted calls on (831) 596-0869 while simultaneously physically surveilling ESCOBEDO.

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 1 401-8633 4 (TT8633), at SANCHEZ’s request. ESCOBEDO then merged the call with FELISCIANO

 2 to the call with SANCHEZ, so that all three subjects could speak on a three-way call. The following is

 3 a transcript of the pertinent portions of that call:

 4                                                    [Beginning at the 7:20 minute mark]
                                  I’m going to have to go to Hanford and get the rest that I have, right
 5                                there in the cuts, and then I have to – within that time – which today
 6                                til – til then, I have to go search for a good uh – uh – uh deal. I have
                         SANCHEZ
                                  to go shopping. And I have to go shopping with – for at least 2 or 3
 7                                because I can’t be like this. Without – without it. Without it like
                                  that, without food.
 8                     FELISCIANO Si Si.
                                                       [Ending at the 7:51 minute mark]
 9

10           16.     During the course of this investigation, I have learned that SANCHEZ and his associates
11 use food terminology to describe illicit narcotics. I believe SANCHEZ and his associates use these

12 vague terms to attempt to thwart law enforcement’s ability to arrest and prosecute them for trafficking

13 illicit narcotics. Therefore, I believe the term, “shopping,” when used in this context, to mean

14 SANCHEZ intended to purchase illicit narcotics. I also believe that when SANCHEZ used the term,

15 “food,” SANCHEZ is referring to illicit narcotics. I know the term “cuts” to mean a location that is

16 geographically removed from a city. I also know that when SANCHEZ stated, “for at least two or

17 three,” SANCHEZ is referring to two or three pounds of an illicit narcotic.

18           17.     Therefore, I believe SANCHEZ communicated to FELISCIANO that SANCHEZ
19 needed to procure additional narcotics and hoped to get the narcotics for a good price. SANCHEZ

20 further related that SANCHEZ wanted to purchase two or three pounds of narcotics because

21 SANCHEZ’s inventory of narcotics was currently low.

22           18.     After the conclusion of this call, SANCHEZ used (279) 386-7769 to contact multiple
23 individuals to procure methamphetamine. For example, on April 17, 2025, at 10:53 AM, SANCHEZ

24 used (279) 386-7769 (TT6) to call Carly BALBOA 5 on (559) 413-8584 (TT 8584). During this call,

25

26            4
                On March 11, 2025, members of the investigative team established physical surveillance on FELISCIANO.
     Members of the investigative team called (559) 401-8633 and spoke with FELISCIANO while surveilling her. Therefore, I
27   believe FELISCIANO is the user of (559) 401-8633.
             5
               Based on my knowledge of the investigation, I know that Carly BALBOA is Ignacio SANCHEZ’s sister. In later
28
     calls, SANCHEZ identifies the user of (559) 413-8584 (TT 8584) as his sister.

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 1 SANCHEZ asked BALBOA if she was able to get a CashApp; BALBOA related she had obtained a

 2 CashApp account and currently had $765 in it. I entered (559) 413-8584 (TT 8584) into CashApp, a

 3 commonly used money sending mobile phone application, which indicated that (559) 413-8584 (TT

 4 8584) was associated with the account name “Carli Balboa” and the account handle “$xocarlii”. Based

 5 on my training and experience, I know that gang members and contraband traffickers will maintain their

 6 true identity in a money sending / receiving application like “CashApp” so that members of their family

 7 and friend group can confidently transfer money between themselves. BALBOA then explained to

 8 SANCHEZ what narcotics were currently on hand in BALBOA’s possession. The following is a

 9 transcribed portion of that call:

10                                            [Beginning at the 3:41 minute mark]
               SANCHEZ What was it?
11                     Ok there uh – so – you had uh – 14 moms – uh – we got – we got, 300
                BALBOA
12                     cause we sold – she sold – uh – 1, 2…
               SANCHEZ Yeah.
13                     Whatever. And then there’s – uh – six left, but she’s going to ask you
                       if she could have one for one hundred or something like that. And then
14              BALBOA there’s going to be two left. And she reason, she said the reason why
                       she don’t get it from here is ‘cause – uh – you said – uh – well she –
15
                       ‘cause she – she – she got it more…
16             SANCHEZ Ok, so how much is it right now?
                BALBOA Six.
17             SANCHEZ Six full ones?
                BALBOA Yeah. Whatever I don’t – do you say there 50s.
18             SANCHEZ Oh – oh – ok. Oh, there’s only – there’s only 6 left?
19                     Yeah. Well, cuz she’s been selling – that’s what all the – all the money
                BALBOA
                       is coming from.
20             SANCHEZ OK...
                       Cuz she has been selling them. All the little ones – and then – those
21              BALBOA
                       other ones – and yeah.
22                     [This conversation continued as BALBOA and SANCHEZ rehashed
                       the inventory and finances available within BALBOA’s custody.
23                     During this time, BALBOA told SANCHEZ they have sold all of the
                     …
                       “twenty-five dollar ones,” and only have, “six of the fifty dollar ones
24                     left.” SANCHEZ communicated to BALBOA that SANCHEZ will
                       call BALBOA regarding procuring more narcotics].
25                                         [Ending at the 4:53 minute mark]
26          19.    I know from my training and experience that drug traffickers often use vague or
27 innocuous language to communicate with their co-conspirators, as is evident during this call. I believe

28 that when BALBOA stated there were “6 left,” BALBOA was referring to six individually packaged

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 1 narcotics. Later in the call, BALBOA clarified to SANCHEZ that these packages sell for $50 apiece.

 2 SANCHEZ then related they will get $300 from those remaining. Using this arithmetic and the

 3 interpretation that BALBOA is providing a report to SANCHEZ on individually packaged narcotics

 4 sold for $50 apiece, I deduced that the “14 moms” produced a profit of $700, which is reflected in

 5 BALBOA’s CashApp.

 6           20.       Therefore, I believe this conversation between SANCHEZ and BALBOA centered

 7 around BALBOA providing a summary of available funds and narcotics to SANCHEZ. More

 8 importantly, I also believe that BALBOA and “Mom 6” are likely storing and selling narcotics on

 9 SANCHEZ’s behalf at BALBOA’s residence in Hanford, CA. Based on this call and the prior call with

10 ESCOBEDO and FELISCIANO, I believe when SANCHEZ stated he needs to go to Hanford “and get

11 the rest that I have,” SANCHEZ is referring to the narcotics at Carli BALBOA’s residence located in

12 Hanford, CA.

13           21.       On April 7, 2025, at 12:43 PM, SANCHEZ used (279) 386-7769 (TT6) to call

14 ROMERO on (559) 821-3633 7 (TT 3633). During this call, SANCHEZ simply stated, “I’m going to

15 need a ride to Fresno, right?” ROMERO responded, “Oh, ok.” The call ended as SANCHEZ told

16 ROMERO he planned to call ROMERO back in 20 to 30 minutes. 8

17           22.       On April 17, 2025, at 1:55 PM, members of the investigative team intercepted a call

18 placed by SANCHEZ using (279) 386-7769 (TT6) to (559) 880-7337 (TT 7337), used by an Uncharged

19 Co-Conspirator, hereinafter “UCC1”. During the course of this investigation, I learned that UCC1 is the

20 daughter of ROMERO. Prior to this call, UCC1 sent SANCHEZ a text message on (279) 386-7769

21 (TT6) indicating ROMERO’s vehicle was undrivable. The following is a transcript of the pertinent

22 portions of the call:

23                                                                [Beginning of Call]
             SANCHEZ What’s upper?
24
             6
                The investigative team later identified Carly BALBOA as Ignacio SANCHEZ’s sister and Debbie SANCHEZ as
25
     Ignacio SANCHEZ’s mother. Due to the fact that SANCHEZ and BALBOA likely share the same mother, as well as the
     calls set out in sections below, I believe Debbie SANCHEZ to be “Mom” during this call.
26
             7
                 ROMERO was later detained and provided the phone number (559) 821-3633 (TT 3633) as his cell phone
27 number.
             8
               This call occurred in a mix of the Spanish and English language. Spanish speaking members of the investigative
28
     team translated the Spanish language portions of this call into the English language.

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 1              UCC1 Hello.
            SANCHEZ Yeah, wh-what happened right now?
 2                     Oh that my Dad, he told me – he texted me right now, he told me to tell you that
                UCC1
 3                     he wont be able to go for it. Where was he going to go?
            SANCHEZ To Fresno.
 4              UCC1 Oh… to go pick up – uh – shit?
                UCC1 Yeah.
 5              UCC1 Oh shit. He said he is going to try fix it. But he’s going to get someone to fix it.
 6                     [The conversation continues, as SANCHEZ and UCC1 discuss alternate methods
                       in which ROMERO can procure a truck on SANCHEZ’s behalf. ROMERO is
 7                     then added to the call by UCC1. UCC1then acts as a translator between
                   …
                       SANCHEZ and UCC1, as the two discuss using ROMERO’s truck for the trip
 8                     to Fresno. The call ends as SANCHEZ agreed to send ROMERO extra money
                       to offset the cost of gas in ROMERO’s truck.
 9                                                        [End of Call]
10          23.  I know from my training and experience that the term, “shit,” refers to methamphetamine.

11 Based on that knowledge, I believe that when UCC1 asked SANCHEZ “to go pick up shit?” UCC1 was

12 actually asking SANCHEZ if ROMERO was going to Fresno to pick up narcotics, to which

13 SANCHEZ confirmed. Therefore, I believe SANCHEZ placed the call to UCC1 to help SANCHEZ

14 effectively communicate to ROMERO what SANCHEZ needed from ROMERO. I believe

15 SANCHEZ intended to send ROMERO to Fresno to purchase narcotics on SANCHEZ’s behalf, and

16 that UCC1 was aware of the purpose of the trip, and relayed this information to ROMERO.

17          24.    On April 17, 2025, at approximately 2:07 PM, members of the investigative team

18 intercepted a call placed by SANCHEZ using (279) 386-7769 (TT6) to FELISCIANO using (559) 401-

19 8633 (TT 8633). SANCHEZ told FELISCIANO, “Prima I’m paying – I’ve never paid this much for –

20 for – for just ‘Cochina.’ That’s why I’m – but I gotta get it right – right now because a lot of…”

21 FELISCIANO asked, “How much?” SANCHEZ then stated, “I’m going to pay a lot, I don’t even

22 want to say how much I’m going to pay, but I’m going to pay a lot.”

23          25.    I know from my training and experience that “Cochina” is used by SANCHEZ as well as

24 other drug traffickers and is code for methamphetamine. Therefore, I believe SANCHEZ further

25 corroborated my belief that SANCHEZ intended to purchase methamphetamine during this portion of

26 the call.

27          26.    Further into the conversation, FELISCIANO asked SANCHEZ, “What happened to

28

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 1 fucking Topochito 9?” SANCHEZ then stated, “He – he – he’s going to go for me with – with – with –

 2 with my celly’s people right now. I – I – I have to go that route right now. You know what I mean?

 3           27.        I know from my training and experience that “celly” is short for “cellmate.” In the jail

 4 and prison systems, incarcerated persons are often required to share their housing unit, or cell, with

 5 another individual. Incarcerated person’s often call these individuals their “cellmate” or “celly.”

 6 Therefore, I believe SANCHEZ communicated to FELISCIANO that not only is ROMERO

 7 purchasing methamphetamine on SANCHEZ’s behalf, but SANCHEZ plans to purchase the

 8 methamphetamine through a source of supply connected to SANCHEZ’s cellmate.

 9           28.        Over the next several hours, SANCHEZ coordinated the transfer of funds between

10 SANCHEZ’s associates and Benny GONZALES’ CashApp account. At approximately 2:48 PM,

11 SANCHEZ used (279) 386-7769 (TT6) to call GONZALES on (559) 961-6401 10 (TT5). During this

12 call, SANCHEZ told GONZALES, “My sister is going to send the money.” I know that SANCHEZ’s

13 sister is Carly BALBOA. 11 At approximately 2:49 PM, SANCHEZ used (279) 386-7769 (TT6) to call

14 Carly BALBOA on (559) 413-8584 (TT 8584). This call was placed by SANCHEZ as GONZALES

15 remained on hold on the other line. SANCHEZ stated, “send 300 to my Primo’s CashApp real quick.”

16 I know from my experience gained during this investigation that “Primo” is a name by which

17 SANCHEZ identifies GONZALES. BALBOA then stated, “I did.” I queried the pen-register trap and

18 trace installed on (559) 961-6401 (TT5) and discovered an incoming text from “CashApp” at the same

19 time BALBOA stated, “I did.”

20           29.        I know from my training and experience that CashApp sends text messages as a means of

21 notifying its account holders of activity on their accounts. I believe this text message corroborates my

22 belief that BALBOA did indeed send the $300 from her CashApp account to GONZALES’ CashApp

23
             9
              I know from my experience gained during this investigation that “Topo” is the street moniker of Daniel Loubet
24
     ROMERO. I also know that “chito” is a suffix added to the end of a name in Spanish culture and usually means “little” or
     “young.’ In this instance, I believe FELISCIANO is stating “little or young Topo.”
25
             10
                  I entered (559) 961-6401 into CashApp, a commonly used money sending mobile phone application, which
26 indicated that (559) 961-6401 was associated with the account name “Benny Gonzales” and the account handle “$Huero824.”
     Furthermore, GONZALES is listed as the subscriber of (559) 961-6401. Finally, during intercepted calls, GONZALES is
27 named by callers as “Huero” or “Primo” or “Cousin,” all monikers I know to be used by GONZALES.
             11
                  This was further corroborated during this call as SANCHEZ called BALBOA “sis,” short for “sister” on multiple
28
     occasions.

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 1 account at SANCHEZ’s request. SANCHEZ then returned to the call with GONZALES, and the two

 2 conspired to withdraw the funds from GONZALES’ CashApp account so that they could send

 3 ROMERO with cash to Fresno to purchase the methamphetamine with these funds. GONZALES and

 4 SANCHEZ accomplished this by sending ROMERO and FELISCIANO to the bank to withdraw

 5 money from GONZALES’ CashApp account.

 6           30.      These actions were corroborated by the investigative team by deploying physical

 7 surveillance to the location of ROMERO, SANCHEZ and FELISCIANO. At 2:58 PM, members of

 8 the investigative team observed ROMERO and FELISCIANO 12 occupy a white Cadillac Escalade at

 9 residence in Huron, CA. The Cadillac Escalade then drove to the West America Bank also located in

10 Huron, CA. At 3:03 PM, members of the investigative team observed FELISCIANO exit the Cadillac

11 Escalade and enter the West America Bank. At 3:07 PM, members of the investigative team observed

12 FELISCIANO exit the West America Bank.

13           31.      At 3:04 PM, GONZALES, using (559) 961-6401 (TT5), told SANCHEZ, using (279)

14 386-7769 (TT6), “Alright she took the money off already, off my card.” SANCHEZ responded, “She

15 did Primo?” GONZALES then stated, “Yeah, I just got the mem – I just got the memo right now.” The

16 conversation continued as ROMERO and FELISCIANO can be heard in the background of

17 GONZALES’ line. The conversation then continued as follows:

18                                                            [Beginning at the 14:47 minute mark]
                          SANCHEZ            Ok uh Dog’s right there?
19                       GONZALES            Yes.
20                        SANCHEZ            Alright – so check it out – what did they end up taking out?
                        FELISCIANO           [Joined the call from the background of GONZALES line] 3 [UI] go
21                                           to bank [UI] America.
                          SANCHEZ            So, how much is it – what is – what did they charge you?
22                       GONZALES            280.
23                      FELISCIANO           I got 280 out, from the bank.
                          SANCHEZ            Oh, they only let you take out 280? Ok, hold up real quick. Alright,
24                                           lets check out 280.
                                       …     [SANCHEZ disconnected a call with PINON and an uncharged
25                                           individual, and continued to speak on the specifics of the
                                             methamphetamine procurement at the 16:58 minute mark].
26
                          GONZALES           [GONZALES is counting in the background] 1190.
27
             12
               Members of the investigative team identified these individuals by comparing their observations to known
28
     photographs of both FELISCIANO and ROMERO obtained from law enforcement databases.

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 1                     SANCHEZ 1190, alright. Tell him – tell him he’s going to put 40 in his gas, 40
                                in his – uh – uh – truck – I have to pay, this is the most I’ve ever
 2                              paid but I have to do it.
 3                   FELISCIANO [Speaking Spanish to ROMERO in the background]
                      GONZALES [UI] 1190? Give him 40?
 4                            … [The details of the exact amount is disputed, specifically what
                                ROMERO is due.]
 5                     SANCHEZ Put 1150 in an envelope, and that’s going to get handed off to
                                somebody. So just tell my prima to put 1150 in an envelope, and
 6
                                then uh – all Topo is going to do is hand that envelope to him.
 7                            … [The conversation continues as SANCHEZ rehashes details already
                                discussed GONZALES is heard relaying the orders given by
 8                              SANCHEZ.]
                                                  [Ending at the 17:50 minute mark]
 9
            32.     I know from my training and experience that drug traffickers often do not give the
10
     denomination of bills when talking about finances. They will often state, “3” and mean $300 or “280”
11
     and mean $280. I believe this is apparent during this call, as the individuals are speaking about numbers
12
     in hundred-dollar denominations. I know from my experience gained during this investigation that
13
     “Prima” is a name by which SANCHEZ identifies Ramona FELISCIANO.
14
            33.     I believe that SANCHEZ and GONZALES sent FELISCIANO and ROMERO out to
15
     withdraw the funds from GONZALES’ CashApp account to fund the purchase of methamphetamine,
16
     and that FELISCIANO and ROMERO were successful in that endeavor.
17
            34.     I also believe SANCHEZ asked GONZALES how much money FELISICIANO and
18
     ROMERO were able to liquidate from GONZALES’ CashApp account. FELISCIANO related she
19
     obtained $280 from the West America Bank. GONZALES communicated to SANCHEZ they had
20
     $1,190 towards the purchase of methamphetamine. I believe SANCHEZ then broke down the plan for
21
     the finances, which included giving ROMERO $40 for fuel, and asked GONZALES to put the
22
     remaining $1,150 in an envelope to be given to the methamphetamine supplier in Fresno, CA.
23
            35.     Therefore, I believe this call demonstrated that SANCHEZ communicated with
24
     GONZALES, who relayed this communication to FELISCIANO and ROMERO. These
25
     communications lay out the coordinated effort to send ROMERO with $1,150 to be given to a source,
26
     for the procurement of methamphetamine in Fresno, CA.
27
            36.     The investigative team continued to surveil FELISCIANO and ROMERO within the
28

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 1 Cadillac Escalade and watched as they returned to the residence of GONZALES and FELISCIANO.

 2           37.       On April 17, 2025, at 3:28 PM, the investigative team intercepted a text message

 3 received by SANCHEZ on (279) 386-7769 (TT6) from (213) 334-1252 13 (TT18), which was later

 4 identified as belonging to Ignacio SANCHEZ’s cell mate. This text message read, “2417 s. Argyle”

 5 and was sent while SANCHEZ and GONZALES were still communicating on the call which began at

 6 2:55 PM. Seconds after receiving the text message, SANCHEZ stated to an individual that appeared to

 7 be personally in the company of SANCHEZ, “Ok, boom – alright. Yeah, I got it celly, thank you.”

 8 After a short pause, SANCHEZ appeared to be talking to no one in particular and stated, “k, give it –

 9 send it to “Mona…” SANCHEZ then told GONZALES and FELISCIANO, “I sent it to you.”

10           38.      I know from my experience gained during this investigation that “Mona” is a name by

11 which SANCHEZ identifies Ramona FELISCIANO. Based on the above call, along with the prior

12 knowledge that SANCHEZ used his “celly’s people” for this procurement, I believe SANCHEZ’s

13 cellmate used (213) 334-1252 (TT18) to send the address of his source of supply to SANCHEZ on

14 (279) 386-7769 (TT6).

15           39.       At 3:29 PM, SANCHEZ, using (279) 386-7769 (TT6), sent FELISCIANO, using (559)

16 401-8633 (TT8633) a text. This message read, “2417 s. Argyle.” FELISCIANO can be heard in the

17 background of GONZALES’ line speaking to ROMERO in the Spanish language and appeared to

18 place the directions to this address in ROMERO’s cell phone. Based on this call, I believe SANCHEZ

19 received the address of the source of supply from his cellmate and forwarded this address to

20 FELISCIANO on (559) 401-8633 (TT 8633). I believe FELISCIANO then directed ROMERO to

21 this address.

22           40.      At 3:34 PM, members of the investigative team observed the Cadillac Escalade leave

23 GONZALES and FELISCIANO’s residence and followed it as it left the city of Huron.

24           41.      At 4:51 PM, ROMERO used (559) 821-3633 (TT 3633) to call SANCHEZ, using (279)

25 386-7769 (TT6). The following transcript contains the pertinent portions of that call:

26
             13
                The investigative team searched the historical precision location data from (213) 334-1252 pursuant to a court
27
     order and discovered the cell phone was within the Salinas Valley State Prison. The investigative team believed (213) 334-
     1252 to be a contraband cell phone used by incarcerated persons. This belief was corroborated as SANCHEZ indicated on a
28
     intercepted call that this text message came from SANCHEZ’s cell mate.

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 1                                                             [BEGINNING OF CALL]
                    SANCHEZ 10 more minutes?
 2                  ROMERO [UI]
 3                  SANCHEZ [speaking to an individual in the background] Uh – ce -celly – he said
                                  10 minutes he’s away. Spenca. Yeah, yeah OK 10 minutes ok. OK –
 4                                OK – uh – uh I’m gonna – I’m gonna let my – my – my – my amigo
                                  know real quick – the homie.
 5                  ROMERO OK.
                    SANCHEZ I’m gonna let him know your 10 minutes away. OK?
 6
                    ROMERO Yeah.
 7                  SANCHEZ OK. Trucha. OK, bye.
                    ROMERO [UI]
 8                                                         [END OF CALL]
             42.     During this conversation, SANCHEZ used Spanish slang terms like, “Spenca,” and
 9
     “Trucha.” In speaking with Spanish translators, I learned “Spenca” is a slang term for “sorry,” while
10
     “Trucha” is a slang term for “be careful.” I believe ROMERO called SANCHEZ to notify SANCHEZ
11
     that ROMERO was 10 minutes away from SANCHEZ’s cellmates’ methamphetamine source.
12
     SANCHEZ then relayed this information to his cellmate and ended the call.
13
             43.      The investigative team applied for an administrative subpoena for historical call detail
14
     records and subscriber information associated with (213) 334-1252 (TT18) used by SANCHEZ’s
15
     cellmate. Upon reviewing these historical records, I discovered that immediately after this call,
16
     SANCHEZ’s cellmate used (213) 334-1252 (TT18) to send two outgoing text messages to the user of
17
     (559) 652-6826 14 (TT 6826) at 4:53 PM and 4:56 PM respectively. At 4:56 PM, the user of (559) 652-
18
     6826 (TT 6826), believed to be AGUILAR, responded and sent a text message back to SANCHEZ’s
19
     cell mate on (213) 334-1252 15 (TT18).
20
             44.      The investigative team was not privy to the content of these messages, due to the fact that
21

22

23             14
                  I conducted an open-source search of this phone number utilizing a database that searches through public and
     proprietary databases and found (559) 652-6826 (TT6826) is associated with “Luis Amaro” at an address of “2417 S. Argyle
24   Avenue in Fresno, CA.” I entered (559) 652-6826 (TT6826) into CashApp, which indicated that (559) 652-6826 (TT6826)
     was associated with the account name “Luis Aguilar” and the account handle “$luisaguilar624. I know that “624” represents
25   “FBD” alphabetically, which represents the Fresno Bulldogs criminal street gang. The investigative team applied for an
     administrative subpoena for historical call detail records and subscriber information associated with (559) 652-6826
26   (TT6826). The records were received and reviewed, and I found that (559) 652-6826 (TT6826) is subscribed to “Jamie
     Fleming” at an address of, “2417 S. Argyle Avenue in Fresno, CA.” I therefore believe the user of (559) 652-6826 (TT6826)
27   is likely Luis Mario Amaro AGUILAR, who is a member of the Fresno Bulldog criminal street gang.
             15
               From 4:51 PM to 4:57 PM, these text messages are the only transactional records between (279) 386-7769, (213)
28
     334-1252 and (559) 652-6826.

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 1 there was not a court order at the time authorizing the interception of electronic content on (213) 334-

 2 1252 (TT18). Based on the context of the prior calls and the later observations of the investigative team,

 3 I believe SANCHEZ’s cell mate sent a text message to the source of supply which indicated ROMERO

 4 was 10 minutes away.

 5           45.     At 4:54 PM, members of the investigative team observed the Cadillac Escalade arrive at

 6 2417 S. Argyle Avenue in Fresno, CA. ROMERO exited the Cadillac Escalade and walked towards the

 7 front door of the residence.

 8           46.     At 4:57 PM, simultaneous with the above observations, members of the investigative

 9 team intercepted an incoming call to SANCHEZ on (279) 386-7769 (TT6) from ROMERO on (559)

10 821-3633 (TT 3633). ROMERO told SANCHEZ that ROMERO was “outside.” A few seconds later,

11 a male in the background of ROMERO’s line asked for “Giddy.” SANCHEZ introduced ROMERO to

12 the male. SANCHEZ then asked the male, “If time permits right, and we – we need something else, and

13 if we get more than one, will – will the price change?” The male responded, “um – well let me see and

14 shit, because I said – uh – uh – you know I’m just busting middle shit you know?”

15           47.     I believe SANCHEZ inquired that if SANCHEZ was able to purchase more than one

16 pound of methamphetamine from the seller, would the price be reduced. The unidentified male

17 responded that he was unsure, because he was “just busting middle shit.” I believe this to mean the

18 unidentified male was acting as a broker between buyer and seller, and did not have the authority to

19 negotiate prices with SANCHEZ.

20           48.     The conversation continued, and at the 1:40 minute mark, SANCHEZ asked the male,

21 “and it’s, it’s all rock right? It’s not powder?” The male responded, “Nah hell nah, it’s all rock baby.”

22 SANCHEZ responded, “OK, there it is there.” The male stated, “Your homeboy is looking at it right

23 now too.” Immediately after this statement, the male told ROMERO, “dile pura piedra,” which

24 translates, “tell him (SANCHEZ) pure rock. 16” ROMERO responded, “pura piezita,” which translates,

25 “nothing but little parts or rocks.” The conversation ended as SANCHEZ and ROMERO agreed that

26 ROMERO will return to Huron with the methamphetamine. Based on my training and experience, I

27
             16
                Spanish speaking members of the investigative team translated ROMERO’s statements from the Spanish
28
     language to the English language.

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 1 know the terms, “rock” and “powder” to describe different types of methamphetamine.

 2          49.     Therefore, I believe when SANCHEZ asked, “and it’s, it’s all rock right? It’s not

 3 powder?”, he was inquiring about the physical consistency of the methamphetamine. I further believe

 4 ROMERO paid the male the $1,150 as ordered, and in turn was given a pound of methamphetamine.

 5 The male described the quality of the methamphetamine to SANCHEZ while in the company of

 6 ROMERO, and ROMERO is heard commenting on the methamphetamine’s quality.

 7          50.     At 5:01 PM, members of the investigative team observed ROMERO re-enter the

 8 Cadillac Escalade, and drive away from the residence located at 2417 Argyle Avenue. At 5:34 PM a

 9 Fresno Sheriff’s Deputy conducted a traffic stop of the Cadillac Escalade in the City of Fresno. The

10 deputy contacted the driver and sole occupant of the car, and identified him as Daniel Loubet

11 ROMERO via his personal admission as well as ROMERO’s California driver license. The deputy

12 observed an open grocery bag containing a white crystalline substance in plain view on the floorboard in

13 the passenger compartment. The white crystalline substance was seized and tested by the Fresno County

14 Sheriff’s Office Forensic Laboratory and confirmed to be positive for methamphetamine with a weight

15 of 446.73 grams.

16          51.     A cell phone was located during the search of ROMERO’s vehicle. Investigators placed

17 a call to (559) 821-3633 (TT 3633) and the phone did not show an incoming call. Based on my training

18 and experience, I know cell phone users can apply settings to their phone in which a cell phone can be

19 placed in a state where it does not notify the user of an incoming notification. I believe it is likely that

20 this device was in this form or state.

21          52.     Based on the intercepted calls and electronic messages, coupled with the physical

22 observations and transactional data observed by members of the investigative team, I believe Ignacio

23 SANCHEZ, Jennifer ESCOBEDO, Carly BALBOA, Daniel Loubet ROMERO, Benny

24 GONZALES, Ramona FELISCIANO, and Luis Amaro AGUILAR conspired to distribute and

25 possess with intent to distribute methamphetamine, in violation of Title 21, United States Code Sections

26 846, 841(a)(1).

27

28

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 1                  2.      April 22, 2025 – SANCHEZ and ROMERO facilitated the distribution of
                            methamphetamine from AGUILAR to FELISCIANO
 2
            53.     As is set out above, on April 17, 2025, Daniel Loubet ROMERO was pulled over by the
 3
     investigative team while transporting approximately one pound of methamphetamine. On April 22,
 4
     2025, SANCHEZ, using (279) 386-7769 (TT6) called FELISCIANO, using (559) 401-8633 (TT
 5
     8633), and told her that he no longer wanted to use ROMERO to transport illicit narcotics.
 6
            54.     Later that day, at approximately 2:07 PM, SANCHEZ, using (279) 386-7769 (TT6),
 7
     conducted a three-way call with FELISCIANO, using (559) 401-8633 (TT 8633), and ROMERO,
 8
     using (559) 821-3633 (TT 3633). During the portion of the call in which ROMERO participated,
 9
     FELISCIANO translated for SANCHEZ; based on the fact that SANCHEZ usually uses a translator to
10
     convey complex ideas to ROMERO, I do not believe that SANCHEZ is very proficient in Spanish, and
11
     Spanish speaking members of the investigative team have confirmed this belief. During the call,
12
     SANCHEZ told FELISCIANO to tell ROMERO that SANCHEZ was “going to need it real fast,” that
13
     it would “take forty-five minutes to go over there” and “forty-five minutes to go back,” and that the
14
     parties would pick “it” up “at four.” I then heard ROMERO say “esta bien,” which – though I am not
15
     fluent in Spanish – I know to essentially mean “okay” or “that’s fine” in Spanish. Additionally, based on
16
     the events set out above, the subsequent events set out below in this section, as well as the fact that I
17
     heard FELISCIANO use the phrase “tu carro,” which I know to mean “your car” in Spanish, I believe
18
     that SANCEHZ was asking ROMERO to use his car and that ROMERO understood this fact.
19
            55.     Additionally, I believe that ROMERO understood that his vehicle was going to be used
20
     to transport illicit narcotics. First, I believe ROMERO understood the nature of his relationship with
21
     SANCHEZ based on the events from April 17, 2025, set out above. Also, several minutes after the
22
     previous call, at approximately 2:19 PM, SANCHEZ, using (279) 386-7769 (TT6), received a call from
23
     FELISCIANO, using (559) 401-8633 (TT 8633). During the call, FELISCIANO told SANCHEZ that
24
     ROMERO had a question, at which point SANCHEZ and ROMERO discussed – in English – how
25
     SANCHEZ was willing to sell “two fifty for two of them” or “four for five hundred.” SANCHEZ asked
26
     ROMERO if he wanted “that” immediately, at which point ROMERO asked SANCHEZ to hold on.
27
     While SANCHEZ and FELISCIANO were waiting, SANCHEZ told FELISCIANO that “. . . if he
28

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 1 [ROMERO] wants that, I’m just gonna- I’ll- I’ll have to order me a full one real quick. That’s why he

 2 needs to let me know. If not… [if] he doesn’t let me know ahead of time, I- I’m willing to do, uh, two…

 3 and that’s it. So he’s just gonna have to accept that.” The parties then made small talk until ROMERO

 4 came back on the line and attempted to say in English that another party wanted “one thousand for one

 5 pound;” FELISCIANO then clarified with ROMERO for SANCHEZ that ROMERO was attempting

 6 to say that another party wished to purchase “a pound” for “a thousand bucks” from SANCHEZ.

 7 SANCHEZ responded by asking FELISCIANO to convey to ROMERO that this was not possible

 8 because the “yellow” was “pricey.”

 9          56.     Based on my training and experience, I know that it is very common for drug traffickers

10 to use vague and innocuous language when discussing their illicit narcotics. I also know that they very

11 commonly refer to their narcotics by the number of the weight only, in an attempt to confuse law

12 enforcement. I also know that $250 for two ounces and $500 for four ounces is consistent with the

13 current price of methamphetamine in California’s Central Valley. Finally, I know that the phrase “full

14 one” is very commonly used in drug trafficking circles to refer to the idea of a full ounce, pound, or

15 kilogram, as the context requires.

16          57.     Therefore, I believe that ROMERO was initially discussing with SANCHEZ how

17 SANCHEZ was essentially willing to sell ounces of methamphetamine for $125. SANCHEZ then

18 asked if ROMERO wanted the methamphetamine immediately, at which point ROMERO left the

19 conversation, presumably to ask a third party with whom he would be coordinating the distribution of

20 these narcotics. Based on subsequent information set out below, I know that SANCHEZ’s goal was to

21 purchase one-half pound of methamphetamine, or eight ounces. I therefore believe that SANCHEZ

22 indicated to FELISCIANO that if ROMERO wanted to purchase four ounces, SANCHEZ would have

23 to purchase a full pound of methamphetamine; otherwise, SANCHEZ was only willing to distribute two

24 ounces of methamphetamine to ROMERO. I believe ROMERO then re-entered the call and effectively

25 asked SANCHEZ if SANCHEZ were willing to sell one pound of methamphetamine for $1,000.

26 SANCHEZ responded in the negative, indicating that methamphetamine was more expensive than that.

27          58.     Based on all of the above information, including the facts that ROMERO asked

28 SANCHEZ to distribute narcotics to him approximately twelve minutes after he had just agreed to let

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 1 SANCHEZ use his vehicle and that ROMERO had just been pulled over with a pound of

 2 methamphetamine in the vehicle, I believe that ROMERO was aware that SANCHEZ was (again)

 3 going to attempt to obtain methamphetamine, and that he was going to use ROMERO’s vehicle to do

 4 so.

 5          59.    SANCHEZ then used (279) 386-7769 (TT6) to participate in calls at 2:36 PM with

 6 FELISCIANO, using (559) 401-8633 (TT 8633), and at 3:08 PM with ESCOBEDO, using (831) 596-

 7 0869 (TT3), to indicate to both women that he was going to “No Town” and that he was doing so

 8 because “it” was cheaper there. Specifically, in the call with FELISCIANO, SANCHEZ told her to

 9 “take out that six hundred.” Based on my training and experience, I know that the name “No Town” is

10 commonly used in California’s Central Valley to refer to Fresno, CA. I also know that drug dealers also

11 frequently speak about the prices for their narcotics without using the denominations of the money being

12 uses. For example, they commonly say “one hundred” or even just “one” instead of “one hundred

13 dollars.” Finally, I know that $600 for one-half pound is consistent with the price of methamphetamine

14 in California’s Central Valley.

15          60.    Because of all of the other indications in the calls set out herein that SANCHEZ was

16 purchasing methamphetamine, as well as the fact that he had just unsuccessfully attempted to obtain

17 methamphetamine using ROMERO several days earlier, I believe that he was coordinating the sale of

18 one-half pound of methamphetamine in exchange for $600. Based on the context of the calls set out

19 above, I believe that SANCHEZ was indicating that he was going to obtain said methamphetamine in

20 Fresno, CA because he could obtain it there for a lower cost. Additionally, based on the calls above and

21 subsequent events, I believe SANCHEZ was indicating that he was going to have FELISCIANO go to

22 Fresno to obtain that methamphetamine in ROMERO’s vehicle.

23          61.    At approximately 3:00 PM, the team established surveillance on 16901 W. Tornado

24 Avenue, Apt. 1510, Huron, CA, an apartment believed to be ROMERO’s residence. Several minutes

25 later, at approximately 3:21 PM, the surveillance team observed a black 2010 Mazda 323 registered to

26 Daniel Loubet ROMERO pull into the parking lot of the apartment complex. A female exited the

27 vehicle and the Mazda then travelled to a nearby parking lot. The driver exited the vehicle and walked

28 into a nearby taco shop; when the driver came back out, he was positively identified by members of the

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 1 investigative team as ROMERO, based on a comparison with the picture of Daniel Loubet ROMERO

 2 maintained on file by the California Department of Motor Vehicles, as well as prior contacts with

 3 ROMBERO in this case. At approximately 3:24 PM, ROMERO drove the Mazda to 36946 Los

 4 Angeles Street, Huron, CA, a property owned by SANCHEZ, and on which a trailer has been placed

 5 and named “Thug Mansion” by members of the ENTERPRISE. Based on my knowledge of the

 6 investigation, I know that Benny GONZALES and Ramona FELISCIANO reside at this property

 7 based on numerous intercepts between (559) 961-6401 (TT5), used by GONZALES, and (559) 401-

 8 8633 (TT 8633), used by FELISCIANO, which indicate that the two live together and sleep at that

 9 location, coupled with numerous surveillance observations of those two individuals at that property, as

10 well as precision location data transmitted by both phones which cover that property during nighttime

11 hours when I know most people are asleep.

12            62.       When ROMERO arrived at “Thug Mansion,” a female positively identified as

13 FELISCIANO 17 exited the residence and got into the front passenger seat of the Mazda with

14 ROMERO. ROMERO then drove the Mazda back to the parking lot of his apartment complex on

15 Tornado Avenue and exited the vehicle, at which point FELISCIANO exited the front passenger seat,

16 entered the driver’s seat of the vehicle, and departed the area.

17            63.       Based on the prior call in which SANCHEZ and FELISCIANO spoke with ROMERO

18 about using his vehicle to obtain methamphetamine, the investigative team maintained visual of

19 ROMERO’S Mazda.

20            64.       At approximately 4:00 PM, SANCHEZ, using (279) 386-7769 (TT6), called (559) 800-

21 4470 (TT12), used by Laura PLASENCIA. 18 It should be noted that SANCHEZ, using (279) 386-7769

22
              17
                   FELISCIANO was identified based on a comparison with the known picture of FELISCIANO maintained on
23 file by the California Department of Motor Vehicles, as well as prior contacts in this case.
              18
                 I believe that PLASENCIA is the user of (559) 800-4470 (TT12) for several reasons. First, this number is
24
     registered to PLASENCIA in open-source databases commonly used by law enforcement to identify subjects. Additionally,
     the account name listed in the cellular phone application CashApp for this number is “laura plasencia” and the account handle
25
     is “$Lplocs79”. Based on my knowledge of the investigation, as well as my training and experience, I know that
     PLASENCIA’s date of birth is in 1979, and that ENTERPRISE members use the word “loc” or “locs” to refer to the Spanish
26
     word “loco,” which means crazy; I know that these ENTERRPISE members and associates use these words to refer to other
     ENTERPRISE members and associates. Therefore, I believe the CashApp handle is meant to stand for the initials “L.P.,” the
27
     word “locs,” and then the year of PLASENCIA’s birth. Additionally, in a text message from Jennifer ESCOBEDO, using
     (831) 596-0869 (TT3), to (559) 800-4470 (TT12), ESCOBEDO addressed the user of TT12 as “LP.” I therefore believe that
28
     PLASENCIA is the user of (559) 800-4470 (TT12).

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 1 (TT6), had previously sent a text message to (559) 800-4470 (TT12) at approximately 2:56 PM which

 2 read, “Hi coma, give me a call asap please!!” The following is a transcript of the pertinent portions of

 3 the conversation which took place at approximately 4:00 PM:

 4                                             [BEGINNING OF CONVERSATION]
                         . . . [During the beginning portion of the conversation, SANCHEZ called
 5                 ...   PLASENCIA his “Comadre” and indicated that he had acquired a car and
 6                       been trying to get ahold of her so that she could drive that car to Fresno, CA.]
         SANCHEZ         I needed it today, right? [OV]
 7     PLASENCIA         [OV] Oh, okay.
                         [OV] I needed it “asap,” right? So, I- I said, “Man.” I- I tried to wait for you.
 8        SANCHEZ        And I was like, “Oh, she has to be busy. Something has to be going on.”
                         [OV][UI]
 9
       PLASENCIA         [OV] Oh. Yeah.
10                       You know what I mean? So I just crossed my fingers. Everything was okay.
          SANCHEZ
                         Because with you, it’s legit, because you have a license.
11     PLASENCIA         [OV] Right.
                         [OV] They cannot pull you over for nothing. Or they just- can’t just… you
12        SANCHEZ
                         know what I mean?
13     PLASENCIA         Yeah.
                         So I just had to take the- the chance. You know me, man. I gotta have food. I
          SANCHEZ
14                       cannot- [OV]
       PLASENCIA         [OV] Yeah. Yeah.
15       SANCHEZ         [OV] -go without food like that. You know?
16     PLASENCIA         Yeah. [OV][UI]
                         That’s not just for my sake, it’s for the community’s sake, that likes to still
          SANCHEZ
17                       mess around. You know what I mean?
       PLASENCIA         Mm-hm. [indicating the positive]
18       SANCHEZ         And then, uh… shit like that. So-
       PLASENCIA         Okay.
19
         SANCHEZ         That’s what happened. Um, um… Coma, it’s alright. It- it- it happens. Uh, just-
20                       No, but, um, well, now that I know that, like, you’re gonna need me like that,
       PLASENCIA
                         like that- [OV]
21       SANCHEZ         [OV] Yes.
       PLASENCIA         [OV] –I’ll be- you know what I mean? I’m gonna be- [OV]
22
                         [OV] Yes. Yes, I wa- I was even trying to- mm-hm [indicating the positive]. I
23        SANCHEZ        was even trying to, uh, uh, uh- I am still gonna do it, but I’m gonna get me a
                         car.
24                 ...   . . . [SANCHEZ then explains why he did not already have a car]
                         Um, I told them that you were gonna be the one to be driving the car, mostly
25        SANCHEZ
                         [sic] the time, because you have a license, right?
26     PLASENCIA         Yeah.
                         . . . [The parties then talk about how SANCHEZ sent “Mona” instead of
27                 ...   “Comadre,” and how the people “Mona” met function “like going to
                         McDonald’s” or “like a drive-in” in that they operate very quickly.]
28     PLASENCIA         Like the way we did the other day? We were gonna- in Fresno? Me and Jen?

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 1                       Or- [OV]
          SANCHEZ        [OV] Yes. Yes.
 2      PLASENCIA        [OV] Boom boom.
 3        SANCHEZ        [OV] Like- like that. When you guys went with the black?
        PLASENCIA        Yeah. Yeah.
 4                       Just- just like that. Just like that. In and out. Boop boop. We’re outta here. You
          SANCHEZ
                         know? [OV]
 5      PLASENCIA        Yeah.
 6                       [OV] So I had to do that for- you know? Even doing your brother a favor, too.
          SANCHEZ
                         You know what I mean?
 7      PLASENCIA        Yeah.
                         Yeah, yeah. So he could have something. ‘Cause I know that a lot of stuff
 8        SANCHEZ
                         that’s in the hood right now, it’s- it- it tastes, uh, like, uh, like, uh, gasoline.
        PLASENCIA        Yeah.
 9
          SANCHEZ        Yeah.
10      PLASENCIA        Yeah.
                         And- and- and it- it’s- it’s not that it’s bunk. It just tastes like gasoline- it
11        SANCHEZ
                         smells like gasoline ‘cause [of] the way they brought it back from T.J. [OV]
        PLASENCIA        [OV] Yeah. Yeah.
12                       [OV] You know what I mean? From the bord- from the- from Mexico and all
          SANCHEZ
13                       that stuff. [UI] [OV]
        PLASENCIA        [OV] Yeah.
14                       So that’s what it is, but I wasn’t gonna try to get none of that. I try not to get
          SANCHEZ
                         nothing that’s in the hood and try to have some different stuff.
15      PLASENCIA        Yeah.
16        SANCHEZ        You know what I mean?
                         . . . [SANCHEZ and PLASENCIA then spoke about how PLASENCIA’s
                   ...
17                       family is doing and what they plan to do to celebrate SANCHEZ’s birthday.]
                                                     [END OF CONVERSATION]
18          65.     Based on my training and experience, I know that drug traffickers very commonly use
19 vague or innocuous language – such as the words “that” or “it” – when speaking about their drug dealing

20 to attempt to confuse law enforcement and avoid criminal liability for their actions. Furthermore, I know

21 that they use the word “black” to refer to black tar heroin, specifically. I also know that drug couriers are

22 often individuals who do not have a valid driver’s license or are otherwise not legally able to operate a

23 motor vehicle in California; as such, when these individuals are stopped by law enforcement and

24 subsequently detained or instructed not to drive, law enforcement is then able to search the vehicle at

25 issue when it is towed or when law enforcement becomes aware of other probable cause to search it.

26 Therefore, I know that a drug courier with a valid driver’s license is less susceptible to losing the

27 narcotics they are transporting and are also more highly valued by the individual sending them. Finally, I

28

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 1 also know that the vast majority of methamphetamine in California’s Central Valley comes from

 2 Mexico, that methamphetamine is sometimes described as tasting like gasoline, and that many times

 3 drug couriers attempt to smuggle methamphetamine across the U.S./Mexico border by putting it in a

 4 vehicle’s gasoline tank. I therefore believe that the “stuff” SANCHEZ and PLASENCIA discuss in the

 5 latter part of the call is methamphetamine, which corroborates my belief that SANCHEZ was sending

 6 FELISCIANO to purchase one-half pound of methamphetamine.

 7          66.     Based on my knowledge of the investigation, I know that ENTERPRISE members – and

 8 SANCHEZ, specifically – uses food-related terms, such as “burrito,” to refer to illicit narcotics. I also

 9 know of only one individual in SANCHEZ and PLASENCIA’s social circles who is named “Jen,” and

10 that is Jennifer ESCOBEDO, who I already know to be involved in drug trafficking with SANCHEZ,

11 as is set out in elsewhere in this affidavit.

12          67.     Therefore, I believe that SANCHEZ’s preference would have been for PLASENCIA to

13 go pick up the methamphetamine and sent her a text message, using (559) 800-4470 (TT12), asking her

14 to call him. When she called him back approximately one hour later, I believe SANCHEZ indicated

15 that he tried to wait for her because she has a valid driver’s license and would therefore have a higher

16 likelihood of returning his drugs to his stash house without law enforcement interference. I believe

17 SANCHEZ then indicated that he could not wait any longer because he had to get narcotics “for the

18 community’s sake,” but also indicated that he was “still gonna do it” and was going to get another

19 vehicle. When SANCHEZ began to discuss the speed of the individuals distributing the narcotics in

20 Fresno, I believe PLASENCIA and SANCHEZ transitioned to speaking about a different time in which

21 PLASENCIA and Jennifer ESCOBEDO transported heroin. I believe the parties ended this portion of

22 the conversation by discussing how the methamphetamine that is available in “the hood” tastes like

23 gasoline due to the way it is smuggled into the United States from Mexico, and that this is why

24 SANCHEZ wanted to get methamphetamine from somewhere else (i.e. from Fresno). I believe this also

25 corroborates my belief that the narcotic being obtained was methamphetamine.

26          68.     Over the next hour, SANCHEZ, using (279) 386-7769 (TT6), called FELISCIANO

27 several times, using (559) 401-8633 (TT 8633), to ask for her location and to coordinate where she

28 would meet “him” (referring to the source of supply). Eventually, SANCHEZ told FELISCIANO to

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 1 travel to a Me-n-Ed’s Pizza Parlor located in the vicinity of W. Clinton Avenue and Interstate Highway

 2 99 in Fresno, CA.

 3            69.      The investigative team was previously aware that an incarcerated person at Salinas

 4 Valley State Prison illegally used – and allowed SANCHEZ to also illegally use – (213) 334-1252

 5 (TT18) to communicate with other individuals while in custody. When I observed records obtained from

 6 Verizon 19 for (213) 334-1252 (TT18), I saw that several text messages had been sent between (213)

 7 334-1252 (TT18) and (559) 652-6826 (TT 6826) during the time the investigative team was following

 8 FELISCIANO in ROMERO’s Mazda. For example, at approximately 4:01 PM, (213) 334-1252

 9 (TT18) sent a text message to (559) 652-6826 (TT 6826) which read, “\0T\0h\0e\0r\0e\0 \0o\0n\0

10 \0t\0h\0e\0i\0r\0 \0w\0a\0y\0 <q\0 \04\05\0 \0m\0i\0n\0u\0t\0e\0s\0 \0a\0w\0a\0y\0”, which translates to

11 “There [sic] on their way [new line] 45 minutes away”. As stated above, SANCHEZ and

12 FELISCIANO spoke several times during this period, including at approximately 4:15 PM. During this

13 call, the audio for FELISCIANO’s side of the conversation is of poor quality; however, FELISCIANO

14 may be heard saying that she is approximately “twenty-one miles” and “fifteen, twenty minutes” away

15 from “Fresno” and “that place.” Approximately four minutes after this call took place, (213) 334-1252

16 (TT18) sent a text message to (559) 652-6826 (TT 6826) (in plain text) which read, “There [sic] in

17 Caruthers about 20 minutes away”. It should be noted that at the time of these calls and text messages,

18 the surveillance team was following FELISCIANO as she drove north on State Route 41 toward

19 Fresno, CA.

20            70.      Additionally, although SANCHEZ eventually told FELISCIANO to go to the Me-n-

21 Ed’s Pizza Parlor located near W. Clinton Avenue and State Highway 99, he had initially told her in

22

23            19
                On April 23, 2025 – the day after this narcotics deal – the investigative team served a search warrant on
     VERIZON for records associated with (213) 334-1252 (TT18). Because VERIZON retains content from text message
24
     conversations for several days, the investigative team received the content of text messages sent on April 22, 2025, between
     (213) 334-1252 (TT18) and (559) 652-6826 (TT 6826). It should be noted that due to the format in which the team received
25
     some of the text messages, several irrelevant characters were inserted in between the letters of the text. For example, instead
     of the word “There”, the raw return from VERIZON for several of the text messages would read, “\0T\0h\0e\0r\0e”.
26
     Furthermore, it appears that the characters “<q\0” denote a new line in the text message. Finally, sometimes the text messages
     were returned out of the order in which they were likely sent; however, in most cases, the text was cut off in the middle of the
27
     word, making the task of piecing the text message thread together much easier. In this affidavit, I will first set out the raw text
     received between (213) 334-1252 (TT18) and (559) 652-6826 (TT 6826) and will then translate it to ease the Court’s
28
     evaluation of the evidence.

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 1 calls at 4:31 PM and 4:42 PM to go to a McDonald’s restaurant located near the corner of Jensen

 2 Avenue and Interstate Highway 99. Accordingly, at approximately 4:44 PM, (213) 334-1252 (TT18)

 3 sent a text message (in plain text) to (559) 652-6826 (TT 6826) which read, “Where at McDonald’s at

 4 41 and Jensen”.

 5          71.     Based on my knowledge of Fresno, CA, I know that there is only one McDonald’s

 6 restaurant on or near Jensen Avenue in Fresno, CA, and it is located directly (and immediately) to the

 7 east of the off ramp for State Highway 99 on E. Jensen Avenue. However, I also know that State Route

 8 41 is a short distance to the west of this intersection.

 9          72.     Therefore, based on the fact that the text messages from (213) 334-1252 (TT18) were

10 mirroring FELISCIANO’s location, as well as her calls with SANCHEZ, using (279) 386-7769 (TT6),

11 I believe that (213) 334-1252 (TT18) was essentially coordinating for the user of (559) 652-6826 (TT

12 6826) to meet with FELISCIANO when she arrived in Fresno, CA.

13          73.     Subsequent events would corroborate this belief, as well as reveal the user of (559) 652-

14 6826 (TT 6826). At approximately 4:56 PM, SANCHEZ, using (279) 386-7769 (TT6), spoke with

15 FELISCIANO, using (559) 401-8633 (TT 8633), to confirm that the meeting location was “the Me-n-

16 Ed’s” located at “Clinton and ninety-nine.” FELISCIANO indicated that she was three miles away.

17 SANCHEZ indicated he would call her back and eventually did so at approximately 5:07 PM. It should

18 be noted that this call was approximately 21 minutes long, and did not terminate until approximately

19 5:28 PM. During this call, SANCHEZ asked how far away she was and FELISCIANO responded that

20 she was “like, a minute” away. Approximately 24 seconds into that call, another unidentified male may

21 be heard speaking in the background; based on the exchanges between him and SANCHEZ, I believe

22 that he was physically present with SANCHEZ. Because the unidentified male could be clearly heard,

23 but no “other side” of the conversation could be heard at all, it appeared that the unidentified male was

24 speaking on the phone to another individual. The unidentified male could be heard saying that “we’re

25 pulling up, like, right now.” FELISCIANO then conveyed to SANCHEZ, SANCHEZ conveyed to the

26 unidentified male, and the unidentified male conveyed to the individual on the phone with him that

27 FELISCIANO was in a black “little buggy.” When SANCHEZ attempted to ask the unidentified male

28 what kind of car the source of supply was driving, the unidentified male started to ask the individual he

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 1 had been speaking with but then indicated that “he [i.e. the source] hung up.”

 2          74.     From the time that I first heard the unidentified male greet the source on the phone until

 3 the time he indicated to SANCHEZ that the source had hung up was approximately 26 seconds (00:23

 4 to 00:50). I therefore believe that the call time for the unidentified male’s call with the source of supply

 5 likely started several seconds before 00:23 – the phone had to ring – and likely ended several seconds

 6 before 00:50, as the unidentified male did not realize immediately that the source of supply had

 7 terminated the call. When I viewed the records provided for Verizon for (213) 334-1252 (TT18), I

 8 observed that (213) 334-1252 (TT18) placed a call to (559) 652-6826 (TT 6826) at approximately 5:08

 9 PM – the next minute after SANCHEZ called FELISCIANO at 5:07 PM – and that the call lasted 27

10 seconds. I therefore believe that the unidentified individual in the background of SANCHEZ’s call with

11 FELISCIANO was using (213) 334-1252 (TT18) to call (559) 652-6826 (TT 6826), and that the user of

12 (559) 652-6826 (TT 6826) was the source of supply of methamphetamine.

13          75.     At approximately 5:12 PM, while SANCHEZ and FELISCIANO were still on the

14 phone, the surveillance team observed the Mazda driven by FELISCIANO pull into the Me-n-Ed’s

15 Pizza Parlor parking lot located on W. Clinton Avenue, just east of State Highway 99.

16          76.     At approximately 5:24 PM (approximately 17 minutes and 20 seconds into the ongoing

17 call between SANCHEZ and FELISCIANO), FELISCIANO began speaking to SANCHEZ about

18 getting “the rest of the money out.” SANHCEZ then became upset and said, “You didn’t fucking take it

19 out?” FELISCIANO then told SANCHEZ to hold on and SANCHEZ effectively sat on hold for the

20 next six minutes until the call terminated.

21          77.     Based on my knowledge of the investigation, I know that because SANCHEZ is in

22 custody with the California Department of Corrections and Rehabilitation, he does not have direct

23 access to cash U.S. currency in order to purchase illicit narcotics, and must therefore rely on his

24 associates to conduct the transactions for him. I also know that one of the ways that he exerts control

25 over these situations is to have his associates use money transfer cellular phone applications such as

26 CashApp and Chime to gather and transfer funds for illegal transactions involving illicit narcotics.

27 Therefore, based on the context of this call, as well as numerous prior calls in which SANCHEZ and

28 FELISCIANO discussed transferring funds from and to various accounts, I believe that SANCHEZ

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 1 had instructed FELISCIANO to withdraw cash for this transaction, and that she had failed to do so.

 2          78.     Several minutes prior, at approximately 5:23 PM, (559) 652-6826 (TT 6826) sent a text

 3 message (in plain text) to (213) 334-1252 (TT18) which read, “Pulling up”. Based on my training and

 4 experience, I know this to be a phrase used in popular culture to refer to the idea of imminently arriving

 5 at a location. Accordingly, at 5:26 PM, the team observed a silver Toyota sedan pull into the same

 6 parking lot and park next to ROMERO’s Mazda. FELISCIANO was then observed exiting the driver’s

 7 seat of the Mazda and speaking with the occupants of the silver Toyota through the passenger side

 8 window and showing them something on her cellular phone.

 9          79.     Three minutes later, at 5:29 PM, the silver Toyota pulled out of the parking lot and

10 departed the area. At approximately the same time, FELISCIANO, using (559) 401-8633 (TT 8633),

11 called SANCHEZ, using (279) 386-7769 (TT6). During the call, SANCHEZ asked what happened and

12 FELISCIANO responded “Touchdown! It’s a touchdown!” FELISCIANO also elaborated that “he”

13 [the source] had Chime and SANCHEZ instructed her to “head on back” and to “go smooth.” The next

14 minute, SANCHEZ, using (279) 386-7769 (TT6), called ROMERO, using (559) 821-3633 (TT 3633),

15 to tell him that “they already left Fresno” and thanked ROMERO. Based on the previous calls and

16 events, I believe SANCHEZ was thanking ROMERO for letting SANCHEZ use his vehicle to traffic

17 illicit narcotics.

18          80.     Based on my training and experience, I know that the word “touchdown” is very

19 frequently used in contraband trafficking communities to refer to the idea that a transaction has been

20 successfully completed, and I therefore believe that FELISCIANO was indicating to SANCHEZ that

21 she had completed the transaction and obtained the methamphetamine. I also know that when a courier

22 is travelling with contraband in their vehicle, they very often attempt to drive in such a way that they

23 will not invite a traffic stop by law enforcement during their trip; I believe this is what SANCHEZ was

24 referring to when he told FELISCIANO to “go smooth.”

25          81.     Several minutes later, a series of text messages was sent from (213) 334-1252 (TT18) to

26 (559) 652-6826 (TT 6826). The following chart sets out how the text messages were initially received:

27 ///

28 ///

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 1    CALL NUMBER        RAW TEXT
      837                \0\0I\0 \0a\0l\0r\0e\0a\0d\0y\0 \0k\0n\0o\0w\0 q<\0 \0I\0 \0d\0o\0n\0’\0t\0
 2                       \0k\0n\0o\0w\0 \0w\0h\0y\0 \0t\0h\0e\0y\0 \0d\0i\0d\0n\0’\0t\0
 3                       \0h\0a\0v\0e\0 \0c\0a\0s\0h\0.\0.\0t\0h\0a\0t\0 \0g\0i\0r\0
      838                \0\0h\0a\0t\0 \0o\0n\0e\0 \0b\0i\0t\0.\0.\0m\0y\0 \0b\0a\0d\0
 4                       \0b\0l\0o\0c\0k\0
      839                \0\0l\0 \0w\0a\0s\0 \0s\0u\0p\0p\0o\0s\0e\0d\0 \0t\0o\0 \0d\0o\0
 5                       \0t\0h\0a\0t\0.\0.\0d\0o\0n\0’\0t\0 \0k\0n\0o\0w\0 \0w\0h\0y\0 \0s\0h\0e\0
                         \0d\0i\0d\0n\0’\0t\0.\0.\0d\0i\0d\0n\0’\0t\0 \0l\0i\0k\0e\0 \0t
 6
      840                \0\0I\0 \0a\0l\0r\0e\0a\0d\0y\0 \0k\0n\0o\0w\0 q<\0 \0I\0 \0d\0o\0n\0’\0t\0
 7                       \0k\0n\0o\0w\0 \0w\0h\0y\0 \0t\0h\0e\0y\0 \0d\0i\0d\0n\0’\0t\0
                         \0h\0a\0v\0e\0 \0c\0a\0s\0h\0.\0.\0t\0h\0a\0t\0 \0g\0i\0r\0
 8    841                \0\0h\0a\0t\0 \0o\0n\0e\0 \0b\0i\0t\0.\0.\0m\0y\0 \0b\0a\0d\0
                         \0b\0l\0o\0c\0k\0
 9           82.    When I reviewed the above data, I observed that the text message sent under call 840 was
10 the same as that sent under call 837, and that the text message sent under call 841 was the same as that

11 sent under call 838. Additionally, when translated, I observed that the letters “gir” were at the end of call

12 837 and that that call 839 began with the letter “L”. Furthermore, I observed that call 839 ended with the

13 letter “T” and that call 838 began with the letters “hat”. I therefore believe that the correct ordering of

14 the messages is 837, 839, and then 838, which I believe is borne out by the context of the translated text:

15    CALL NUMBER                                      TRANSLATED TEXT
16                        I already know
                    837
                          I don’t know why they didn’t have cash..that gir
17                  839 l was supposed to do that..don’t know why she didn’t..didn’t like t
                    838 hat one bit..my bad block
18           83.    Based on the context of the calls set out above, in which FELISCIANO appears to
19 indicate to SANCHEZ that she had not drawn the cash out like he had instructed, and in which

20 FELISCIANO later indicated that the transaction was completed because “he” had Chime, I believe

21 that the user of (213) 334-1252 (TT18) was apologizing to the source of supply because FELISCIANO

22 had not used cash to complete the transaction though she was supposed to have done so, requiring the

23 source and FELISCIANO to use the Chime application to transfer to the funds instead. This belief was

24 corroborated by a subsequent text message sent later that evening from (559) 652-6826 (TT 6826) to

25 (213) 334-1252 (TT18), which read, “Ay block next time all cash b”. Based on the context of the

26 messages sent between (559) 652-6826 (TT 6826) and (213) 334-1252 (TT18), I believe the parties call

27 each other “block” as a term of endearment. Based on the context of all of the events and calls set out

28

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 1 above, I believe the user of (559) 652-6826 (TT 6826) was essentially telling the user of (213) 334-1252

 2 (TT18) that transactions for illicit narcotics in the future would have to be conducted in cash, not using

 3 money transfer applications such as Chime.

 4           84.      Based on events on Aprill 22, 2025, as well as subsequent events in May 2025, I believe

 5 that the user of (559) 652-6826 (TT 6826) is Luis AMARO AGUILAR. First, members of the

 6 investigative team checked open-source databases frequently used by law enforcement to identify

 7 individuals and learned that (559) 652-6826 (TT 6826) is associated with Luis AMARO AGUILAR.

 8 Additionally, on April 22, 2025, after the deal with FELISCIANO, the surveillance team continued to

 9 follow the silver Toyota – whose occupants had spoken with FELISCIANO – until the driver exited the

10 vehicle. Members of the investigative team then positively identified the driver as Luis AMARO

11 AGUILAR after reviewing the picture of Luis AMARO AGUILAR maintained on file with the

12 California Department of Motor Vehicles. Finally, on April 24, 2025 (two days after this deal), Debbie

13 SANCHEZ and Carly BALBOA travelled to Fresno to receive methamphetamine from AGUILAR 20

14 at SANCHEZ’s direction. During that deal, as is set out below, AGUILAR got on the phone with

15 SANCHEZ and spoke about how the way the last deal (i.e. the deal set out in this section) had

16 transpired was not optimal and that he wished to proceed only with cash. Therefore, I believe that

17 AMARO AGUILAR is the user of (559) 652-6826 (TT 6826), that he was the driver of the vehicle

18 from which FELISCIANO obtained the methamphetamine, and that he coordinated the distribution of

19 the methamphetamine with the user of (213) 334-1252 (TT18).

20           85.      Therefore, I believe that ROMERO knowingly provided a vehicle for FELISCIANO to

21 use to facilitate the distribution of illicit narcotics; that FELISCIANO knowingly travelled to Fresno,

22 CA, to receive one-half pound of methamphetamine in exchange for $600; that AMARO AGUILAR

23 distributed one-half pound of methamphetamine in exchange for $600; and that SANCHEZ coordinated

24 all of the above, along with the unidentified male in the background of his calls with FELISCIANO.

25

26

27
             20
                AGUILAR was positively identified on that date based on a comparison with the picture maintained on file by the
28
     California Department of Motor Vehicles.

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 1                      3.       May 2, 2025 – SANCHEZ and RIOS facilitated the distribution of heroin
                                 from TAMAYO to FELISCIANO and GONZALES
 2

 3           86.        On May 1, 2025, at approximately 11:28 AM, Angel Soto RIOS, 21 using (559) 514-1768

 4 (TT 1768), called SANCHEZ, using (279) 386-7769 (TT6). It should be noted that during this call,

 5 SANCHEZ referred to RIOS as “Happy,” and RIOS identified himself as “Angel Soto RIOS.” Based

 6 on my knowledge of the investigation, I know that “Happy” is RIOS’s moniker. The following is a

 7 transcript of the pertinent portions of that call:

 8                                                       [BEGINNING OF CALL]
                             [During the initial portions of this call, the parties spoke about how RIOS’s
 9                           associate was attempting to sell high-quality marijuana and how RIOS wanted
10                           to get a job. At one point, SANCHEZ conducted a three-way call with his
                      ...
                             “Compa” who indicated that he would consider RIOS for a job. SANCHEZ
11                           then terminated the call with his “Compa” and he and RIOS continued to
                             speak about SANCHEZ’s relationship with his “Compa.”]
12        SANCHEZ            But, uh, are we still rocking and rolling with the negrita?
              RIOS           Hell, yeah. Mando. Always. [OV] [UI] It could happen right now if you want.
13
                             Ye- ye- no, no, no, no. I- I am. I- um. I’m gonna be ready- remember? I told
          SANCHEZ
14                           you before Friday?
                             [the parties speak over each other]
15                           It will be tom- yeah, it will be tomorrow, you hear me? I’ll end up snat-
          SANCHEZ
                             snatching up, uh, one. You know what I mean?
16                           [SANCHEZ then speaks about how he gave narcotics to another individual to
17                    ...    smuggle it into the Fresno County Jail, but this individual has not turned
                             himself in yet. RIOS indicated that he understood.]
18                                                     [END OF CONVERSATION]

19           87.        Based on my training and experience, I know that drug traffickers commonly use the

20 word “black” to refer to heroin, that the word “negrita” means “the little black girl” in Spanish, and that

21 Hispanic drug traffickers very commonly use various derivations of the word “black” in various

22 languages, including this word, to refer to black tar heroin. I therefore believe that in this call,

23 SANCHEZ was asking RIOS if RIOS still sold heroin. After RIOS indicated that he did, and that

24 SANCHEZ could get it right now, SANCHEZ reminded 22 him that he would be ready “before Friday”

25
             21
                  Based on the fact that the user of (559) 514-1768 (TT 1768) identified himself as “Angel Soto Rios,” as well as
26 the fact that SANCHEZ identified the user of (559) 514-1768 (TT 1768) as “Happy,” which I know to be RIOS’ moniker, I
     believe that the user of (559) 514-1768 (TT 1768) is RIOS.
27           22
               Several days before, on April 27, 2025, between approximately 9:53 PM and 11:19 PM, SANCHEZ and RIOS
     had exchanged text messages on (279) 386-7769 (TT6) and (559) 514-1768 (TT 1768) in which RIOS asked SANCHEZ,
28
     “When are you gonna be ready again” and SANCHEZ responded, “By Friday, my ninja gracias”.

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 1 and indicated that he would take “one.” Based on subsequent events, I believe that SANCHEZ was

 2 indicating he would take one ounce.

 3          88.    Later that night, at approximately 6:09 PM, SANCHEZ, using (279) 386-7769 (TT6),

 4 called Ramona FELISCIANO, using (559) 401-8633 (TT 8633). During the call, another male began

 5 speaking with SANCHEZ. Based on the fact that the investigative team has intercepted hours of

 6 conversation involving Benny GONZALES while he was using (559) 961-6401 (TT5), I and other

 7 members of the investigative team recognized this male voice as belonging to GONZALES. During this

 8 conversation, GONZALES indicated that he was going to go to Fresno in the morning because he had

 9 “court in the morning.” GONZALES then stated, “If you need it tomorrow by a certain time, like when

10 I get out of court, like if it’s in the morning-” and then the parties spoke over each other. GONZALES

11 then suggested that one of them speak with “Happy,” and SANCHEZ agreed. The parties then spoke

12 about transferring money with CashApp. Approximately 23 minutes and 26 seconds into the call,

13 SANCHEZ indicated that “tomorrow” they would “buy an ounce of it,” and that he was going to “call

14 the homie” to see if he could “make this happen early in the morning,” at which point the call stayed

15 active, but no noise could be heard.

16          89.    Accordingly, at approximately 6:33 PM, while GONZALES and FELISCIANO stayed

17 on the other line, SANCHEZ used (279) 386-7769 (TT6) to call RIOS, using (559) 514-1768 (TT

18 1768). During the call, SANCHEZ stated that when his “primo goes to court,” he wanted to “get one for

19 sure.” SANCHEZ also stated that it was “too much” to have his associates go to “the ‘No” at the time of

20 the call, but then asked, “Can you have it ready in the morning for us?” RIOS responded that he could

21 call “[his] people right now.”

22          90.    Based on my training and experience, I know that ENTERPRISE members refer to

23 Fresno, CA as “the ‘No.” Therefore, based on the context of the previous calls, I believe SANCHEZ

24 was indicating that he wished to have one ounce of heroin distributed to one of his associates when that

25 associate went to court, as it would be “too much” to have his associate go to Fresno, CA before that

26 time. Based on the context of the previous call with GONZALES and FELISCIANO, I believe that

27 SANCHEZ’s associate was GONZALES, and that therefore the plan was for GONZALES and

28 FELISCIANO to receive that heroin. I therefore believe that the heroin source – and possibly RIOS –

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 1 were located in Fresno, CA.

 2           91.      I observed call detail records from (559) 514-1768 (TT 1768) and observed that (559)

 3 514-1768 (TT 1768), used by RIOS, called (559) 776-7731 (TT17), used by TAMAYO 23 as described

 4 below, approximately two minutes after the previous call, at 6:35 PM. The call with TAMAYO lasted

 5 just over one minute. Based on the context of the previous call between SANCHEZ and RIOS, I

 6 believe RIOS called TAMAYO to ask if TAMAYO would agree to distribute the heroin to

 7 SANCHEZ’s associate (GONZALES) the following morning.

 8           92.      Approximately two minutes after that, at 6:37 PM, RIOS again used (559) 514-1768 (TT

 9 1768) to call SANCHEZ, using (279) 386-7769 (TT6). The following is a transcript of the pertinent

10 portions of that call:

11                                             [BEGINNING OF CONVERSATION]
      SANCHEZ Yee.
12                Yeah, boy. Don’t even trip, B. We’ll make it happen first thing in the morning.
          RIOS
13                My boy don’t work tomorrow, so it’s all good.
      SANCHEZ Oh, there it is there. Yes. [OV]
14                [OV] Just give me a- just give me a call when your people on the way over here.
          RIOS
                  He said if they can to meet at the same Seven Eleven.
15    SANCHEZ Okay. Yeah, yeah, yeah. Mandatory, we’ll do that.
                  [The parties then spoke about other individuals who were transporting and
16
            . . . distributing narcotics, as well as SANCHEZ’s “Compa,” who was going to get
17                RIOS a job.]
                                             [END OF CONVERSATION]
18        93.     Based on the context of the calls set out above, as well as subsequent events, I believe
19 RIOS indicated to SANCHEZ that TAMAYO would have the heroin ready “first thing in the

20 morning,” and that the deal was going to happen at a “Seven Eleven” convenience store.

21           94.      The following morning, on May 2, 2025, at approximately 8:22 AM, SANCHEZ, using
22 (279) 386-7769 (TT6), called RIOS, using (559) 514-1768 (TT 1768). During the call, RIOS indicated

23 that “[his] boy was waiting on [SANCHEZ’s] people.” SANCHEZ responded that “he” was “going to

24 court” and that SANCHEZ would have his “prima” go and “meet the homie,” as she was going to drop

25 off the individual who had court. The parties then (again) spoke about RIOS working with

26
             23
                 On May 2, 2025, members of the investigative team established physical surveillance on TAMAYO who was
27
     with an uncharged female. The investigative team called (559) 776-7731 and watched as the uncharged female removed a
     phone from her purse and handed it to TAMAYO. TAMAYO placed the cell phone on his ear and answered the
28
     investigative team’s call. Therefore, I believe TAMAYO is the user of (559) 776-7731.

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 1 SANCHEZ’s “Compa.”

 2           95.      Based on the context of previous calls, I believe SANCHEZ was indicating that

 3 GONZALES had to go to court, but that FELISCIANO would come to pick up the heroin. A

 4 subsequent call at approximately 8:27 AM between SANCHEZ, using (279) 386-7769 (TT6), and

 5 FELISCIANO, using (559) 401-8633 confirmed this belief; during this call SANCHEZ’s “suggestion”

 6 was that his “primo” would go “into the courts” and that FELISCIANO would “go over there and pick

 7 it up.” FELISCIANO ended the call by telling SANCHEZ that GONZALES had already been

 8 dropped off at the courthouse.

 9           96.      At approximately 8:43 AM, SANCHEZ used (279) 386-7769 (TT6) to call (559) 514-

10 1768 (TT 1768), used by RIOS. During the call, RIOS said that his “homeboy” had sent a text

11 message 24 indicating he was on his way. RIOS indicated that his “homeboy” would be in “a truck or a

12 Charger;” SANCHEZ indicated that he (i.e. FELISCIANO) was in a white Nissan Altima.

13           97.      When I reviewed call detail records for (559) 514-1768 (TT 1768), I observed that

14 approximately six minutes before the previous call with SANCHEZ, RIOS used (559) 514-1768 (TT

15 1768) to attempt to call TAMAYO, using (559) 776-7731 (TT17). The call lasted approximately two

16 seconds, which indicates to me that the call was likely not completed. Immediately after hanging up with

17 his next call with SANCHEZ at 8:44 AM, RIOS, using (559) 514-1768 (TT 1768), again called

18 TAMAYO, using (559) 776-7731 (TT17). That call lasted approximately 16 seconds, which based on

19 my experience I know to be consistent with a short conversation indicating someone was on their way to

20 a meeting. I therefore believe that TAMAYO was the “homeboy” who would be distributing the heroin,

21 based on the context of the prior call and transactional data discussed.

22           98.      It should be noted that while these calls were taking place that morning, the surveillance

23 team had observed that the vehicle tracker installed on GONZALES’s white Nissan Altima had

24 travelled to Fresno, CA earlier that morning. Due to the large increment set on the tracking device, the

25 logged geolocation points in the vehicle’s tracker jumped from the area of Fowler, CA, to a 7-11

26

27           24
                A search of the historical records of (559) 514-1768 (TT 1768) via a court order did not reveal any text messages
     sent from (559) 514-1768 (TT 1768) immediately prior to this call. This does not preclude the possibility that RIOS was
28
     using a second phone or an encrypted application on his primary phone.

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 1 convenience store located at Fresno St and E. McKinley Avenue in the city of Fresno, CA. Though the

 2 tracker recorded that it was in the area of the 7-11 convenience store at 8:55 AM, the team was able to

 3 view in real time that the tracker had arrived several minutes before that, at approximately 8:40 AM.

 4 Based on the calls set out above, as well as subsequent calls and events, I believe FELISCIANO

 5 dropped GONZALES off at the Fresno County Courthouse and then proceeded to the agreed upon

 6 location to receive the heroin.

 7           99.      It should also be noted that at approximately 8:29 AM, SANCHEZ, using (279) 386-

 8 7769 (TT6), began a call with another phone line. For an unknown reason, the pen register did not

 9 capture the number he called. However, based on the fact that he was speaking with a female, that the

10 female knew GONZALES, that the female and SANCHEZ were speaking about breaking “it” down

11 into “Gs,” and the fact that several members of the investigative team recognized the voice as

12 FELISCIANO’s, I believe that SANCHEZ had used (279) 386-7769 (TT6) to contact FELISCIANO,

13 using (559) 401-8633 (TT 8633). Additionally, during the call, which lasted approximately one hour and

14 two minutes, FELISCIANO told SANCHEZ that she had put the “black shirts” in a brown paper bag.

15           100.     I believe that when FELISCIANO related she was breaking “it” down into “Gs”,

16 FELISCIANO was communicating to SANCHEZ that FELISCIANO packaged the narcotics into

17 grams, to be eventually sold to drug users. I know the term “black shirts” is used by the ENTERPRISE

18 to describe heroin. Therefore, when FELISCIANO told SANCHEZ she put the “black shirts” in a

19 brown paper bag, FELISCIANO was describing that she placed heroin in a brown paper bag.

20           101.     The team then established surveillance on the vehicle while it travelled to the Fresno

21 County Courthouse, and subsequently observed GONZALES in the front passenger seat of the

22 vehicle 25. The investigative team subsequently initiated a traffic stop on the vehicle at approximately

23 9:46 AM. At approximately 9:50 AM, FELISCIANO, using (559) 401-8633 (TT 8633), sent a text

24 message to SANCHEZ, using (279) 386-7769 (TT6), which read, “Primo they stopped us”. SANCHEZ

25 then attempted to call FELISCIANO without success, and FELISCIANO sent another text message

26 which read, “Can’t talk”. She then sent another text message several seconds later which read, “They’re

27
             25
             Based on the totality of the data, intercepted phone calls and personal observations, the investigative team believes
28
     FELISCIANO returned to pick up GONZALES at the courthouse after FELISCIANO purchased the heroin.

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 1 going to take us primo I don’t have that stuff put away”. After several more text messages between the

 2 two, in which FELISCIANO states the location of the stop and SANCHEZ tells her to “[p]ut it a way!

 3 Real quick”, FELISICIANO sent a text message which read, “Primo we are going to jail” and another

 4 message which read, “I’m going to take the blame”.

 5         102.    During the vehicle stop, a member of the investigative team removed GONZALES and

 6 FELISCIANO from the vehicle, and subsequently located approximately one ounce of a black, tar-like

 7 substance wrapped in clear plastic wrap and placed in brown paper bag, which had in turn been placed

 8 inside of a black canvas bag and placed on the rear passenger seat. Based on my training and experience,

 9 I know that this substance is consistent in appearance with black tar heroin. GONZALES and

10 FELISCIANO were cited for possession of narcotics and released.

11         103.    Later that morning, at approximately 11:04 AM, GONZALES, using (559) 961-6401

12 (TT5), called SANCHEZ, using (279) 386-7769 (TT6). The following is a transcript of the pertinent

13 portions of that conversation:

14                                         [BEGINNING OF CONVERSATION]
         SANCHEZ        Bueno?
15      GONZALES        Bro.
16       SANCHEZ        Yes.
        GONZALES        Fuck, dog.
17       SANCHEZ        She didn’t fuckin’ listen, man.
        GONZALES        What happened?
18       SANCHEZ        Uh, my prima.
19      GONZALES        What did you tell her?
                        [SANCHEZ then recounted how he had been speaking with FELISCIANO
20                      and the sequence of events that transpired when they were on the phone and
                        after they had terminated the call, including FELISICANO’s text messages
21                ...
                        to SANCHEZ during the traffic stop. SANCHEZ then began to express
                        disbelief that a police officer would find a clavo and would not arrest
22                      GONZALES and FELISCIANO.]
23       SANCHEZ        Were you guys playing?
        GONZALES        No, on the hood, dog. We got pulled over, dog.
24       SANCHEZ        Oh, on the hood? And they took the clavo?
        GONZALES        They took the clavo, dog. And they let us go.
25       SANCHEZ        Fuck. Those are some fuckin’ crooked-ass cops.
26                      [GONZALES they recounted the sequence of events that transpired during
                        the stop. SANCHEZ then began to speak about getting “another one,” and
        GONZALES
27                      GONZALES indicated that FELISCIANO needed to buy diapers, but
                        SANCHEZ had told her to wait.]
28

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 1                    Yeah, yeah, no, no. I- I have to focus on- look, we can- we can get that- get
                      those, uh, uh- it’s just, I ha- I- I- I mean, I need to get me another- another,
 2                    uh… uh, full black shirt. You know what I mean? But if you guys don’t…
          SANCHEZ yeah, if you don’t want to do it, pris, I’ll have to have someone go get it or
 3
                      something, but I- I gotta get another one. You know what I mean? I don’t
 4                    know- I cannot let this, um… [UI] [SANCHEZ spoke in the background to
                      another individual] You hear me?
 5                    Yeah, yeah, no, I hear you, bro. I was just tryin’ to find out what’s gonna
         GONZALES
                      happen, ‘cause I- I- I’m already right here at, uh…
 6        SANCHEZ Huh? You’re- you’re where?
 7                    I’m on Jensen Avenue. I’m tryin’ to see what’s going on. Do I have to go
         GONZALES
                      back or what? What’s goin’ on? What’s the deal?
 8              . . . [The parties then spoke about how much money was in a CashApp account.
                      Okay, what I’m gonna do, real quick… is- yeah, primo, ‘cause I just told the-
 9                    the homie [that] I don’t wanna l- l- leave the ‘No Town without getting one
          SANCHEZ real quick. I just gonna send the money to you real fast, so, uh, I can call dog
10
                      and just send the money to his CashApp real fast. So I could- I could get that.
11                    You hear me?
                      Okay. But where do I need to go, primo? ‘Cause I’m right here on the
12       GONZALES
                      outskirts of town. I need to fuckin’- fuckin’ turn around and go back.
                      O- o- okay. We will go on McKinley- uh, ‘cause the homie lives right there.
13        SANCHEZ We’ll go on McKinley and, um… that Seven Eleven, uh… uh… McKinley
14                    and Fresno, primo. Do you hear me?
         GONZALES I don’t know where that’s at, but I’m gonna find it right now.
15                    [SANCHEZ then speaks about how he is going to transfer money to a
                      CashApp account, and begins a call with another male in the background.
16                    During the call, the male indicated that SANCHEZ could transfer funds to
                ...
                      “his” (another male’s) CashApp account. SANCHEZ and GONZALES then
17
                      spoke again briefly, and SANCHEZ then started another call with the same
18                    male in the background, after which the call terminated.]
                                                 [END OF CONVERSATION]
19         104. Based on my training and experience, I know that gang members frequently used the
20 phrase “on the hood” to indicate that they are taking a situation seriously. I also know that Hispanic drug

21 traffickers who smuggle narcotics into detention facilities frequently use the Spanish slang term “clavo”

22 to refer to a small object that is inserted inside of one’s body in an attempt to thwart the facilities’

23 scanning equipment, and that they also frequently use innocuous terms such as “one” to refer to their

24 narcotics in an attempt to thwart law enforcement and avoid criminal prosecution. Based on my

25 knowledge of the investigation, I know that SANCHEZ frequently uses the term “black shirt” and/or

26 “black T-shirt” to refer to a set amount of black tar heroin.

27          105.    Therefore, based on the information set out above, as well as the context of this call, I
28 believe that SANCHEZ essentially begins this call by expressing to GONZALES that SANCHEZ is

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 1 frustrated with FELISCIANO because of the circumstances surrounding the traffic stop. SANCHEZ

 2 then asks for reassurance from GONZALES that GONZALES is not simply playing a prank on

 3 SANCEHZ, and GONZALES confirmed that he and FELISCIANO were actually stopped by the

 4 police and that the police actually seized the “clavo,” which based on the context of the situation I

 5 believe to have been a reference to the ounce of heroin which was recovered from the vehicle.

 6 SANCHEZ then indicated that he had to get more heroin; in fact, based on the context of the

 7 conversation, when SANCHEZ began to say, “I cannot let this,” I believe he was going to finish that

 8 sentence by essentially indicating that he could not let the situation stand as it was (i.e. without having

 9 received more heroin). GONZALES then expressed that he wished to know what was going to happen

10 because he was on “Jensen Ave” and “the outskirts of town.” Based on my knowledge of Fresno, I know

11 that Jensen Avenue runs east and west through the southern portion of the more heavily populated areas

12 of the city of Fresno, and that south of Jensen Avenue (which is the direction GONZALES would have

13 been headed if he were travelling out of town) the area would have become more and more rural at the

14 time of this call. I believe SANCHEZ confirmed this when he indicated that he had expressed to his

15 “homie” that he did not want to leave “’No Town [i.e. Fresno] without getting [heroin] real quick.” I

16 believe SANCHEZ then indicated that they would go back to the 7-11 convenience store that

17 FELISCIANO previously used to receive the first ounce of heroin (at “McKinley and Fresno”) to

18 conduct the second deal because “the homie lives right there.”

19          106.    Based on my knowledge of the investigation, I know that TAMAYO’s last known

20 address is 2415 E. Peralta Way, Fresno, CA, which is approximately 500 feet northwest of the 7-11

21 convenience store located on the northeast corner of E. McKinley Avenue and N. Fresno Street in

22 Fresno, CA. I therefore believe that SANCHEZ was indicating that he wanted to complete the second

23 deal at the same location as the first because TAMAYO lives in the area, and therefore believe that it

24 was also TAMAYO who completed the first deal with FELISCIANO, as well.

25          107.    It should be noted that approximately two minutes after SANCHEZ began the above call

26 with GONZALES, FELISCIANO, using (559) 401-8633 (TT 8633), also called SANCHEZ, using

27 (279) 386-7769 (TT6). SANCHEZ put his call with GONZALES on hold and spoke with

28 FELISCIANO, during which FELISCIANO also recounted the events of the traffic stop.

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 1          108.    At approximately 11:21 AM, SANCHEZ used (279) 386-7769 (TT6) to call RIOS,

 2 using (559) 514-1768 (TT 1768). During the call, SANCHEZ asked to pay using $130 in CashApp

 3 funds initially, promising to pay the remaining $270 later. RIOS indicated that he could not make this

 4 decision on his own and started a three-way call with an individual named “Big.” SANCHEZ then

 5 related to “Big” that he wished to purchase “another one” with $130 in CashApp funds, promising to

 6 pay the remaining funds when SANCHEZ (i.e. GONZALES and FELISCIANO) arrived back in “the

 7 varrio.” “Big” indicated that this arrangement “would work,” and SANCHEZ told “Big” and RIOS to

 8 stay on the line.

 9          109.    SANCHEZ then used (279) 386-7769 (TT6) to call GONZALES, using (559) 961-6401

10 (TT5), briefed GONZALES on the situation, and then merged the calls with GONZALES, using (559)

11 961-6401 (TT5), RIOS, using (559) 514-1768 (TT 1768), and an individual who was on the line with

12 RIOS and who was identified as “Vic,” at approximately 11:24 AM. It should be noted that when I

13 reviewed call detail records for (559) 514-1768 (TT 1768), used by RIOS, I observed that RIOS, using

14 (559) 514-1768 (TT 1768), had called (559) 776-7731 (TT17) at 11:22 AM, approximately two minutes

15 before RIOS and “Vic” were merged with SANCHEZ’s call; additionally, that call between (559) 514-

16 1768 (TT 1768) and (559) 776-7731 (TT17) lasted for approximately 4 minutes and 22 seconds,

17 indicating they stayed on the phone with SANCHEZ for another several minutes after the call was

18 merged. This matches the audio from the call with SANCHEZ, further corroborating my believe that

19 the user of (559) 776-7731 (TT17) (“Vic”) is Victor TAMAYO. During that portion of the call,

20 SANCHEZ introduced GONZALES as “Guero,” and requested the CashApp account to which the

21 funds would be paid. “Vic” gave the CashApp account handle as “$BigVic500”, which is an account

22 registered to “Victor TAMAYO.” SANCHEZ then gave GONZALES’s CashApp handle as

23 “$Huero824.” SANCHEZ indicated it would “come up as Benny GONZALES.”

24          110.    At approximately 11:26 AM, GONZALES, using (559) 961-6401 (TT5), received a text

25 message from a number associated with CashApp which read, “Cash App: Victor Tamayo requested

26 $130. Open the app to approve or decline.” Based on the context of the events set out in this affidavit, I

27 believe this money was partial payment for the second ounce of heroin received from RIOS and

28 TAMAYO.

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 1           111.       The parties then agreed to meet at the “same spot,” at “Fresno and McKinley,”

 2 GONZALES indicated that he was already parked there, and the parties then terminated the call.

 3           112.       Based on the calls set out above, the surveillance team had initiated surveillance on the 7-

 4 11 convenience store where I believe FELISCIANO previously received the initial ounce of heroin.

 5 The vehicle tracker installed on GONZALES’s Nissan Altima indicated that it arrived back at the 7-11

 6 at approximately 11:22 AM, and the surveillance team observed the vehicle arrive at the same

 7 approximate time. At approximately 11:35 AM, the team observed GONZALES speaking with a

 8 Hispanic male adult – later identified as TAMAYO – in the parking lot of the 7-11. The two shook

 9 hands, embraced, and then GONZALES returned to his vehicle and departed the area.

10           113.       The surveillance team then followed the Hispanic male adult as he drove to 2415 E.

11 Peralta Way, Fresno, CA, in a Dodge Charger. The male then walked in and out of the residence and

12 was positively identified as the individual who had met with GONZALES in the parking lot and as

13 Victor TAMAYO based on a comparison with the picture of Victor TAMAYO maintained on file with

14 the California Department of Motor Vehicles.

15           114.       The surveillance team then followed TAMAYO as he and an unidentified female drove

16 in the same Charger to the area of the Fashion Fair Mall in Fresno, CA. While one investigative team

17 member called (559) 776-7731 (TT17), another team member observed the female take a phone out of

18 her purse and give it to TAMAYO, who looked at the phone and then put it up to his right ear with his

19 right hand. I therefore believe that TAMAYO is the user of (559) 776-7731 (TT17), and is the

20 individual who distributed heroin to GONZALES and FELISCIANO earlier that day.

21           115.       During the first weeks of the wiretap portion of this investigation, the investigative team

22 observed that (213) 334-1252 (TT18) was being used by an individual housed in SANCHEZ’s same

23 pod in Salinas Valley State Prison (UM97). Several hours after the above-referenced deal for the second

24 ounce of heroin, at approximately 2:10 PM, (213) 334-1252 (TT18) called (559) 961-6401 (TT5), used

25 by GONZALES. The investigative team immediately recognized SANCHEZ’s voice, and after

26 reviewing further calls 26 and toll records, believes that SANCHEZ uses this line to communicate with

27
             26
                  The investigative team was previously aware that SANCHEZ and his associates at least occasionally used (213)
28 334-1252 (TT18) to communicate. On April 23, 2025, the investigative team served a warrant on VERIZON for records

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 1 ENTERPRISE members and associates.

 2           116.     The following is a transcript of the pertinent portions of the call between GONZALES

 3 and SANCHEZ:

 4                                               [BEGINNING OF CONVERSATION]
       GONZALES           Yeah
 5      SANCHEZ           [UI] primo, my phone died. You hear me?
 6     GONZALES           Yeah.
        SANCHEZ           Yeah, yeah. So it died real quick.
 7                        [The parties then spoke about another female who was communicating with
                    ...
                          SANCHEZ during or around the time of the traffic stop set out above.]
 8                        But, uh, real quick, primo, so that’s how they pulled you over? Just- just
         SANCHEZ          basically that- that [UI] she did that, and then [SANCHEZ then made noises
 9
                          like a siren].
10                        I didn’t even know we were getting pulled over, primo. I fuckin’… I seen her
                          pulling over, I was like, “What the fuck?” I was like, “You know we’re getting
11     GONZALES
                          pulled over?” and she was like, “Yeah, the cops are behind us.” I was like,
                          “What the fuck?”
12                        Yeah, and the- and then- and then she had the thing right there. She couldn’t put
         SANCHEZ
13                        it in her “P?”
                          Oh, it was right there, dog. But no, there was not- they- they fuckin’- it
14     GONZALES           happened so quick. I even told her, I said, “You got that fuckin’ shit put away?”
                          She was like, “No.” I was like, “Fuck.”
15                        Yeah. I do- I was like, “What?” And then she’s texting me and- and tell- I was
         SANCHEZ
                          like, “What the f-…” And then-
16
                          They- they kept telling her, “Get off the phone. Get off the phone.” [At this
17                        point, a female – likely FELISCIANO, based on all of the information set out
       GONZALES           herein – began speaking in the background] Because they said that she was
18                        calling people to fuckin’ go meet them over there. They were thinking- thinking
                          that we were trying to… put a hit on ‘em or somethin’.
19       SANCHEZ          Yes, yes, yes.
20                        [The parties then continued to speak about the circumstances leading up to the
                          stop, during the stop, and after the stop. In total, the call lasted approximately
21                        50 minutes.]
                          [END OF CONVERSATION]
22

23
     associated with (213) 334-1252 (TT18). Because VERIZON retains content from text message conversations for several
24 days, the investigative team received the content of a text message sent by FELISCIANO, using (559) 401-8633 (TT 8633),
     to (213) 334-1252 (TT18), on April 18, 2025, at approximately 6:04 PM, which read, “CICI … Can you tell my primo to call
25 me please when he has a chance. Please and thank you so much. Have a blessed day”.
              However, on May 7, 2025, at approximately 9:15 AM, SANCHEZ, using (279) 386-7769 (TT6), called an
26
     unidentified female (UF20), using (559) 413-8584. During the call, UF20 addressed SANCHEZ as “Giddy” and asked, “Was
     that you that just called me?” SANCHEZ responded, “Yeah, that was my other phone.” The team previously obtained
27
     authorization to install a PRTT device on (213) 334-1252 (TT18). When I viewed call detail records for May 7, 2025, I
     observed that (213) 334-1252 (TT18) had attempted to call (559) 413-8584, used by UF20, approximately 30 seconds before
28
     the above-referenced call. Based on this call, I believe that SANCHEZ is a user of (213) 334-1252 (TT18).

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 1           117.     Based on my training and experience, I know that it is very common in drug trafficking

 2 communities for females to attempt to hide narcotics in their vaginal cavity. I also know that the word

 3 “pussy” is a common slang term for a female’s vagina, and therefore believe this is what SANCHEZ

 4 and GONZALES were referencing when they spoke about FELISCIANO having the heroin “put

 5 away” and “put in her ‘P.’”

 6           118.     Therefore, I believe that on May 1 and May 2, 2025, SANCHEZ coordinated with RIOS

 7 and TAMAYO to have heroin distributed to FELISCIANO and GONZALES, and I believe that

 8 TAMAYO distributed that heroin to FELISCIANO and then to GONZALES on May 2, 2025.

 9                    4.       May 4, 2025 – SANCHEZ facilitated the distribution of methamphetamine
                               from R. LOPEZ to GUILLEN
10

11           119.     On May 4, 2025, the investigative team became aware that SANCHEZ, while housed in

12 the Salinas Valley State Prison, conspired to procure a half pound of methamphetamine from R.

13 LOPEZ. This procurement was brokered by Carlos GUILLEN and was transported by both

14 GUILLEN and an uncharged co-conspirator.

15           120.     On May 4, 2025, at approximately 5:37 PM, the investigative team intercepted a call

16 from GUILLEN, 27 using (559) 508-6409 (TT9), to SANCHEZ, using (279) 386-7769 (TT6). During

17 the initial portion of this call, SANCHEZ merged the call with GUILLEN with another call between

18 SANCHEZ and an uncharged co-conspirator. SANCHEZ, the uncharged co-conspirator, and

19 GUILLEN then spoke generally about the ENTERPRISE, its maintenance, and its structure until

20 approximately 12:27 into the call, at which point I believe the conversation turned to the distribution of

21 methamphetamine. The following is a transcript of the pertinent portions of that conversation:

22         NAME                                       TRANSCRIPT
                                    [BEGINNING AT THE 12:27 MINUTE MARK]
23        SANCHEZ Do you still got that – those – those homeboys from Mendota? Or from Kerman or
24           27
                 I believe that Carlos GUILLEN is the user of (559) 508-6409 (TT9) for several reasons. First, on April 19, 2025,
     at approximately 1:00 PM, Ignacio SANCHEZ, using (279) 386-7769 (TT6), called Ray PINON, using (559) 931-4104
25
     (TT1). At a certain point during the call, SANCHEZ indicated to PINON that SANCHEZ was receiving a call from an
     individual named “C-Dog,” which I know to be GUILLEN’s moniker based on my knowledge of the investigation and
26
     human source reporting. The investigative team was able to see that (279) 386-7769 (TT6) was receiving a call from (559)
     508-6409 (TT9) at the same time; additionally, the team was able to see the same data on a PRTT previously installed on
27
     (559) 508-6409 (TT9). Second, when SANCHEZ answered the call from (559) 508-6409 (TT9), members of the
     investigative team recognized GUILLEN’s voice based on prior contact with him. I therefore believe that GUILLEN is the
28
     user of (559) 508-6409 (TT9).

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 1                 whatever?
         GUILLEN Uh – from the – the – the crazy bitch? That white chicka?
 2       SANCHEZ Yeah, the crazy hyna.
 3                 Yeah [background noise] yeah they’re uh - I think they’re on stand-by right now, I
         GUILLEN
                   think. I think – they should have some I think dog.
 4                 [speaking with someone in the background, then again with GUILLEN] Can you
         SANCHEZ
                   call them right now and see? Is it fire though?
 5                 Yeah, they told me it’s good dog. I don’t know, I never – I – I – I never – you
         GUILLEN
                   know? I never had got somebody.
 6
         SANCHEZ We’re just kind of…
 7                 Yeah, I never had got somebody but he’s – [UI] but they sell like six of ‘em you
         GUILLEN
                   know? Like six big ones.
 8       SANCHEZ So do this. I – I – I’ll leave you the half of one right?
         GUILLEN Oh, a half piece?
 9
                   Yes, just to see how it is dog. ‘Cause, I – I’m not going to give up all – give up
         SANCHEZ
10                 money like that – and then it’s – you know what I mean? Like, I want it to be…
         GUILLEN Yeah, I get you.
11                 And then if it’s good then I’ll come back and get one or – two or – whatever it might
         SANCHEZ
                   be. You know what I mean?
12       GUILLEN Yeah.
13       SANCHEZ How can we do this shit? Are we able to…
                   Um – do you want me to make a call right now for – for the half real quick? For just
         GUILLEN
14                 get to test it real quick?
         SANCHEZ Yes, please.
15       GUILLEN Ok. Um – let me call – let me get back to you right now real quick. Okay, my dog?
16       SANCHEZ Alright, thank you.
         GUILLEN Alright, no problem, dog.
17       SANCHEZ We will be right here. Just holler at me, alright?
         GUILLEN Okay.
18       SANCHEZ Alright, bulldog, gotcha.
                   [13:43 into the call, SANCHEZ and the uncharged co-conspirator remained on the
19
                … line and the conversation returned to the history and maintenance of the
20                 ENTERPRISE.]
                                                      [END OF CALL]
21         121. Based on my training and experience, I know that drug traffickers use innocuous and
22 vague-sounding terms such as “one,” “big one,” and “piece” to describe a pound of illicit narcotics, and

23 that they also use terms that refer to a “white girl” such as “crazy bitch” and “white hyna” to describe

24 methamphetamine, specifically. Finally, I know that they use the term “fire” to describe high-quality

25 narcotics. Therefore, I believe that in this call, SANCHEZ asked GUILLEN if GUILLEN still had a

26 connection with the methamphetamine distributor in Kerman, CA. GUILLEN responded that he did,

27 and that he knew that the distributor had approximately six pounds of methamphetamine for sale.

28 SANCHEZ then asked GUILLEN to coordinate the purchase of a half-pound of methamphetamine

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 1 from this distributor, so that GUILLEN’s customers can test it out prior to SANCHEZ purchasing a

 2 large amount from this distributor. GUILLEN agreed and exited the call, presumably to call

 3 GUILLEN’s distributor.

 4           122.     When the investigative team reviewed tolls records for (559) 508-6409 (TT9) used by

 5 GUILLEN, the team observed that immediately after getting off the phone with SANCHEZ,

 6 GUILLEN, using (559) 508-6409 (TT9), made three calls. The first and third calls were to unknown

 7 numbers and were so short that I believe they were unanswered. The second call, made immediately

 8 after the first, at approximately 5:54 PM, was to (559) 519-8338 28 (TT 8338), utilized by R. LOPEZ

 9 and lasted for approximately one minute and nineteen seconds. I believe the content of this call is set

10 out in the transcription below, in GUILLEN’s own words. I believe when GUILLEN stated, “he told

11 me he had a couple of ‘em,” GUILLEN was indicating that this individual (i.e. R. LOPEZ, see below)

12 was indicating that he had several pounds of methamphetamine for sale.

13           123.     At 5:55 PM, after making the three above-referenced calls, GUILLEN used (559) 508-

14 6409 (TT9) to call SANCHEZ on (279) 286-7769 (TT6). The following is a transcript of a pertinent

15 portion of that call:

16                NAME                                     TRANSCRIPTION
                                                     [BEGINNING OF CONVERSATION]
17        SANCHEZ Hello?
18        GUILLEN Hey my dog. You hear me?
          SANCHEZ Yeah.
19                Um – I just called the homie, he said that he – he um – he – he is um – he is hanging
                  up his TV right now on his wall and all that. Like in 20 minutes or so he’s going to
20        GUILLEN
                  call me back. But, I had hollered at him also to about like – since like – he had told
                  me that he had a couple of ‘em.
21
          SANCHEZ Yeah.
22                I had told him like – like um – I wanted like maybe a half “P” real quick. Just to get
                  a test real quick. But – like if my – if my folks like it and shit, we might come – like
23        GUILLEN
                  – for one or two maybe and shit. And then – and then they’re still like on stand-by –
                  like if – if it’s constantly [UI] with it…
24        SANCHEZ [SANCHEZ talking in the background] Go ahead my ninja, go ahead. I added my
25
             28
                  Throughout this investigation, members of the investigative team have intercepted (559) 519-8338 on multiple
26
     occasions. During these intercepts, the user of (559) 519-8338 was identified as “R” or “R-Dog” or the “homie from San
     Joaquin.” I know these monikers to describe Ricardo LOPEZ. Furthermore, members of the investigative team recognized
27
     the voice in these calls to be that of R. LOPEZ from prior contacts and investigations. Though R. LOPEZ ceased use of this
     phone toward the end of May 2025, I believe that R. LOPEZ was the user of (559) 519-8338 (TT20) at the time of the calls
28
     set out in this affidavit.

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 1                  brother so we don’t have him on hold. Go ahead.
                    Oh, okay – nah – nah – but it’s good cuz I had just told him – hollered at him like,
 2                  “Hey dog, well-” ‘cause, like, I just want to make sure, like, if we could lock it in
       GUILLEN
 3                  and shit. It’s going to be constantly, like, if we, like- hey, bitch, the plug is right
                    there on stand-by, you know?
 4     SANCHEZ      Yeah.
                    Like, if my people like it, but we want to get that half too, so he said he would shoot
 5     GUILLEN
                    me 5 bills, he would shoot it for 5 bills.
       SANCHEZ      Ye – yeah. So what did he say?
 6
                    He said that he’s gonna call me back like – in twenty, thirty minutes as soon as he’s
       GUILLEN
 7                  done, um, not being busy from, um, hanging up his TV on the wall in his house.
       SANCHEZ      Okay, where does he live at?
 8                  He – he – he stay in Fresno – but – I don’t know if his shit – if he has his stash in
       GUILLEN      Kerman or I don’t know what – but – um either way I could meet him up though,
 9                  dog.
10     SANCHEZ      Oh, you – okay – the – the reason why…
       GUILLEN      I could probably get a ride or something if you need it you know?
11     SANCHEZ      If you could – no – if you could get a ride right…
       GUILLEN      Yeah.
12     SANCHEZ      I – I’ll – um – um – what’s it called – what we – what I’ll do dog right – uh…
13     GUILLEN      Yeah
       SANCHEZ      You get a ride, but you have bud, huh?
14                  Um – um – yeah I have – well – to be honest – I just have like – I’m helping out the
       GUILLEN
                    little homie – um – well, uh, “Rue” he be having some tree and shit.
15                  Yeah. Yeah well – well what I can do right – is – is – uh – if you could get a ride,
       SANCHEZ
                    dog – uh – uh you know I like to show appreciation dog so…
16
       GUILLEN      Yeah.
17                  So if you could do it for me – I – I come – I do whatever I can dog, you know what I
       SANCHEZ
                    mean?
18     GUILLEN      Yeah I get it, I understand you right now.
                    Remember the last time, I shot you bud whenever you were in the vario, da da da da
19     SANCHEZ      da – so – um I could do that again – but um – I’m trying to do this asap though, dog,
20                  ‘cause I need to – I need to rock and roll, big dog.
                    Okay, okay, yeah. Like, right now you need it- an emergency right? It’s, like, dry
       GUILLEN
21                  right now, that’s why?
                    It’s dry and then the people that – that – that have, right? Look it – I don’t mess with
22     SANCHEZ
                    these other people in the hood right? I could be greedy.
23     GUILLEN      Yeah.
                    I could have the homies – I could – “Hey, dog, fuck that. We’re going to go over
24     SANCHEZ      here and wa wa.” I try to let everybody live – everybody have their own – uh –
                    everybody has to live dog, you know what I mean?
25                  [At the 2:54 minute mark, SANCHEZ continued to speak about the way he
                    maintains the ENTERPRISE’s drug trade, and why SANCHEZ doesn’t – even
26
                    though he could – eliminate drug competitors within Huron. SANCHEZ and
                …
27                  GUILLEN continued to speak about the issues facing the ENTERPRISE,
                    including rival gang members and the history of their conflict(s). At the 18:22
28                  minute mark the conversation returned to the drug conspiracy.]

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 1               Hey, my dog – um – the homie from SRP is calling me real quick – um – can I call
          GUILLEN
                 you back in a couple minutes?
 2       SANCHEZ Yeah. Go ahead, go ahead.
 3       GUILLEN Alright.
         SANCHEZ Alright, ‘bye.
 4                                              [END OF CALL]

 5          124.    Based on my knowledge of the investigation, I know that “SRP” is an acronym used by
 6 ENTERPRISE members to refer to the San Joaquin Ruthless Perros Bulldog criminal street gang.

 7 Based on my training and experience, I know that drug traffickers use the phrase “to lock it in” to

 8 indicate that a transaction will very likely occur or is being confirmed with that phrase and the letter “P”

 9 to stand for one pound of an illicit narcotic. I also know that they will frequently shorten financial

10 denominations. For example, instead of saying “five hundred dollars,” a drug trafficker will often use

11 the phrase “five bills.” Finally, I know that they use the word “dry” to indicate that they do not possess

12 any more narcotics that they can sell.

13          125.    Therefore, I believe that GUILLEN began the conversation by indicating that he had
14 contacted his distributor, who had indicated that he would call GUILLEN back in approximately 20

15 minutes. I believe GUILLEN then indicated that he had asked his distributor for one-half pound of

16 narcotics. GUILLEN then further elaborated that his distributor had indicated that he would sell the

17 half-pound for $500, which based on my training and experience I know to be consistent with the price

18 of methamphetamine in California’s Central Valley. GUILLEN then indicated that his distributor

19 currently stayed in Fresno, but that his distributor may have his “stash” in Kerman, CA; GUILLEN also

20 said that he could get a ride to meet with the distributor. SANCHEZ then asked that GUILLEN

21 complete the transaction “asap,” and confirmed – when GUILLEN asked – that there was no

22 methamphetamine left for SANCHEZ to sell at that time, as SANCHEZ did not want to be “greedy”

23 and take other sellers’ methamphetamine.

24          126.    Toll records from (559) 508-6409 (TT9), utilized by GUILLEN, showed that at 6:13
25 PM, GUILLEN, received a call on (559) 508-6409 (TT9) from (559) 519-8338 (TT 8338), utilized by

26 R. LOPEZ that lasted approximately 28 seconds.

27          127.    I believe that GUILLEN and R. LOPEZ spoke, as indicated in the previous call between
28 GUILLEN and SANCHEZ, about GUILLEN purchasing one-half pound of methamphetamine on

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 1 behalf of SANCHEZ. I also believe these calls likely included conversations regarding the availability

 2 of the methamphetamine and the price to be advertised to SANCHEZ when GUILLEN returned

 3 SANCHEZ’s call.

 4          128.    Approximately six minutes after the last call, and with no intervening calls, at 6:53 PM,

 5 GUILLEN, using (559) 508-6409 (TT9), called SANCHEZ, using (279) 386-7769 (TT6). The

 6 following is a transcript of the pertinent portions of that call:

 7                                                     [BEGINNING OF CALL]
         GUILLEN        [Background noise] Hello?
 8       SANCHEZ        My ninja?
 9       GUILLEN        Yeah.
         SANCHEZ        Everything Gucci?
10                      Yeah I’m uh – I just went over to drop my daughter off and all that shit – um – I got
          GUILLEN
                        a little, you know, distracted and all that but uh…
11                      No, no, it’s beautiful. No it’s – it’s nice. You gotta take your baby. But – but –
         SANCHEZ
                        what’s up with the – the homies?
12
                        Yeah I’m – I’m texting them right now on my other phone while we are talking right
          GUILLEN
13                      now.
                        Yeah, so you can let me know so we can rock and roll. Dog, I need to handle
14       SANCHEZ
                        business.
                        [Text message audio heard] Um yeah – let me – here – he’s telling me that he gots
15        GUILLEN
                        it.
16       SANCHEZ        Okay, well, then – uh – uh – how can we rock and roll?
         GUILLEN        Do you got the cash or…?
17       SANCHEZ        Yeah! Hell yeah I got the cash.
         GUILLEN        [UI] Do you gotta – send it in CashApp.
18       SANCHEZ        No, no I got it in hand.
19                      Okay, um, what’s it called? Um, let me – let me call this phone and number dog.
          GUILLEN
                        Let me put him on the phone right quick.
20       SANCHEZ        Yeah, let’s do this, ninja style.
                        [At 6:54 PM, the PRTT device installed on (559) 508-6409 (TT9) indicated that
21                      (559) 508-6409 (TT9) called (559) 519-8338 (TT8338); that call was then merged
                   …    with the original call between GUILLEN and SANCHEZ. SANCHEZ and R.
22
                        LOPEZ spoke generally about ENTERPRISE members and past drug deals. The
23                      conversation then turned to the purchase of methamphetamine.]
                        Yeah but, what’s it called – I told “C-Dog” and shit, if fuckin it’s for you – um –
24        R. LOPEZ
                        yeah it’s good, for five, I’ll give you the half – the half “P.”
                        Thank you, thank you, my dog – uh, uh – the – the thing is – is, uh – my boy is –
25       SANCHEZ
                        where are you at? ‘Cause “C-dog” is going to do me the “paro.”
26                      I’m, uh – I’m right here in Fresno, I’m going to send him the address right now. He
          R. LOPEZ
                        said he’s going to come here right now.
27                      Ok, that’s my little nigga. Ya – ya – no – no – ok so – check this out right – ok – so,
         SANCHEZ        are you the one that – that has it? Like basically you – you be um – the one that be
28                      having it? Or…

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 1      R. LOPEZ Yeah.
                     Okay, so, whenever from here on out, ‘cause I’m just going to go get it, ‘cause I
 2     SANCHEZ need a- I wanna see if it’s good. If it’s good, I’ll come back tomorrow – or – or – or
 3                   the following day for sure, you know what I mean? Like-
                     Yeah it’s good, it’s good. [UI] You could just come get this one and I’ll send it out,
        R. LOPEZ
 4                   if you like it or whatever, I have it, so you could just tap in whenever.
                     Okay then, there it is, there it is, dog. Okay – so – alright – check this one out
 5     SANCHEZ alright? Um – ‘kay, let’s see, uh – um – you know what – alright – but you could –
                     it’s guaranteed fire right?
 6
        R. LOPEZ Yeah.
 7     SANCHEZ Ok, ‘cause it – what I – what I’m thinking right now my dog.
                     ‘Cause its fire and shit, it’s good. And what’s it called – I know the homies from the
 8      R. LOPEZ hood – the fool fucking um – homie [UI] fucking tried it, that fool said it was fire
                     too, it’s better – um it’s better then all the ones that’s right now in Kerman.
 9                   [The conversation turns to SANCHEZ’s cell mate, who is currently rehoused in
10               … another facility. The conversation returned to the drug conspiracy at the 6:55
                     minute mark.]
11                   Um – if anything, it will be “C-Dog” rolling through with you and stuff because, I’ll
                     bring “feria” your way dog, like – if, if, if, if it’s good – like that dog, I’ll be coming
12                   through. For sure with pounds – or – half a pound, a pound. Or sometimes if you
       SANCHEZ
                     could get me a good deal, lil- lil- lil’ better than a thousand I’ll come through with
13                   two- two pounds, dog. I’ll be doing my little thing dog even though I’m right here,
14                   do you hear me, my ninja?
        R. LOPEZ Yeah.
15     SANCHEZ Mm-hm. So…
        R. LOPEZ Alright, alright that sounds good.
16     SANCHEZ Is it consistently though? You always have it like this?
17                   Yeah, yeah I have it and shit because [UI] have it, or whenever I run out I’ll get it
        R. LOPEZ
                     back you know?
18     SANCHEZ Ok, fuck yeah, dog! Alright, alright then dog, there it is there, bulldog.
                     So whenever I run out it will probably be like – proly like – just like – probably like
19      R. LOPEZ
                     a day wait – or like, less than that, fucking, until I get you know?
                     But you have – you – you have enough for me to go back to back a couple times
20     SANCHEZ
                     right?
21                   Yeah – yeah – yeah – yeah. That’s like fucking – fucking like – I’ve got like seven
        R. LOPEZ
                     whole ones.
22                   Oh, ok then, ok then. Alright. Ther – there it is there, but look – check this out –
                     what about like if – if I ever needed to – you – you don’t – you couldn’t meet me
23     SANCHEZ halfways? Or to – to – to – uh – to uh – you know – you know how right there – uh
24                   by – your hood? Uh – um – that one little store right there? That helm or whatever
                     or what is it, that’s still by the railroad tracks?
25                   [SANCHEZ then began describing how the ENTERPRISE’s drug trade struggles
                     at times due to a shortage of vehicles. SANCHEZ asked if R. LOPEZ was able to
26               … meet buyers closer to Huron and reiterated that if the methamphetamine were good,
                     he would be a regular customer. SANCHEZ then briefly left the conversation to
27
                     take another call, and returned to the conversation at approximately 10:14.]
28     SANCHEZ C-Dog?
        GUILLEN Is it 3880 N. Fruit?
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 1        R. LOPEZ Yeah – yeah – yeah – yeah.
          GUILLEN Alright I got it over here.
 2                   [The parties then continued to rehash the details of the narcotics deal, and
                 …
 3                   subsequently terminated the conversation]
                                                       [END OF CALL]
 4          129. As stated above, I know that “SRP” stands for “San Joaquin Ruthless Perros,” and I know

 5 that R. LOPEZ is a member of that clique. Based on my knowledge of the investigation, I also know

 6 that R. LOPEZ’s moniker is “R-Dog.”

 7          130.   Therefore, I believe that GUILLEN began this portion of the conversation by indicating

 8 that his distributor – R. LOPEZ – had the requested narcotics and asked if SANCHEZ had cash. When

 9 SANCHEZ indicated that he did, GUILLEN then said that he would call R. LOPEZ and then

10 subsequently merged his call with R. LOPEZ with his original call with SANCHEZ. When R. LOPEZ

11 joined the call, I believe R. LOPEZ confirmed that he would sell SANCHEZ one-half pound of

12 methamphetamine for $500. I know that the Spanish word “paro” means “favor” in English, and

13 therefore know that SANCHEZ then asked for R. LOPEZ’s location because GUILLEN was doing

14 SANCHEZ a favor by picking up the narcotics. R. LOPEZ then indicated that he was in Fresno, CA,

15 that he would send GUILLEN the location, and that he was the one who actually possessed the

16 narcotics. SANCHEZ then also confirmed that the methamphetamine was “fire” or of a high quality and

17 R. LOPEZ confirmed that it was. SANCHEZ then indicated that if R. LOPEZ was willing to give him

18 a better deal than “a thousand,” SANCHEZ would buy multiple pounds. It is also worth noting that

19 SANCHEZ asked if R. LOPEZ would have that amount of methamphetamine “consistently,” to which

20 R. LOPEZ responded that he would. Finally, I believe that R. LOPEZ indicated that he currently had

21 seven pounds of methamphetamine and that GUILLEN then confirmed the address of the deal with R.

22 LOPEZ as “3880 N. Fruit.”

23          131.   Members of the investigative team began monitoring the precision location information

24 being transmitted by the ankle monitors worn by GUILLEN and R. LOPEZ as a term of their State of

25 California parole terms. Several hours after the last call set out above, at approximately 8:40 PM, the

26 investigative team observed that GUILLEN’s ankle monitor left the City of Huron and arrived at 3880

27 N Fruit Avenue in Fresno, CA at approximately 9:35 PM. During the time of GUILLEN’s arrival, R.

28 LOPEZ GPS ankle monitor remained in Kerman, CA. Members of the investigative team established

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 1 physical surveillance at 3880 N. Fruit Avenue and at 9:38 PM, GUILLEN was observed walking out of

 2 apartment #114, the address of record for R. LOPEZ’s paramour. GUILLEN was identified by

 3 comparing him to prior known booking photographs of GUILLEN as well as his California Department

 4 of Motor Vehicles photograph. GUILLEN was carrying a white bag as he walked toward a silver

 5 Infinity sedan. GUILLEN then placed the white bag in the trunk of the silver Infinity sedan and

 6 GUILLEN entered the passenger side of the vehicle. Members of the investigative team observed the

 7 Infinity sedan leave the apartment complex, and simultaneously intercepted a call between GUILLEN

 8 on (559) 508-6409 (TT9) and SANCHEZ on (279) 386-7769 (TT6). The following is transcript of the

 9 pertinent portions of the conversation:

10                                                   [BEGINNING OF CALL]
         SANCHEZ      My ninja.
11       GUILLEN      My dog.
12       SANCHEZ      CiCi, what’s upper boy?
         GUILLEN      CiCi, um – it’s a green light.
13       SANCHEZ      Ok, where are you at?
         GUILLEN      I’m barely leaving the homies spot right now.
14                    Ok, alright cool. I’ve got a little bit of bud for you too. It’s like two different kinds
        SANCHEZ
15                    but it’s – it’s still cool.
                      Alright then um – yeah that’s cool – um – where do you want me to – uh – to drop it
         GUILLEN
16                    off?
        SANCHEZ Uh – hold up – uh – hold up – wait up – my thug.
17       GUILLEN [UI] In the house?
        SANCHEZ Uh – It would probably be best if you could do it at the thuggy.
18
                      [SANCHEZ placed GUILLEN on hold and went to another call. SANCHEZ
                  …
19                    eventually returned to the call at the 1:07 minute mark.]
        SANCHEZ Ninja? My ninja?
20       GUILLEN Yeah.
        SANCHEZ Hey do me a big paro, take it to the thuggy so I could have some bud for you. Ok?
21
                      Um – alright then um – I’ll see it when I get there um – um – let’s see how town is
         GUILLEN
22                    in the entrance – if not, I’ll probably pull my scooter and drop it off.
        SANCHEZ Yeah – yeah – yeah, just do it ninja style, please.
23       GUILLEN Alright then. Yeah I will.
        SANCHEZ Alight I’ll – I’ll holler at you, thank you. Does it – is it look fire though?
24                    Um – to be honest – it’s like – hella like – like – little cool rocks and shit. It’s not
         GUILLEN
25                    fat you know?
        SANCHEZ Yeah, but they’re cool ones?
26       GUILLEN Yeah, it’s all – cool – shiny and white you know?
        SANCHEZ Ok, well we’re going to try it out you know. Ok?
27                    [The two end the conversation by rehashing the fact that SANCHEZ has bud for
                  …
28                    GUILLEN, and that GUILLEN will call when he is back in Huron.]
                                                          [END OF CALL]
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 1          132.    At 9:42 PM, a Fresno Police Department patrol unit conducted a vehicle stop on the

 2 Infinity sedan. This vehicle stop was not coordinated by the investigative team, and the patrol unit was

 3 not aware of this investigation. No searches were conducted during this detention, and GUILLEN and

 4 the uncharged co-conspirator who was driving were released with a verbal warning for a traffic

 5 infraction. After the vehicle stop, GUILLEN using (559) 508-6409 (TT9) placed a call to SANCHEZ

 6 on (279) 386-7769 (TT6) and advised SANCHEZ that GUILLEN had been pulled over, and “it was in

 7 the trunk.” GUILLEN and SANCHEZ then confirmed plans for GUILLEN to deliver the narcotics.

 8 The investigative team later observed that at approximately 11:13 PM, GUILLEN arrived at 36946 Los

 9 Angeles Street, a property owned by SANCHEZ and commonly referred to by ENTERPRISE

10 members as “Thug Mansion” or “Thuggy.” GUILLEN then left “Thug Mansion” at about 11:16 PM

11 and returned to his residence.

12          133.    Based on all of the information set out above, I believe R. LOPEZ distributed one-half

13 pound of methamphetamine to GUILLEN at SANCHEZ’s request. Based on all of the above, I believe

14 SANCHEZ, R. LOPEZ and GUILLEN, conspired to distribute and possess with intent to distribute a

15 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1).

16                  5.     May 7, 2025 – SANCHEZ facilitated and orchestrated a plot to smuggle
                           narcotics into the Fresno County Jail, in which FELISCIANO, ESCOBEDO,
17                         GONZALES, Debbie SANCHEZ, BALBOA, ALFARO, CHENOT, LIMA,
                           DIAZ, and JEFF participated and/or conspired to complete
18

19          134.    Beginning on April 15, 2025, Ignacio SANCHEZ and his associates began to conspire to

20 smuggle narcotics into the Fresno County Jail. After the smuggler – Armando ALFARO – was

21 apprehended, several other individuals attempted to acquire the narcotics to save their investment, as

22 well as to attempt to warn those involved that law enforcement had acquired the narcotics.

23          135.    On April 15, 2025, at approximately 1:10 PM, SANCHEZ, using (279) 386-7769, spoke

24 with an uncharged individual (UM44), using (559) 341-9376. During that conversation, UM44

25 referenced something that SANCHEZ “had said,” that UM44 had been thinking about that topic, and

26 then said that he had “a couple homies that’ll just fuckin’ go straight in there, too, you know?”

27 SANCHEZ indicated that he understood and then said that there was “this one specific homeboy” who

28 was SANCHEZ’s age, who had “been in the game for a long time,” and who had done “this” on three

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 1 other occasions. 29 SANCHEZ further told UM44, “I told him, ‘I got this much money and I got all this

 2 for you. [UM44 indicated he understood] What’s up?’ And he says, ‘Yeah, I got you.’” SANCHEZ then

 3 indicated that he hoped that he [SANCHEZ] “stayed in the County” because the smuggler “gets out on

 4 the twenty-first, and he’s on- it’s only gonna take him two days and he’s gonna come back, right?”

 5 UM44 then indicated that he knew an individual who SANCHEZ could use, and the parties began to

 6 hypothesize about what UM44’s associate was willing to do, including whether he would be willing to

 7 drunkenly argue with law enforcement, how many “ounces of black” and “ounces of white” SANCHEZ

 8 would be able to give him, and whether or not he “could do a Q.P in his butt.” UM44 expressed doubt

 9 that “he” could handle “a whole Q,” but that maybe he could handle “something close to it.” The parties

10 also discussed paying these potential smugglers, indicating that the payment would be “a band” and that

11 they could each contribute “five hundred.”

12            136.       Based on my training and experience, I know that ENTERPRISE members use the

13 phrases “homie” and “home boy” to refer to other members of the ENTERPRISE. I also know that the

14 phrase “to be in the game” is used in popular culture frequently to refer to the idea that one has

15 experience or expertise in a particular field or profession and that the phrase “I got you” is frequently

16 used to indicate that the speaker understands and will fulfill the request of the other party to the

17 conversation. Furthermore, I know that drug traffickers very often use vague and innocuous language to

18 attempt to avoid prosecution for their crimes. Specifically, I know that they often use words such as

19 “this” to refer to their contraband, the words “black” and “white” to refer to black tar heroin and

20 methamphetamine, respectively, the acronym “Q.P.” (or simply “Q”) to refer to a quarter pound of illicit

21 narcotics, and the word “band” to refer to $1,000 U.S. currency. Finally, I also know that it is very

22 common practice for drug traffickers to attempt to smuggle illicit narcotics into detention facilities by

23 paying couriers to insert narcotics into their anal cavity and then intentionally have themselves arrested,

24 either by being taken in on an outstanding warrant or by committing a new crime in front of a peace

25 officer.

26            137.       Therefore, based on the above information, I believe SANCHEZ and UM44 continued a

27
              29
                   For clarity, the individual SANCHEZ is speaking about will be referred to as “the smuggler” until he is later
28
     identified.

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 1 previous conversation about narcotics smuggling. I believe SANCHEZ indicated that he knew a

 2 smuggler who was about SANCHEZ’s age and who had smuggled narcotics several other times. I

 3 believe SANCHEZ further specified that he had spoken with this smuggler, that he had detailed the

 4 narcotics that he wished smuggled and how much he was willing to pay the smuggler, and that the

 5 smuggler had indicated that he would smuggle those narcotics for SANCHEZ. I believe that

 6 SANCHEZ further specified that the smuggler was going to be let out of custody and would then take

 7 two days to get taken back into custody. When UM44 indicated that he knew a potential smuggler, as

 8 well, I believe he and SANCHEZ began speaking about how much black tar heroin and

 9 methamphetamine this smuggler would be willing to smuggle. I believe SANCHEZ then specified that

10 he would probably have to fit close to one-quarter pound of narcotics in his anal cavity, at which point

11 UM44 expressed doubt that his associate would be able or willing to do that. Finally, I believe that the

12 parties indicated that they would be willing to pay whichever smuggler was used $1,000 for his troubles.

13          138.    The next day, though SANCHEZ had indicated that he had a smuggler who was willing

14 to attempt to smuggle narcotics, SANCHEZ continued to attempt to find someone who was willing to

15 smuggle narcotics into the jail. For example, at approximately 8:03 PM, SANCHEZ was intercepted

16 using (279) 386-7769 to converse with an uncharged female (UF86) on (559) 816-0296 about that topic.

17 Of note is that during this call, SANCHEZ referred to “drawings” and white and black “portraits,” as

18 well as “t-shirts,” and indicated again in coded language that he would pay $1,000 for someone to take

19 these items with them into custody.

20          139.    Based on my knowledge of the investigation, I know that SANCHEZ and his associates

21 commonly use the word “t-shirt” to refer to ounces of heroin. Based on my training and experience, I

22 know that drug traffickers commonly use the word “white” to refer to methamphetamine and “black” to

23 refer to black tar heroin; based on the fact that – as is set out below – SANCHEZ began referring to the

24 smuggler as “the Artist,” I believe that “white portraits” and “black portraits” were meant to refer to

25 methamphetamine and heroin, and that SANCHEZ was again speaking about smuggling these narcotics

26 into a detention facility.

27          140.    It should be noted that while SANCHEZ was attempting to orchestrate the actual

28 smuggling of the narcotics, he was also coordinating the acquisition of the narcotics in the first place.

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 1 For example, on April 17, 2025, SANCHEZ sent Daniel Loubet ROMERO to Fresno, CA to pick up

 2 approximately one pound of methamphetamine from Luis AMARO AGUILAR. The investigative team

 3 conducted a traffic stop on the vehicle driven by ROMERO and seized the pound of methamphetamine.

 4           141.     Later in the day on April 17, 2025, SANCHEZ appeared to have finalized his selection

 5 of a smuggler. At approximately 5:00 PM, SANCHEZ, using (279) 386-7769, spoke with Carlos

 6 GUILLEN, using (559) 508-6409. During the call, SANCHEZ told GUILLEN that SANCHEZ

 7 “[gave] the homies clavo,” but that “they have not hollered at” him. After discussing other minor topics,

 8 SANCHEZ said, “I’m going back, though, in twenty something days, you hear me? . . . And then I got

 9 this other big play going- jumping off that the hom- you remember Whisper? Or you-” to which

10 GUILLEN responded, “Oh, Whisper from Pleasant?” SANCHEZ confirmed that Whisper was “the big

11 one” and GUILLEN indicated that he knew who SANCHEZ was speaking about. SANCHEZ then

12 said that Whisper was “coming back, you know what I mean? For sure. ‘Cause [UI]. . . , you know what

13 I mean? He’s- he already gave the word so money’s already put down, and stuff, so, yeah.” SANCHEZ

14 then discussed when he would have his court date, how “Whisper” was going to be “going in” “damn

15 near fuckin’ ten to twelve days” prior to SANCHEZ arriving, and that SANCHEZ would have to trust

16 the other “homies” to “hold onto this shit” before he could retrieve “it” from them.

17           142.     Based on my knowledge of the investigation, I know that “Whisper” 30 is the street

18 moniker for Armando ALFARO. Based on my training and experience, I know that the word “clavo” is

19 used by Hispanic drug traffickers to refer to a tightly-bound package of narcotics which is meant to be

20 inserted into body cavities in order to be smuggled into detention facilities. I also know that drug

21
             30
                  The calls that follow make it abundantly clear that the individual named “Whisper” is who will attempt to
22
     smuggle the narcotics into the Fresno County Jail, though the parties move back and forth between referring to him as
     “Whisper” and referring to him as “the Artist” in an attempt to use coded language to avoid detection by law enforcement.
23
     Based on my knowledge of the investigation, as well as subsequent events, I know that “Whisper” is the moniker for
     Armando ALFARO, and that it was actually ALFARO who the parties were speaking about. For example, on April 25,
24
     2025, at approximately 5:22 PM, ESCOBEDO, using (831) 596-0869, called (559) 214-7050. The next minute, at 5:23 PM,
     she then used (831) 596-0869 to call SANCHEZ, using (279) 386-7769, to tell him that she had called “Whisper” and then
25
     identified the number she called as (559) 214-7050. In a call on April 25, 2025, at approximately 5:55 PM, SANCHEZ,
     using (279) 386-7769, indicated on a multi-line call with several individuals, including ALFARO, that if he called ALFARO
26
     while he was in custody, he would be using the words “Artist” and “portraits.” SANCHEZ also identified ALFARO as
     “Whisper.” Finally, during a call on April 30, 2025, at approximately 2:05 PM, while attempting unsuccessfully to call
27
     ALFARO, SANCHEZ told FELISCIANO that “the Artist’s” name was “Armando Alfaro,” that he is “Mexican,” and that
     he was 48 years old. Therefore, all references to “Whisper” and “the Artist” will instead be referenced as ALFARO for the
28
     rest of this section unless the language is quoted directly from an intercepted phone call.

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 1 traffickers generally also use the term “shit” to refer to their narcotics and the word “play” to refer to a

 2 narcotics transaction. I also know that the phrase “to holler at” is used in popular culture to refer to the

 3 idea of contacting or communicating with someone. Therefore, based on this information, as well as the

 4 context of the previous calls set out above, I believe that SANCHEZ and GUILLEN were discussing

 5 SANCHEZ’s plan to use ALFARO to smuggle narcotics into a detention facility. I believe SANCHEZ

 6 indicated that he had given narcotics to other ENTERPRISE members which was meant to have been

 7 smuggled into a detention facility, but that these other members had subsequently not contacted

 8 SANCHEZ. I believe that SANCHEZ then referenced how he was going to return to the Fresno County

 9 Jail, and then indicated that he was going to have a large narcotics transaction and began to reference

10 ALFARO. After indicating that ALFARO was from Pleasant – a reference to ALFARO’s status at the

11 time as a Pleasant Street Bulldog criminal street gang member – I believe SANCHEZ then indicated

12 that ALFARO was going to “come back” into custody and then essentially expressed concern because

13 SANCHEZ was going to have to trust for several days that his fellow ENTERPRISE members would

14 take care of his narcotics for him.

15          143.    Several days later, on April 22, 2025, SANCHEZ made another attempt to obtain

16 methamphetamine, this time sending Ramona FELISCIANO to Fresno, CA to obtain it from Luis

17 AMARO AGUILAR, as his previous attempt with ROMERO had failed. Though ROMERO did not

18 participate directly, SANCHEZ asked ROMERO to use his vehicle, and I believe the surrounding

19 circumstances make it clear that ROMERO knew why his vehicle was being used by FELISCIANO.

20 On the afternoon of April 22, 2025, the investigative team observed and documented FELISCIANO

21 obtaining the half pound of methamphetamine from AMARO AGUILAR and transporting it back to

22 Huron, CA.

23          144.    The next day, on April 23, 2025, at approximately 12:05 PM, SANCHEZ, using (279)

24 386-7769, utilized the three-way calling feature of (279) 386-7769 to speak with FELISICANO, using

25 (559) 401-8633, and another uncharged individual (UM116), using (559) 852-6111. During the call, at

26 time marker 1:51, SANCHEZ indicated that “tomorrow, all myself, putting it together, and I’m gonna

27 meet dog anyways over there in, uh, uh, Fresno. You know what I mean? My Artist.” Later in the call,

28 the line fell silent for an extended period of time, after which – at time marker 27:10 – another male

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 1 voice came on the line and SANCHEZ began speaking with him, calling him “Artist.” When I reviewed

 2 the calls from April 23, 2027, I observed that ESCOBEDO had utilized (831) 596-0869 to engage in a

 3 three-way call with (279) 386-7769 (TT6) and (559) 214-7050 at approximately 12:31 PM and 12:32

 4 PM, respectively. I believe that SANCHEZ added ESCOBEDO’s call to his original call with

 5 FELISCIANO. Based on my review of the audio between the three-way call involving (279) 386-7769

 6 and (559) 401-8633, and (279) 386-7769, (831) 596-0869, and (559) 214-7050, I believe that it is all the

 7 same call, beginning at time marker 27:10 in the call involving (559) 401-8633. I therefore believe that

 8 “the Artist” – ALFARO – is the user of (559) 214-7050. For clarity, the following is a graph of how I

 9 believe the various phone lines connected:

10

11

12

13

14

15

16

17

18

19

20          145.   During this portion of the call, in which SANCHEZ, FELISCIANO, ESCOBEDO, and

21 ALFARO participated, SANCHEZ first identified the parties involved by indicating that both his

22 “prima” – his pet name for FELISCIANO – and his “ninjetta” – his pet name for ESCOBEDO – were

23 on the call. He then began speaking about how FELISCIANO “knows how to make plugs,” that the

24 “plugs” would be made “with black tape,” and that ALFARO would have an additional “ounce of

25 white” and an “ounce of chiva” in addition to the narcotics that he would be smuggling for SANCHEZ.

26 SANCHEZ also indicated that “if it ain’t my ninjetta, it’ll be my prima” who would be meeting with

27 ALFARO the following day.

28          146.   Based on my knowledge of the investigation, I know that SANCHEZ almost constantly

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 1 refers to FELISCIANO as his “prima,” and likewise has referred to ESCOBEDO numerous times as

 2 his “ninjetta,” and that he does so in a mutually exclusive fashion. I therefore believe that these are

 3 SANCHEZ’s pet names specifically for FELISCIANO and ESCOBEDO and will – for clarity – refer

 4 to the women’s actual names when SANCHEZ uses the pet names. Based on my training and

 5 experience, I know that the word “plug” is another word used by drug traffickers to refer to either a

 6 source of illicit narcotics or a tightly-bound package meant to be inserted into a body cavity to be

 7 smuggled into a detention facility. Based on the context of this conversation, I believe SANCHEZ is

 8 using the latter meaning. I believe that SANCHEZ also revealed in this conversation that ALFARO

 9 would be bringing in other narcotics in addition to those being smuggled in at SANCHEZ’s request, and

10 that either ESCOBEDO or FELISCIANO would be meeting with SANCHEZ the following day.

11 Based on subsequent events and calls, I believe the purpose of this meeting would be to deliver the

12 narcotics to ALFARO.

13            147.       As is set out in the preceding paragraphs, the investigation has revealed that

14 FELISCIANO and ESCOBEDO are intricately involved with SANCHEZ’s drug trafficking

15 enterprise. Numerous intercepted calls over the course of this wiretap investigation (and recorded jail

16 calls prior to this wiretap investigation) have demonstrated that FELISCIANO and ESCOBEDO

17 contact other individuals, transport narcotics, package narcotics, communicate information on behalf of

18 SANCHEZ, and otherwise facilitate SANCHEZ’s will, all for the benefit of the ENTERPRISE as a

19 whole. 31

20
              31
                   For example, on April 23, 2025, at approximately 9:52 PM, in a call between (831) 596-0869, used by
21 ESCOBEDO, and (279) 386-7769, used by SANCHEZ, SANCHEZ indicated to ESCOBEDO that he was going to have
     the drugs transported to her location because the drugs had to be prepared for ALFARO. On April 24, 2025, at
22 approximately 9:34 AM, in a call between FESLICIANO, using (559) 401-8633, and SANCHEZ, using (279) 386-7769,
     SANCHEZ instructed FELISCIANO to prepare the narcotics by weighing them, smashing them to make them smaller,
23 wrapping them in black tape, and labeling them. On April 24, 20225, at approximately 11:34 AM, in a call between
     SANCHEZ, using (279) 386-7769, and FELISCIANO, using (559) 401-8633, SANCHEZ spent over an hour instructing
24 FELISCIANO on which black t-shirts would be going to which individuals, how to make the narcotics bundles, how the
     “G” stands for “Giddy” (which I know to be SANCHEZ’s moniker), how the “P” stands for “Pleasant” (and how this ounce
25 of heroin would be ALFARO’s payment for completing the smuggling operation), how the “five” stands for “5th Street” and
     was meant to be smuggled for a fellow ENTERPRISE member from the 5th Street Bulldog gang, how another plug would be
26   labeled with the letter “B” because it would be given to an ENTERPRISE member from the Bond Street Bulldog gang, and
     how three ounces of methamphetamine would also be smuggled in for SANCHEZ. On April 24, 2025, at approximately
27   12:43 PM, SANCHEZ, using (279) 386-7769, spoke with ALFARO, while ESCOBEDO used the three-way calling
     capabilities of (831) 596-0869 to connect (559) 214-7050, used by ALFARO, with (279) 386-7769, used by SANCHEZ.
28   During that conversation, SANCHEZ detailed which clavos would go to which individuals, as well as how ALFARO would


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 1           148.     On April 24, 2025, at approximately 11:34 AM (referenced above with respect to

 2 SANCHEZ’s instructions for FELISCIANO), SANCHEZ, using (279) 386-7769, spoke with

 3 GONZALES, using (559) 401-8633 (during the second half of this call, GONZALES took the phone

 4 from FELISCIANO and conversed with SANCHEZ). During this portion of the call, SANCHEZ set

 5 out for GONZALES exactly what would be transported to ALFARO and then subsequently smuggled

 6 into the jail. The following is a transcript of this portion of the call, which in total lasted over an hour:

 7                       [BEGINNING OF CONVERSATION at approximately time marker 44:35]
                         So we’re gonna go- see, what I’m gonna do with mine is you’re gonna put “G” on it,
 8       SANCHEZ
                         primo. You’re gonna grind- grind up, um, the twenty grams of bud.
 9     GONZALES          Yes.
                         As [UI] as you can. Bam. Then you’re gonna, uh, go ahead and do, uh, uh, a ounce of
10                       the black. Boom. Bam. And then we’re gonna do, um, uh, a ounce of, uh, white- to
         SANCHEZ         the twenty-eight grams. Do- do it good. That’s gonna be mine. And then, um, we’re
11                       gonna do, uh… another- okay, that will be- okay, that will be mine to do. Boom.
                         We’ll do that one right. That one’s gonna be mine. [UI]
12
       GONZALES          Twenty grams of bud, Mona.
13                       Twenty grams [UI] the- the… the ounce of black. And, uh, uh, uh, an ounce of white.
                         Okay, that’s gonna be mine, for sure. I’ma have to put another plug in there, I just- I
14       SANCHEZ         gotta make sure I have enough for eve- everybody to divide it by. So that’s gonna be
                         mine, see, for right now. Then the one that- where it says, “Whisper,” that’s gonna be
15                       Whisper. Which is a “P,” you’re gonna [UI] [OV]
16     GONZALES          [OV] The “P?” Right.
                         The “P” for “Pleasant.” His- his is gonna be, um, a ounce of black. Boom, that’s his.
17                       And then he’s gonna- you’re gonna give him, um, about, uh- we’re gonna make sure
                         it’s, uh… twenty-one grams- twenty-one grams. Which would be, uh, uh… you’re
18       SANCHEZ
                         gonna bring- you’re gonna put one of those, uh, quarters, right? And then- and then a
                         half. That’ll be his. You put it together, that’ll be his cochina. That’ll come out to
19                       twenty-one grams. Twenty-one grams of white, that’ll be his.
20     GONZALES          But they’re gonna be- they’re gonna be in different plugs, though, right?
                         Yeah, they’re all gonna be in different plugs. All different plugs with their names-
         SANCHEZ
21                       he- he- he could take, like, sixteen of those. You know what I mean?
       GONZALES          Oof. [OV]
22      SANCHEZ          [OV] That’s the most we took. Yeah, I know.
23                       That’s a lot to- that’s a lot to have in your fuckin’ gut, dog, and fuckin’ stay in
       GONZALES
                         fuckin’ booking for a long time.
24      SANCHEZ          He d- he did it, that’s the max. [UI] I’ll put all these-
       GONZALES          Yeah, I- nah, I know. We used to… fuckin’ take a fat-ass shit before you do that.
25      SANCHEZ          [UI]
26
     proceed when he successfully entered the jail. On May 1, 2025, at approximately 5/1 at 3:43 PM, SANCHEZ, using (279)
     386-7769, called ESCOBEDO, using (831) 596-0869. During that conversation, SANCHEZ told ESCOBEDO that he
27
     wanted her to text and call “that number” (referring to (559) 214-7050, the number they had for ALFARO). The parties then
     attempted to remember “Whisper’s” actual name. ESCOBEDO indicated that she would “do some thinking in [her] brain” to
28
     attempt to figure out ALFARO’s identity.

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 1    GONZALES [UI]
                  Yeah. Okay. Okay, let me see real quick. Alright, so- al- alright, so there’s- there’s
 2     SANCHEZ
                  that. That’s his. [UI] the two his. Right?
 3                Okay, so for- for- for Whisper, it’s gonna be the- the- the zip- the zip of the black and
      GONZALES
                  then, uh, twenty-one grams of the Go Fast.
 4     SANCHEZ Yes. Yes, right?
      GONZALES And those are- those are gonna have the “P” on it.
 5                Yes. And then this one- this is gonna be a- a- a- a- a- “B.” A “B” for Bulldog. That
                  one is because of, uh, uh, uh… that’s gonna be Envy, right? ‘Kay. This is gonna be
 6
                  his, right? Due to the fact that he’s [UI] paying with cash. Right? Um.. his is gonna
       SANCHEZ
 7                be, uh, uh, a ou- a half- would be those twelve grams that I told my prima- ‘cause I
                  have three ounces of black and I have, like, twenty-one grams, or twenty-two grams,
 8                left ov- like, uh, that I have- [OV]
                  [OV] I tried talking to Envy the other day but I think he was in a fuckin’ cell, he
 9    GONZALES
                  didn’t want to come out.
10     SANCHEZ [OV] He- he- he-
      GONZALES [OV] He was Mimi’s.
11                He was Mimi’s. Yeah, he don’t know. He’s alright, watch. That- that fucker is gonna
       SANCHEZ
                  get twelve grams of black, right? Which- which [OV]
12    GONZALES [OV] Twelve grams of black.
                  And- and- and he’s gonna get… uh, um, uh, uh, ten grams… wait a… yeah, ten
13     SANCHEZ
                  grams of…
14    GONZALES The Go Fast.
       SANCHEZ Of Go Fast.
15    GONZALES And those are gonna be separate, as well, or they’re gonna be together.
                  Um, you could put those together… with his. ‘Cause that- that- that’ll make one good
16
       SANCHEZ little solid- solid one. So he’ll have that, and then you’ll have the… the- the ten
17                grams of, uh, uh, white.
      GONZALES So it’s gonna be- it’s gonna be how much? Twelve grams of the- of the black?
18     SANCHEZ Yes, and ten grams of the white.
      GONZALES And ten grams of the Go Fast. Alright.
19     SANCHEZ Yes.
20    GONZALES And that’s gonna have a “B” on it.
                  A “B” on it. That’ll be his. And then this other one itself, right? It’s gonna be, uh, uh,
21     SANCHEZ a ounce of black. Just an ounce of black. And that’s gonna have a five, a number five
                  on it.
22    GONZALES One zip of the black with a five on it.
23     SANCHEZ Yes, yes. (50:17)
                             [END OF CONVERSATION at approximately time marker 50:17]
24       149. It should be noted that earlier in this conversation, SANCHEZ had indicated that the “G”

25 on his plugs stood for “Giddy,” the “P” on two of the plugs stood for “Pleasant” because ALFARO was

26 a Pleasant Street Bulldog gang member, and the plug with the number “5” on it would be for “the Fifth

27 Street associate.”

28         150.    Based on my training and experience, I know that drug traffickers in the ENTERPRISE

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 1 commonly use the word “black” to stand for black tar heroin, the word “white” to refer to

 2 methamphetamine, the word “bud” to refer to marijuana, the word “plug” to refer to a tightly-bound

 3 bundle of contraband which is inserted into a body cavity in order to smuggle it into a detention facility,

 4 and the word “zip” to refer to an ounce of an illicit narcotic. Based on my knowledge of the

 5 investigation, I know that “Whisper” is the street moniker used by ALFARO and that “Envy” is the

 6 moniker of Anthony JEFF. I have also confirmed with members of the Fresno County Sheriff’s Office

 7 that JEFF was in the custody of the Fresno County Jail at the time of this call.

 8          151.      Therefore, I believe that in this call, SANCHEZ indicated to GONZALES that

 9 SANCHEZ would need GONZALES to manufacture the following plugs:

10          a)        Three “G” plugs for SANCHEZ, which would contain 20 grams of marijuana, one ounce

11          of heroin, and one ounce of methamphetamine;

12          b)        Two “P” plugs for ALFARO, which would contain one ounce of heroin and 21 grams of

13          methamphetamine;

14          c)        One “B” plug for JEFF, which would contain (in one plug) 12 grams of heroin and 10

15          grams of methamphetamine; and

16          d)        One “5” plug for a Fifth Street Bulldog associate, which would contain one ounce of

17          heroin.

18          152.      SANCHEZ also spoke later in the call about adding another eighth of an ounce of

19 methamphetamine to a “G” plug, and then also stated that he was “gonna be looking for a ride” so that

20 someone could “go to Fresno so I could, uh, bring, you know- and then to do a little bit more, uh, um, as

21 a plug.” Based on the context of all of the information set out in this affidavit, I believe that SANCHEZ

22 was detailing exactly what would be given to ALFARO to smuggle into the detention facility and then

23 also indicating that he was about to ask someone to pick up more narcotics to make yet another plug to

24 be given to ALFARO. I therefore believe that GONZALES had knowledge of the conspiracy that

25 SANCHEZ was orchestrating, which would become relevant later that afternoon.

26          153.      Accordingly, as soon as SANCHEZ hung up with FELISCIANO, at approximately

27 12:45 PM, SANCHEZ, using (279) 386-7769, attempted to call (559) 404-8363 (TT 8363), used by

28

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 1 Debbie SANCHEZ, 32 who based on my knowledge of the investigation, I know to be SANCHEZ’s

 2 mother. The call went unanswered.

 3           154.     A little over a minute later, at 12:47 PM, SANCHEZ again used (279) 386-7769, this

 4 time to call (559) 413-8584 (TT 8584), used by Carly BALBOA. 33 During this conversation,

 5 SANCHEZ asked BALBOA what SANCHEZ’s “mom” was doing. BALBOA replied that

 6 SANCHEZ’s mother had obligations later that day. SANCHEZ then asked if she was available “right

 7 now” because SANCHEZ “would need her just to go, uh, uh, to Fresno for [him].” SANCHEZ also

 8 indicated that “that’s the only ride [he’s] gonna have right now.” Based on the context of the previous

 9 calls, I believe SANCHEZ was attempting to reach his mother to ask her to travel to Fresno to pick up

10 narcotics.

11           155.     At approximately 1:00 PM, (559) 413-8584, used by BALBOA, called SANCHEZ,

12 using (279) 386-7769. During the call, BALBOA said, “Mom said, ‘Where in Fresno?’” SANCHEZ

13 said he would “ask him right now,” and then spoke with another individual in the background. When

14 SANCHEZ came back on the phone, he said “Mom?” several times; when his mother did not answer,

15 he began to say “Carly?” and then said, “Get my mom on the phone, please.” BALBOA then said,

16 “Here” and SANCHEZ began speaking with another female voice. Based on the totality of the

17 circumstances, I believe this individual was Debbie SANCHEZ, who based on my knowledge of the

18 investigation I know to be his mother. SANCHEZ then told Debbie SANCHEZ that “it’s not deep in

19 Fresno” and that “he lives on the west side.” During that conversation, Debbie SANCHEZ indicated

20 that she would arrive in “an hour,” the parties spoke about how “Carly” was going to give Debbie

21

22             32
                  Based on my knowledge of the investigation, I know that SANCHEZ is Carly BALBOA’s brother and Debbie
     SANCHEZ’s son. Additionally, as is set out in this section, BALBOA was identified as the user of (559) 413-8584 (TT
23   8584), and travelled with another individual on April 24, 2025 to obtain methamphetamine from Luis Amaro AGUILAR.
     During that trip, both BALBOA and SANCHEZ referred to the other individual in the vehicle with BALBOA as “Mom;”
24   after the trip, as is set out below, Debbie SANCHEZ was positively identified as the driver of the vehicle. Finally, when
     SANCHEZ attempted to call (559) 404-8363 (TT 8363) and BALBOA picked up the phone, SANCHEZ initially said,
25   “Mom?” which indicates to me that he believed his mother – Debbie SANCHEZ – would be answering the phone.
     Therefore, based on the totality of the circumstances set out in this section, I believe that Debbie SANCHEZ is the user of
26   TT 8363.
             33
                 I believe BALBOA is the user of (559) 413-8584 for several reasons. First, based on my knowledge of the
27
     investigation, I know that BALBOA is SANCHEZ’s sister. Second, there are several calls in which SANCHEZ calls the
     user of TT 8584 “Carly.” Finally, there are several calls in which BALBOA refers to SANCHEZ’s mother as “Mom,”
28
     indicating that she is also a child of Debbie SANCHEZ’s. I therefore believe that the user of TT 8584 is BALBOA.

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 1 SANCHEZ “the six” and SANCHEZ said that “he knows that you’re my mom.” When BALBOA

 2 reminded SANCHEZ that the parties would need gas, SANCHEZ indicated that BALBOA would

 3 instead give Debbie SANCHEZ “six twenty.”

 4         156.    The surveillance team then began to attempt to locate Debbie SANCHEZ without

 5 success.

 6         157.    Approximately one hour later, at 1:59 PM, BALBOA, using (559) 413-8584, called (279)

 7 386-7769, used by SANCHEZ. During the call, BALBOA asked for the address and said, “We’re in

 8 Selma,” at which point SANCHEZ responded, “Okay. Okay, yeah, you guys are, like, like, ten minutes

 9 away.” BALBOA then said, “But we want to know the address.” At approximately time marker 2:15 in

10 the call, SANCHEZ said, “I’m gonna text it to you right now… sis, the address.” At approximately 2:01

11 PM, (279) 386-7769 sent a text message to (559) 413-8584 which read, “1446 s. Chance”. The parties

12 then clarified that the location was 1446 S. Chance Avenue and BALBOA indicated that she was 20

13 minutes away. Based on my knowledge of the geography of California’ Central Valley, I know that

14 1446 S. Chance Avenue, Fresno, CA is approximately 20 minutes away by car from the city of Selma,

15 CA. Over the next several minutes, SANCHEZ, stayed on the phone with BALBOA and Debbie

16 SANCHEZ until they arrived in the area of 1446 S. Chance Avenue, Fresno, CA where they were

17 observed by the surveillance team.

18         158.    At approximately 2:29 PM, members of the investigative team observed a white Chevy

19 Cruze arrive in the area of 1446 S. Chance Ave, Fresno, CA. A male identified as Luis AMARO

20 AGUILAR based on a comparison with the picture of AMARO AGUILAR maintained on file with the

21 California Department of Motor Vehicles was observed walking up to the vehicle and making contact

22 with the occupants.

23         159.    After arriving at the Chance Avenue location, and while still on the phone with

24 SANCHEZ, Debbie SANCHEZ indicated that “he” (the seller) was on the phone and then indicated

25 that the seller wished to speak with SANCHEZ. Another male voice then came on the line and spoke

26 with SANCHEZ. Based on the totality of the circumstances, including the following portion of this call

27 and the surveillance observations set out below, I believe this individual was Luis AMARO AGUILAR

28 and that he had simply been given the phone by Debbie SANCHEZ. When AGUILAR and

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 1 SANCHEZ began talking, AGUILAR said that he gave SANCHEZ “half and half,” “some white and

 2 some pink.” At approximately time marker 30:10, after SANCHEZ had indicated that BALBOA and

 3 Debbie SANCHEZ were his “people,” AGUILAR indicated that it was “good” but then mentioned

 4 “last time” and said to “make sure it’s always cash.” SANCHEZ responded, “Yeah, no, no, my prima-

 5 no, I fuckin’ chewed her ass out. You know what I mean? She knows better than that.” Based on the

 6 events of April 22, 2025, set out herein, I believe that SANCHEZ and AGUILAR were speaking about

 7 the transaction involving FELISCIANO and AGUILAR from that date, which further confirms my

 8 belief that the individual on the phone with SANCHEZ was AGUILAR. The parties then exchanged

 9 pleasantries and Debbie SANCHEZ may be heard in the background saying, “It was nice meeting you.”

10 SANCHEZ then said that he was curious about “the pink one,” and Debbie SANCHEZ responded that

11 they would “check it out when [they] get home.” SANCHEZ also indicated that someone would pick up

12 the narcotics, thanked his mother and “Carly,” and terminated the call.

13          160.    The white Chevy Cruze then departed the area and began to travel south back toward

14 Hanford, CA. The surveillance maintained visual of the Cruze while it traveled.

15          161.    At approximately 2:43 PM, while the Chevy Cruze was still in transit, SANCHEZ, using

16 (279) 386-7769, called (559) 404-8363, used by Debbie SANCHEZ, SANCHEZ’s mother. When the

17 call was answered, SANCHEZ said, “Mom?” but another female said, “It’s me.” SANCHEZ then said

18 that he had been attempting to call this female but that it “wasn’t letting [him] pick up for some reason.”

19 When I reviewed toll records for (279) 386-7769, I observed that the call made immediately prior was to

20 (559) 413-8584, used by BALBOA. I therefore believe that BALBOA was using Debbie SANCHEZ’s

21 phone for this call. During the call, SANCHEZ told BALBOA to “tell [his] mom” to “wrap it up good

22 for [him]”. SANCHEZ then indicated that he was going to “take out two half of burritos- a half of

23 burrito for [his] mom,” as well as take out other half burritos for another individual. SANCHEZ also

24 indicated that BALBOA should “take out” “a half of- of- of- of that pink stuff” and “a half of the white

25 stuff.” In this way, SANCHEZ’s mother would “get half pink and half, uh, uh, uh, white for her and

26 half pink and half white for” another uncharged female. SANCHEZ then instructed BALBOA to “wrap

27 [] up real good” his other “seven burritos,” which would then be taken to SANCHEZ’s “pad.”

28 BALBOA then clarified that the other uncharged female would be the one “taking it” – she ultimately

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 1 would not – and SANCHEZ affirmed, indicating again that two half-burritos would be “taken out of

 2 that,” and that “we” (i.e. BALBOA) should “wrap that up real good” so that SANCHEZ could know “if

 3 someone got in it.” BALBOA then began speaking with an individual in the background and began

 4 speaking with SANCHEZ about “Mom,” when “Mom” would be “taking it,” and about how

 5 SANCHEZ was going to be given “Mom” a half “burrito.” I therefore believe that Debbie SANCHEZ

 6 was present in the background of BALBOA’s side of the conversation and that Debbie SANCHEZ was

 7 going to be paid for her services with a “half burrito.” BALBOA then indicated that “Mom” was going

 8 to drop BALBOA off in Hanford and said the parties would call SANCHEZ at that point.

 9           162.       Based on my knowledge of the investigation, I know that SANCHEZ uses the word

10 “burrito” to refer to ounces of methamphetamine. I also know that SANCHEZ has previously received

11 pink-colored methamphetamine from various sources of supply. Therefore, I believe that in this call

12 SANCHEZ was instructing BALBOA to tell Debbie SANCHEZ to wrap up the ounces of

13 methamphetamine tightly, and that SANCHEZ would be giving Debbie SANCHEZ one-half ounce of

14 methamphetamine in exchange for her travelling to Fresno to pick up the narcotics. I believe that

15 SANCHEZ then indicated that seven ounces of methamphetamine would be left, that these should be

16 wrapped tightly so that no one could get into them without SANCHEZ’s knowledge, and initially that

17 these would be taken to a location controlled by SANCHEZ, which based on subsequent events I

18 believe to be the location ENTERPRISE members have named “Thug Mansion,” and is the residence of

19 GONZALES and FELISCIANO.

20           163.       At approximately 3: 25 PM, SANCHEZ, again using (279) 386-7769, had a conversation

21 with Carlos GUILLEN, using (559) 508-6409. Though the topic of conversation between the two of

22 them is only tangentially related to the conspiracy at issue, during this call, GUILLEN asked for money,

23 at which point SANCHEZ put that call on hold and used (279) 386-7769 to call (559) 401-8633, used

24 by FELISCIANO. SANCHEZ then merged the two calls. SANCHEZ then spoke at length with

25 FELISCIANO and a male voice in the background – which I recognize as belonging to Benny

26 GONZALES – regarding sending $30 to GUILLEN using the money transfer application CashApp. 34

27
             34
                  It should be noted that I also believe that GONZALES participated in this call because the parties set out that
28 GUILLEN would request the $30 from CashApp account handle “Huero824,” which I know based on my knowledge of the

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 1 After GUILLEN left the three-way call, GONZALES and SANCHEZ then began speaking about the

 2 conspiracy to smuggle narcotics into the detention facility. At approximately time marker 7:05, 35

 3 GONZALES told SANCHEZ that “these dubs are ready,” “I did all them negra, I did the three zippers

 4 of the negra.” GONZALES also spoke about preparing plugs for another individual and about how he

 5 prepared “twenty-one grams for the homie Whisper.”

 6            164.     As stated above, I know that GONZALES had specific knowledge of the conspiracy that

 7 SANCHEZ was orchestrating involving the smuggling of narcotics into a detention facility. Based on

 8 my training and experience, I also know that Hispanic drug traffickers use the word “negra” to refer to

 9 black tar heroin and the words “zip” and “zipper” to refer to an ounce of a narcotic. As is set out above, I

10 also know that “Whisper” is ALFARO’s street moniker. Therefore, I believe that in this call

11 GONZALES detailed for SANCHEZ how GONZALES had prepared several of the plugs, one of

12 which was for ALFARO. I therefore believe that GONZALES knowingly assisted SANCHEZ with his

13 conspiracy by packaging the narcotics for transport to ALFARO so that ALFARO could attempt to

14 smuggle them into a detention facility.

15            165.     It should be noted that GONZALES had also been involved in the planning for the

16 transportation of the narcotics to ALFARO, though he would ultimately not fulfill this role. On April

17 24, 2025, at approximately 11:34, SANCHEZ, using (279) 386-7769, spoke with GONZALES, using

18 (559) 401-8633 (typically FELISCIANO’s phone); during that conversation, the parties spoke about

19 how GONZALES would transport the narcotics to ALFARO the following day (April 25, 2025). Later

20 that night, at approximately 10:07 PM, SANCHEZ sent at text message from (279) 386-7769 to TT5,

21 used by GONZALES, which read, “Thank you primo tomorrow we will go and drop them off , I send

22 love,”.

23            166.     During and after GONZALES’ call with SANCHEZ at 3:25 PM, the surveillance team

24 continued to follow the Chevy Cruze until it arrived at 11911 Chris Lane, Hanford, CA, at

25 approximately 3:42 PM. Two females were then seen exiting the Chevy and entering the residence.

26
     investigation belongs to Benny GONZALES. Specifically, SANCHEZ and GONZALES used this CashApp account to
27 facilitate the distribution of heroin from TAMAYO to GONZALES on May 2, 2025.
              35
                The sequence of calls these calls is confusing due to the way the monitoring system registers three-way calling; it
28
     should be noted that the conversation at issue here occurs in call number 11490 on (279) 386-7769.

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 1 Several minutes later, the female who was observed driving the Chevy came back outside and was

 2 positively identified as Debbie SANCHEZ based on a comparison with the picture maintained on file

 3 by the California Department of Motor Vehicles.

 4          167.    At approximately 3:54 PM, SANCHEZ, using (279) 386-7769, called BALBOA, using

 5 (559) 413-8584. During the call, SANCHEZ called BALBOA “Sis” and asked where his mother was.

 6 BALBOA indicated that Debbie SANCHEZ was there, that Debbie SANCHEZ was “gonna go right

 7 now,” and that Debbie SANCHEZ and BALBOA “just got here.” Based on the context of this call, as

 8 well as subsequent observations by the surveillance team, I believe that even though SANCHEZ had

 9 previously indicated that another uncharged female would be transporting the methamphetamine to

10 FELISCIANO and GONZALES’ location for preparation for transport to ALFARO, the plan changed

11 such that Debbie SANCHEZ would now transport the narcotics there.

12          168.    At approximately 4:20 PM, SANCHEZ, using (279) 386-7769, called BALBOA, using

13 (559) 413-8584. During the call, SANCHEZ asked where his mother was, and BALBOA responded,

14 “Right here.” SANCHEZ then said, “Mom” and Debbie SANCHEZ responded “Yeah” in the

15 background of the call. SANCHEZ then asked if Debbie SANCHEZ knew how they were “gonna do

16 this” and specified that “six full burritos” would be going to his “pad.” As state above, I know that

17 SANCHEZ frequently uses the phrase “full burrito” to refer to an ounce of methamphetamine. I

18 therefore believe that SANCHEZ was specifying that Debbie SANCHEZ would be transporting six

19 ounces of methamphetamine to FELISCIANO and GONZALES’ residence.

20          169.    At approximately 4:44 PM, the surveillance team at 11911 Chris Lane, Hanford, CA

21 observed Debbie SANCHEZ get back into the white Chevy Cruze. After a call at approximately 4:46

22 PM, in which SANCHEZ instructed Debbie SANCHEZ – during a three-way call with BALBOA – to

23 bring the other uncharged female’s methamphetamine payment with her, Debbie SANCHEZ was

24 observed briefly returning to 11911 Chris Lane at approximately 4:51 PM and then departing again after

25 one minute. The surveillance team followed Debbie SANCHEZ’s vehicle until approximately 5:29 PM,

26 when the vehicle was observed pulling into the alley that leads to 36946 Los Angeles Avenue, Huron,

27 CA, a location ENTERPRISE members refer to as “Thug Mansion,” the home of GONZALES and

28 FELISCIANO. Several minutes later, at approximately 5:38 PM, Debbie SANCHEZ’s vehicle was

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 1 observed departing the area and the team terminated surveillance at that time.

 2          170.   Later that evening, at approximately 8:50 PM, FELISCIANO, using (559) 401-8633,

 3 ESCOBEDO, using (831) 596-0869, and SANCHEZ, using (279) 386-7769, spoke about various

 4 aspects of the conspiracy. At approximately time marker 19:20, SANCHEZ asked when his primo

 5 (GONZALES) was coming; when FELISICANO indicated she did not know, SANCHEZ suggested

 6 that she and another male go instead. Based on the calls set out above, I believe SANCHEZ was

 7 suggesting that FELISCIANO transport the narcotics to ALFARO. At approximately time marker

 8 24:32, SANCHEZ indicated to ESCOBEDO that he wished to call ALFARO while SANCHEZ and

 9 his prima were on the phone together. I then observed that ESCOBEDO created a separate call on (831)

10 596-0869 and called (559) 214-7050, used by ALFARO, at approximately 21:13 hours. I then began

11 hearing ALFARO’s voice on the original three-way call with SANCHEZ, and SANCHEZ began to

12 reiterate his instructions to ALFARO regarding not touching the drugs until SANCHEZ arrived at the

13 jail and how the drugs would be distributed. At approximately time marker 41:30, SANCHEZ asked

14 ALFARO for an “address,” at which point ALFARO eventually indicated that the address was,

15 “Nineteen twenty-eight east Hunter.” Based on subsequent surveillance observations, I believe

16 ALFARO was giving his home address of 1928 E. Hunter Avenue, Fresno, CA. It should be noted that

17 earlier in the call, at approximately time marker 24:41, SANCHEZ also indicated to FELISCIANO that

18 he wanted her to “send [him] pictures right now so [he could] show ‘em… the homies.” At

19 approximately 21:18 hours, I observed that (559) 401-8633, used by FELISICANO, sent a multimedia

20 text message to (279) 386-7769 of the following picture:

21 ///

22 ///

23 ///

24 ///

25 ///

26 ///

27 ///

28 ///

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 4

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12

13

14           171.       Based on all of the information set out herein, I believe this is a picture of some of the

15 clavos containing controlled substances before they were delivered to ALFARO.

16           172.       That evening, SANCHEZ and FELISCIANO spoke several more times about the

17 conspiracy, including discussing the type and weight of the narcotics being smuggled.

18           173.       The next day, April 25, 2025, the involved parties began to coordinate the transfer of the

19 narcotics to ALFARO. At approximately 2:04 PM, ESCOBEDO, using (831) 596-0869, called (559)

20 214-7050 36, used by ALFARO, and merged the call with her original call with SANCHEZ. During the

21 portion of that call, SANCHEZ indicated that his “primo” (GONZALES) was not able to take the

22 narcotics to ALFARO and indicated that he was attempting to find another “ride.” It should be noted

23 that SANCHEZ would speak with ALFARO several more times regarding the logistics of the

24 smuggling operation, including how to use coded language while in the jail, 37 as well as the timing of

25

26

27            36
                 On May 6, 2025, members of the investigative team detained ALFARO and located his cell phone. Members of
     the investigative team placed a call to (559) 214-7050 and watched as ALFARO’s call rang.
28           37
                  This was intercepted in a call on April 25, 2025, at approximately 5:55 PM.

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 1 the operation and ALFARO’s apprehension about it. 38

 2           174.     At approximately 5:03 PM, SANCHEZ, using (279) 386-7769, spoke with

 3 FELISCIANO, using (559) 401-8633. During that call, FELISCIANO indicated that she would “just

 4 take it [her]self” and that she “already had the ride and everything.” After SANCHEZ had cancelled his

 5 other “ride,” SANCHEZ indicated that he wanted to tell “the homeboy” – ALFARO – that “they would

 6 be there before seven.” Several minutes later, at approximately 5:20 PM, SANCHEZ, using (279) 386-

 7 7769, called ESCOBEDO, using (831) 596-0869, and asked her to call “the boy,” “my homeboy,”

 8 “Whisper” – again, ALFARO – to tell him that they would “be there no later than eight.” ESCOBEDO

 9 indicated that she would call. Accordingly, at 5:22 PM, ESCOBEDO used (831) 596-0869 to call (559)

10 214-7050, used by ALFARO, to let him know that “we got the ride” and that “the ninja said that the

11 would be there no later than eight.” The next minute, ESCOBEDO, using (831) 596-0869, called

12 SANCHEZ, using (279) 386-7769, and reported the events of the previous call.

13           175.     Several more calls transpired between SANCHEZ, using (279) 386-7769,

14 FELISCIANO, using (559) 401-8633, ESCOBEDO, using (831) 596-0869, and ALFARO, using

15 (559) 214-7050, in which ALFARO was informed that there were eleven clavos, FELISCIANO

16 indicated that she was going to transport them and was going to leave imminently, and ESCOBEDO

17 facilitated SANCHEZ speaking with other individuals.

18           176.     At approximately 6:06 PM, the surveillance team observed FELISCIANO leaving

19 “Thug Mansion,” getting into the right front passenger seat of Chevy Malibu, and departing the area.

20 Another uncharged individual was driving. The team maintained surveillance on the Chevy as it traveled

21 to various locations, including FELISCIANO’s apartment and a gas station, before travelling to the

22 Fresno, CA area and pulling into the shared driveway between 1928 E. Hunter Ave and 1916 E. Hunter

23 Avenue.

24           177.     The investigative team then observed an individual dressed all in back exit 1928 E.

25

26           38
                This was intercepted in calls on April 26, 2025, at approximately 4:19 PM, during a three-way call between (279)
     386-7769, used by SANCHEZ, (559) 401-8633, used by FELISCIANO, and (559) 214-7050, used by ALFARO, as well as
27
     on May 1, 2025, at approximately 4:11 PM, in a call between ECOBEDO, using (831) 596-0869, and ALFARO, using
     (559) 894-1568. It should be noted that during this call, ALFARO was not using (559) 214-7050, but identified himself to
28
     ESCOBEDO at the beginning of the call as “Whisper.”

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 1 Hunter Avenue, Apartment 3 and approach the Chevy. After appearing to make contact with the

 2 occupants, the individual re-entered 1928 E. Hunter Ave, Apartment 3 and the Chevy departed the area.

 3           178.       Several minutes later, at approximately 7:26 PM, the team observed a red Chevy

 4 Avalanche leave the parking lot in front of 1928 E. Hunter Avenue. The team maintained surveillance

 5 on the vehicle until it parked in the parking lot of a shopping center and subsequently identified the front

 6 seat passenger as Armando ALFARO based on a comparison with the picture of Armando ALFARO

 7 maintained on file with the California Department of Motor Vehicles. Additionally, when ALFARO

 8 entered a store, a member of the surveillance team established physical surveillance on ALFARO while

 9 another member of the team called (559) 214-7050 ((559) 214-7050); the first team member observed

10 ALFARO take out his cellular phone, look at it, and put it to his head as if he were answering it. As

11 stated above, I believe that ALFARO is the user of (559) 214-7050.

12           179.       While FELISCIANO was on her way back to Huron, CA, at approximately 7:49 PM,

13 SANCHEZ, using (279) 386-7769, spoke with ESCOBEDO, using (831) 596-0869. During that call,

14 SANCHEZ spoke about how “she” was “a ninja associate [] from one of the finest,” and indicated that

15 “she’s already on her way back” and that she “did it before eight.” SANCHEZ then asked ESCOBEDO

16 what “we should give her.” FELISCIANO then came on the line and began speaking with SANCHEZ

17 and ESCOBEDO about how she (i.e. FELISCIANO) had completed the transaction for SANCHEZ.

18 Based on the context of the calls set out herein, I believe that SANCHEZ was praising FELISCIANO

19 for transporting the narcotics to ALFARO at 1928 E. Hunter Ave, Fresno, CA. 39

20           180.       SANCHEZ’s associates then began to make plans to acquire the narcotics when

21 ALFARO came into the jail. On May 2, 2025, at approximately 7:33 PM, an inmate at the Fresno

22 County Jail named Timothy CHENOT used his jail identification number to use the recorded telephone

23 system at the Fresno County Jail to call (559) 720-4260, used by his mother, an uncharged female

24 (UFM). 40 During the call, CHENOT gave his mother the number (559) 214-7050 and asked her to call

25
             39
                  This was also made clear in a call between SANCHEZ, using (279) 386-7769, and FELISCIANO, using (559)
26 401-8633, on May 1, 2025, at approximately 1:44 PM. During the call, SANCHEZ asked FELISCIANO where she went
     exactly when she “took that clavito” at “the apartment complex.” FELISCIANO gave the address “1928 E. Hunter Avenue,”
27 which based on my knowledge of the investigation is the apartment complex where ALFARO resides.
              40
28                 I have listened to numerous calls between CHENOT, using both his jail identification number and other jail


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 1 that number for him. UFM indicated that she would, after which there was a period of silence. When I

 2 reviewed call detail records for (559) 720-4260, I observed that at approximately 7:37 PM, it called

 3 (559) 214-7050, used by ALFARO. A male voice which I recognized as ALFARO’s subsequently

 4 came on the line and another male voice began speaking with him and identified himself as “Envy ,”

 5 which based on my knowledge of the investigation, I know to be the street moniker of Anthony JEFF.

 6 JEFF also indicated that he had “Tim on the line right here;” when ALFARO asked, “Who?” JEFF

 7 said, “My cellie,” and ALFARO responded, “Whis?” and JEFF said, “Yeah.” CHENOT then said,

 8 “What’s crackin’, homie?” in the background. JEFF then asked how ALFARO was doing and indicated

 9 that he was “just checking in on” him. ALFARO replied that he was okay, but related that he almost

10 “ended up the hospital” because he was “tucking away the luggage” and it all “fell out on” of him; there

11 was “too much luggage.” ALFARO then indicated that “everything’s good” and that he was going “to

12 bring [UI] there for everybody.” When UFM began to ask ALFARO “When-” ALFARO cut him off

13 and indicated it would be “today.” JEFF then thanked ALFARO and both JEFF and ALFARO left the

14 call. CHENOT and UFM then began to speak about non-pertinent matters and subsequently concluded

15 their call.

16           181.     Based on my knowledge of the investigation, I know that CHENOT’s street moniker is

17 “Lil’ Whisper.” As stated above, I also know that “Envy” is JEFF’s moniker; I also know that at the

18 time this call was made CHENOT was housed with only two other individuals: Anthony JEFF and

19 another uncharged individual whose moniker is not “Envy” or even phonetically close to it. Based on

20 my training and experience, I know that drug traffickers commonly use vague and innocuous language

21 when speaking about their narcotics. Based on all of the facts set out herein, I believe that ALFARO

22 was using coded language involving luggage to speak about attempting to insert the clavos into his

23 body.

24           182.     I therefore believe that ALFARO was indicating to CHENOT and JEFF, who were

25 “checking in on” him, that he had attempted to insert all of the clavos into himself, but had almost ended

26

27
     identification numbers, and the user of (559) 720-4260. Based on the fact that I have heard CHENOT call the female “Mom”
     numerous times, as well as the fact that I have heard her call CHENOT “Tim,” “Timmy,” and “Timothy,” I believe that it is
28
     actually CHENOT calling from the Fresno County Jail and that the user of (559) 720-4260 is actually his mother, UFM.

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 1 up in the hospital because there were too many of them. I believe that ALFARO indicated that he was

 2 going to be bringing in narcotics “for everybody,” which was why JEFF thanked him.

 3            183.     However, by May 6, 2025, ALFARO still had not been arrested or otherwise taken into

 4 custody at the Fresno County Jail. Throughout the day on May 6, 2025, SANCHEZ spoke with multiple

 5 associates who offered to find and potentially assault ALFARO for not getting himself taken into

 6 custody for the purpose of smuggling the narcotics into the jail. That evening, at approximately 6:25

 7 PM, the investigative team conducted a traffic stop on the red Chevy Avalanche previously seen at 1928

 8 E. Hunter Avenue, Fresno, CA, which was being driven by Barbara DIAZ and in which ALFARO was

 9 a passenger. ALFARO was taken into custody for violation of an order of protection, as he was

10 violating the protective order by being in the vehicle with DIAZ. At the time of the stop, ALFARO had

11 approximately one ounce of heroin on his person. Based on the totality of the circumstances, I believe

12 that this was the ounce of heroin promised to ALFARO by SANCHEZ in exchange for ALFARO’s

13 promise to smuggle narcotics.

14            184.     At approximately 4:38 PM on May 6, 2025, CHENOT used his jail identification

15 number to make a call to (559) 720-4260, used by UFM, using the Fresno County Jail’s recorded

16 telephone system. During the call, UFM called CHENOT “Timothy” and CHENOT called UFM

17 “Mom.” During the conversation, CHENOT told his mother to “[g]ive this phone number a call real

18 quick, please. I need a three-way” and then identified the number as (559) 628-5743. It should be noted

19 that UFM indicated that she had missed several calls from a “six one two” number and that she did not

20 know if those calls were for CHENOT. After indicating that she would call the number set out above,

21 CHENOT’s mother then came back on the line and said, “Go ahead” at which point a female voice I

22 recognized as Victoria LIMA’s came on the line. 41 CHENOT then asked for “Whisper,” identified

23 himself as “Lil’ Whisper,” and said that they were calling off of his “mom’s phone.” LIMA indicated

24
              41
                  I recognized the user of (559) 628-5743’s voice after having listened to several dozen calls to (559) 628-5743
25
     from the Fresno County Jail. Additionally, I believe that LIMA is the user of (559) 628-5743 for several reasons. First, when
     I listened to the calls, I could tell that the user of the phone is female and that she is referred to as “V” in several calls,
26
     including in a call to (559) 628-5743 at 11:54 AM on May 6, 2025. Based on my knowledge of the investigation, I know that
     LIMA’s first name is Victoria, and that this is likely a reference to her first name. Second, LIMA gave this number to the
27
     officer who conducted the traffic stop on her and Barbara DIAZ on May 7, 2025. Additionally, during that same stop, a
     member of the investigative team called (559) 628-5743 and the officer at the scene observed LIMA’s phone ringing. I
28
     therefore believe that LIMA is the user of (559) 628-5743.

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 1 that she would try to get ahold of “Whisper,” at which point, CHENOT indicated that ALFARO could

 2 simply leave a message with UFM. LIMA then suggested that CHENOT simply contact her directly;

 3 CHENOT indicated that he would call her shortly and concluded the call.

 4          185.    Less than an hour later, at approximately 5:06 PM, CHENOT again used his jail

 5 identification number to make a call using the Fresno County Jail’s recorded telephone system to (559)

 6 628-5743, used by Victoria LIMA. During the call, CHENOT identified himself as “Whisper,” and

 7 later on in the call also specified his jail identification number (7039403). LIMA indicated that she had

 8 messaged “him,” and that “his” phone had broken because “he” had dropped it. LIMA also indicated

 9 that she had instructed “him” to call her. LIMA also indicated that CHENOT could call her the next

10 day. CHENOT then indicated that the number he spoke with LIMA on last ((559) 720-4260, used by

11 UFM) was his mother’s number, and that if LIMA wanted to get ahold of CHENOT, she could contact

12 that number and that his mother would reach out to him using “G.T.L.,” the jail’s communication

13 system. Finally, CHENOT also specified his pod number at the Fresno County Jail and said that “he

14 just left here not too long ago.”

15          186.    Based on my knowledge of the investigation, as well as subsequent events, I believe that

16 the male being spoken about during this call is Armando ALFARO. I believe that LIMA indicated that

17 she attempted to send a message to ALFARO and that she believed that ALFARO was not responding

18 because his phone had broken. I also believe that CHENOT indicated that if LIMA wished to get ahold

19 of him, she could call UFM, who would connect her with CHENOT.

20          187.    Several hours after that, on May 6, 2025, at approximately 8:37 PM, CHENOT again

21 used the Fresno County Jail’s recorded telephone system to call (559) 628-5743, used by LIMA.

22 During the call, LIMA indicated that she had contacted CHENOT – apparently by using a messaging

23 service available through the jail – to indicate that she had seen that “he” had been arrested. CHENOT

24 then indicated that the situation could have turned into “something bigger;” based on the context of the

25 conversation, I believe it was clear that both parties believed that ALFARO had successfully smuggled

26 the narcotics into the jail.

27

28

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 1           188.     The next day, May 7, 2025, at approximately 11:54 AM, ALFARO 42 used a phone in the

 2 booking division of the Fresno County Jail to place a recorded phone call to (559) 628-5743, used by

 3 LIMA. During the call, LIMA indicated that “Lil’ Whisper” kept calling to attempt to get ahold of

 4 ALFARO and that “people were trippin’.” ALFARO indicated that “it’s bad right now for [him]” and

 5 asked LIMA to “message them” to tell them that he “made every effort to come in.” At a certain point,

 6 ALFARO said, “I got everything still” and “I’m not holding nothing, you know what I’m saying?”

 7 ALFARO then elaborated that when he was pulled over, he had “some black” on him, but that he has

 8 “the rest,” “the baseball cards,” “the t-shirts,” all “at home.” LIMA then asked if there was any way that

 9 she could “go pick up the t-shirts and, uh, give ‘em to somebody else.” ALFARO responded that LIMA

10 should ask if “they” wanted her to do that, reiterated that “everything’s there,” and indicated that “the

11 only thing that wasn’t theirs” was “some black that was mine,” and that this was what he “got popped

12 with.”

13           189.     Based on my training and experience, I know that drug dealers commonly use vague and

14 innocuous language, such as the phrases “baseball cards,” “t-shirts,” “the rest,” and “everything” when

15 speaking about their narcotics. I also know that they use the word “black” to refer to black tar heroin. I

16 also know that the phrase “to trip” is commonly used in popular culture to refer to someone being

17 particularly upset about a situation. Finally, I know that the phrase “to get popped” is used in gang

18 communities to refer to the idea of being arrested for committing a crime. Finally, based on my

19 knowledge of the investigation, I know that “Lil’ Whisper” is the street moniker of Timothy CHENOT.

20           190.     Therefore, I believe that in this call LIMA told ALFARO that CHENOT was asking

21 about ALFARO and attempting to get ahold of him. I believe she also conveyed that “people” – i.e.

22 SANCHEZ and his associates, based on the context of the conversation and the situation as a whole –

23 were becoming upset. ALFARO then asked LIMA to message these people to let them know that he

24 made every effort to get arrested with the narcotics. However, ALFARO then specified that he did not

25 have the narcotics on him when he was arrested, indicating that the narcotics were still at his residence

26

27           42
                 Though ALFARO did not use his jail identification number, based on the context of the call, including his
     recitation of how he was pulled over, the narcotics that were found on his person, and his concern and understanding of the
28
     situation as a whole, I believe that he was the male calling LIMA’s phone, (559) 628-5743.

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 1 and that the only narcotics he had on his person when he was arrested was heroin. Based on the totality

 2 of the circumstances, I believe this was the heroin SANCHEZ paid ALFARO in exchange for

 3 ALFARO agreeing to smuggle narcotics into the jail. Finally, I believe that the reason ALFARO was

 4 specifying this is because he understood that if he smuggled the narcotics into the jail and did not turn

 5 them over to SANCHEZ as directed, ALFARO was risking his life.

 6           191.   Several minutes later, at approximately 12:35 PM, CHENOT, using his account on the

 7 recorded telephone system at the Fresno County Jail, made a call to LIMA, using (559) 628-5743.

 8 During that call, LIMA spoke with CHENOT about the conversation she had several minutes earlier

 9 with ALFARO, indicating that the “white t-shirts and everything were at the pad.” CHENOT

10 responded, “I need you to pick all that up,” to which LIMA replied that she would “figure out how to go

11 get it.” CHENOT then further specified, “I’ll give you the address to where my mom is at. You will go

12 and pick that up and drop it off to her.” At a certain point in the conversation, CHENOT also gave the

13 address “2677 College” and the phone number (559) 720-4260 as being associated with his mother and

14 told LIMA to contact his mother to tell his mother that LIMA would be dropping something off “for

15 Whisper,” and that his mother’s name was “Tracy.” CHENOT also specified that they “need that done

16 today.”

17           192.   I then accessed open-source databases that law enforcement frequently use to identify

18 individuals and observed that (559) 720-4260 is associated with UFM. Based on the previous call, as

19 well as the context and content of the calls set out below, in which CHENOT calls (559) 720-4260 from

20 the Fresno County Jail using the jail’s recorded phone system and is called “Tim” by a woman that he

21 calls “Mom,” I believe that UFM is the user of (559) 720-4260.

22           193.   As is stated above, I also know that ENTERPRISE members commonly use the word “t-

23 shirts” to refer to narcotics. I therefore believe that CHENOT was instructing LIMA to go to

24 ALFARO’s residence, retrieve the narcotics, and transport them to UFM’ residence at 4766 N. College

25 Ave, Fresno, CA.

26           194.   Several minutes after the call with CHENOT, at approximately 1:37 PM, LIMA, using

27 (559) 628-5743, received a call from ALFARO, using his jail ID number from a recorded line at the

28 Fresno County Jail. During the call, LIMA generally relayed the content of her conversation with

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 1 CHENOT, including that LIMA was to take the “t-shirts.” When LIMA indicated that she was willing

 2 and able to pick up the “t-shirts,” ALFARO said, “We need a three-way. Because that’s probably

 3 what’s gonna happen.” When LIMA indicated that she was not sure if she would have a ride, ALFARO

 4 indicated that “ol’ girl gots [sic] a car, you know what I mean?” The parties then ran out of time and the

 5 call terminated.

 6          195.    Based on my training and experience, I know that the phrase “ol’ girl” is used in criminal

 7 street gang culture to refer to one’s significant other, such as one’s wife, girlfriend, or sometimes other

 8 immediate family member. Based on my knowledge of the investigation, I know that Barbara DIAZ is

 9 ALFARO’s girlfriend. Based on this fact, as well as subsequent events, I believe that ALFARO was

10 indicating that LIMA could use DIAZ’s vehicle to transport the narcotics.

11          196.    Several minutes later, at approximately 1:44 PM, LIMA, using (559) 628-5743, received

12 another call from ALFARO at the Fresno County Jail, who was again using his account to make a call

13 using the jail’s recorded telephone system. During that call, LIMA said, “Okay, what’s the number?”

14 ALFARO responded, “eight nine four, fifteen sixty-eight.” I then heard silence for several seconds,

15 after which I heard LIMA said that there was no answer. When I reviewed call detail records for (559)

16 628-5743, I observed that at approximately 1:46 PM, LIMA used (559) 628-5743 to call (559) 894-

17 1568. At a certain point during the call, after ALFARO indicated that he did not want to be separated

18 from the rest of the gang – which had been done for his own safety due to statements made by

19 SANCHEZ – ALFARO said, “You were… look, man, you were there. You were there helping me

20 make them motherfuckers again, you know what I mean?” LIMA responded, “That’s what I told him,

21 too. I told him, that.” She then reiterated that she knew that ALFARO had not gone out in public

22 because he did not want to be arrested before he was ready (i.e. before he had the drugs inserted in

23 himself) and then stated, “I even told him. I go, ‘We’ve got…’ I go, ‘He even got sick.’ I go, ‘That’s

24 why…’ I go, ‘That’s why I- I- we- we met up.’ I go, ‘So… that we can clean the t-shirts even better so

25 that . . . he can have ‘em.’ You know what I mean?” Later in the call, LIMA indicated that “he” was

26 calling, at which point there was silence for several seconds, and then a male voice came on the line.

27 ALFARO asked if it was “Whis” – i.e. “”Lil’ Whisper,” or CHENOT – and the male indicated that it

28

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 1 was. 43 CHENOT then asked how they were going to obtain the narcotics and indicated that he was

 2 going to have “her” – LIMA, based on previous calls – take the narcotics to CHENOT’s mother’s

 3 house. ALFARO was clearly concerned that CHENOT was going to think that ALFARO was stealing

 4 from the gang and repeatedly protested that he did not want to be in solitary confinement, and that

 5 “everything’s still the same way they left it, dog. Everything’s marked.” ALFARO then indicated that

 6 he would “work on getting’ it for” CHENOT and that ALFARO would “have her take it to

 7 [CHENOT’s] mom’s.”

 8           197.     Based on my training and experience, I know that if clavos are dirty, they can actually

 9 transmit bacteria or other foreign bodies to the smuggler, causing the smuggler to become ill. As set out

10 above, I know that ENTERPRISE members and associates use the phrase “t-shirts” to reference

11 narcotics. Based on the calls set out above in which SANCHEZ extensively discussed which narcotics

12 would be labeled and for whom they would be labeled, I believe that ALFARO was indicating that

13 everything was still as SANCHEZ wanted it and was ready for LIMA to pick up and transport. I also

14 believe that LIMA admitted that she helped ALFARO clean the clavos after – as ALFARO mentioned

15 above to UFM and CHENOT – ALFARO attempted to insert them into himself and subsequently

16 became ill.

17           198.     Several minutes later, at approximately 1:59 PM, ALFARO, using his jail identification

18 number on the recorded line at the Fresno County Jail, spoke again with LIMA, using (559) 628-5743,

19 asking LIMA to tell “her” that ALFARO wanted to talk to “her,” and that “he wants you to hear it from

20 him.” Based on the context of the calls set out below, I believe ALFARO was asking LIMA to call

21 Barbara DIAZ for him.

22           199.     At approximately 2:38 PM, CHENOT again used the recorded phone system at the

23 Fresno County Jail to call UFM, again using (559) 720-4260 (TT 4260). It should be noted that during

24 the call, UFM called CHENOT “Tim” and CHENOT called UFM “Mom.” CHENOT also told his

25
             43
                 It should be noted that call detail records from the Fresno County Jail indicated that “Michael Castillo”’s jail
26
     identification number was used to make this call. However, given the fact that this individual told ALFARO that he was
     “Whis,” as well as the fact that this individual told LIMA that he was “Whisper” before she connected this call with her
27
     original call with ALFARO, I believe the caller was actually CHENOT. Additionally, this male’s voice sounds very similar
     to CHENOT’s to the point where after having listened to several hours of CHENOT’s calls, I am confident they are the
28
     same person.

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 1 mother to save “(559) 628-5743” in her phone and said the user’s name was “Nia.” UFM responded that

 2 she would save that number so she would know it was actually CHENOT calling. CHENOT further

 3 stated that “Nia” was going to “take [UI] today,” that it was “important to put it away,” and that

 4 CHENOT would tell UFM “what to do with it later.” UFM replied, “Okay. Okay. Got it.” Later,

 5 CHENOT told UFM to “text her and [stuttering] write, ‘I’m awake if you ever- if you want to drop that

 6 off.’” UFM replied, “Hold on, ‘K.” UFM asked for the number again, at which point CHENOT stated,

 7 “Just hit her text and put, ‘My son doesn’t know what’s going on. I’m here, uh, when it’s ready.” UFM

 8 said, “Okay,” and then clarified the number – (559) 628-5743 – with CHENOT again.

 9           200.    Based on the context of the calls set out above, I believe CHENOT was giving his

10 mother LIMA’s number because he knew that UFM and LIMA would need to coordinate with each

11 other when LIMA delivered the narcotics. I believe CHENOT was also attempting to obtain

12 information about the status of LIMA’s delivery by instructing UFM to message (559) 628-5743.

13           201.    Several minutes after the previous call began, at approximately 2:40 PM, ALFARO used

14 his jail identification number to use the jail’s recorded phone system to call LIMA, using (559) 628-

15 5743. During that call, LIMA asked if ALFARO wanted LIMA to call “her,” which was followed by

16 several seconds of silence. Barbara DIAZ 44 then came on the line, at which point ALFARO stated that

17 he wanted DIAZ to give “the bundles” to “V.” ALFARO also instructed DIAZ to pull specific

18 “bundles” out, as those belonged to “that person;” DIAZ indicated that she was looking at the bundles as

19 they were speaking, which I believe indicates that she was likely with “the bundles” at the time of the

20 call. ALFARO then told DIAZ to “hold on to that” and to “give ‘V’ the rest.” Finally, LIMA concluded

21 this portion of the call by indicating that she would travel to DIAZ’s location.

22           202.    Based on the context of the calls set out above, as well as subsequent events, I believe

23 that the “bundles” being spoke about during this call are the clavos which ALFARO was supposed to

24

25           44
                 At a certain point, when ALFARO was attempting to get the second female’s attention, he said the name,
     “Barbara,” and the new female said “Yeah?” ALFARO also began describing the clavos and the new female indicated that
26
     she was looking at them while he was speaking. Based on these facts, as well as the fact that Barbara DIAZ was with
     ALFARO when he was arrested and was at the residence where the clavos had been dropped off, I believe it was DIAZ on
27
     the line with LIMA. When I reviewed call detail records for (559) 628-5743, I observed that while the jail call with
     ALFARO was still active, (559) 628-5743, used by LIMA, called (559) 894-1568. Later in the call, DIAZ and ALFARO
28
     confirmed that DIAZ’s number was “894-1568,” as well. I therefore believe that DIAZ is the user of (559) 894-1568.

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 1 have smuggled into the Fresno County Jail. Based on the fact that LIMA was supposed to transport the

 2 narcotics at CHENOT’s direction, I believe that ALFARO was speaking about LIMA when he said the

 3 letter “V.”

 4          203.   Therefore, I believe that in this conversation, ALFARO told DIAZ to separate one of the

 5 clavos for another individual, and that DIAZ indicated that she would. I also believe based on the

 6 totality of the circumstances that DIAZ was at 1928 Hunter Avenue, Apartment 3 when she did so.

 7 Finally, I believe that ALFARO instructed DIAZ to give the rest of the clavos to LIMA, and that

 8 LIMA then indicated that she would travel to DIAZ’s location, which based on subsequent events I

 9 believe to be 1928 Hunter Avenue, Apartment 3, Fresno, CA.

10          204.   At approximately 3:34 PM, based on the calls set out above, the investigative team

11 established surveillance on 1928 Hunter Avenue, Apartment 3, Fresno, CA. At approximately 4:08 PM,

12 the team observed the red Chevy Avalanche pickup truck leaving the apartment complex that DIAZ had

13 driven the day before. DIAZ was positively identified as the driver of the vehicle based on a comparison

14 with the picture of DIAZ maintained on file by the California Department of Motor Vehicles, as well as

15 the contact the day before with ALFARO; the surveillance team also noted that there was a female in

16 the front passenger seat. Several minutes later, the truck returned and DIAZ was observed manipulating

17 an object in the backseat of the vehicle. At approximately 4:13 PM, the truck was again observed

18 leaving the parking lot and was followed by the surveillance team.

19          205.   At this time, based on the calls set out above, the team believed that LIMA and DIAZ

20 were likely transporting the narcotics which were supposed to have been smuggled into the Fresno

21 County Jail from ALFARO and DIAZ’s shared residence to UFM’s residence at CHENOT’s direction.

22 It should be noted that at approximately 4:16 PM, call detail records for (559) 628-5743, used by LIMA,

23 indicated that it had a 40 second conversation with (559) 720-4260 TT 4260, used by UFM, which

24 would become relevant several hours later. A traffic stop was subsequently made on the vehicle at

25 approximately 4:24 PM. LIMA and DIAZ were both contacted in the vehicle and detained.

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27

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 1          206.    The investigative team then froze the red Chevy Avalanche and the apartment located at

 2 1928 Hunter Avenue, Apartment 3 and wrote a search warrant for both locations, as well as for the

 3 persons of DIAZ and LIMA. When the team searched LIMA’s purse, which was located in a backpack

 4 on the floorboard between the center console and the dashboard of the Chevy Avalanche, the team

 5 located nine small, tightly-bound objects which based on my training and experience I know to be

 6 consistent in appearance with clavos, plugs, and/or other objects inserted into the human body while

 7 attempting to smuggle them into detention facilities. The following is a picture of the objects recovered

 8 from LIMA’s purse:

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24          207.    The investigative team subsequently sent the clavos to a laboratory used by the Fresno
25 County Sheriff’s Office to test evidence. The laboratory results indicated that the substances inside the

26 clavos tested positive for methamphetamine, heroin, and fentanyl.

27          208.    Inside 1928 Hunter Ave, Apartment 3, Fresno, CA, the team recovered drug
28 paraphernalia, as well as user amounts of narcotics. During the stop, LIMA indicated to the reporting

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 1 officers that (559) 628-5743 was her phone number. Additionally, it should be noted that LIMA later

 2 called Fresno County Dispatch and gave (559) 628-5743 as her callback number. Finally, during the

 3 traffic stop, a team member called (559) 628-5743 and watched the phone that LIMA had identified as

 4 hers begin to ring.

 5            209.     At approximately 10:38 PM, UFM, using (559) 720-4260 TT 4260, received a call from a

 6 recorded line in the Female Pre-Booking division at the Fresno County Jail. During the call, the female

 7 caller indicated that her name was “Victoria” 45 and asked if UFM’s name was “UFM.” UFM responded,

 8 “Yes.” LIMA indicated that she was followed right after she had last been on the phone with UFM and

 9 then said, “They got it.” UFM responded, “They got it?” and then asked, “So you’re locked up?” LIMA

10 confirmed that she was, and then described the situation further, including specifying that “it was, like,

11 almost a whole pound.” LIMA also detailed how the police obtained search warrants for LIMA’s

12 vehicle and an apartment. UFM said that she did not “know what ‘it’” was, indicating that she was “just

13 doing Mom Duty.” LIMA indicated again that “it was just under a pound.” After LIMA indicated that

14 “he” – CHENOT, based on the context of the call – needs to be careful, UFM acknowledged and

15 indicated that she would pass the word of warning along. LIMA concluded the call by indicating that

16 she would continue to reach out to UFM to let UFM know what was happening with LIMA and to get

17 updates if LIMA were to stay in custody. UFM indicated that she understood.

18            210.     Based on my training and experience, I know that it is unconstitutional for individuals to

19 be arrested based on transporting articles of clothing or – absent other circumstances – anything other

20 than illegal contraband. Therefore, I believe that when LIMA indicated that she had been followed right

21 after she last spoke with UFM, and stated that “they got it,” and UFM responded by saying, “So you’re

22 locked up?” I believe UFM knew that LIMA was transporting illegal contraband to her residence at

23 CHENOT’s direction. It should also be noted that when LIMA confirmed that “it” weighed “almost a

24 whole pound” and “was just under a pound,” UFM did not ask what “it” was, instead going out of her

25 way to say that she did not know what “it” was and that she was just doing “Mom Duty.” I do not

26

27            45
                Based on the fact that this call occurred several hours after LIMA had been arrested after being caught with the
     clavos, as well as the fact that she previously used her phone to speak with UFM at CHENOT’s direction, I believe that
28
     “Victoria” was LIMA.

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 1 believe that either of these statements is consistent with an individual who thought that something

 2 completely innocuous – such as “t-shirts” (as set out in the call below on May 8, 2025 at 12:53 PM) –

 3 was being delivered to her residence. Additionally, based on the context of the calls and events set out

 4 above, I believe that LIMA was asking UFM to warn CHENOT to be careful, as LIMA had been doing

 5 all of this at CHENOT’s direction, and knew that he was open to criminal liability now that LIMA had

 6 been arrested and the narcotics recovered. I further believe that UFM’s agreement to pass the word of

 7 warning along also indicates her complicity in this conspiracy.

 8          211.   The following morning, on May 8, 2025, at approximately 11:25 AM, CHENOT, using

 9 his jail identification number to use the Fresno County Jail’s recorded telephone system, called UFM,

10 using (559) 720-4260. During the call UFM said that “Nia got pulled over last night” “for DUI, and []

11 they took everything.” CHENOT responded, “Oh, hell no,” and then said “that can’t happen”

12 repeatedly. UFM then passed on the message that “she said to be careful,” and further stated that “they

13 took her phones, everything.” CHENOT then said that “that’s just out” and the indicated that he would

14 call UFM back.

15          212.   Based on the context of this conversation, as well as the conversation that UFM had with

16 LIMA the night before and the fact that LIMA had been introduced to UFM as “Nia” in a call on May

17 7, 2025 at 2:38 PM, I believe it is clear that UFM was speaking about LIMA’s arrest and the seizure of

18 the clavos on May 7, 2025, as no other numbers called UFM’s number from the Fresno County Jail

19 between LIMA’s call the night before and this call. I also believe that UFM was knowingly assisting

20 CHENOT and LIMA with the concealing of evidence by informing CHENOT of the events of the

21 previous night and then warning him – as instructed by LIMA – to “be careful.”

22          213.   Over an hour later, at approximately 12:53 PM, the jail identification number for

23 “Michael Castillo” called (559) 720-4260, used by UFM. In addition to the fact that I recognized

24 CHENOT’s voice, it should be noted that UFM called the male on the other end “Timmy,” and

25 therefore believe that the caller was actually CHENOT. During the call, UFM asked CHENOT if he

26 was “okay,” and he responded that “weird shit is going on” that he is going to try to avoid. UFM

27 respond, “Me, too” and that she did not “need to be involved in any of that shit, too.” CHENOT

28 responded, “Yeah, well, you know, if you ever… you know, never comes through . . . we were just

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 1 waiting on t-shirts, you know what I mean?” UFM responded, “Yeah.” CHENOT reiterated that “that’s

 2 all we know. Nothing else,” and UFM again responded, “Yeah.” CHENOT then again confirmed that

 3 UFM understood by asking, “Did you hear me, though?” and UFM responded, “Uh-huh,” indicating she

 4 understood.

 5          214.    If – as UFM claimed – UFM were simply waiting on LIMA to deliver t-shirts, I do not

 6 believe that UFM would have taken the fact that “they got it” with such acceptance or would have gone

 7 out of her way to clarify immediately that she did not know what “it” was, as she claimed above. I also

 8 believe she would have been confused by LIMA’s instruction to “warn” CHENOT, and would have

 9 likely requested more information about the situation as a whole. I therefore believe that in this call,

10 CHENOT and UFM, knowing they were being recorded, were attempting to insulate themselves from

11 criminal liability by essentially claiming that they believed that LIMA was attempting to deliver t-shirts.

12 As stated above, I believe this is logically inconsistent with UFM’s actions, and patently not what

13 CHENOT believed was happening.

14          215.    Therefore, I believe that SANCHEZ directed and facilitated the distribution of narcotics

15 and the attempted smuggling of those narcotics into a detention facility; that ESCOBEDO knowingly

16 facilitated those plots by assisting SANCHEZ with communicating with his associates and transmitting

17 information to him about the plot, as well as by “breaking down” the narcotics so they could be

18 packaged for transfer to ALFARO; that FELISCIANO facilitated those plots by assisting SANCHEZ

19 with communicating with his associates and transmitting information to him about the plot, as well as by

20 transported narcotics to ALFARO at SANCHEZ’s direction, that Debbie SANCHEZ obtained

21 narcotics at SANCHEZ’s direction and transported them to GONZALES and FELISCIANO’s

22 residence, that GONZALES facilitated this plot by assisting with the packaging of the narcotics, that

23 JEFF requested that ALFARO smuggle narcotics into the Fresno County Jail and check on ALFARO’s

24 progress by using CHENOT’s jail identification number and TH’s phone, that ALFARO facilitated this

25 plot by accepting responsibility for the narcotics, storing them, receiving payment for his services, and

26 indicating that he would bring them inside the Fresno County Jail; that CHENOT assisted with this plot

27 by instructing LIMA on where to attempt to take the narcotics so that the plot could proceed after

28 ALFARO’s arrest, that LIMA facilitated this plot by assisting ALFARO with communicating with

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 1 DIAZ, recovering the narcotics from ALFARO’s residence, and attempting to transport them to

 2 CHENOT’s mother’s residence, and that DIAZ facilitated this plot by showing LIMA where the

 3 narcotics were located and using her vehicle to transport LIMA and the narcotics to UFM’s residence.

 4                      6.       May 8, 2025 – SANCHEZ, A. LOPEZ, PLASENCIA, B. MURPHY, D.
                                 MURPHY, and SANDOVAL Conspired to Distribute and Possess with
 5                               Intent to Distribute Methamphetamine into a Custodial Facility

 6           216.       In the days leading up to May 8, 2025, the investigative team became aware that

 7 SANCHEZ and D. MURPHY, while housed in the Fresno County Jail, were conspiring to smuggle

 8 contraband, to include methamphetamine and heroin, into the Fresno County Jail. Specifically, the team

 9 became aware that SANCHEZ and D. MURPHY coordinated the operation from custody over the

10 recorded and monitored phone system and video call system, while A. LOPEZ, PLASENCIA, B.

11 MURPHY, D. MURPHY, M. MURPHY and SANDOVAL procured, packaged and attempted to

12 distribute the contraband to SANCHEZ and D. MURPHY.

13           216.       On May 7, 2025, at 9:40 PM, members of the investigative team intercepted and
                                                                     46
14 monitored an outgoing call from A. LOPEZ on (559) 818-8601 (TT8), to SANCHEZ on (279) 386-
   7769 (TT6). During this call, SANCHEZ told A. LOPEZ, “There’s a play right now in the County
15
   right. We gotta – we gotta – hole in the – in the what’s a called right. And, um – I’m making – um –
16
   straws and everything right, and – and – basically I need someone to tie on right. So once the homie –
17
   any of the homies end up tying on right, because I got the homie from San Joaquin that came with us.
18 He knows the spot, he knows where right.” The conversation continued as SANCHEZ told A. LOPEZ,

19 “You tell any of the homies right – little homies – want to make some money – everything is good –

20 they tie it on, I’ll give them 250 bucks.”
           217. I know based on my training and experience, including conversations with investigators
21
   familiar with the Fresno County Jail, that incarcerated persons within the Fresno County Jail have been
22
   bringing contraband into the facility through holes that ran from the housing units to the outer grounds
23
   of the facility. Investigators found that incarcerated persons would throw a “line 47” through these holes,
24

25             46
                  I entered (559) 818-8601 into CashApp which produced an account with the account name “Angel Solorio” and
     the handle “$Activecdl”. Based on my training and experience, I know that A. LOPEZ’s street moniker is “Active.” Based
26   on my knowledge of the investigation, I know that the acronym “CDL” is commonly used by ENTERPRISE members to
     refer to the Coalinga Dog Life Bulldog criminal street gang, of which I know that A. LOPEZ is a member. I have also heard
27   individuals call the user of (559) 818-8601 “Active” during intercepted calls. Therefore, I believe A. LOPEZ is the user of
     (559) 818-8601
28           47
                  Consisting of anything from string to cloth taken from common items within the facility.

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 1 and that individuals outside of the facility would tie contraband onto the line as the incarcerated persons

 2 pulled the contraband through the holes and into facility. This manner of bringing contraband into the
   facility became commonly referred to as “fishing.”
 3

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                 Figure 1: Photograph taken by FSO Sgt. J. Guzman on May 13, 2025 depicting holes in the Fresno County Jail.
15

16          218.        I know from my training and experience that the phrase, “there’s a play” means that an
17 individual is currently working on a conspiracy to commit a crime. I know “the County” to be

18 synonymous with the “County Jail.” I also know that the Fresno County Jail is currently investigating
   physical holes in the housing units that incarcerated persons are utilizing to bring contraband into the
19
   facility. I know the term “homie” to refer to members of the same gang. I know the term, “straws” to
20
   refer to the shape the contraband is made into to smuggle the contraband into the Fresno County Jail. I
21 also know “the homie from San Joaquin” to be RUVALCABA based on other intercepted calls in which

22 RUVALCABA is identified as the “homie from San Joaquin 48.” I know the phrase “to tie on” refers to

23 individuals tying contraband to the lines extended from the incarcerated person’s housing unit.

24          219.        Therefore, I believe SANHCEZ informed A. LOPEZ of a conspiracy SANCHEZ
     organized that would bring contraband into the Fresno County Jail through holes in the facility.
25
     SANCHEZ related that he would pay any of the junior members of the ENTERPIRSE $250 if they
26
     successfully tied the contraband to the line SANCHEZ planned to extend to the outer grounds of the
27

28          48
                 Sometimes shortened to SRP for the San Joaquin Ruthless Perros Bulldog criminal street gang.

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 1 Fresno County Jail.

 2           220.     On May 8, 2025, at approximately 3:39 PM, A. LOPEZ, using (559) 818-8601 (TT8),
                        49
 3 called (559) 404-9901 (TT25), used by A. GUEVARA. The following is a transcript of the pertinent

 4 portions of the call:

 5                                                [BEGINNING OF CONVERSATION]
            LOPEZ          Hey.
 6     A. GUEVARA          Heya.
            LOPEZ          You wanna make two fifty?
 7
       A. GUEVARA          To do what?
 8          LOPEZ          Sucking my dick.
       A. GUEVARA          Huh?
 9          LOPEZ          Sucking my dick.
       A. GUEVARA          Your fucking stupid nigga.
10          LOPEZ          Nah I’m just playing. You do or not?
11     A. GUEVARA          What is it doing though?
            LOPEZ          You have to tie uh – uh – a necklace.
12     A. GUEVARA          A necklace?
            LOPEZ          In Fresno. [background voice] tell him a string comes down and…
13     A. GUEVARA          I got to tie ‘em…
14                         Look, a string comes down, you tie it, and leave that’s it. Walk away. There’s no
                  LOPEZ
                           camera, there’s no nothing right there. Everyone…
15     A. GUEVARA          But I just came back from Fresno, Dog…
                           I’m pretty sure the homies are gonna shoot you a ride, I don’t know though, but –
16                LOPEZ    it’s just “G” needs someone to do it, and he’s gonna give you two fifty right there
                           and then – well – whenever your coming back into town.
17
       A. GUEVARA          Are you going to do it too or what?
18          LOPEZ          Uh no nigga – the fuck – “G” didn’t ask me.
                           [The call continues as the two continue to rehash the plan, the fact that the homie
19                         from San Joaquin will give A. GUEVARA directions on how to complete the
                      …
                           operation, and that LOPEZ would call FELISCIANO to gather all the pertinent
20                         details].
21                                                     [END OF CONVERSATION]
             221.     During the call, LOPEZ asked A. GUEVARA if A. GUEVARA wanted to make $250,
22
     and then indicated that A. GUEVARA only had to “tie a necklace” “at Fresno.” When A. GUEVARA
23
     expressed confusion, A. LOPEZ indicated that “a string comes down, you tie it, and leave. That’s it,
24

25           49
                 Members of the investigative team have reviewed numerous intercepted calls with (559) 404-9901 in which
     ENTERPRISE members have referred to the user of (559) 404-9901 as “Action.” Based on my knowledge of the
26
     investigation, I know that “Action” is the street moniker of A. GUEVARA. Additionally, members of the investigative
     team have reviewed multiple Fresno County Jail video calls in which A. GUEVARA is communicating on a recorded video
27
     and audio call. Members of the investigative team compared A. GUEVARA’s voice on these audio/video jail calls with the
     voice belonging to the user of (559) 404-9901and found them to be the same. Based on these facts, I believe the user of
28
     (559) 404-9901is A. GUEVARA.

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 1 walk away.” A. LOPEZ also said that he believed that “the homies” were going to “shoot [A.

 2 GUEVARA] a ride.” A. LOPEZ also indicated during the call that “G” was “in county today.” When

 3 A. GUEVARA asked who was going to “shoot the ride,” A. LOPEZ indicated that he believed it was

 4 “going to be a homie from SRP.” A. GUEVARA then indicated that he would call “Mona” (the moniker

 5 of FELISCIANO) to ask for more details.

 6          222.    Based on my training and experience, I know that ENTERPRISE members and gang

 7 members use the word “homie” to refer to members of the same gang and the phrase “to shoot a ride” to

 8 refer to the idea of someone giving someone else a ride. Based on my knowledge of the investigation, I

 9 know that SANCHEZ’s associates occasionally refer to him as “G,” as his moniker is “Giddy.” Based

10 on my knowledge of subsequent events, I believe that the phrase “tie a necklace” was meant to refer to

11 the smuggling scheme set out above in which a line would be lowered from the housing unit, tied to a

12 strand of narcotics, and then pulled back up into the jail.

13          223.    Therefore, based on the information set out above, as well as my knowledge of the

14 activities of the inmates at the Fresno County Jail, I believe that ENTERPRISE members were being

15 mobilized by SANCHEZ in an attempt to smuggle contraband into the Fresno County Jail. Several

16 minutes later, at approximately 3:44 PM, A. LOPEZ, using (559) 818-8601 (TT8), called A.

17 GUEVARA, on (559) 404-9901(TT25). The call lasted approximately 20 seconds and consisted mainly

18 of A. LOPEZ telling A. GUEVARA that “[t]hey just said that all you gotta do is the same shit. All you

19 gotta do is walk up, tie it, walk to the car, and just dip.”

20          224.    Based on all of the information set out above, I believe that A. LOPEZ was effectively

21 confirming A. GUEVARA’s role in the smuggling operation.

22          225.    At approximately 5:00 PM, A. GUEVARA used (559) 404-9901 (TT25) to send a text

23 message to PLASENCIA on 559-800-4470 (TT12) which read, “218 el Camino ln”. I immediately

24 recognized this address as being the residence of A. GUEVARA and believe that A. GUEVARA sent

25 this address so that PLASENCIA could come and pick him up.

26          226.    At approximately 5:02 PM, the surveillance team observed a Honda sedan parked at

27 FELISCIANO’s residence located at 36946 Los Angeles St, Huron, CA. The Honda sedan travelled to

28 several locations, including 218 El Camino Lane, Coalinga, CA, at which location A. GUEVARA was

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 1 observed entering a rear passenger seat of the Honda sedan. It should be noted that at approximately

 2 5:20 PM, several minutes prior to the Honda sedan’s arrival at A. GUEVARA’s location,

 3 PLASENCIA, using 559-800-4470 (TT12), sent a text message to (559) 404-9901 (TT25) used by A.

 4 GUEVARA which read, “B outside I’m rolling up.”

 5            227.       Shortly thereafter, at approximately 5:54 PM, D. MURPHY, while in custody at the

 6 Fresno County Jail and in the same housing unit as SANCHEZ 50, used the Fresno County Jail phone

 7 system 51 to call B. MURPHY at (559) 908-8713 (TT 8713). During this call, D. MURPHY named the

 8 user of (559) 908-8713 (TT 8713) “Bridgette 52.” D. MURPHY asked B. MURPHY, “did you get a

 9 message.” B. MURPHY replied, “No, I didn’t get a call or a message.” D. MURPHY then stated,

10 “they’re going to text you right now for your address, go ahead and send it to them.” Later in the call,

11 SANCHEZ can be heard in the background of D. MURPHY’s call and appeared to be on another call.

12 D. MURPHY is heard relaying the fact that B. MURPHY will be sending the address to SANCHEZ’s

13 associates, as SANCHEZ is heard on his call telling his associates that B. MURPHY will be sending

14 the address shortly.

15            228.       I believe this jail call demonstrated that D. MURPHY and SANCHEZ met personally

16 within their housing unit and decided to coordinate their efforts to bring narcotics into the Fresno

17 County Jail. SANCHEZ then sent PLASENCIA, RUVALCABA and A. GUEVARA to B.

18 MURPHY’s residence to package the narcotics to be smuggled into the Fresno County Jail.

19            229.       At the 9:44 minute mark, D. MURPHY asked B. MURPHY, “Did you guys do the

20 chocolate packs?” B. MURPHY responded, “No, we didn’t do that one yet.” D. MURPHY then told

21 B. MURPHY to, “put Naul 53 back on the phone.” SANDOVAL joined the conversation and D.

22 MURPHY told SANDOVAL, “On the chocolate packs, do the same thing, but let me know how many

23 it actually comes out to.” SANDOVAL responded, “ok.”

24
              50
                   Members of the investigative team searched jail records and found that both SANCHEZ and D. MURPHY were
25 housed in MJ5B in the Fresno County Jail at this time.
              51
                   This phone system advised the recipient that the call was monitored and recorded.
26
              52
                   Later identified as Bridgette MURPHY. The investigative team had also listened to multiple jail video calls
27 between D. MURPHY and B. MURPHY and became familiar with B. MURPHY’s voice. As a result, the investigative
     team recognized the voice of the user of (559) 908-8713 as B. MURPHY.
28            53
                   Later identified as Naul SANDOVAL.

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 1            230.     I know from my training and experience that incarcerated persons are prudent with their

 2 communications on recorded lines and often attempt to confuse law enforcement and insulate

 3 themselves from criminal liability. I believe that when D. MURPHY asked about the “chocolate

 4 packs,” he was actually referring to black tar heroin. Based on the context of the prior calls, I believe B.

 5 MURPHY and SANDOVAL are packaging narcotics to be smuggled into the Fresno County Jail.

 6            231.     Meanwhile, the surveillance team observed the Honda driven by PLASENCIA arrive at

 7 630 N. Thorne Avenue, Fresno, CA at approximately 6:34 PM. This residence is located approximately

 8 two miles northwest of the Fresno County Jail and is associated to B. MURPHY. At 6:43 PM, D.

 9 MURPHY used the Fresno County Jail video call system 54 to call B. MURPHY. This video call

10 showed a live video of D. MURPHY speaking with B. MURPHY. During this call, D. MURPHY

11 asked, “Are you guys almost done?” B. MURPHY responded, “We’re on the last one, because Naul

12 [SANDOVAL] had to take it out and rescale it.” SANDOVAL can be heard in the background stating,

13 “and the black, I’m going to try and put it into one fool.” D. MURPHY was visibly upset with

14 SANDOVAL’s statement. D. MURPHY responded by stating, “Careful what you say bro.”

15            232.     I know drug traffickers often use vague or innocuous language when discussing narcotics

16 to attempt to attempt to confuse law enforcement and insulate themselves from criminal liability. I

17 know the term, “black” to refer to black tar heroin. I believe that D. MURPHY was using the term,

18 “chocolate packs” in prior calls to also describe heroin. I believe that D. MURPHY was upset with

19 SANDOVAL because D. MURPHY believed accurately that law enforcement knows that “black”

20 means heroin, and that SANDOVAL just communicated that on a recorded and monitored video call.

21            233.     Therefore, I believe D. MURPHY called B. MURPHY to inquire as to the status of the

22 narcotics being packaged. B. MURPHY responded that they were not done yet, due to the fact that

23 SANDOVAL had to remove the narcotics from their packaging to determine their weight.

24            234.     D. MURPHY then asked, “where’s Mariah?” B. MURPHY then handed the phone to an

25 uncharged co-conspirator, herein referenced as UCC2, and D. MURPHY noticed (UCC2) was wearing

26

27            54
                 This video call system is an application based system which requires users, both in and out of custody, to create a
     profile within the application to accept video calls and messages. This application advises users that these video calls are
28
     monitored and recorded.

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 1 a red rag on her face. UCC2 stated, “It stinks.” D. MURPHY agreed and commented that it –

 2 assumably the narcotics – smells like “chemical, or vinegar or mustard.” UCC2 then related she’s “just

 3 chilling, helping” indicating she was helping package the narcotics to be sent to the Fresno County Jail.

 4          235.   I have spoken to experienced narcotics detectives who related that heroin has a strong

 5 smell that resembles vinegar or a chemical smell.

 6          236.   Later in the call, D. MURPHY asked, “where’s the homie’s people at?” B. MURPHY

 7 responded that they were, “in the living room”, and described them as a “lady and a young boy, and an

 8 older one.” B. MURPHY then took the phone to the living room, and handed the phone to

 9 RUVALCABA, who was seated on the couch. RUVALCABA took the phone to the bedroom where

10 the narcotics were being processed and began to help (off camera) with the packaging.

11          237.   Based on the physical observations of PLASENCIA’s vehicle arriving at B.

12 MURPHY’s residence, I believe the aforementioned video corroborates my belief that SANCHEZ,

13 who D. MURPHY named, “the homie”, sent his associates to the residence of B. MURPHY, to

14 combine their efforts in smuggling narcotics into the Fresno County Jail.

15          238.   At approximately 7:00 PM, D. MURPHY again used the Fresno County Jail video call

16 system to call B. MURPHY. At the beginning of the call, D. MURPHY is observed telling another

17 inmate, “I’ll just tie it on.” D. MURPHY then turned his attention to the video call and asked B.

18 MURPHY, “are you guys done?” B. MURPHY responded, “Yeah, I think we are about to start

19 wrapping it.” D. MURPHY handed the phone to another inmate as RUVALCABA joined the call.

20 RUVALCABA stated that he believed “it (the contraband) was too thick.” This uncharged inmate

21 provided RUVALCABA with direction on how to make the contraband thinner by utilizing tape to wrap

22 it tightly. D. MURPHY then rejoined the call and is observed speaking with RUVALCABA as

23 RUVALCABA is observed manipulating a rope shaped item. RUVALCABA then asked an individual

24 off camera for, “another one” and is handed a plastic tube-shaped container with a white powder

25 substance contained within. D. MURPHY observed the white powder and demanded that

26 RUVALCABA “put it down” so the white powder was out of the cameras view. RUVALCABA

27 obliged the demand and was observed manipulating the rope shaped object and applying strips of tape

28 out of the cameras view.

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 1          239.   I believe this call demonstrated that RUVALCABA, at the direction of SANCHEZ and

 2 D. MURPHY, assisted B. MURPHY and M. MURPHY with the packaging of narcotics, to include a

 3 white powdery substance to be smuggled into the Fresno County Jail.

 4          240.   At approximately 7:15 PM, D. MURPHY again used the Fresno County Jail video call

 5 system to call B. MURPHY, who handed the phone to RUVALCABA. D. MURPHY explained to

 6 RUVALCABA that, “it needs to be as thin as possible.” RUVALCABA agreed and panned the camera

 7 to show SANDOVAL and A. GUEVARA within the room where the narcotics are being packaged.

 8 Later in the call, D. MURPHY called to an incarcerated person within D. MURPHY’s housing unit to

 9 assist with directing RUVALCABA on properly packaging the narcotics. D. MURPHY handed this

10 incarcerated person the phone and is identified as Ricardo NUNEZ. I identified NUNEZ by his prior

11 booking photos. NUNEZ stated, “put em in saran wrap and just tape em” and that the hole is “like a

12 Gatorade cap.” I believe NUNEZ was providing RUVALCABA with direction and insight as to how to

13 package the narcotics. SANDOVAL and RUVALCABA are observed taping the rope shaped object in

14 full view of the camera. Later in the call, D. MURPHY asked, “who’s the little homie you’re with?”

15 RUVALCABA then handed A. GUEVARA the phone who introduced himself by stating, “I’m Action,

16 from Coalinga to Huron” to which D. MURPHY stated, “I’m Fujo from 5th.”

17          241.   I believe this video call further corroborated the fact that RUVALCABA, SANDOVAL,

18 B. MURPHY, and A. GUEVARA clearly conspired together to package narcotics to be smuggled into

19 the Fresno County Jail. This video call ended at 7:25 PM.

20          242.   At approximately 7:45 PM, two individuals were observed exiting the Murphy residence

21 and walked toward the Honda sedan, one of which was a male holding a backpack. The Honda then

22 departed the residence and was followed until it arrived at the Fresno County Jail.

23          243.   At 7:57 PM, members of the investigative team continued to physically surveil the Honda

24 and watched as RUVALCABA, SANDOVAL, and A. GUEVARA exited the Honda and loitered near

25 the intake sally port for the Fresno County Jail. During this time, A. GUEVARA was manipulating a

26 backpack that had been taken out of the Honda, which he eventually gave to SANDOVAL. It should be

27 noted that this process took over an hour, and SANCHEZ was intercepted on jail calls during this period

28 speaking with A. GUEVARA (and other individuals); based on the language being used in the call, it

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 1 was clear that SANCHEZ and his associates within the Fresno County Jail were attempting to lower

 2 something down to a level where it would be accessible to A. GUEVARA and SANCHEZ’s other

 3 associates. Based on the observations being made by the investigative team, as well as all the previous

 4 calls, I believe that SANCHEZ and his associates inside of the jail were attempting to lower a string to

 5 A. GUEVARA and other individuals with him; A. GUEVARA was supposed to tie the string to one

 6 end of the “necklace” referenced above by LOPEZ, at which point SANCHEZ and his associates

 7 would pull the string and the “necklace” up through the hole in the jail’s wall.

 8          244.    Fresno County Sheriff’s Deputies contacted SANDOVAL, who immediately took flight

 9 and disobeyed the Deputy’s commands. SANDOVAL threw the backpack while being pursued and was

10 eventually apprehended. SANDOVAL was identified by his California identification card and was

11 advised of his rights pursuant to the Miranda decision. SANDOVAL expressed remorse for fleeing

12 from Deputies but would not speak on the contents of the backpack that he threw during the foot pursuit.

13 PLASENCIA, RUVALCABA, and A. GUEVARA, reentered the Honda sedan and attempted to leave

14 the scene but were detained during a vehicle stop. RUVALCABA and PLASENCIA were identified

15 by their California identification cards, while A. GUEVARA was identified by his verbal statements

16 which were corroborated by A. GUEVARA’s California DMV photograph. The backpack A.

17 GUEVARA was observed with at 7:57 PM and that SANDOVAL later possessed and threw, was seized

18 and searched. Members of the investigative team located what appeared to be numerous straws which

19 were filled with narcotics and duct taped together into a strand approximately 20 feet long, similar to the

20 rope shaped object in the video calls detailed above.

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      FIGURE 1: Photograph taken by Fresno County Sheriff's Deputies of the rope shaped apparatus located in the backpack.
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17          245.     Both A. GUEVARA and RUVALCABA were wearing the same outfits as observed in
18 the video call just hours prior. SANDOVAL was arrested and booked at the Fresno County Jail for the

19 contents of the backpack, due to the fact that SANDOVAL possessed the backpack at the time of

20 detention and fled from Deputies. The contents of the rope shaped object were submitted to the Fresno

21 County Sheriff’s Office Forensic Laboratory and determined to be methamphetamine (6.864 grams),

22 marijuana (3.661 grams), and heroin (23.498 grams).

23          246.     Based on all of the above, I believe SANCHEZ and D. MURPHY coordinated the
24 collection of narcotics and contraband to be smuggled into the Fresno County Jail. I believe

25 PLASENCIA transported RUVALCABA and A. GUEVARA to the residence of B. MURPHY and

26 SANDOVAL, where they packaged the narcotics to be trafficked. Finally, I believe RUVALCABA,

27 SANDOVAL, A. GUEVARA and PLASENCIA transported the narcotics, to the Fresno County Jail

28 and attempted to distribute the narcotics to SANCHEZ and D. MURPHY, conspired to distribute and

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 1 possess with intent to distribute a controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1).

 2                  7.     May 12, 2025 – SANCHEZ, FELISCIANO, ESCOBEDO, PULIDO,
                           GARCIA, L. PLASENCIA, B. MURPHY, D. MURPHY, RUVALCABA, and
 3                         SANDOVAL Procured a Pound of Methamphetamine, and Conspired to
                           Distribute and Possess with Intent to Distribute Controlled Substances into a
 4                         Custodial Facility

 5          247.    On May 12, 2025, the investigative team became aware that SANCHEZ and D.

 6 MURPHY, while housed in the Fresno County Jail, conspired to smuggle contraband, to include

 7 methamphetamine and heroin, into the Fresno County Jail. Specifically, the team became aware that

 8 SANCHEZ and D. MURPHY coordinated the operation from custody over the recorded and monitored

 9 phone system and video call system, while ESCOBEDO, FELISCIANO, GARCIA, B. MURPHY,

10 RUVALCABA, and SANDOVAL procured, packaged, transported, and attempted to distribute the

11 contraband to SANCHEZ and D. MURPHY within the Fresno County Jail.

12          248.    During this conspiracy, SANCHEZ coordinated the procurement of a pound of

13 methamphetamine from an unknown male (UM65). ESCOBEDO brokered this procurement, while L.

14 PLASENCIA assisted in the transportation of it, and FELISCIANO packaged it to be sold after it was

15 obtained.

16          249.    I know based on my training and experience, including conversations with investigators

17 familiar with the Fresno County Jail, that incarcerated persons within the Fresno County Jail have been

18 bringing contraband into the facility through holes that ran from the housing units to the outer grounds

19 of the facility. Investigators found that incarcerated persons would throw a “line” through these holes,

20 and that individuals outside of the facility would tie contraband onto the line as the incarcerated persons

21 pulled the contraband through the holes and into facility. This manner of bringing contraband into the

22 facility became commonly referred to as “fishing.”

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               FIGURE 2: Photograph taken by FSO Sgt. J. Guzman on May 13, 2025 depicting holes in the Fresno County Jail.
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12            250.     On May 12, 2025, at 11:33 AM, D. MURPHY used the Fresno County Jail phone system
13 to place a video call 55 to B. MURPHY. D. MURPHY was identified by prior booking photographs of

14 D. MURPHY, while B. MURPHY was identified by her California driver license photograph. The

15 video call began as B. MURPHY was observed in the video call manipulating an unknown object off

16 camera. D. MURPHY asked B. MURPHY, “which one is messed up?” B. MURPHY then produced a

17 handful of multi-colored straw shaped items that were interconnected and showed them to D.

18 MURPHY.

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26                       FIGURE 3: Screenshot of the video call between D. MURPHY (left) and B. MURPHY (right).

27            55
                 This video call system is an application based system which requires users, both in and out of custody, to create a
     profile within the application to accept video calls and messages. This application advises users that these video calls are
28
     monitored and recorded.

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 1           251.     I believe this video call showed B. MURPHY was assembling a device which could be

 2 used to traffic contraband into the Fresno County Jail, at the direction of D. MURPHY.

 3           252.     At approximately 1:01 PM, SANCHEZ used the Fresno County Jail phone system to call

 4 (559) 401-8633 utilized by FELISCIANO. The following is a transcript of the call, beginning at the

 5 3:41 minute mark:

 6         NAME                                              TRANSCRIPTION
                                                   [BEGINNING OF CONVERSATION]
 7    FELISCIANO            On a different note – um – Regal?
       SANCHEZ              Yes, my ninja.
 8    FELISCIANO            He came this morning, to try to come in, pick up some candy bags and um…
                            But it was, yeah but the candy bags were not – did you get – what were [UI] that
 9      SANCHEZ             shit was all papas. Yeah, but I don’t have that much candy bags to be giving I
                            thought…
10    FELISCIANO            Yeah, but he had it – to pay for it. Because big cousin didn’t want to give it to him.
       SANCHEZ              Ok, what did he – what did he – what did he pay for? What did he take?
11    FELISCIANO            For uh – burrito.
       SANCHEZ              Oh, ok – ok.
12                          [The call continues as the two speak about the events of the night prior until the call
              …             ends at the 6:38 minute mark].
13                                                      [END OF CONVERSATION]
14           253.     I know from my training and experience that “Regal” is the street moniker of
15 RUVALCABA, who SANCHEZ subsequently called “my ninja” during this call. I know that members

16 of the ENTERPRISE refer to narcotics utilizing terms and phrases that describe food. In this call, I
   believe the phrase, “candy bags” actually means “narcotics.” I also know “big cousin” to be
17
   GONZALES. I know the term, “burrito” to be commonly used by the ENTERPRISE and actually
18
   means, “an ounce of methamphetamine.”
19
           254. I believe FELISCIANO communicated to SANCHEZ that RUVALCABA came to
20 FELISCIANO’s residence and purchased an ounce of methamphetamine. At approximately 1:49 PM,

21 SANCHEZ used the Fresno County Jail phone system to call (559) 401-8633 (TT 8633) utilized by
                                                                                   56
22 FELISCIANO. SANCHEZ then asked FELISCIANO to set up a 3-way call with RUVALCABA
                    57
23 on (559) 210-2375 (TT21). The following is a transcript of the call, beginning at the 1:40 minute

24
             56
25           This transaction was captured on the pen-register trap and trace device installed on (559) 401-8633 utilized by
     FELISCIANO.
26           57
                 I entered (559) 210-2375 into “CashApp,” a commonly used money sending mobile phone application, which
     indicated that (559) 210-2375 was associated with the account name “Rodrigo Torres” and the account handle “$regal15SJ”.
27   I know from my training and experience that it is common for San Joaquin Ruthless Perros (SRP) use “SJ” to represent “San
     Joaquin.” I also know that RUVALCABA’s is an SRP Bulldog criminal street gang member who goes by the street moniker
28   of “Regal.” Based on the CashApp account name and handle, corroborated by the intercepted and monitored calls, and law
     enforcement databases, I believe the user of (559) 210-2375 is RUVALCABA
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 1 mark:

 2         NAME                                               TRANSCRIPTION
                                                        [BEGINNING OF CONVERSATION]
 3     SANCHEZ                My ninja.
      RUVALCABA               Hey, yes.
 4                            My ninja, real quick right – I need you to do me a paro right. Cuz, my little niece,
        SANCHEZ               she’s over there in uh – right here in the no town right.
 5    RUVALCABA               Uh huh [in affirmation]
       SANCHEZ                And she doesn’t know where the – where the theater is at like that. You hear me?
 6    RUVALCABA               Ok.
                              Can you – can you make a sister and – show her the theater and everything – and
 7      SANCHEZ               then um – make sure goes in the – um – she goes in the movie theater? Cuz she’s
                              only uh – she’s only uh – 14 years old. Do you hear me?
 8    RUVALCABA               Yeah.
                              But I just wanna make sure that her butt goes to the theater right. And, you know
 9      SANCHEZ               what I mean? Cuz it’s her and her friends.
      RUVALCABA               Ok.
10                            And then my tia, she’s not – she’s not around – my tia is – uh – she’s active, she’s
                              got work. So I just want to make sure that – you know what I mean? My little –
11      SANCHEZ               my little niece and her little friends, they go in the movie theater and they go in
                              there safe you know what I mean?
12    RUVALCABA               Yeah, yeah.
       SANCHEZ                That’s all I need you to do.
13    RUVALCABA               Ok.
                              [The call continued as the two spoke about coordinating a ride for RUVALCABA
14            …               before RUVALCABA left the call. SANCHEZ and FELISICIANO continued
                              their conversation until the call ends at the 14:57 minute mark].
15                                                         [END OF CONVERSATION]
16           255.       I know from my training and experience that incarcerated persons will use coded
17 language, especially when communicating on recorded jail phone lines, in an attempt to thwart law

18 enforcement’s ability to arrest and prosecute them for trafficking illicit narcotics. I know that

19 SANCHEZ calls RUVALCABA “my ninja.” I also know that the term, “paro” is a Spanish slang term

20 that translates to “a favor” in the English language 58. I know that when SANCHEZ stated, “my little

21 niece” “she’s in the no town right,” SANCHEZ used coded language to communicate that B.

22 MURPHY (Niece 59) resides in the City of Fresno (no town). I also believe that the term, “theater” in

23 this coded message referred to the Fresno County Jail. I base this belief on my experience gained during

24 a similar scheme in which SANCHEZ attempted to traffic narcotics into the Fresno County Jail on May

25 8, 2025. During this prior attempt, RUVALCABA was identified by SANCHEZ as having the

26
             58
                  Spanish speaking members of the investigative team corroborated this translation.
27           59
                There is not a familial connection between B. MURPHY and SANCHEZ. I believe “Niece” to be B. MURPHY
     based on my training, experience and context gained from prior efforts to smuggle narcotics into the Fresno County Jail
28
     perpetrated by SANCHEZ, D. MURPHY and their associates.

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 1 knowledge of where to stand outside of the Fresno County Jail to effectively traffic the contraband into

 2 the facility.

 3          256.   I believe SANCHEZ communicated to RUVALCABA that SANCHEZ needed

 4 RUVALCABA to show B. MURPHY where the “fishing” holes were located in the Fresno County Jail,

 5 so that B. MURPHY could distribute contraband into the Fresno County Jail effectively.

 6          257.   At approximately 4:06 PM, D. MURPHY used the Fresno County Jail phone system to

 7 call (559) 908-8713 (TT 8713) utilized by B. MURPHY. The following is a transcript of the call,

 8 beginning at the 2:01 minute mark:

 9                                            [BEGINNING OF CONVERSATION]
        D. MURPHY       Ok, so where you at?
10      B. MURPHY       Outside in Aladdin.
        D. MURPHY       Did you guys uh – did Mariah give you the pens?
11      B. MURPHY       Yeah.
        D. MURPHY       Did you put em on?
12      B. MURPHY       Um, yeah.
        D. MURPHY       Do you have it with you?
13      B. MURPHY       No.
        D. MURPHY       [exhales in annoyance] Ok, look sister…
14      B. MURPHY       What?
        D. MURPHY       You hear me?
15
        B. MURPHY       Yeah, I hear you.
16                      We’re going to have to – um – We’re going to have to break the law. I’m going to
        D. MURPHY       need you to break the law for me – with me – ok?
17      B. MURPHY       I’mma have to do it?
        D. MURPHY       Yep.
18      B. MURPHY       Oh my God.
        D. MURPHY       It’s going to be really simple sister, you hear me?
19      B. MURPHY       No…
        D. MURPHY       Ok.
20      B. MURPHY       Alright – alright it’s good, I’ll do it.
        D. MURPHY       Nope, you already said no.
21      B. MURPHY       It’s ok, I’ll just do it.
                        Nope. I’ll call you back, I’m going to find – um – I’m going to call you back right
        D. MURPHY
22                      now.
        B. MURPHY       Alright.
23                                                   [END OF CONVERSATION]
24          258.   Based on my training and experience, I know “Aladdin” to be a bail bonds establishment
25 located directly across the street from the Fresno County Jail. I know that “pens” is short for “vape

26 pens” that can contain controlled substances. I believe B. MURPHY to be D. MURPHY’s sister based
   on the fact that D. MURPHY called B. MURPHY share a common last name, as well as the fact that D.
27
   MURPHY called B. MURPHY “sister” in prior jail calls.
28
           259. I believe D. MURPHY called B. MURPHY to ask if B. MURPHY received the vape
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 1 pens from M. MURPHY, and if B. MURPHY had packaged them to be smuggled into the Fresno

 2 County Jail. B. MURPHY related she obtained the vape pens and packaged them to be smuggled,
   however she did not have the packaged contraband at the time of this call. I believe that when D.
 3
   MURPHY told B. MURPHY “I’m going to need you to break the law for me,” D. MURPHY
 4
   communicated that he needed B. MURPHY to personally smuggle the contraband into the Fresno
 5
   County Jail on D. MURPHY’s behalf.
 6       260. At approximately 5:14 PM, the investigative team intercepted a call between
 7 RUVALCABA on (559) 210-2375 (TT21) and ESCOBEDO on (831) 596-0869 (TT3). The following

 8 is a transcript of the call:

 9        NAME                                               TRANSCRIPTION
                                                  [BEGINNING OF CONVERSATION]
10     ESCOBEDO          I’m not going to say. [UI].
      RUVALCABA          Hey – Hey jenna…
11     ESCOBEDO          Yes.
                         Ok so – ok look, you hear me? [SANCHEZ heard in the background of
      RUVALCABA
12                       RUVALCABA’s line, likely on a separate phone’s external speaker].
        SANCHEZ          Tell her – why the fuck is that shit not uh – um – fulled up! What was [UI].
13    RUVALCABA          Hey you hear him?
        SANCHEZ          Tell her…
14     ESCOBEDO          Yeah.
                         Come on man – Jen – ninjetta – of all the mother fucking people, why is that shit
        SANCHEZ
15                       not filled up!
                         [SANCHEZ continued to berate ESCOBEDO for making SANCHEZ look dumb
16           …           in front of other people. ESCOBEDO explained the situation to SANCHEZ
                         beginning at the 00:39 second mark].
17                       I filled the ones that I could fill. Me and Gracie finished doing the ones we could
                         fill and then he told us to leave and then I did what I could do. And then the other
18                       ones that are empty – the ones – is because some of the – some of the black shirts
       ESCOBEDO          got inside of the one – so I didn’t put nothing in it. And the other ones have two or
19                       three of the black shirts. But we couldn’t get them in and they were starting to
                         melt.
20                       [SANCHEZ goes on to express his frustration with ESCOBEDO as the call ended
             …           at the 1:21 minute mark].
21                                                    [END OF CONVERSATION]
22          261.    I know from my training and experience that “Jen” or “ninjetta” are ways SANCHEZ
23 identifies ESCOBEDO. I believe that when SANCHEZ asked, “why is that shit not filled up”

24 SANCHEZ was referring to the fact that the “straws” to be smuggled into the Fresno County Jail were

25 not filled with contraband to SANCHEZ’s liking. I know “Gracie” to be Gracie PULIDO. I also know

26 “black shirts” are synonymous with “heroin.”

27          262.    I believe RUVALCABA possessed two phones or devices during this call and was
28

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 1 speaking with SANCHEZ on a second phone or device which RUVALCABA used to simultaneously

 2 call ESCOBEDO on (831) 596-0869 (TT3). SANCHEZ then expressed his frustration that

 3 ESCOBEDO and PULIDO did not fill the “straws” completely with narcotics to be smuggled into the

 4 Fresno County Jail. ESCOBEDO went on to defend PULIDO and herself and stated that ESCOBEDO

 5 and PULIDO packaged what narcotics they had available to them at the time, which included heroin.

 6          263.    At approximately 5:31 PM, SANCHEZ used the Fresno County Jail phone system to call

 7 ESCOBEDO, on (831) 596-0869 (TT3). During the call, SANCHEZ asked ESCOBEDO if she

 8 remembered an individual that SANCHEZ and ESCOBEDO “dropped off at McDonald’s.”

 9 SANCHEZ continued and asked ESCOBEDO if the individual “had food.” ESCOBEDO replied that

10 she was not sure. SANCHEZ then asked ESCOBEDO about “Big Cousin.” ESCOBEDO related that

11 SANCHEZ called ESCOBEDO the other day, and ESCOBEDO believed that the individual did “have

12 food.”

13          264.    Based on my training and experience, I am aware that narcotics traffickers often use

14 vague and innocuous language to refer to narcotics in an effort to hide their illegal activity from law

15 enforcement. In this call, I believe that SANCHEZ was using the word “food” to refer to narcotics and

16 asked ESCOBEDO if “Big Cousin” was supplied with narcotics that SANCHEZ likely intended to

17 purchase for further distribution. SANCHEZ directed ESCOBEDO to call this unidentified individual

18 about the food. ESCOBEDO stated, “I think he said six but I’ll call him just to make sure” and put

19 SANCHEZ on hold. Based on this statement, I believe that ESCOBEDO meant to relay that the drug

20 supplier previously quoted a price of “six” or $600 for a unknown quantity of a narcotic.

21          265.    Immediately following the direction from SANCHEZ, ESCOBEDO, using (831) 596-

22 0869 (TT3), called (559) 753-3713 (TT3713) utilized by an unidentified male, hereinafter referenced as

23 “UM65”. ESCOBEDO asked UM65 if he “had anything available”.

24          266.    Based on the conversation with SANCHEZ and the prior conversations between

25 ESCOBEDO and UM65, I believe that ESCOBEDO asked UM65 if he had any narcotics available for

26 distribution. UM65 asked ESCOBEDO what she needed, and ESCOBEDO said that she needed

27 “eight.” UM65 clarified “a half” and said that he, “got it but it’s going to be six though.”

28          267.    Based on my training and experience, I believe that ESCOBEDO meant that she, on

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 1 behalf of SANCHEZ, wished to purchase eight ounces of a narcotic, which UM65 clarified meant a half

 2 pound. I believe UM65 meant that he was supplied with the narcotic, but it would cost $600. Based on

 3 my training and experience, I am aware that $600 is consistent with the price of a half pound of

 4 methamphetamine in the Central Valley of California. Therefore, I believe ESCOBEDO asked UM65

 5 for a half pound of methamphetamine and UM65 relayed that he could supply the drug for $600.

 6 ESCOBEDO then told UM65 that ESCOBEDO would “jump over really quick and tell him,” which I

 7 believe meant that ESCOBEDO would reconnect with SANCHEZ who was on hold and relay the price

 8 of the methamphetamine.

 9          268.   ESCOBEDO then placed UM65 on hold and rejoined the original call with SANCHEZ.

10 ESCOBEDO relayed to SANCHEZ that it was “eight for six.” Based on my training and experience

11 and the context from the prior conversation between ESCOBEDO and UM65, I believe that

12 ESCOBEDO meant to relay that UM65 would sell a half pound of methamphetamine for $600.

13 SANCHEZ asked ESCOBEDO, “what if I wanted a fully?” Based on my training and experience, I

14 believe SANCHEZ asked ESCOBEDO what the price would be if SANCHEZ purchased a full pound

15 of methamphetamine. ESCOBEDO related that she would ask and put SANCHEZ on hold again.

16          269.   ESCOBEDO rejoined the call with UM65. ESCOBEDO told UM65, “he said how

17 much would it be for a whole one.” Based on my training and experience, I believe that a “whole one”

18 referred to a whole pound of methamphetamine. UM65 replied that he did not have a “whole one” right

19 now. UM65 said he had four the other day but now he only had “one.” UM65 said he did not know if he

20 could get “another one” right now. Based on the comment, I believe UM65 meant that he previously

21 was supplied with four pounds of methamphetamine, but now only had one remaining, which UM65

22 was unable to sell to SANCHEZ. I believe UM65 meant to relay that he was unsure if he could acquire

23 another pound of methamphetamine from whoever supplied UM65 which UM65 could then use to

24 supply SANCHEZ. ESCOBEDO related that she would speak again with SANCHEZ and put UM65

25 back on hold.

26          270.   ESCOBEDO rejoined the call with SANCHEZ. ESCOBEDO relayed that “he just has

27 that right now” and that “he just has one.” Based on the prior conversation, I believe ESCOBEDO

28 meant to relay that UM65 only had a supply of one pound of methamphetamine and was only willing to

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 1 sell the half pound of methamphetamine previously discussed to SANCHEZ. SANCHEZ told

 2 ESCOBEDO, “I want it, tell him I’ll work my way over there and get it.” Based on the comment (and

 3 detailed further below in subsequent calls), I believe that SANCHEZ meant that he wanted to purchase

 4 the whole pound of methamphetamine that UM65 had, and SANCHEZ would send a member of the

 5 ENTERPRISE to UM65’s location to complete the transaction.

 6          271.    ESCOBEDO then placed SANCHEZ on hold and rejoined the call with UM65.

 7 ESCOBEDO told UM65, “we’ll take it.” UM65 agreed and the call was ended. Shortly after, at

 8 approximately 5:39 PM, UM65, using (559) 753-3713 (TT3713), called ESCOBEDO, using (831) 596-

 9 0869 (TT3). UM65 asked ESCOBEDO how long it would take for them to get “here,” which I believe

10 meant UM65’s location to complete the drug transaction. ESCOBEDO relayed that “she” was coming

11 to pick her up and it should not take more than an hour. UM65 asked ESCOBEDO if “he” was still in

12 Fresno, and ESCOBEDO said, “yes.” UM65 said, “damn so you can’t even talk to him right now.”

13 Based on the comment, I believe that UM65 asked about SANCHEZ, who was temporarily housed at

14 Fresno County Jail and did not have access to his contraband prison phone which SANCHEZ normally

15 used to communicate. UM65 continued and said, “it’s a fresh one, if you guys want, I won’t even open

16 it.” Based on my training and experience, I believe that UM65 meant that he had not opened the pound

17 of methamphetamine that ESCOBEDO intended to purchase on behalf of SANCHEZ. This was clearer

18 when UM65 continued and said, “it’s packaged the way they bring it across the border.” Based on my

19 training and experience, I believe that UM65 meant that the methamphetamine was in the packaging in

20 which it was wrapped when the pound was smuggled into the United States. UM65 continued and said,

21 “if you want it, I’ll do it for eleven right now.” Based on my training and experience, I believe that

22 UM65 meant that he would sell the pound of methamphetamine to ESCOBEDO who represented

23 SANCHEZ for $1,100. ESCOBEDO asked UM65 to “give her a couple minutes” and she would get

24 back to UM65.

25          272.    Shortly after, at approximately 5:53 PM, ESCOBEDO, using (831) 596-0869 (TT3),

26 received a call from SANCHEZ on the Fresno County Jail phone system. During the call, ESCOBEDO

27 told SANCHEZ that “Big Cousin has that one right now…and he hasn’t even opened it or nothing.”

28 Based on the previous calls, I believe ESCOBEDO meant to relay that UM65 had an unopened pound

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 1 of methamphetamine that SANCHEZ could purchase. SANCHEZ told ESCOBEDO to tell UM65 that

 2 SANCHEZ “wanted it” but told ESCOBEDO that SANCHEZ would have to give “the rest” to UM65

 3 on CashApp. Based on the comment, I believe that SANCHEZ intended to purchase the pound of

 4 methamphetamine from UM65 and would provide some of the $1,100 payment in cash and would send

 5 the remaining balance through a Cashapp account. ESCOBEDO told SANCHEZ to send it to a third-

 6 party female’s CashApp. SANCHEZ said he could do that and to tell UM65 “yes”.

 7          273.   SANCHEZ asked ESCOBEDO to tell his “primo” to send his “comadre four hundred,”

 8 which would allow them to get a “full thing instead half of one.” I believe that in this comment,

 9 SANCHEZ was instructing ESCOBEDO on how to procure funds so the ENTERPRISE could

10 complete the transaction for the whole pound of methamphetamine. SANCHEZ and ESCOBEDO

11 continued to discuss facilitating funds and SANCHEZ told ESCOBEDO to put his “Primo” on the line.

12 Based on my knowledge of the investigation, I am aware that SANCHEZ referred to Benny

13 GONZALES as his “primo.” Shortly after, a male voice I recognize as GONZALES from numerous

14 prior intercepts was merged into the call. SANCHEZ asked GONZALES about an account, and the call

15 was dropped.

16          274.   At approximately 6:04 PM, ESCOBEDO, using (831) 596-0869 (TT3), received another

17 call from SANCHEZ on the Fresno County Jail phone system. During the call, ESCOBEDO,

18 SANCHEZ, and an additional male voice which I recognized as Benny GONZALES were connected.

19 I have reviewed hundreds of calls in which GONZALES was intercepted on (559) 961-6401(TT5)

20 during the course of this investigation. Based on this past experience listening to GONZALES’ voice, I

21 recognized GONZALES’ voice as the male voice that joined this call. SANCHEZ directed

22 GONZALES to “send 400 to my prima’s chime.” I know from my training and experience that

23 “Chime” is a mobile banking application. I also know that “prima” is a name by which SANCHEZ

24 identifies FELISCIANO. SANCHEZ spoke again with ESCOBEDO later in the call. SANCHEZ and

25 ESCOBEDO discussed “Jay” who owed SANCHEZ “one seventy-five,” which I believe meant $175.

26 SANCHEZ said that if “Jay” owed that much money, then “Jay” owed SANCHEZ some rides. Based

27 on the comment, the investigative team believed that SANCHEZ planned to use “Jay’s” vehicle to

28 complete the narcotics transaction. The investigative team believed that “Jay” likely referred to an

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 1 uncharged co-conspirator, who was known to operate a white Honda sedan. SANCHEZ told

 2 ESCOBEDO, “All I want is Susanna in the car, that’s my main thing.” SANCHEZ continued and said,

 3 “Regal is going to meet the home girl and we’re going to do it like that.” Based on the comment, I

 4 believe SANCHEZ was indicating that he wanted “Susanna” to be enroute to complete the drug

 5 transaction as soon as possible. I know from my training and experience that “Regal” is the street

 6 moniker of Rodrigo RUVALCABA.

 7          275.   At approximately 6:20 PM, ESCOBEDO, using (831) 596-0869 (TT3), received an

 8 incoming voice call from SANCHEZ on the Fresno County Jail phone system. ESCOBEDO told

 9 SANCHEZ that “everyone’s here.” SANCHEZ asked if “what’s her name was here,” and

10 ESCOBEDO affirmed that she was. Based on the prior calls, I believe that the female SANCHEZ was

11 clarifying was present was “Susanna.” SANCHEZ said, “Let’s rock and roll” and asked ESCOBEDO

12 to call “Regal.” Based on my knowledge of the investigation, I am aware that “Regal” referred to

13 Rodrigo RUVALCABA. ESCOBEDO added a male to the call who I believe was RUVALCABA.

14 SANCHEZ introduced “Susanna” to RUVALCABA.

15          276.   At 6:30 PM, D. MURPHY used the Fresno County Jail phones to complete a video call

16 to B. MURPHY. During this call, D. MURPHY asked B. MURPHY, “where’s the whatchamacallit

17 at?” B. MURPHY responded, “the stuff?” D. MURPHY then stated, “Yep” “did we put some pens on

18 there?” To which B. MURPHY stated, “yeah” “still working on it.” B. MURPHY then handed

19 RUVALCABA the phone and RUVALCABA and D. MURPHY spoke while RUVALCABA

20 manipulated an object out of the camera’s view. RUVALCABA was identified from prior contacts with

21 members of the investigative team, as well as RUVALCABA’s California Department of Motor

22 Vehicles photograph. D. MURPHY then stated to RUVALCABA, “the plumas?” to which

23 RUVALCABA responded, “yeah.” D. MURPHY then asked, “they’re small enough right?”

24 RUVALCABA responded in affirmation and showed D. MURPHY the object that RUVALCABA was

25 manipulating out of the camera’s view. This object was a rope shaped object and is pictured below:

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27 ///

28 ///

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        URE 5: SCREENSHOT       OF THE
                  FIGURE 4: Screenshot     VIDEO
                                       of the         CALL
                                              video call      BETWEEN
                                                         between            D. MURPHY
                                                                 D. MURPHY (left)            (LEFT)
                                                                                  and RUVALCABA (right). AND
 9                                      RUVALCABA (RIGHT).
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17                        FIGURE 6: Screenshot of the video call between D. MURPHY (left) and RUVALCABA (right).


18
             277.       Based on my training and experience, I believe that the “whatchamacallit” D. MURPHY
19
     referenced is a rope shaped package of narcotics. I also believe, “the stuff” B. MURPHY referenced are
20
     narcotics and contraband. I know “pens” in the English language or “Plumas 60” in the Spanish language
21
     are vape pens that can contain controlled substances.
22
             278.       I believe this video call showed that RUVALCABA, an associate of SANCHEZ, and B.
23
     MURPHY, an associate of D. MURPHY, packaged narcotics and contraband to be trafficked into the
24
     Fresno County Jail at the direction of both D. MURPHY and SANCHEZ. I believe this video call
25
     demonstrated that D. MURPHY and SANCHEZ met personally within their housing unit 61 and decided
26

27           60
                  Spanish speaking members of the investigative team corroborated this translation.
             61
               Members of the investigative team searched jail records and found that both SANCHEZ and D. MURPHY were
28
     housed in MJ5B in the Fresno County Jail at this time.

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 1 to coordinate their efforts to bring narcotics into the Fresno County Jail.

 2          279.    At approximately 7:00 PM, physical surveillance was established in the area of

 3 GONZALES’ residence located at 36946 Los Angeles Street, Huron, CA. The white Honda associated

 4 with an uncharged male was located in the area parked near the intersection of Apple Avenue and Los

 5 Angeles Street in the City of Huron. The investigative team observed two females sitting within the

 6 Honda sedan. Shortly after, the Honda sedan departed and stopped at a shopping complex in the City of

 7 Huron. Members of the investigative team identified ESCOBEDO exit the vehicle along with L.

 8 PLASENCIA.

 9          280.    At approximately 7:30 PM, surveillance units observed L. PLASENCIA walk back to

10 the white Honda and enter the driver’s seat. Shortly after, ESCOBEDO returned to the vehicle and

11 entered the passenger side of the vehicle. Members of the investigative team followed the Honda sedan

12 as it navigated onto State Route 41 northbound towards the city of Fresno.

13          281.    At 7:39 PM, SANCHEZ used the Fresno County Jail phones to call (831) 596-0869

14 (TT3) utilized by ESCOBEDO. During this call, I believe ESCOBEDO was travelling in a vehicle as I

15 could hear road noise in the background of the call. ESCOBEDO relayed to SANCHEZ that she was

16 in “Save Mart” taking money out. ESCOBEDO and SANCHEZ confirmed that ESCOBEDO was

17 with “comadre” and “chicana.” SANCHEZ told ESCOBEDO that they needed to go to “Regal’s”

18 location and asked if they had “already picked up the food.” Based on the prior conversations, I believe

19 SANCHEZ was directing ESCOBEDO to meet up with RUVALCABA and asked if ESCOBEDO and

20 those in her company had picked up the pound of methamphetamine from UM65. ESCOBEDO relayed

21 that they did not yet but were on their way. SANCHEZ then stated, “my comadres going to take it back,

22 make sure it is what it is you hear me?” Based on my training and experience, and in the context of the

23 prior calls, SANCHEZ meant that ESCOBEDO and L. PLASENCIA should verify that the quantity of

24 methamphetamine they received from UM65 was correct, and then his “comadre” would bring the

25 narcotics back to Huron. I know from my training and experience that “comadre” is a name by which

26 SANCHEZ identifies L. PLASENCIA. I also know that a “burrito” is an ounce of methamphetamine,

27 and that “Susanna” is later identified as Susanna GARCIA.

28          282.    At approximately 8:08 PM, members of the investigative team observed the Honda sedan

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 1 arrive at a specific address in Fresno, California. At 8:13 PM, ESCOBEDO, using (831) 596-0869

 2 (TT3), called UM65, on (559) 753-3713 (TT 3713). During the call, UM65 asked, “You here?”, and

 3 ESCOBEDO confirmed that she was. UM65 stated, “Alright, go to the garage, I’ll be right there.”

 4 Based on the prior calls between UM65, ESCOBEDO, and SANCHEZ, I believe that ESCOBEDO

 5 was at the location where ESCOBEDO and UM65 would complete the narcotics transaction for one

 6 pound of methamphetamine. Members of the investigative team observed a subject exit the Honda sedan

 7 and walk towards the garage following the call. At 8:20 PM, the Honda sedan departed the residence.

 8 Due to darkness, it was unclear who returned to the vehicle or if the subject was carrying an object.

 9 Based on the totality of the circumstances including the surveillance observations in conjunction with

10 the pertinent interceptions, I believe that ESCOBEDO entered the garage of 2314 Terrace Avenue, met

11 with UM65, and purchased a pound of methamphetamine.

12          283.   Between 8:31 PM and 8:34 PM, the Honda sedan was observed by the investigative team

13 arriving at the residence of B. MURPHY located at 632 Thorne Street in the City of Fresno.

14          284.   At approximately 8:41 PM, the Honda sedan and a Toyota sedan left the residence of B.

15 MURPHY in tandem. The investigative team observed the Honda sedan separate from the Toyota

16 sedan, and the investigative team elected to stay with the Toyota sedan and observed it arrive at the

17 Fresno County Jail. Concurrently, SANCHEZ used the Fresno County Jail phone system to call (831)

18 596-0869 (TT3) utilized by ESCOBEDO at 8:53 PM. ESCOBEDO answered the phone and

19 SANCHEZ asked ESCOBEDO to “hand her the phone.” A female is heard on the phone and

20 SANCHEZ identified her as “Susanna.”

21          285.   At approximately 8:55 PM, the investigative team observed three individuals exit the

22 Toyota sedan and approach the jail. One of these individuals was a female who was holding a bag and

23 was on the phone. Simultaneously, “Susanna”, using (831) 596-0869 (TT3), informed SANCHEZ, who

24 was utilizing the Fresno County Jail Phone system, that she was unable to locate the string lowered from

25 SANCHEZ’s and D. MURPHY’s housing unit. At 9:08 PM, Fresno County Sheriff’s Deputies

26 detained the female holding the bag and the phone.

27          286.   The female was verbally identified as Susanna GARCIA. GARCIA placed her open bag

28 on a brick half wall during this detention and complied with the Deputy’s commands. Deputies noticed

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 1 a glass pipe within GARCIA’s open bag. Deputies observed that the glass pipe had a burnt white

 2 crystalline substance within it, consistent with methamphetamine. A probable cause search of

 3 GARCIA’s bag was conducted and Deputies discovered a 19-foot apparatus that had vape pens, a black

 4 substance, a green substance, and a white crystalline substance, all of which were wrapped in plastic and

 5 secured to the apparatus with layers of tape. These items are pictured below:

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                                Figure 7: Digital photograph taken by FSO Deputy E. Colegio.
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                                Figure 8: Digital photograph taken by FSO Deputy E. Colegio.
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 7                               Figure 9: Digital photograph taken by FSO Deputy E. Colegio.

 8          287.    During the previously described detention of GARCIA, the Toyota sedan attempted to

 9 leave the scene, but was eventually stopped by law enforcement. RUVALCABA was driving the

10 Toyota sedan and identified by his California identification card. SANDOVAL, B. MURPHY,

11 ESCOBEDO, and an uncharged individual were occupants in the Toyota sedan and were identified

12 verbally as well as by their California Department of Motor Vehicles photographs.

13          288.    The contents of the rope shaped object were submitted to the Fresno County Sheriff’s

14 Office Forensic Laboratory and determined to be methamphetamine (46.178 grams), marijuana (2.088

15 grams), Tetrahydrocannabinol (THC) (54.682 grams) and heroin with fentanyl (1.151 grams).

16          289.    On the morning of May 13, 2025, SANCHEZ was transported from the Fresno County

17 Jail back to the Salinas Valley State Prison. At 10:47 AM, members of the investigative team

18 intercepted and monitored an outgoing call from SANCHEZ on (279) 386-7769 (TT6) to

19 FELISCIANO on (559) 401-8633 (TT 8633). At the beginning of this call, SANCHEZ asked

20 FELISCIANO, “did you make the 32?” To which FELISCIANO replied, “yes.” I believe the “32”

21 were 32 half ounce packages of methamphetamine that FELISCIANO made from the pound of

22 methamphetamine procured from UM65. The conversation turned to the thwarted effort to smuggle

23 narcotics into the Fresno County Jail at the 8:46 minute mark. The following is a transcript of the

24 pertinent portions of that call:

25        NAME                                          TRANSCRIPTION
                                               [BEGINNING OF CONVERSATION]
26     SANCHEZ           I was so disappointed. That’s why I was chewing out Jen.
27    FELISCIANO         I was mad too.
                         Because I said you guys did not fucking do what I said – how I said it – and I
        SANCHEZ
28                       couldn’t even – remember I can’t talk in the County. I can’t talk on that phone.

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 1                      These were the words that you told me. For me to get everything to Jennifer that
      FELISCIANO        she needed, and for me to go to sleep. That’s what you told me. But I still sat right
 2                      there, and I still helped her.
 3                      [The call continues as the two speak about the events of the night prior until the call
             …          turned to the procurement of the pound of methamphetamine at the 15:44 minute
 4                      mark.]
      FELISCIANO        You should have seen the way they gave me the thing.
 5     SANCHEZ          What thing?
      FELISCIANO        I’m going to send you the picture, the – the- the cochina.
 6
       SANCHEZ          Ok, let me see.
 7                      FELISCIANO sent a multimedia message using (559) 402-8633 to SANCHEZ on
             …
                        (279) 386-7769 (pictured below).
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18                              Figure 10: Digital photograph taken by FSO Deputy E. Colegio.

19                      And fucking – clean it and everything – like – It wasn’t that hard like – it was easy
                        just for me but – it was like – I was like – what the fuck, what am I gonna do with
      FELISCIANO
20                      this shit. How do I do it. I put gloves on – I got napkins and I got a bag and I
                        fucking get it.
21                      [The call continues as the two speak about the current inventory of narcotics at the
             …          “thuggy,” as well as law enforcement being called at the bar. The call ended at the
22                      59:43 minute mark.]

23          290.   I know from my training and experience that “Jen” or “Jennifer” is Jennifer
24 ESCOBEDO. I also know the “County” is the Fresno County jail. I know the term, “cochina” is used

25 by members of the ENTERPRISE to describe methamphetamine.

26          291.   I believe this call began as FELISCIANO and SANCHEZ blamed the failed smuggling
27 operation on ESCOBEDO and those in her company. SANCHEZ discussed his inability to speak

28 freely on the Fresno County Jail phone system, which I believe was due to the fact that these calls are

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 1 monitored and recorded. FELISCIANO then described how she gave, “everything to Jennifer that she

 2 needed.” I believe this indicated that FELISCIANO gave ESCOBEDO the narcotics that were seized

 3 the night before, and then stated, “I still helped her,” which I believe meant FELISCIANO helped

 4 ESCOBEDO package the narcotics to be smuggled into the Fresno County Jail.

 5          292.    The call then turned to the procurement of methamphetamine from UM65 as

 6 FELISICANO told SANCHEZ she would send SANCHEZ a photograph of the methamphetamine

 7 they received. FELISCIANO then sent an MMS to SANCHEZ that showed an unopened greasy

 8 plastic bag containing a white crystalline substance I recognized as methamphetamine.

 9          293.    Based on all of the above, I believe SANCHEZ, L. PLASENCIA, D. MURPHY,

10 ESCOBEDO, PULIDO, RUVALCABA, GARCIA, FELISCIANO, SANDOVAL and B.

11 MURPHY, conspired to distribute and possess with intent to distribute a controlled substance, in

12 violation of 21 U.S.C. §§ 846, 841(a)(1).

13                  8.     May 15, 2025 – SANCHEZ conspired with HERNANDEZ to distribute
                           methamphetamine to ESCOBEDO, and conspired with RIOS to distribute
14                         heroin to ESCOBEDO

15          294.    During this conspiracy, SANCHEZ coordinated the procurement of heroin from Angel

16 Soto RIOS.

17          295.    On May 15, 2025, at 5:16 PM, SANCHEZ, using (279) 386-7769 (TT6), called RIOS on

18 (559) 514-1768 (TT 1768). During this call, SANCHEZ asked RIOS if he had “Café” for sale. RIOS

19 related he did and the two discussed the logistical details for SANCHEZ’s associates to meet RIOS for

20 the procurement of “1.” SANCHEZ related he was already going to be in Fresno due to the fact that

21 SANCHEZ was attempting to purchase narcotics from “the homie from San Joaquin” “R-Dog.” The

22 call concluded as the two summarized their plans for the day. The following is a transcript of the call,

23 beginning at the 2:25 minute mark:

24                                                [BEGINNING AT 2:25 MINUTE MARK]
                       RIOS     I’m going to contact my people right now and make it happen, ok?
25                 SANCHEZ      Yes!
26                     RIOS     For the “café?”
                   SANCHEZ      Yes, yes. And it’s good “café” right? The fire, and the desire.
27                     RIOS     It’s always fire and desire dog! You already know.
                                Ok. That’s right, that’s right. Let me handle business right quick and then
28                 SANCHEZ
                                I’ll holler at you. Oh, alright?

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 1                     RIOS    Alright.
                   SANCHEZ     I just wanted to give you the heads up, thank you.
 2                     RIOS    Alright B.
 3                 SANCHEZ     K cool. K bye.
                                                              [END of CALL]
 4          296.    Based on my training and experience, I know that drug traffickers often use vague or

 5 innocuous language to describe narcotics to attempt to thwart law enforcement’s ability to arrest and

 6 prosecute them. Therefore, I believe the term “café” is synonymous with heroin. I also believe that

 7 when SANCHEZ asked for “1,” SANCHEZ was asking for an ounce of heroin. I know that the term,

 8 “fire” is used in popular culture to describe something that is of high quality. I also know the phrase,

 9 “holler at you” to mean to contact someone. I know the term, “B” is short for “Bulldog.” I know “R-

10 Dog” from “San Joaquin” to be the street moniker of R. LOPEZ who is a member of the San Joaquin

11 Ruthless Perros Bulldog criminal street gang.

12          297.    I believe this call indicated SANCHEZ intended to purchase narcotics from R. LOPEZ,

13 as well as purchase heroin from RIOS, pending securing finances and a means of transportation to

14 Fresno, CA.

15          298.    At 7:26 PM, SANCHEZ, using (279) 386-7769 (TT6), received a call from R. LOPEZ,

16 using (559) 519-8338 (TT20). Among other things, SANCHEZ and R. LOPEZ discussed during the

17 call how SANCHEZ wished to purchase more methamphetamine from R. LOPEZ. The following is a

18 transcript of the pertinent portions of that call beginning at the 5:54 minute mark:

19       NAME                                      TRANSCRIPTION
                                           [Beginning at the 5:54 minute mark]
20    SANCHEZ You have a “P” oh – you have a “P” right now?
21                  That’s all – that’s what I was going to talk to you about right now and shit.
       R. LOPEZ
                    Because I…
22    SANCHEZ Yeah.
                    This shit happens, this [UI] can happen and I had another [UI] this shit can
23     R. LOPEZ
                    happen right.
      SANCHEZ Yes.
24
                    So – so – so – so I was like, the shit that – that end of the thing that I had left,
25                  that shit, well, my shit’s gone, but I was thinking about getting more but then
       R. LOPEZ
                    I’m like – not like – I’m barely trying not – proly not even thinking of getting
26                  more you know?
      SANCHEZ Mm-Hmm [in affirmation]
27     R. LOPEZ But I – I got my person
28    SANCHEZ Can you put me – can you do me a “paro?”
       R. LOPEZ Yeah, I got my homie. Like – um – that fool is touched in with it right?
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 1      SANCHEZ Mm-Hmm [in affirmation]
                 The only thing is that fool – that fool fucking um – he said that, for the whole
 2      R. LOPEZ
                 thing he’ll do 11 but if you buy more than 1 he’ll do it for 1 you know?
 3      SANCHEZ Ok so does he have 11 right now? I mean does he have 1 right now?
                 Yeah he has one right now. I just got off the phone with him right now too and
 4               I told him the whole get down cuz I told him look, I don’t even think I want to
        R. LOPEZ
                 get more. And he’s like why not? And I just all just – just – just you know cuz
 5               it comes with a lot of shit you know?
                 [The conversation continued as SANCHEZ reiterated his need for a “pound”
 6            …
                 and R. LOPEZ agreed on the price of $1,100.
 7                                        [Ending at the 7:15 minute mark]

 8           299.       I know from my training and experience that drug traffickers often abbreviate or shorten

 9 the phrases and terms they use to describe money and contraband. In this conversation, when the parties

10 stated, they needed a “P” or “1” the parties actually meant a “pound”, usually of narcotics. When they

11 stated, “1100” or “for 1”, it means for “$1,100” or “$1,000” respectively. I know that the term, “shit” is

12 synonymous with “methamphetamine.” I also know when SANCHEZ stated, “Paro”, he meant a

13 “favor.” I know the phrase, “touched in with it” means an individual has a lot of narcotics.

14           300.       Therefore, I believe this conversation demonstrated that SANCHEZ asked R. LOPEZ to

15 procure a pound of narcotics on SANCHEZ’s behalf. R. LOPEZ replied that R. LOPEZ does not have

16 any methamphetamine at the moment but could connect SANCHEZ with R. LOPEZ’s source of supply

17 due to the fact that R. LOPEZ is not interested in procuring methamphetamine at this time. R. LOPEZ

18 stated his source of supply is well stocked with methamphetamine, and per a recent conversation

19 between R. LOPEZ and this source, this source of supply will sell a pound of methamphetamine for

20 $1,100 per pound, or $2,000 for two pounds.

21           301.       This call continued as R. LOPEZ offered to connect SANCHEZ with his source of

22 supply and the parties discussed SANCHEZ’s needs and his methodology, including his use of his

23 “ninjetta” who I know to be ESCOBEDO based on my knowledge of this investigation as discussed

24 throughout this affidavit. R. LOPEZ then used (559) 519-8338 (TT20) to place an outgoing call to
                 62
25 (559) 803-7096 (TT16) which I believe is utilized by Gilberto HERNANDEZ. R. LOPEZ merged

26
             62
                  On May 22, 2025, interceptions indicated that Ignacio SANCHEZ intended to utilize Romona FELISCIANO to
27 purchase a quantity of “pink, blue, and white” methamphetamine from the user of (559) 803-7096. HERNANDEZ directed
     SANCHEZ to send FELISCIANO to a gas station in Lemoore, CA to complete the transaction. Surveillance units
28 monitored a vehicle occupied by FELISCIANO as it met with a vehicle described by the user of (559) 803-7096 as his

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 1 the call with SANCHEZ with HERNANDEZ, as is set out in detail below. The following is a transcript

 2 of the pertinent portions of the conversation after that point:

 3                                              [At approximately 10:03, HERNANDEZ joined the call. After
                                                exchanging introductions and pleasantries, the conversation turned
 4                                              to HERNANDEZ’s narcotics supply.]
 5                                              So trip out, dog, this- this is- this is the thing: I need someone
                                                consistent, right? I- I be doin’ my thing. [stuttering] You can meet
                              SANCHEZ
 6                                              my- my- my, uh, girl, right? She’s a girl. She’s- she’s my sidekick,
                                                dog. You know what I mean? [OV]
 7                       HERNANDEZ              [OV] Okay.
                                                [stuttering] She does all my, um… She fucked with Big Joe, too,
 8                            SANCHEZ
                                                you know what I mean?
 9                       HERNANDEZ              Okay. [OV]
                                                [OV] A few times. Yeah, so… um, this is- this is the thing, though:
10                                              uh, I’ll go ahead and do the- do the eleven right now, but if we
                              SANCHEZ
                                                could work something like two for eighteen, I’ll- I’ll- I’ll come
11                                              through, uh, uh- I come through, dog… Every other- [OV]
12                       HERNANDEZ              [OV] [UI]
                                                -three- every other three days, every other four days I come
                              SANCHEZ
13                                              through, dog. You know what I mean?
                         HERNANDEZ              Yeah, yeah, yeah, yeah.
14                                              [SANCHEZ then appeals to HERNANDEZ’s sense of common
                                         ...    membership in the Bulldog gang and indicates that other individuals
15
                                                will consider SANCHEZ a “good dude.”]
16                                              So can we do something like that after this one? Are you able to do
                              SANCHEZ
                                                stuff like that or not?
17                                              Uh, I could work with you [UI], but… eighteen for two… I
                         HERNANDEZ
                                                probably could do, like, nineteen, you know what I mean?
18                         SANCHEZ              Yeah. Oka- [OV]
19                       HERNANDEZ              [UI]
                                                [UI] And I respect that, dog, I respect that. [SANCHEZ then spoke
20                                              to himself in the background momentarily.] Alright. Alright, dog. I-
                              SANCHEZ
                                                I’ll go ahead and, uh, uh, do that, uh, next time. I’ll get one just to
21                                              show you, dog: I don’t play. I’ll get one for eleven real quick.
                                                [SANCHEZ then discussed the other matters he was attending to at
22                                       ...
                                                the time.]
23                                              But, um, this is my thing, my dog: where would I have to meet you
                              SANCHEZ
                                                at?
24
     vehicle. Surveillance units positively identified the driver of the vehicle associated with (559) 803-7096 as Gilberto
25 HERNANDEZ. Pertinent interceptions also indicated that HERNDNEZ had met with FELISCIANO and completed the
     transaction at the time of the surveillance observations. Following the transaction, surveillance continued to follow
26 FELISCIANO’s vehicle. A traffic stop was eventually conducted, and FELISCIANO was identified in the vehicle.
     Additionally, following one of the surveilled narcotics transactions which was arranged with the user of (559) 803-7096, the
27 user was observed operating a vehicle back to a residence located at 3542 West Michigan Avenue, Fresno, CA. According to
     open-source records, this residence is associated with HERNANDEZ. During the same transaction, the user of (559) 803-
28 7096 identified himself to SANCHEZ as “G”, which I believe was a moniker for Gilberto HERNANDEZ. Therefore, I
     believe the user of (559) 803-7096 is likely HERNANDEZ.
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 1                                   Uh, honestly, dog, either- if it’s during the day [UI] I- I drive
                   HERNANDEZ
                                     around, dog, so… I drive around for work, so…
 2                     SANCHEZ Yes.
 3                                   [UI] taking me to work. I be goin’ all the way to Lemoore and shit,
                    HERNANDEZ
                                     you know what I mean?
 4                                   Oh, oh, that’s you. I’m right there at Huron and Coalinga. That’s-
                       SANCHEZ
                                     that’s- that’s my little- uh, Lemoore’s only- [OV]
 5                  HERNANDEZ [UI]
                                     Yeah, Lemoore’s only, like, twenty miles from- from our area, you
 6                     SANCHEZ
                                     hear me? I know Lemoore real good, you know?
 7                                   [HERNANDEZ then discussed the various narcotics he can
                                     produce, including pills and cocaine, and he and SANCHEZ
 8                             . . . compared the prices that SANCHEZ currently paid for those items.
                                     SANCHEZ also detailed the different narcotics SANCHEZ
 9                                   distributed.]
10                                   The- the only- the only thing I can fuck with you on, dog, is- is
                                     the… is the- the- the glass. I mean, the- the little windows, the
                    HERNANDEZ
11                                   powder, and the little blue things. [UI] That’s all I got at my
                                     disposal, you know what I mean?
12                                   [SANCHEZ then inquired about the price for and quality of
                                     HERNANDEZ’s cocaine, and the parties began discussing mutual
13                             . . . acquaintances. SANCHEZ also spoke how he would previously
14                                   arrange to distribute large quantities of narcotics and
                                     HERNANDEZ again indicated that he was consistent.]
15                                   So, spenca, say your name again, dog. ‘Cause I- I- I kinda- when I
                       SANCHEZ heard “Parkside” I- I didn’t get your name right. I just heard the
16                                   “park” and I was like, “Okay, that’s the homie.” Wh- what’s [OV]
                    HERNANDEZ [OV] “G.”
17
                       SANCHEZ “G.” “G,” alright.
18                  HERNANDEZ [The parties then again spoke about mutual acquaintances.]
                                     But anyhoo, dog, let’s- let’s get back to this dog. I’m gonna leave
19                     SANCHEZ right now to Fresno. Where- where- where can I, um, meet you at or
                                     something, dog?
20
                    HERNANDEZ Um, ninety-nine and Clinton, dog.
21                                   Ninety-nine and Clinton? Okay. Ninety-nine and Clinton. A-a-
                       SANCHEZ
                                     um…dog, you don’t mi- uh, spenca. Little R-Dog?
22                     R. LOPEZ Yeah?
                                     Ey, ey, spenca, dog. Can you shoot me the homie’s number and his
23                     SANCHEZ
                                     address, dog, so I could have it?
24                     R. LOPEZ Um, I’ll shoot you his number. I don’t’ know the address- [OV]
                       SANCHEZ [OV] Okay. Just-
25                     R. LOPEZ [OV] [UI] a long time ago.
                       SANCHEZ Sh- shoot me dog’s number real quick, dog.
26                                   [SANCHEZ then discussed the other drug conspiracies that he was
27                                   orchestrating and HERNANDEZ indicated that he had also
                               . . . engaged in one of the same conspiracies. HERNANDEZ also
28                                   asked for SANCHEZ’s number and SANCHEZ gave him (279)
                                     386-7769, as well as identifying himself as both “Giddy” and
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 1                                     “Ninja.” SANCHEZ also asked for the address where his associates
                                       would meet HERNANDEZ and HERNANDEZ indicated that they
 2                                     would meet on a corner, at a taco stand. The parties also spoke
                                       about future plans to meet with each other. SANCHEZ thanked R.
 3
                                       LOPEZ and the parties eventually terminated the call after
 4                                     exchanging more pleasantries.]
                                                          [END OF CONVERSATION]
 5          302.    Based on my training and experience, I know that drug traffickers very often attempt to
 6 use vague or innocuous language to attempt to confuse law enforcement and avoid prosecution for their

 7 illegal activity. Specifically, I know that they commonly refer both to their narcotics and to the price of

 8 their narcotics by number only. For example, here, when SANCHEZ said he would “do the eleven” but

 9 then wished to transition to “two for eighteen,” I believe he was stating that he would purchase one

10 pound of methamphetamine for $1,100 but in the future wished to purchase two pounds of

11 methamphetamine for $1,800. I also know that it is very common for drug traffickers to use the word

12 “window” or “glass” to refer to methamphetamine, “powder” to refer to cocaine, and “little blue things”

13 to refer to pills, most likely M-30 pills. Based on my training and experience, I know that $1,100 for one

14 pound and $1,900 for two pounds is consistent with the price of methamphetamine in California’s

15 Central Valley, that this is also not consistent with the price of cocaine, and that pills are generally not

16 measured by pounds. I therefore believe that the parties are discussing the price of pounds of

17 methamphetamine.

18          303.    Therefore, I believe that SANCHEZ began this portion of the conversation by indicating
19 that he wanted to have a “consistent” narcotics distribution relationship with HERNANDEZ. Based on

20 the context of the conversation, I believe that SANCHEZ then indicated that he would be using his

21 “sidekick,” a female, to physically obtain the methamphetamine since he was in custody, indicated that

22 he was willing to purchase one pound for $1,100, and asked to purchase two pounds for $1,800 every

23 three to four days. SANCHEZ then attempted to appeal to HERNANDEZ’s sense of comradery, but

24 HERNANDEZ indicated that he was only willing to sell two pounds of methamphetamine for $1,900.

25 SANCHEZ accepted the offer, and indicated that he would purchase one pound this time to show

26 HERNANDEZ that he was serious. SANCHEZ then asked where to meet and HERNANDEZ

27 indicated that he drives to Lemoore, CA frequently, at which point the parties discussed Lemoore, CA’s

28 vicinity to Huron, CA and Coalinga, CA, as well the various narcotics that HERNANDEZ could

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 1 produce. I believe HERNANDEZ then clarified that the only narcotics he had at his “disposal” were

 2 methamphetamine, cocaine, and blue pills. When SANCHEZ asked again for HERNANDEZ’s name,

 3 HERNANDEZ responded that he was known as “G,” which based on my training and experience I

 4 believe to be a moniker. After discussing other matters, SANCHEZ indicated that “he” was going to

 5 leave for Fresno, CA and again asked where “he” (i.e. ESCOBEDO) could meet HERNANDEZ;

 6 HERNANDEZ indicated that they could meet at “ninety-nine and Clinton.” Based on my training and

 7 experience, I know that State Route 99 runs through Fresno, CA and intersects with W. Clinton Avenue

 8 within the city limits. SANCHEZ then addressed R. LOPEZ and asked for R. LOPEZ to send

 9 SANCHEZ HERNANDEZ’s number and address. After R. LOPEZ indicated he would send

10 HERNANDEZ’s number, SANCHEZ, HERNANDEZ, and R. LOPEZ spoke about other matters and

11 eventually terminated the call, though it should be noted that HERNANDEZ indicated that the meeting

12 spot that evening would be on a corner, at a taco stand.

13          304.   At 7:51 PM, members of the investigative team intercepted an incoming call from

14 FELISCIANO on (559) 401-8633 (TT 8633) to SANCHEZ on (279) 386-7769 (TT6). During this

15 call, SANCHEZ told FELISCIANO he just spoke with a consistent source of supply. SANCHEZ then

16 spoke with FELISCIANO about gathering the necessary finances, as well as ESCOBEDO and

17 “Gordo” making the trip to Fresno to purchase the pound of methamphetamine. SANCHEZ told

18 FELISCIANO, “before you go, put all the money in the envelope real quick” and asked to speak to

19 “Gordo.” “Gordo” is placed on the phone, as SANCHEZ asked, “Gordo, what do you like more – what

20 do you prefer – what do you like? Weed? Pens? “Gordo” then related he prefers pens and SANCHEZ

21 stated, “I got you on a pen.” SANCHEZ then told FELISCIANO, “now we are going to rock and roll

22 and “Gordo” is going to be on his way.”

23          305.   Based on my training and experience, I know “pens” to be vape pens that can contain

24 controlled substances. I believe SANCHEZ demonstrated in this call that SANCHEZ coordinated the

25 procurement of funds, as well as couriers to take the money to HERNANDEZ in exchange for a pound

26 of methamphetamine.

27          306.   At 8:26 PM, SANCHEZ used (279) 386-7769 (TT6) to send a text message to

28 HERNANDEZ, using (559) 803-7096 (TT16), which read, “My dog can you send me the address were

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 1 you want my peope’s to meet up with you? Good looking out my ninja [dog paws emoji].” SANCHEZ

 2 then sent another text approximately one minute later, which read, “Or the location?”

 3          307.    At 8:32 PM, HERNANDEZ, using (559) 803-7096 (TT16), called SANCHEZ, on (279)

 4 386-7769 (TT6). The following is a transcript of the pertinent portions of that conversation:

 5        NAME                                  TRANSCRIPTION
                                       [BEGINNING OF CONVERSATION]
 6    HERNANDEZ Spensa, I missed your call.
 7                 No- no, no- yeah, no, it’s good. It’s good. So- so, real quick, uh- ‘cause my
       SANCHEZ     people left about twenty minutes already out of the hood, right? So I just
 8                 need the location, my dog. Like- like, uh, the- the store or whatever.
      HERNANDEZ Yeah, yeah, yeah.
 9                 So they could put it on their little- on their phone and they could, uh, have it
       SANCHEZ
                   right there, you know?
10
      HERNANDEZ I’ll send it to you right now, my dog.
11                 Al- alright, my dog. Uh, uh, so they’ll be over there – give or take – I wanna
       SANCHEZ
                   say [in] about forty-five minutes. Fifty minutes.
12    HERNANDEZ [UI] good.
       SANCHEZ     O- okay, my dog.
13
                   [The parties then spoke about multiple other issues for the remainder of the
          ...
14                 call.]
                                            [END OF CONVERSATION
15        308. Based on the context of the call, as well as the calls set out above, I believe SANCHEZ
16 was asking HERNANDEZ to send him the location where the narcotics deal would take place. I believe

17 HERNANDEZ indicated that he would send the location to SANCHEZ. When the call concluded

18 approximately nine minutes later – and after speaking about multiple other issues – HERNANDEZ,

19 using (559) 803-7096, sent a text message to SANCHEZ, using (279) 386-7769, which read, “3760 w

20 shields ave Fresno ca 93722”. Based on my knowledge of the city of Fresno, CA, I know that Shields

21 Avenue is the next major street north of Clinton Ave that city, and therefore believe that the location

22 was close enough that HERNANDEZ had been estimating the location when he had spoken on the

23 phone about it. I also know that this address references a Mexican food restaurant located near the

24 intersection of W. Shields Avenue and N. Brawley Avenue, and is approximately one mile west of

25 where W. Shields Avenue intersects with State Route 99. I therefore believe that the text sent in the text

26 message was the location where the drug transaction was expected to occur.

27          309.    Based on SANCHEZ’s previous history of using ESCOBEDO to receive or distribute
28 illicit narcotics, the investigative team believed it was likely that SANCHEZ would use ESCOBEDO

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 1 to complete this transaction. The team then began monitoring precision location information transmitted

 2 by (831) 596-0869 (TT3) pursuant to a court order and observed that (831) 596-0869 (TT3) left the City

 3 of Huron. The investigative team located a Honda sedan known to be used by SANCHEZ’s associates

 4 also leaving the City of Huron at this time and established physical surveillance on it.

 5          310.   At approximately 9:35 PM, SANCHEZ, using (279) 386-7769 (TT6), called

 6 HERNANDEZ, using (559) 803-7096 (TT16). During the call, SANCHEZ indicated that “they” (i.e.

 7 his associates) were four minutes away and were in a white Honda Accord. HERNANDEZ indicated

 8 that he was in a silver [Toyota] Camry and indicated that they should meet in front of a liquor store.

 9 Five minutes after that, SANCHEZ again used (279) 386-7769 (TT6) to call HERNANDEZ, on (559)

10 803-7096 (TT16). During that call, SANCHEZ indicated that his associates were “right there in front of

11 the liquor store.” HERNANDEZ indicated that he was about a block away. Simultaneously, members

12 of the investigative team observed the Honda sedan regularly utilized by SANCHEZ’s associates arrive

13 and park near the liquor store at 3760 w shields Avenue in Fresno, CA. Members of the investigative

14 team then observed a silver Toyota Camry arrive at the same location.

15          311.   At approximately 9:37 PM, SANCHEZ used (279) 386-7769 (TT6) to call RIOS on

16 (559) 514-1768 (TT 1768) regarding the purchase of heroin. The following is a transcription of the

17 pertinent portions of the call:

18        NAME                                  TRANSCRIPTION
                                        [BEGINNING OF CONVERSATION]
19        RIOS      Well, I’ll be dammed.
20                  I’m sor – I’m sorry dog. They – Their asses – cuz I – remember – I was
        SANCHEZ     getting the “P” of the “white.” Ok, so – where is exactly – give me your
21                  address or the…
                    [RIOS and SANCHEZ joke back and forth, and eventually return to the
22         …
                    procurement of heroin at the 51 second mark.]
        SANCHEZ     Just send me the address. They’re already in the “no town.”
23
                                            [END OF CONVERSATION
24         312. Based on my training and experience, I know a “P” is used by drug traffickers to describe

25 a pound of narcotics. I also know “white” to describe methamphetamine. I believe this call further

26 corroborated that SANCHEZ was in the process of procuring a pound of methamphetamine but was

27 also coordinating the procurement of heroin from RIOS and needed RIOS’ address to complete that

28 transaction.

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 1          313.   At 9:39 PM, RIOS used (559) 514-1768 (TT 1768) to send SANCHEZ on (279) 386-

 2 7769 (TT6) the following text message:

 3 “5838 W. pico Ave, Fresno 93722.”

 4          314.   Based on my training and experience, as well as the context from the prior call, I believe

 5 RIOS sent the address where SANCHEZ’s associates could meet RIOS to purchase the heroin.

 6          315.   At 9:41 PM, HERNANDEZ, using (559) 803-7096 (TT16), called SANCHEZ, on (279)

 7 386-7769 (TT6). The following is a transcript of the pertinent portion of that conversation:

 8                                                        [BEGINNING OF CONVERSATION]
                                       Yeah, yeah, they just got scared because the- the- they said there
 9             SANCHEZ                 was, uh, uh, a- a- activity right there. It’s- you see their car right
10                                     there?
             HERNANDEZ                 Is it, uh, is it a older one?
11            SANCHEZ                  It’s a w- uh… it’s a white one.
             HERNANDEZ                 Is it- uh, is it, like, a long one, or sh- or new one or…?
12                                     Let me see, just say on the line, dog, okay? Alright, real quick. Hold
               SANCHEZ
                                       up. Okay, lemme [UI]
13
                                       [At this point, there is a pause, and then ambient noise may be
14                                     heard, indicating another call has joined. Based on other calls I have
                    ...
                                       reviewed involving ESCOBEDO, I recognized her voice in the
15                                     following portion of the call.]
              ESCOBEDO                 [OV] Hello?
16             SANCHEZ                 [OV] Jenny, I have- I have my boy on here. Where are- [OV]
17            ESCOBEDO                 [OV] Okay.
               SANCHEZ                 [OV] -you guys exactly at?
18            ESCOBEDO                 We’re parked right here on the side of the liquor store.
               SANCHEZ                 You’re parked on the side of the liquor store? Well- [OV]
19            ESCOBEDO                 [OV] Yeah.
20             SANCHEZ                 [OV] -what- what kind- is it a old, uh- uh- [OV]
              ESCOBEDO                 [OV] No, it’s a newer one.
21                                     It’s a newer one? Do you see it, my dog? They’re parked on the
               SANCHEZ
                                       side.
22           HERNANDEZ                 Oh, yeah.
23            ESCOBEDO                 I just barely pulled into the parking lot.
               SANCHEZ                 Yes.
24                                     That’s where. Yeah, we should- we should’ve- we should do this in
              ESCOBEDO
                                       front of, like, Dollar Tree, so [UI].
25             SANCHEZ                 Yeah. Yeah, but- [OV]
              ESCOBEDO                 [OV] Okay, lemme get off real quick.
26
               SANCHEZ                 [OV] [UI] it’s good.
27           HERNANDEZ                 [UI] in front of the grocery store.
               SANCHEZ                 [UI] [stuttering]
28            ESCOBEDO                 Okay.

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 1              SANCHEZ                  You could follow him t- front of the grocery store. [OV]
               ESCOBEDO                  [OV] Alright. Okay.
 2              SANCHEZ                  Yes.
 3                                       [SANCHEZ then asked ESCOBEDO about another address that
                    ...
                                         he gave her and the parties terminated the call.]
 4                                                          [END OF CONVERSATION

 5          316.    Based on the context of the call, I believe that SANCHEZ was asking HERNANDEZ if

 6 HERNANDEZ saw ESCOBEDO’s newer-model vehicle, and indicated that her vehicle was in front of

 7 a liquor store. I believe that HERNANDEZ eventually located ESCOBEDO and the parties then made

 8 plans to travel to an area in front of a grocery store.

 9          317.    Members of the investigative team then observed the silver Toyota Camry and the Honda

10 sedan travel to the front of a nearby grocery store in the same strip mall, at which point ESCOBEDO

11 was observed exiting the Honda sedan and getting into the silver Toyota Camry. Several minutes later,

12 ESCOBEDO was observed exiting the Toyota Camry while holding something to her abdomen with her

13 hands. Immediately after ESCOBEDO exited the Toyota Camry, it began backing out of the parking

14 stall, as ESCOBEDO re-entered the front passenger seat of the Honda sedan. The surveillance team

15 then followed the silver Toyota Camry until it arrived at 3542 Michigan Avenue, Fresno, CA.

16          318.    At approximately 9:52 PM, HERNANDEZ, using (559) 803-8096 (TT16), called

17 SANCHEZ, on (279) 386-7769 (TT6). The following is a transcript of the pertinent portions of that

18 conversation:

19                                                      [BEGINNING OF CONVERSATION]
                        SANCHEZ          Yes, my dog. Everything good?
20                    HERNANDEZ          Yes, sir, my dog. Touchdown. [OV]
21                      SANCHEZ          Thank- thank- thank you, my dog. Appreciate you.
                                         [The parties then spoke about future transactions they would
22                                 ...   complete together, as well as associates they had in common and
                                         which narcotics HERNANDEZ could distribute to SANCHEZ.]
23                                                           [END OF CONVERSATION
24          319.    Based on my training and experience, I know that drug traffickers frequently use the

25 phrase “touchdown” to indicate that an illegal transaction has been completed. I therefore believe that

26 the above calls and surveillance observations indicate that the transaction for one pound of

27 methamphetamine was successfully completed.

28          320.    At 10:18 PM, RIOS using (559) 514-1768 (TT 1768) called SANCHEZ on (279) 386-

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 1 7769 (TT6). The following is a transcript of the pertinent portions of the call:

 2                                                  [BEGINNING OF CONVERSATION]
            SANCHEZ               Ninja.
 3                                They’re right here dog. [RIOS is counting out loud.] They gave me um –
               RIOS
 4                                155 dog. So, what’s owed is 2 – Um – 245.
            SANCHEZ               Alright, alright. Got you, got you.
 5            RIOS                You got the CashApp right?
            SANCHEZ               Yes, yes, I got you “B.” They already left?
 6            RIOS                I’m in the car again right now dog.
 7          SANCHEZ               Ok – ok. They my people, they’re my peoples. Ok?
              RIOS                Nah – nah, I’m told them it’s all good dog. It’s all good.
 8                                Ok did – yeah um – alright, good. Good – good job I got you right now.
            SANCHEZ
                                  It’s gonna come from two different CashApps though.
 9             RIOS               Ok dog.
                                  [the conversation ended as the two exchange pleasantries and SANCHEZ
10                 …
                                  reassures RIOS the money owed will be sent soon.]
11                                                        [END OF CONVERSATION

12          321.       Based on my training and experience, I believe RIOS was counting money given to him

13 at the beginning of the call, which totaled $155. RIOS then related that he was still owed $245. I know

14 that $400 for an ounce of heroin is consistent with the price of heroin in California’s Central Valley.

15 Therefore, based on the first call between RIOS and SANCHEZ where SANCHEZ indicated he

16 needed, “1” of “café” from RIOS, I believe SANCHEZ’s associates purchased on ounce of heroin from

17 RIOS for the price of $400.

18          322.       At 11:47 PM, SANCHEZ used (279) 386-7769 (TT6) to call FELISCIANO on (559)

19 401-8633 (TT 8633). SANCHEZ asked FELISCIANO, “so what did she [ESCOBEDO] give you?”

20 FELISCIANO responded, “she just gave me this bag.” SANCHEZ asked, “Ok, so what does it have in

21 it then?” FELISCIANO stated, “it has a whole thing.” SANCHEZ asked, “what about the black?”

22 FELISCIANO responded, “oh it’s right here.” The two speak about ESCOBEDO and her

23 untrustworthiness, and how FELISCIANO paid her “2” for the procurements. SANCHEZ asked,

24 “does it look like a full one?” FELISCIANO stated “no, in my point of view.” SANCHEZ then stated,

25 “send me a picture.” At 11:49 PM, FELISCIANO used (559) 401-8633 (TT 8633) to send the

26 following MMS to SANCHEZ on (279) 386-7769 (TT6):

27

28

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11             Figure 10: MMS sent from FELISCIANO on (559) 401-8633 to SANCHEZ on (279) 386-7769 at 11:49 PM.

12          217.   SANCHEZ then instructed FELISCIANO to weigh the methamphetamine, which

13 FELISCIANO obliged and related the methamphetamine was 8 grams short which FELISCIANO

14 related was caused by the packaging.

15          218.   Based on my training and experience, I believe, “a whole thing” or “a full one” is coded

16 language for a pound of methamphetamine. I also know “black” is a term often used by drug traffickers

17 to describe heroin. Therefore, I believe ESCOBEDO gave FELISCIANO a bag which contained the

18 pound of methamphetamine and heroin which ESCOBEDO recently obtained on SANCHEZ’s behalf.

19 This belief was corroborated by the MMS that was sent/received during this conversation.

20          219.   Based on all of the above, I believe SANCHEZ, R. LOPEZ, ESCOBEDO, RIOS and

21 FELISCIANO, conspired to distribute and possess with intent to distribute a controlled substance, in

22 violation of 21 U.S.C. §§ 846, 841(a)(1).

23                 9.      May 22, 2025 – SANCHEZ facilitated the distribution of methamphetamine
                           from HERNANDEZ to ESCOBEDO and FELISCIANO
24
            220.   Between May 21, 2025 and May 22, 2025, SANCHEZ conspired with HERNANDEZ,
25
     to distribute methamphetamine to ESCOBEDO and FELISCIANO.
26
            221.   On May 21, 2025, at approximately 8:31 PM, SANCHEZ, using (279) 386-7769 (TT6),
27
     received a call from Gilberto HERNANDEZ using (559) 803-7096 (TT16). During the conversation,
28

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 1 SANCHEZ and HERNANDEZ spoke about SANCHEZ’s previous efforts to smuggle narcotics into

 2 the Fresno County Jail, about how much money could be made selling narcotics in various detention

 3 facilities, and about how SANCHEZ only had “black” – and no “white” – at the time of this call. Later

 4 in the call, at approximately time marker 18:00, HERNANDEZ indicated that he had “some pink” and

 5 “some blue” that he could sell to SANCHEZ. When SANCHEZ indicated that he was already familiar

 6 with “the pink” being “food coloring,” but expressed concern over “blue,” indicating that “it turned

 7 blue” when “they clean it out,” HERNANDEZ indicated instead that “the blue” was “for the look and it

 8 smells good, dog.” HERNANDEZ then elaborated that “a lot of people – you know what I mean? – are

 9 tired of just fuckin’ with the white, and they see something that does the same thing. They’re willing to

10 pay a couple bucks more, you know what I mean?” SANCHEZ then proposed that HERNANDEZ give

11 SANCHEZ “a Q.P. of- of- of- of the pink, a Q.P. of the blue, and then the half a P of the- of the- of the-

12 of the white.” HERNANDEZ counter-proposed that he provide SANCHEZ with several “zips” of each

13 color, and the parties later agreed that if SANCHEZ like the “pink” and the “blue,” he would buy

14 “Q.P.”’s of each later on for “six bills” in total (i.e. three each), and that they would meet in “Lemoore”

15 “at the location” if this were to happen. SANCHEZ then asked where the parties would meet the

16 following day. HERNANDEZ initially described a location, but then indicated that he would send

17 SANCHEZ the address the following morning and further indicated that he drove “a big truck” and

18 could not “go into normal neighborhoods.” It should also be noted that at approximately time marker

19 31:35, SANCHEZ indicated that HERNANDEZ was 25 years old; during that portion of the

20 conversation, HERNANDEZ also indicated that he has three children. The parties then spoke about

21 other matters and concluded the call.

22           222.   Based on my training and experience, I know that drug traffickers very often use vague

23 and innocuous words and phrases to speak about their narcotics in an attempt to confuse law

24 enforcement and avoid criminal liability for their activities. I also know that they use the word “zip” to

25 refer to an ounce of an illicit narcotic, the acronym “Q.P.” to refer to one-quarter pound of an illicit

26 narcotic, the letter “P” to refer to a pound of an illicit narcotic, and the word “half” to refer to one-half of

27 whatever quantity the context of the conversation demands. I also know that $600 for one-half pound is

28 consistent with the price of methamphetamine in California’s Central Valley at the time of this call and

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 1 that drug traffickers commonly use the word “bill” to refer to $100. Finally, I know that it is common

 2 for drug distributors to dilute their narcotics to attempt to artificially create a larger quantity of it and

 3 make more money; based on the context of this conversation, I believe SANCHEZ was using the phrase

 4 “to clean it out” in this fashion. Based on my knowledge of the investigation, I know that

 5 ENTERPRISE members commonly use the word “white” to refer to methamphetamine and the word

 6 “black” to refer to black tar heroin. I also know that SANCHEZ’s associates have purchased pink

 7 methamphetamine in the past and spoken with SANCHEZ about it; I therefore believe that he is already

 8 familiar with it.

 9          223.    Therefore, I believe that in this conversation, SANCHEZ first indicated that he had

10 control over a certain quantity of black tar heroin, but did not have any methamphetamine at the time of

11 the call. Later, I believe that HERNANDEZ indicated that he would sell SANCHEZ pink and blue

12 methamphetamine. I believe that SANCHEZ was already familiar with pink methamphetamine,

13 knowing that it is pink merely because food coloring is added to it, but expressed concern that

14 methamphetamine only turns blue when it is diluted, which would make it lower quality. I believe

15 HERNANDEZ responded by indicating that blue methamphetamine is blue for the same reason as pink:

16 drug users get bored with using “normal” white methamphetamine and want to try something new, and

17 are willing to pay “a couple bucks more” to do so. When SANCHEZ proposed buying approximately

18 one pound of methamphetamine, HERNANDEZ instead proposed that he distribute several ounces of

19 methamphetamine at first, and then I believe the parties made plans for the future – if SANCHEZ’s

20 customers like the pink and blue methamphetamine – for SANCHEZ to purchase one-half pounds of

21 pink and blue methamphetamine for $600 in the future. I believe the parties then agreed to meet the

22 following day, and that HERNANDEZ indicated he would send SANCHEZ the location.

23          224.    The following morning, on May 22, 2025, at approximately 7:23 AM, SANCHEZ, using

24 (279) 386-7769 (TT6), called ESCOBEDO, using (831) 596-0869 (TT3). During the call, SANCHEZ

25 indicated that he had two “train tickets” and was “trying to see what train ticket [he was going to] take,”

26 that he needed “a ride” “just to Lemoore,” and that he would be bringing “some blue stuff and that pink

27 stuff” to ESCOBEDO. It should be noted that at a certain point in the call, SANCHEZ switched to

28 speaking about the “ticket” as if it were a bus ticket. SANCHEZ then asked ESCOBEDO to call “Jay,”

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 1 at which point SANCHEZ and FELISCIANO spoke for approximately one minute without

 2 ESCOBEDO. When I reviewed call detail records for (831) 596-0869 (TT3), I observed that at

 3 approximately 7:30 AM, (831) 596-0869 (TT3) called (559) 213-2144, used by an uncharged male

 4 (UM200). Accordingly, after that one minute, ESCOBEDO’s voice came back on the line and said,

 5 “He’s on the line,” at which point a voice I recognized as UM200’s voice began speaking with

 6 SANCHEZ about how SANCHEZ had “to be in Lemoore” and had “a bus ticket” that would “be there”

 7 “at ten.” SANCHEZ also indicated that “they’re coming in a semi.” After speaking about how much

 8 money UM200 owed SANCHEZ, UM200 agreed to let SANCHEZ use his vehicle and arranged for

 9 another uncharged male to drive it in exchange for some of his debt being wiped clean, as well as for

10 one-half ounce of methamphetamine.

11          225.    As is set out above, I know that drug traffickers commonly use vague and innocuous

12 phrasing to attempt to avoid criminal liability. Based on the context of the previous call, as well as the

13 fact that SANCHEZ switched back and forth between using the phrase “train ticket” and “bus ticket,” I

14 believe that in this call SANCHEZ was speaking about his appointment with HERNANDEZ at

15 approximately 10:00 AM in Lemoore. I also believe that the “blue stuff” and “pink stuff” phrases

16 SANCHEZ used were references to the blue and pink methamphetamine discussed in the previous call.

17          226.    Therefore, I believe that in this call SANCHEZ was attempting to coordinate the

18 acquisition of the blue and pink methamphetamine with FELISCIANO and ESCOBEDO. I specifically

19 believe that SANCHEZ indicated that the transaction would take place in Lemoore, CA at

20 approximately 10:00 AM, and indicated that he would be bringing ESCOBEDO blue and pink

21 methamphetamine. I believe that SANCHEZ then arranged for transportation to Lemoore, CA with

22 UM200 and another driver.

23          227.    At approximately 7:39 AM, SANCHEZ, using (279) 386-7769 (TT6), sent several text

24 messages to (559) 803-7096 (TT16), used by HERNANDEZ, which when pieced together read, “Top

25 of the morning my dog, when you get the chance shoot the address, Good looking out, [dog paws

26 emoji]”. After SANCHEZ and HERNANDEZ exchanged several more text messages in which

27 SANCHEZ indicated he would be able to be at the location “at 10,” HERNANDEZ used (559) 803-

28 7096 (TT16) to send a multimedia message to SANCHEZ, using (279) 386-7769 (TT6), which

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 1 consisted of a picture of a hand holding a cellular phone with a map of 1130 Iona Ave, Lemoore, CA

 2 displayed on it.

 3          228.    At approximately 8:48 AM, SANCHEZ, using (279) 386-7769 (TT6), sent the same

 4 picture to FELISCIANO, using (559) 401-8633 (TT 8633), as well as another text message

 5 approximately two minutes later, which read, “5598037096”. Based on my knowledge of the

 6 investigation, I know that the string of numbers sent in the second text message is (559) 803-7096

 7 (TT16). I therefore believe that with these two messages, SANCHEZ was informing FELISCIANO of

 8 the location of the meeting and giving her HERNANDEZ’s phone number so that she could coordinate

 9 the meeting with him when the time came.

10          229.    The investigative team then established surveillance at the Maverick truck stop at 1130

11 Iona Avenue, Lemoore, CA. At approximately 9:46 AM, a white Honda Accord sedan registered to

12 UM200 pulled into the parking lot at the Maverick truck stop. An uncharged male (UM327) and a

13 female positively identified as Jennifer ESCOBEDO based on a comparison with the picture maintained

14 on file with the California Department of Motor Vehicles exited the driver’s seat and entered the store.

15 FELISCIANO was also positively identified as she exited the vehicle based on prior contacts, as well

16 as a comparison with the picture maintained on file by the California Department of Motor Vehicles.

17          230.    When I reviewed call detail records for (559) 401-8633 (TT 8633), used by

18 FELISCIANO, I observed that between approximately 9:47 AM and 9:53 AM, (559) 401-8633 (TT

19 8633) and (559) 803-7096 (TT16), used by HERNANDEZ, exchanged six calls. At approximately 9:54

20 AM, one minute after FELISCIANO’s last call with HERNANDEZ, the surveillance team observed a

21 white pickup truck pull into the parking lot; the vehicle had the words “Blackstone Wholesale Parts” and

22 a phone number written on its sides and back. FELISCIANO was then observed walking up to the truck

23 and receiving a bag from its driver, who was positively identified as Gilberto HERNANDEZ based on a

24 comparison with the picture maintained on file with the California Department of Motor Vehicles.

25 FELISCIANO then returned to and entered the white Honda sedan, and the white pickup truck pulled

26 away.

27          231.    After UM327 and ESCOBEDO re-entered the white Honda sedan with FELISCIANO,

28 the trio then travelled to another nearby gas station, parked, and exited the vehicle.

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 1          232.   At approximately 10:25 AM, SANCHEZ, using (279) 386-7769 (TT6), called (559) 803-

 2 7096 (TT16), used by HERNANDEZ. During the call, SANCHEZ asked if there was a “touchdown,”

 3 to which HERNANDEZ responded, “Yeah, touchdown everything perfectly.” Later in the call,

 4 HERNANDEZ indicated that “it was two pink, two blue, and the rest white,” and also indicated that he

 5 was “in a company vehicle.”

 6          233.   Based on my training and experience, I know that contraband traffickers commonly use

 7 the phrase “touchdown” to indicate that a transaction of some kind has been completed successfully.

 8 Based on the context of the calls set out above, as well as subsequent events, I believe that

 9 HERNANDEZ was indicating to SANCHEZ that he had given him pink methamphetamine, blue

10 methamphetamine, and white methamphetamine. Finally, I believe that the fact that HERNANDEZ also

11 indicated that the methamphetamine had come from a “company vehicle” corroborates my belief that

12 FELISCIANO received the methamphetamine from the white pickup truck with the words “Blackstone

13 Wholesale Parts” and a phone number professionally displayed on it.

14          234.   As UM200, FELISCIANO, and ESCOBEDO were taking a break outside the second

15 gas station, SANCHEZ, using (279) 386-7769 (TT6), called ESCOBEDO, using (831) 596-0869

16 (TT3). During the call, SANCHEZ asked if “everything’s good,” and ESCOBEDO responded that it

17 was. SANCHEZ also asked where his “prima” “put the food at” and ESCOBEDO responded that it

18 was “away.” Later in the call, SANCHEZ asked if ESCOBEDO had seen “the pink, the blue and stuff,”

19 but ESCOBEDO indicated that “we haven’t even looked at it or anything.” ESCOBEDO then

20 volunteered to take a pink “basketball” and a blue “basketball,” and SANCHEZ agreed.

21          235.   Several minutes later, at approximately 10:42 AM, the surveillance team observed

22 FELISCIANO get back into the white Honda, at which point the vehicle began to depart the Lemoore,

23 CA area.

24          236.   After allowing the vehicle to depart the area, the investigative team initiated a traffic stop

25 on the vehicle at approximately 10:59 AM. While the patrol vehicle was making the stop, SANCHEZ,

26 using (279) 386-7769 (TT6), and ESCOBEDO, using (831) 596-0869 (TT3), had been in the middle of

27 a conversation; ESCOBEDO’s side was on speakerphone such that SANCHEZ could speak with

28 everyone in the vehicle. When UM200 indicated that “the Sheriff” was behind him, SANCHEZ

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 1 instructed the occupants of the vehicle to attempt to pull into a nearby housing area to act as if they lived

 2 there. SANCHEZ also instructed “you” and “Jen” to “put that shit- ‘cause you guys could half it and put

 3 it in your guys’ thing. That’s if anything.” When the parties inside the vehicle indicated that they were

 4 actually being pulled over, SANCHEZ then said, “Okay, listen. Grab both of those things and put it

 5 underneath your- your- you got your license, right? Put it underneath your stomach. Grab both- you

 6 guys- put it underneath your guys’ stomach. Or in your guys’ pussy thing.”

 7          237.    Based on my training and experience, I know that it is very common for female drug

 8 couriers to attempt to hide narcotics in their vaginal cavity to attempt to avoid detection by law

 9 enforcement. I therefore believe that SANCHEZ was referring to FELISCIANO when he said “you”

10 and to ESCOBEDO when he said “Jen,” and that he was instructing them to attempt to hide the

11 narcotics by splitting them in half and either inserting them into the females’ vaginal cavities or hiding

12 them underneath a flap of human tissue in their stomach area.

13          238.    Despite SANCHEZ’s instructions for hiding the narcotics, investigative team members

14 located a bag filled with approximately one pound of blue, pink, and white shards consistent in

15 appearance with methamphetamine on FELISCIANO’s person, under her shirt. The following is an

16 image of that bag:

17

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19

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27          239.    I therefore believe that SANCHEZ coordinated the distribution of approximately one

28 pound of methamphetamine, that FELISCIANO and ESCOBEDO facilitated this distribution, that

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 1 FELISCIANO actually received the methamphetamine from HERNANDEZ, and that HERNANDEZ

 2 coordinated the deal with SANCHEZ and distributed the methamphetamine to FELISCIANO.

 3                  10.    May 22, 2025 – SANCHEZ and GONZALES facilitated the distribution of
                           methamphetamine from HERNANDEZ to BONILLA and MARTINEZ
 4
            240.    On May 22, 2025, the investigative team became aware that SANCHEZ conspired to
 5
     procure a half pound of methamphetamine from HERNANDEZ to BONILLA and MARTINEZ.
 6
            241.    On May 22, 2025, as described above, SANCHEZ conspired to procure one pound of
 7
     methamphetamine from HERNANDEZ. The investigative team observed the transaction, involving
 8
     FELISCIANO and ESCOBEDO, and ultimately arrested FELISCIANO and seized approximately
 9
     one pound of methamphetamine from her person. Later in the day on May 22, 2025, at about 1:29 PM,
10
     the investigative team intercepted a call from SANCHEZ, using (279) 386-7769 (TT6) to
11
     HERNANDEZ using (559) 803-7096 (TT16). During the initial portion of this call, SANCHEZ
12
     advised HERNANDEZ that he wanted to “do an instant replay”. SANCHEZ stated that he wants to do
13
     it as soon as possible, he was willing to meet at the same spot, and he wanted “the colorful ones”. The
14
     two discussed times and locations for them to meet, and SANCHEZ advised that he was probably going
15
     to send his child’s mother. SANCHEZ also advised that he would have his associates there prior to 6:30
16
     PM and referred to HERNANDEZ as “Bulldog” before ending the call.
17
            242.    Based on my training and experience, I know that drug traffickers use innocuous and
18
     vague-sounding terms to describe illicit narcotics. For example, I know that the terminology of “instant
19
     replay” is used to describe that SANCHEZ wants to make a second narcotics purchase after having just
20
     made a recent narcotics purchase earlier in the same day. SANCHEZ also stated he wanted “the colorful
21
     ones,” which I know from prior calls intercepted by the investigative team – set out in the section above
22
     – to be a reference to pink and blue-colored methamphetamine. Therefore, I believe that in this call,
23
     SANCHEZ asked HERNANDEZ, with whom he had just completed a procurement of one pound of
24
     methamphetamine, some of which was pink and blue, to participate in a second methamphetamine sale.
25
     I believe HERNANDEZ confirmed that he was willing to participate in the transaction, and the two
26
     discussed a time and location to conduct the transaction.
27
            243.    At approximately 1:33 PM, the investigative team intercepted a call coming from (559)
28

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 1 526-6067 being used by ESCOBEDO 63 to SANCHEZ using (279) 386-7769 (TT6). During this call,

 2 SANCHEZ and ESCOBEDO discussed FELISCIANO’s arrest that occurred after the previous

 3 narcotics purchase set out above. Later in the call, SANCHEZ asked ESCOBEDO if she still had

 4 “food” and ESCOBEDO confirmed that she did. SANCHEZ then advised ESCOBEDO that he was

 5 going to get some “colored food” later that day. The conversation then returned to discussing how

 6 FELISCIANO attempted to hide the methamphetamine during the prior vehicle stop which resulted in

 7 her arrest. This remained the topic of conversation until the call ended.

 8           244.     Based on my training and experience, as well as my knowledge of the investigation, I

 9 know that SANCHEZ and his associates frequently use the terminology of “food” and “colored food” to

10 refer to illegal narcotics. I also believe that the “colored food” terminology is much more specific and is

11 a reference to the pink and blue colored methamphetamine sold to SANCHEZ by G. HERANDEZ.

12           245.     Therefore, I believe that during this call, SANCHEZ requested to know whether or not

13 ESCOBEDO still had any narcotics in her possession, and that she confirmed that she did. Directly

14 afterwards, SANCHEZ advised ESCOBEDO that he was intending to purchase pink and blue-colored

15 methamphetamine the same day.

16           246.     At approximately 1:46 PM, the investigative team intercepted a call from SANCHEZ

17 using (279) 386-7769 (TT6) to (559) 573-0476, used by a female who SANCHEZ referred to as “Kris.”

18 SANCHEZ advised Kris of the details of FELISCIANO’s arrest, and told “Kris” that she needed to be

19 in “the ‘No town” by six. SANCHEZ placed “Kris” on hold, then returned shortly afterwards to tell her

20 to be in “the ‘No town” by six-thirty. SANCHEZ advises he “did not tell his boy” because he did not

21 want him to get worried. SANCHEZ also advised “Kris” he will send her money on CashApp.

22           247.     Based on my training and experience, I know that drug traffickers will use innocuous and

23 vague-sounding terms to describe illicit narcotics. I also know that the phrase “’No town” is used

24 frequently in California’s Central Valley area to refer to Fresno, CA. Based on the context of the

25 previous call, I believe that when SANCHEZ advised that he “did not tell his boy” because he did not

26

27           63
                At this point in the investigation, I have reviewed several hours of phone calls involving ESCOBEDO and can
     recognize her voice; I believe that the female using this phone number was ESCOBEDO based on that experience.
28
     Additionally, I believe the fact that they were speaking about FELISCIANO’s arrest also corroborates my belief.

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 1 want him to get worried, he was referring to the conversation he had with HERNANDEZ to set up a

 2 new narcotics procurement without advising HERNANDEZ of FELISCIANO’s arrest, to prevent

 3 HERNANDEZ from being hesitant to sell to SANCHEZ. Additionally, I know the phone number (559)

 4 573-0476 is registered to a Snapchat account for Louis BONILLA (BONILLA), is subscribed to an

 5 Irene Bonilla, and in previous intercepted calls has been used by a male subject who is referred to as

 6 “Louis”. I also know BONILLA to be involved in a romantic relationship with Crystal MARTINEZ,

 7 and Crystal MARTINEZ has a child in common with SANCHEZ from a previous romantic

 8 relationship.

 9          248.   Therefore, I believe that though the phone number (559) 573-0476 (TT 0476) is primarily

10 used by BONILLA, it was likely being used by MARTINEZ during this call. This belief is

11 corroborated by the earlier call at 1:29 PM when SANCHEZ stated to HERNANDEZ that he is

12 probably going to send his child’s mother. I therefore believe that during this call SANCHEZ instructed

13 MARTINEZ to be in Fresno, CA by 6:30 PM.

14          249.   At approximately 1:49 PM, the investigative team intercepted a call from (559) 961-6401

15 (TT5), utilized by GONZALES to (279) 386-7769 (TT6), utilized by SANCHEZ. During this call,

16 GONZALES advised SANCHEZ that he had just got “five” right now, and SANCHEZ told

17 GONZALES to “send five to Kris.” GONZALES agreed and said he will send it “right now.” The

18 remainder of the call was spent discussing FELISCIANO’s arrest.

19          250.   I believe that SANCHEZ instructed GONZALES to send $500 to MARTINEZ

20 utilizing some type of money transfer application, which based on my knowledge of the investigation I

21 know both SANCHEZ and GONZALES to use frequently. Based on my training and experience, I also

22 know that $500 for one-half pound is consistent with the known current price for methamphetamine.

23          251.   At approximately 2:50 PM, the investigative team intercepted a series of text messages

24 between (279) 386-7769 (TT6), utilized by SANCHEZ, and (559) 573-0476 (TT 0476), utilized by

25 MARTINEZ. The following is a transcript of the text message conversation:

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 1                                            [BEGINNING OF CONVERSATION]
        SANCHEZ        Kris
 2     MARTINEZ        Yeah
 3     MARTINEZ        I’ll call you back in a bit k
        SANCHEZ        We going to go right?
 4      SANCHEZ        It's going to be in & out
        SANCHEZ        Cuz I have to be in the no town, before 630
 5      SANCHEZ        ?? If not so I can try to look for a ride,
 6     MARTINEZ        Am call you rn am just picking up the kids
        SANCHEZ        Kk,
 7                                                   [END OF CONVERSATION]

 8          252.   As stated above, I believe that MARTINEZ is the user of this phone, and therefore

 9 believe that the name “Kris” is a reference to Crystal MARTINEZ. As stated above, I also know that

10 the phrase “’No town” is used to refer to Fresno, CA. I therefore believe that here SANCHEZ was

11 confirming with MARTINEZ that she was going to be able to go to Fresno for him as they previously

12 discussed, and MARTINEZ refusing to answer but advising she would call SANCHEZ soon.

13          253.   At approximately 3:18 PM, the investigative team intercepted a call from (279) 286-7769

14 (TT6), utilized by SANCHEZ, to (559) 573-0476 (TT 0476), utilized by MARTINEZ. During this call,

15 MARTINEZ began complaining about “Anthony” being disrespectful. SANCHEZ redirected

16 MARTINEZ by telling her to look at the big picture, and continued to persuade her to “pick up” for

17 him. It should be noted that MARTINEZ stated “we are low too, we need some.” MARTINEZ then

18 told SANCHEZ she would call him from another phone.

19          254.   Based on my training and experience, as well as the context of the call, I believe the

20 terminology of “pick up” used by SANCHEZ is a reference to picking up narcotics during a narcotics

21 purchase. When MARTINEZ stated, “we are low too, we need some,” I believe she was referring to

22 herself and BONILLA needing to purchase their own methamphetamine. Based on my knowledge of

23 the investigation, as well as my conversations with other members of the investigative team, I know that

24 both MARTINEZ and BONILLA are known to use methamphetamine.

25          255.   Therefore, I believe in this short conversation, SANCHEZ attempted to convince

26 MARTINEZ to assist in procuring narcotics from Fresno, CA on his behalf and MARTINEZ advised

27 that she and BONILLA currently also needed methamphetamine.

28          256.   At approximately 3:25 PM, a call was intercepted from (559) 961-2103 (TT 2103) to

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 1 (279) 389-7769 (TT6), utilized by SANCHEZ. In the beginning of the call, the female user of (559)

 2 961-2103 (TT 2103) identified herself as “Kris” and I have been informed by other members of the

 3 investigative team that the voice matched the previous user of (559) 573-0476 (TT 0476). I therefore

 4 believe that the user of (559) 961-2103 (TT 2103) was MARTINEZ. Later in the call, MARTINEZ

 5 told SANCHEZ that she only had $127 on Cash App and had not received the $500 yet. SANCHEZ

 6 told MARTINEZ to send a request to “Primo” for five hundred. SANCHEZ then spoke with

 7 “Anthony” and attempts to give him advice on being respectful to MARTINEZ and BONILLA.

 8 Afterwards SANCHEZ tells Anthony to put “Louis” on the phone; based on the totality of the

 9 circumstances, I believe that he was referring to Louis BONILLA, and I believe that BONILLA then

10 joined the conversation. BONILLA then began speaking with SANCHEZ, and was apparently on

11 speakerphone with MARTINEZ, who was also participating in the conversation. SANCHEZ told

12 BONILLA that BONILLA should be getting the five hundred, and SANCHEZ was going to send

13 another hundred for a total of six hundred. MARTINEZ asks what “burrito” she is getting in exchange

14 for getting “the stuff,” and SANCHEZ laughed and corrected her, saying she would receive a “half

15 burrito.” SANCHEZ also confirmed with MARTINEZ that they would get $600. Finally, SANCHEZ

16 told MARTINEZ to call back in ten to fifteen minutes.

17          257.   Based on my training and experience, I know that drug traffickers will use innocuous and

18 vague-sounding terms to describe illicit narcotics. As with his prior coded language, I believe

19 SANCHEZ utilized the term “burrito” to refer to one ounce of methamphetamine. I therefore believe

20 MARTINEZ was requesting an ounce of methamphetamine to be provided to her for her participating

21 in collecting methamphetamine on SANCHEZ’ behalf, and SANCHEZ countered by advising her it

22 would be half an ounce of methamphetamine. I also believe that SANCHEZ confirmed that

23 GONZALES, whom he refers to as his “Primo,” would send MARTINEZ a total of $600 through the

24 CashApp phone application, $500 of which was for the methamphetamine purchase and $100 of which

25 would be paid to MARTINEZ.

26          258.   At approximately 3:34 PM, the investigative team intercepted a call placed from (559)

27 961-6401 9TT5), utilized by GONZALES, to (279) 389-7769 (TT6), utilized by SANCHEZ. During

28 this call, GONZALES advised he has not yet sent the “five” to “Kris,” at which point SANCHEZ

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 1 instructed GONZALES to send the $500 immediately. SANCHEZ also stated that he and Kris would

 2 be going to “the ‘No town to do what we gotta do”.

 3          259.   Based on my training and experience, I believe that this call indicated that SANCHEZ

 4 was utilizing GONZALES to send $500 to MARTINEZ through the Cash App phone application. I

 5 also believe, based on SANCHEZ and GONZALES’ previous interactions involving illicit narcotics,

 6 that the statement regarding going to “the ‘No town to do what we gotta do” was SANCHEZ using

 7 vague language to advise GONZALES that SANCHEZ was conducting a narcotics purchase and that

 8 this was therefore the reason behind SANCHEZ’s request that GONZALES transfer funds. This is also

 9 relevant based on the previous call where SANCHEZ advised GONZALES of FELISCIANO’s arrest.

10          260.   At 3:36 PM, the investigative team intercepted multimedia message sent from (559) 961-

11 6401 (TT5), utilized by GONZALES, to (279) 389-7769 (TT6) utilized by SANCHEZ. The message

12 included the following image attachment:

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23          261.   Based on my training and experience, I recognize the attached image to be a screenshot

24 from a cell phone utilizing the CashApp phone application. I also know that this specific screenshot

25 shows a transaction from GONZALES to MARTINEZ at 3:35 PM in the amount of $500 “for food.”

26 As state above, I know that the food terminology is a commonly used code by members of the

27 ENTERPRISE when discussing illegal narcotics. I believe that GONZALES sent this image to

28 SANCHEZ as proof that he sent money via Cash App to MARTINEZ, as SANCHEZ had directed him

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 1 to do, and I believe also corroborates my belief that GONZALES knew that this money transaction was

 2 for the purpose of paying for narcotics.

 3          262.    At approximately 4:04 PM, the investigative team intercepted a call from (559) 895-3465

 4 (TT 3645), which I again believe was utilized by MARTINEZ based on my conversations with other

 5 members of the investigative team who recognized her voice and the context of the call, to (279) 386-

 6 7769 (TT6), utilized by SANCHEZ. During this call, MARTINEZ confirmed having received “the

 7 five” from GONZALES and “pulling it out.” MARTINEZ also advised that she had left town already,

 8 but she did not receive the extra $100. SANCHEZ told MARTINEZ to request $100 from his sister and

 9 provided a phone number of “413-8584.” MARTINEZ attempts to call the phone number but told

10 SANCHEZ that there was no answer. SANCHEZ told MARTINEZ to request $100 from “her” on

11 CashApp and provided the CashApp name “Carly XOXO – Carly Balboa”. SANCHEZ also stated he

12 would call her to tell her to send the $100.

13          263.    Based on my training and experience, as well as the context of the conversation, I believe

14 that “the five” is a reference to the $500 received by MARTINEZ, and “pulling it out” is a reference to

15 the act of retrieving the money as cash through an automated teller machine.

16          264.    At approximately 4:13 PM, the investigative team intercepted a text message sent from

17 (279) 386-7769 (TT6), utilized by SANCHEZ to (559) 573-0476 (TT 0476), previously utilized by both

18 MARTINEZ and BONILLA. The text message indicated that “she sent it”. I believe this message, in

19 the context of the previously described call, was SANCHEZ advising that Carly BALBOA had sent

20 $100 to MARTINEZ through Cash App.

21          265.    At approximately 4:23 PM, the investigative team intercepted a text message sent from

22 (279) 386-7769 (TT6), utilized by SANCHEZ, to (559) 895-3465 (TT 3465) utilized by MARTINEZ.

23 The text read, “drive normal”. Based on the context of all the information in this section, I believe

24 SANCHEZ was warning MARTINEZ to drive in such a way that she would not have any encounters

25 with law enforcement while she is procuring narcotics for SANCHEZ.

26          266.    At approximately 4:52 PM, the investigative team intercepted a call placed by (559) 803-

27 7096 (TT16), utilized by HERNANDEZ, to (279) 389-7769 (TT6), utilized by SANCHEZ. During the

28 call, HERNANDEZ advised that he was running late because of a flat tire. SANCHEZ advised that his

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 1 people would be in Fresno in thirty to forty minutes, and asked for the address. HERNANDEZ

 2 indicated he would send SANCHEZ the address.

 3          267.   Based on my training and experience, as well as the context of all the events set out in

 4 this section, when SANCHEZ and HERNANDEZ referred to “the address” in this call I believe they

 5 were specifically referring to the address that would be used at the meeting location for their narcotics

 6 transaction.

 7          268.   At approximately 4:55 PM, the investigative team intercepted a call from (559) 895-3465

 8 (TT 3465), utilized by MARTINEZ, to (279) 386-7769 (TT6), utilized by SANCHEZ. During this call,

 9 SANCHEZ advised MARTINEZ that “his boy” was running late due to a flat tire, and that he was

10 getting the address.

11          269.   Based on the context of the call, when SANCHEZ advised “his boy” is running late, I

12 believe he was referring to HERNANDEZ.

13          270.   At approximately 4:57 PM, the investigative team intercepted a call from (559) 895-3465

14 (TT 3465), utilized by MARTINEZ, to (279) 386-7769 (TT6), utilized by SANCHEZ. During the call,

15 MARTINEZ advised SANCHEZ that she is almost to Fresno, CA, and that “Louis” was driving.

16 SANCHEZ mentioned that he could also get blue pills for MARTINEZ, but MARTINEZ declined

17 and said that was not something she wanted to get addicted to.

18          271.   Based on my training and experience, I believe that when MARTINEZ indicated that

19 “Louis” was driving, she was referring to BONILLA. I also believe that the mention of “blue pills” is a

20 reference to fentanyl, which is commonly processed into small round blue pills stamped with the

21 characters “M 30”.

22          272.   At approximately 5:14 PM, the investigative team intercepted a multimedia message sent

23 from (559) 803-7096 (TT16), utilized by HERNANDEZ, to (279) 386-7769 (TT6), utilized by

24 SANCHEZ, which included a photograph attachment. The photograph was a cell phone showing

25 location information for a business named Boss Food & Liquor with an address of 3348 E Butler Ave. I

26 believe that this message was HERNANDEZ providing the location for SANCHEZ to have

27 MARTINEZ meet him at for the narcotics transaction.

28          273.   The next minute, at approximately 5:15 p.m. the investigative team intercepted another

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 1 multimedia message, this time sent from (279) 386-7769 (TT6), utilized by SANCHEZ, to (559) 895-

 2 3465 (TT 3465), utilized by MARTINEZ. The message included a photograph attachment, which was

 3 the same image described above. Based on the context of this second message, I believe SANCHEZ

 4 was providing the location that HERNANDEZ sent to MARTINEZ so that MARTINEZ could meet

 5 HERNANDEZ for the narcotics transaction.

 6          274.    At approximately 5:16 PM, the investigative team intercepted a text message sent from

 7 (279) 386-7769 (TT6), utilized by SANCHEZ, to (559) 803-7096 (TT16), utilized by HERNANDEZ.

 8 The text message stated “Kk my dog , good looking out they 15mins a way.. appreciate u my P.Sider”.

 9 Based on my training and experience, I know the terminology of “my dog” to be a term frequently used

10 by Bulldog gang members to refer to other Bulldog gang members in a friendly manner. I also know the

11 terminology of “P. Sider” to be a reference to HERNANDEZ being a member of the Parkside subset of

12 the Bulldog criminal street gang.

13          275.    At about 5:27 PM, the investigative team observed a silver Toyota Camry associated with

14 HERNANDEZ and conducted a vehicle stop on it at the intersection of Butler Ave and East Ave in

15 Fresno County. During the vehicle stop, HERNANDEZ was identified as the driver and sole occupant

16 of the vehicle based on previous contacts, as well as the driver’s license he presented during the stop. A

17 search of the passenger compartment of the vehicle revealed narcotics packaged for sales located in a

18 hidden compartment within the center console. In total, three packages were located. Two contained

19 about one-quarter pound each of suspected methamphetamine, one colored pink and one colored blue.

20 The third bag contained what appeared to be several dozen round blue pills, consistent with M30 pills

21 possibly containing fentanyl. The phone used by HERNANDEZ was not confirmed during this vehicle

22 stop. The following is a cropped picture of the seized narcotics:

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13          276.   While the vehicle stop was occurring, a series of text messages and phone calls occurred

14 between SANCHEZ, BONILLA and MARTINEZ. At 5:33 p.m. SANCHEZ utilizing (279) 386-7769

15 (TT6), sent an outgoing text message to HERNANDEZ, utilizing (559) 803-7096 (TT16), which read,

16 “My P my people’s are right there”. Based on the context surrounding this message, I believe

17 SANCHEZ was notifying HERNANDEZ that BONILLA and MARTINEZ had arrived at the

18 designated meeting location. SANCHEZ did not receive any response due to HERNANDEZ, as

19 HERNANDEZ had been detained by the investigative team.

20          277.   Several minutes later, at approximately 5:41 PM, SANCHEZ, utilizing (279) 386-7769

21 (TT6), and MARTINEZ utilizing (559) 961-2103 (TT 2103), had a conversation consisting of a series

22 of text messages. The following is a transcript of the conversation:

23                                            [BEGINNING OF CONVERSATION]
        SANCHEZ        Are you guys good?
24     MARTINEZ        We’re here already
25     MARTINEZ        We’re here already
       MARTINEZ        We’re here already
26      SANCHEZ        Ur at the pad, did my boi come out
        SANCHEZ        ??
27      SANCHEZ        Call me
28                                                [END OF CONVERSATION]

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 1          278.     Based on the context of the conversation, I believe that SANCHEZ was attempting to

 2 confirm with MARTINEZ that she had made contact with HERNANDEZ and conducted the narcotics

 3 transaction.

 4          279.     While this text message exchange was occurring, the investigative team located a silver

 5 Toyota SUV bearing California license plate 9GVK255 parked in front of 3808 E Butler Ave which was

 6 known to be associated with BONILLA, and was registered as a leased vehicle to Louis BONILLA at

 7 his known residence of 853 Chianti Circle, Coalinga, CA. Undercover surveillance units confirmed that

 8 there were three occupants in the vehicle: a male subject seated in the driver’s seat who was positively

 9 identified as BONILLA and a female subject in the rear passenger seat directly behind the driver who

10 was positively identified as MARTINEZ. Both were identified based on a comparison with known

11 pictures maintained on file by the California Department of Motor Vehicles. There was also an

12 unidentified Hispanic male adult seated in the front passenger seat.

13          280.     At approximately 5:48 PM, SANCHEZ, utilizing (279) 386-7769 (TT6), placed a call to

14 MARTINEZ, utilizing (559) 961-2103 (TT 2103). BONILLA answered the line rather than

15 MARTINEZ, and SANCHEZ asked if they were at the address. BONILLA confirmed that they were

16 at the address and the address was a store. SANCHEZ asked if they saw “the homie right there,” and

17 MARTINEZ can be heard in the background saying “no.” BONILLA also asked, “What’s he in? We

18 don’t even know what he looks like.” SANCHEZ told BONILLA to hold on. While BONILLA was

19 holding, MARTINEZ could be heard speaking to BONILLA in the background saying that right

20 around the corner “they” have somebody pulled over and that a sheriff and a cop were searching. The

21 parties then go back and forth about whether the individual that was pulled over was the one they were

22 supposed to be meeting. After MARTINEZ and BONILLA indicated that the individual was arrested,

23 SANCHEZ then attempted to arrange for a separate transaction with another subject for the remainder

24 of the call.

25          281.     During this phone call, the investigative team was maintaining undercover surveillance of

26 BONILLA and MARTINEZ and observed them driving past the vehicle stop involving

27 HERNANDEZ. This occurred simultaneously with the conversation that was intercepted in the above-

28 described call.

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 1          282.   Based on the context of this call, as well as the surveillance team’s identification of

 2 MARTINEZ and BONILLA near the vehicle stop on HERNANDEZ, I believe that in this call

 3 MARINTEZ and BONILLA effectively informed SANCHEZ that HERNANDEZ had been detained

 4 by the police and that the vehicle was being searched. I believe that SANCHEZ realized that the

 5 narcotics transaction would not be completed, which is why he then was attempting to quickly locate an

 6 alternate source of narcotics.

 7          283.   SANCHEZ then utilized (279) 386-7769 (TT6) to place several additional calls to

 8 multiple individuals attempting to obtain a new methamphetamine source. At 6:49 PM, SANCHEZ

 9 contacted MARTINEZ, utilizing (559) 961-2103 (TT 2103), and asked if they had left yet.

10 MARTINEZ confirmed that they had already left Fresno. MARTINEZ also advised she would be

11 putting the money back into Cash App.

12          284.   During this call, I believe MARTINEZ and BONILLA refused to wait in Fresno any

13 further and departed the area. MARTINEZ stated she would be “putting the money back into Cash

14 App”, which I believe is a reference to the $500 she had obtained in cash after she received the CashApp

15 transaction from GONZALES on SANCHEZ’ behalf. I also believe MARTINEZ was advising

16 SANCHEZ that she would return his money due to them not making a successful purchase.

17          285.   Based on all of the information set out above, I believe SANCHEZ organized the

18 purchase of one-half pound of methamphetamine from HERNANDEZ, that BONILLA and

19 MARTINEZ attempted to broker this purchase, and that GONZALES provided the monetary

20 transaction to MARTINEZ to fund the purchase.

21          286.   Based on all of the above, I believe SANCHEZ, HERNANDEZ, BONILLA,

22 MARTINEZ and GONZALES, conspired to distribute and possess with intent to distribute a controlled

23 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1).

24                 11.    June 4, to June 9, 2025 – Ignacio SANCHEZ Arranged Two
                          Methamphetamine Transactions with Luis Amaro AGUILAR Resulting in
25                        the Seizure of a Half Pound of Methamphetamine

26          287.   On June 4, 2025, SANCHEZ, while housed at the Fresno County Jail, coordinated the

27 procurement of a half pound of methamphetamine from AGUILAR. On June 9, 2025, SANCHEZ,

28 while housed at the Fresno County Jail, again coordinated the procurement of a second half pound of

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 1 methamphetamine from AGUILAR.

 2          288.       On June 4, 2025, at approximately 12:25 PM, SANCHEZ used the Fresno County Jail

 3 phone system 64 to call (559) 401-8633 (TT 8633) utilized by FELISCIANO. SANCHEZ used his

 4 Fresno County Jail Identification Number to place this call. During this call, SANCHEZ asked

 5 FELISCIANO to send a text message and ask, “if they could come and fix the fence.” SANCHEZ

 6 related that they would know what that meant. Simultaneously, at 12:40 PM, FELISCIANO used (559)

 7 401-8633 (TT 8633) to send a text message to the uncharged user of (213) 334-1252 (TT18). The text

 8 message read, “Good afternoon. May you have a blessed day. My primo said he sends his and that

 9 everything is good. If you can send me the number or for you to call so we can have them bring us some

10 groceries please and thank you.”

11          289.       I know from my training and experience that drug traffickers use coded language,

12 especially on monitored and recorded jail phones, to discuss criminal matters in an effort to thwart law

13 enforcement’s ability to arrest and prosecute them for these crimes. I also know that “my primo” is a

14 name by which FELISICIANO identifies SANCHEZ. I know members of the ENTERPRISE use the

15 term “groceries” to describe illicit narcotics.

16          290.       Therefore, I believe SANCHEZ used coded language to instruct FELISCIANO to send

17 a text message to an uncharged individual regarding the procurement of illicit narcotics. FELISCIANO

18 responded in kind and sent a message on behalf of SANCHEZ to an uncharged individual.

19 FELISCIANO communicated in this text message that SANCHEZ needed more narcotics.

20          291.       At 12:41 PM, SANCHEZ used the Fresno County Jail phone system to call (559) 401-

21 8633 (TT 8633) utilized by FELISCIANO. During this call, SANCHEZ asked FELISCIANO “did

22 Ninja Gorilla get back at you?” FELISCIANO responded, “I text him [UI] no.” SANCHEZ

23 responded, “No? Ok.”

24          292.       Based on my training and experience, I believe SANCHEZ asked FELICIANO if the

25 uncharged individual had returned FELISCIANO’s text message. FELISCIANO responded that they

26 had not responded despite FELISCIANO sending the text message.

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28          64
                 The parties on the call were advised the Fresno County Jail phone system is subject to monitoring and recording.

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 1          293.   FELISCIANO, while still on the jail call with SANCHEZ, FELISCIANO used (559)

 2 401-8633 (TT 8633) to call the uncharged user of (213) 334-1252 (TT18). FELISCIANO then merged

 3 this call with the original SANCHEZ jail call, allowing all three individuals to speak on a 3-way call.

 4 This uncharged individual spoke with SANCHEZ about SANCHEZ’s current housing situation at the

 5 Fresno County Jail. Later in this call, SANCHEZ asked the uncharged individual, “can you please get

 6 ahold of the guy to fix my fence?” The uncharged individual is confused by this statement, so

 7 SANCHEZ clarified, “my boy-boy.” SANCHEZ continued, “he charges me 6 to hook up the whole

 8 fence and then I give him 50 bucks to eat food and stuff.” The uncharged individual responded, “so you

 9 want him to go and fix the fence today?” SANCHEZ responded in affirmation and stated, “yes, and get

10 a hold of my prima.”

11          294.   Based on my training and experience, I believe SANCHEZ was again speaking in coded

12 language about procuring narcotics from the uncharged user’s source of supply. I also know that drug

13 traffickers shorten financial terms. For example, when SANCHEZ stated, “he charges me 6”

14 SANCHEZ actually communicated “he charges me $600.” I know the term, “bucks” to be a synonym

15 for “dollars.” I also know, “prima” to be a name by which SANCHEZ identifies FELISCIANO.

16          295.   I believe SANCHEZ communicated to the uncharged individual that SANCHEZ was

17 prepared to purchase $600 worth of narcotics from the uncharged individual’s source of supply, and that

18 SANCHEZ would pay the supplier $50 for it to be delivered. SANCHEZ further related that this

19 transaction would be completed by FELISCIANO due to the fact that SANCHEZ is currently

20 incarcerated.

21          296.   At 1:09 PM, the user of (213) 334-1252 (TT18) sent a text message to FELISCIANO on

22 (559) 401-8633 (TT 8633). This text message read, “I’m waiting on the homie to get back at me about

23 the groceries I’ll let you know asap when he does.”

24          297.   Based on my training and experience, I know “homie” to be a fellow gang member. As

25 previously discussed, I know groceries to be narcotics. I also know “asap” to mean “as soon as possible.

26          298.   I believe the uncharged user of (213) 334-1252 (TT18) communicated to FELISCIANO,

27 and ultimately SANCHEZ, that the uncharged individual contacted their source of supply regarding the

28 narcotics, and that they have not yet responded. The uncharged individual advised they would notify

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 1 FELISCIANO when the source of supply responded.

 2           299.     At 1:11 PM, the uncharged user (UCC3) of (213) 334-1252 (TT18) called Luis Amaro

 3 AGUILAR on (559) 652-6826 65 (TT 6826). The following is a transcript of the pertinent portions of

 4 that call:

 5                                                          [BEGINNING OF CALL]
          AGUILAR Yo.
 6           UCC3 What’s good block?
 7        AGUILAR What’s going on?
                  Shit, [UI] just chilling. [stuttering] my celly wants to know right – if you could get
             UCC3
 8                another one? A half?
          AGUILAR Uh huh [in affirmation].
 9           UCC3 Alright. And if you could roll all the way over there again and drop it off?
10        AGUILAR Uh today?
             UCC3 Uh – yeah – because…
11                Uh – tell him – uh – to give me some time cuz I was barely going to head out right
          AGUILAR
                  now to get a haircut – me and my son.
12           UCC3 Ok, just let me know – and then uh – he gots the 6 right?
          AGUILAR Yeah.
13
             UCC3 Ok – uh – and he got that 50 too.
14        AGUILAR Alright, yeah.
             UCC3 Ok. Just let me know.
15        AGUILAR Alright bud.
             UCC3 Ok, alright, buh bye.
16
          AGUILAR Late.
17                                                     [END OF CALL]

18           300.     Based on my training and experience, I know “celly” to be short for “cellmate.” I also

19 know drug traffickers use vague or innocuous language to describe narcotics in an attempt to thwart law

20 enforcement’s ability to prosecute them. I believe the phrase, “another one” and “a half” when used in

21 this context to mean “another half pound of narcotics.” I know the phrase, “to roll” when used in this

22 context to mean “to travel.” As previously described, drug traffickers often shorten terms associated

23 with finances. For example, when the uncharged individual stated, “he gots the 6” they actually

24 communicated, “the price is $600.” I know that $600 for a half pound of narcotics is consistent with the

25 price of methamphetamine in the Central Valley of California.

26

27           65
                 On June 9, 2025, members of the investigative team detained AGUILAR during a vehicle stop. During this
     detention, the investigative team called (559) 652-6826 and watched as AGUILAR’s cell phone received a call. Therefore, I
28
     believe AGUILAR is the user of (559) 652-6826.

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 1          301.   Therefore, I believe the uncharged individual communicated to AGUILAR that

 2 SANCHEZ needed to purchase another half pound of methamphetamine for $600. Therefore, I believe

 3 AGUILAR responded that AGUILAR had the narcotics requested, and confirmed he would accept

 4 $600 in addition to the $50 as a delivery fee.

 5          302.   At 1:12 PM, the uncharged individual (UCC3) used (213) 334-1252 to call

 6 FELISCIANO on (559) 401-8633 (TT 8633). The following is a transcript of that call:

 7                                               [BEGINNING OF CALL]
              UCC3 Because right now he’s going to get his son a haircut. And all that stuff.
 8     FELISCIANO Ok.
 9                  But he’s – but he’s gonna to let me know when he gets on the road – and when it’s
              UCC3
                    good.
10     FELISCIANO Ok. Just let me know for I could [UI] I could go get the money and have it in hand.
              UCC3 Yeah – yeah cuz he wants it in cash. It – it – its’ the 6 plus the 50.
11     FELISCIANO That’s ok.
12            UCC3 Ok, cool.
       FELISCIANO Ok, thank.
13            UCC3 Ok, I’ll let you know. Alright later.
       FELISCIANO Bye.
14                                                    [END OF CALL]
           303. Based on my training and experience, as well as the context from the prior call, I believe
15
     the uncharged individual communicated to FELISCIANO that their narcotics source confirmed the
16
     price of $600 for the half pound of methamphetamine, as well as the $50 delivery fee, and would be
17
     leaving soon to deliver the methamphetamine.
18
            304.   At 3:08 PM, AGUILAR used (559) 652-6826 (TT 6826) to send a text message to the
19
     uncharged user of (213) 334-1252 (TT18). This text message read, “omw.” I know this to mean “on my
20
     way.” At 3:33 PM, the uncharged user of (213) 334-1252 (TT18) called FELISCIANO on (559) 401-
21
     8633 (TT 8633) and related “they’re on their way right now.” I believe the uncharged individual relayed
22
     the impending arrival of AGUILAR to FELISCIANO. At 3:58 PM, the uncharged user of (213) 334-
23
     1252 (TT18) called FELISCIANO on (559) 401-8633 (TT 8633) and the two decided the
24
     methamphetamine transaction would take place at the same location as previous transactions.
25
            305.   At 4:09 PM, FELISCIANO used (559) 401-8633 (TT 8633) to send a text message to
26
     the uncharged user of (213) 334-1252 (TT18). This text message read, “here” indicating FELISCIANO
27
     had arrived. Moments later, the uncharged user of (213) 334-1252 (TT18) responded with a text that
28

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 1 read, “He should be pulling up right now” indicating AGUILAR was arriving as well. At 4:10 PM,

 2 FELISCIANO used (559) 401-8633 (TT 8633) to send a text message to the uncharged user of (213)

 3 334-1252 (TT18). This text message read, “It’s a raiders touch down.” Simultaneously, AGUILAR

 4 used (559) 652-6826 (TT 6826) to send a text message to the uncharged user of (213) 334-1252 (TT18).

 5 The text message read, “Touch down.”

 6          306.   Based on my training and experience, I know the term “Touchdown” is used by members

 7 of the ENTERPRISE to communicate that there has been a successful narcotics transaction. Therefore,

 8 based on these text messages, I believe that FELISCIANO met with AGUILAR and purchased a half

 9 pound of methamphetamine.

10          307.   At 5:24 PM, SANCHEZ used the Fresno County Jail phone system to call (559) 401-

11 8633 (TT 8633) utilized by FELISCIANO. During this call, FELISICIANO stated, “touchdown.”

12 SANCHEZ responded, “Touchdown, big mighty Raider touchdown!”

13          308.   Based on my training and experience, and the context of the prior call, I believe

14 FELISCIANO communicated to SANCHEZ that she successfully purchased a half pound of

15 methamphetamine.

16          309.   Between June 5, and June 8, 2025, the uncharged individual, AGUILAR and

17 FELISCIANO on behalf of SANCHEZ, exchanged messages and calls that indicated SANCHEZ

18 would like to purchase additional narcotics.

19          310.   On June 7, 2025, at 6:07 PM, SANCHEZ used the Fresno County Jail phone system to

20 call (559) 401-8633 (TT 8633) utilized by FELISCIANO. During this call, SANCHEZ stated, “If you

21 can, text Ninja Gorilla, and let him know that – I don’t know how the day is going to go – we should be

22 good huh Prima?” FELISCIANO responded in affirmation. SANCHEZ continued, “I need to let him

23 know that tomor…” FELISCIANO interjected, “Monday” as SANCHEZ continued, “Yeah for

24 Monday” “it would be for the afternoon.”

25          311.   Based on my training and experience, and the context of the prior communications on

26 June 4, 2025, I know “Ninja Gorilla” to be the uncharged user of (213) 334 1252 (TT18). I know

27 “prima” to be a name by which SANCHEZ identifies FELISCIANO.

28          312.   Therefore, I believe SANCHEZ communicated to FELISICIANO that SANCHEZ

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 1 would like FELISCIANO to again contact the uncharged individual to broker another purchase of

 2 narcotics on Monday (June 9, 2025).

 3          313.    FELISCIANO responded in kind and used (559) 401-8633 (TT 8633) to send a text

 4 message to the uncharged user of (213) 334-1252 (TT18) at 7:10 PM. This text message read, “[UI

 5 characters]ed me to tell you if you can hit up old boy and let him know that he needs more groceries. If

 6 he works on the weekend or not. If they can come tomorrow or Monday cause we are ready.” At 7:10

 7 PM, the uncharged user of (213) 334-1252 (TT18) responded with a text message to FELISCIANO on

 8 (559) 401-8633 (TT 8633) and stated, “He said he could make it over there Monday.”

 9          314.    Based on my training and experience, I know the term, “groceries” is used by members

10 of the ENTERPRISE to describe narcotics. Therefore, I believe FELISCIANO, at SANCHEZ’s

11 direction, contacted the uncharged individual to procure additional narcotics on the afternoon of June 9,

12 2025.

13          315.    On June 9, 2025, at 8:33 AM, the uncharged user of (213) 334-1252 (TT18) sent a text

14 message to AGUILAR on (559) 652-6826 (TT 6826). This text message read, “I’m going to be on

15 giddys phone [phone emoji].

16          316.    Based on my training and experience, I know “giddy” to be the street moniker of Ignacio

17 SANCHEZ, who is typically the user of (279) 386-7769 (TT6). Therefore, I believe the uncharged

18 individual communicated to AGUILAR that AGUILAR could communicate with the uncharged

19 individual on (279) 386-7769 (TT6).

20          317.    At 8:58 AM, the uncharged user of (279) 386-7769 (TT6) sent a text message to

21 (559) 401-8633 (TT 8633) utilized by FELISCIANO. This text message read, “Do you think you’ll

22 make it back in time for the homie..he said he’s getting on the road at 1.. and will be there at 2 with the

23 groceries.”

24          318.    Based on my training and experience, I know members of the ENTERPRISE use food

25 terms to describe narcotics. I know the term, “groceries” when used in this context to mean “narcotics.”

26 I also know “homie” to be a fellow gang member, and in this text message, I believe “homie” to be

27 AGUILAR.

28          319.    I believe the uncharged individual communicated to FELISCIANO that AGUILAR

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 1 would be arriving at 2:00 PM with narcotics.

 2           320.     At 1:08 PM, AGUILAR used (559) 652-6826 (TT 6826) to send a text message to the

 3 uncharged user of (279) 386-7769 (TT6). This text message read, “Okay, on my way.” Based on my

 4 training and experience, as well as the context from the prior calls, I believe AGUILAR communicated

 5 that he was departing to meet with FELISCIANO to conduct a transaction for narcotics.

 6           321.     Members of the investigative team established physical surveillance at the residence of

 7 AGUILAR located at 2417 S. Argyle Avenue in the City of Fresno, CA. The investigative team

 8 observed AGUILAR 66 leave the residence and departed in a Dodge Durango.

 9           322.     At 1:30 PM, the uncharged person (UCC3) using (279) 386-7769 (TT6) called

10 FELISCIANO on (559) 401-8633 (TT 8633). The following is a transcript of the pertinent portions of

11 that call:

12                NAME                                          TRANSCRIPTION
                                                              [BEGINNING OF CALL]
13     FELISCIANO CiCi.
14                  CiCi. Yeah, fucking – um – Yeah – so they should be there about 2:17, he’s on his
              UCC3
                    way – um
15     FELISCIANO Ok.
              UCC3 You got the 6 and the 50 right?
16     FELISCIANO Yeah.
17            UCC3 Ok, cool.
                … [The conversation turns to non-pertinent talk about another individual.]
18                                                  [END OF CALL]
           323. Based on my training and experience, I know that drug traffickers shorten terms and
19
     phrases associated with finances. For example, when the uncharged individual stated, “You got the 6
20
     and the 50 right?” The uncharged individual actually stated, “you got the $600 and $50 right?” I also
21
     know that $600 is the current price for a half pound of methamphetamine in the Central Valley of
22
     California.
23
             324.     Based on the context from the prior calls, I believe that AGUILAR was responding to
24
     traffic narcotics. Based on this call, FELISCIANO, on behalf of SANCHEZ, is again purchasing a half
25
     pound of methamphetamine for $600, and paying AGUILAR $50 as a delivery fee, as they did on June
26

27
             66
                AGUILAR was the sole occupant of the vehicle, and later identified by his California driver license during a
28
     vehicle stop.

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 1 4, 2025.

 2          325.   At 1:34 PM, members of the investigative team detained AGUILAR during a vehicle

 3 stop. AGUILAR was identified by his California driver license. A search of AGUILAR’s vehicle was

 4 conducted and a plastic bag containing a white crystalline substance was located under the driver’s seat.

 5 Based on their training and experience, members of the investigative team recognized the substance as

 6 methamphetamine.

 7

 8

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22      FIGURE 6: WHITE CRYSTALLINE SUBSTANCE LOCATED UNDER THE DRIVER'S SEAT OF AGUILAR'S
                                       VEHICLE ON JUNE 9, 2025.
23

24          326.   AGUILAR was arrested and later booked at the Fresno County Jail without further

25 incident.

26          327.   At 2:18 PM, FELISCIANO used (559) 401-8633 (TT 8633) to send a text message to

27 the uncharged user of (279) 386-7769 (TT6). The text message read, “I’m here already waiting.”

28          328.   At 2:20 PM, the uncharged user of (279) 386-7769 (TT6) sent a text message to

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 1 FELISCIANO on (559) 401-8633 (TT 8633) that read, “I haven’t heard nothing from him.”

 2           329.       I believe these text messages show that FELISCIANO had arrived at the meeting

 3 location, and the supplier, AGUILAR, had not arrived due to the fact that he was detained by members

 4 of the investigative team.

 5                      12.      June 10, 2025 – SANCHEZ facilitated the distribution of methamphetamine
                                 from an uncharged male to PULIDO
 6
             330.       Between June 9 and June 10, 2025, the investigative team became aware that
 7
     SANCHEZ, while housed in the Fresno County Jail and Salinas Valley State Prison, conspired to
 8
     procure a pound of methamphetamine from an unidentified male (UM828). This procurement was
 9
     brokered by PULIDO and was acquired by PULIDO and an uncharged co-conspirator.
10
             331.       On June 9, 2025, at approximately 10:47 AM, SANCHEZ used the Fresno County Jail
11
     phone system 67 to call (559) 413-9807 (TT 9807) utilized by PULIDO 68. SANCHEZ used his Fresno
12
     County Jail Identification Number to place this call. The Fresno County Jail system began the call by
13
     identifying the caller via a pre-recorded message. This pre-recorded message indicated the incarcerated
14
     person who placed the call was “Giddy.” I know “Giddy” to be the street moniker of SANCHEZ.
15
             332.       During the initial portion of this call, PULIDO and SANCHEZ speak about
16
     SANCHEZ’s court proceedings. At the 9:57 minute mark, the conversation turned to the procurement
17
     of narcotics. The following is a transcript of the pertinent portions of that conversation:
18
                                                 [BEGINNING AT THE 12:27 MINUTE MARK]
19        SANCHEZ             Where do you go grocery shopping at?
                              Uh – when I was at your mom’s, we use to always go to Wal-Mart. But I go to that
20
            PULIDO            Foods – I like to bargain shop – fucking – [UI] Foods Co. – I’ll go to Foods Co., or
21                            like – if they have like sales at Costless or whatever I’ll like – I’ll go over there.
          SANCHEZ             Yeah. No – and then the other food too? The other food. The other food.
22                            Oh that food! Oh – um – I have a homeboy right here. Fucking uh – His name’s
            PULIDO
                              “Nutty.”
23        SANCHEZ             Yeah.
24                            [The call continued as PULIDO advised she gets “food” from other sources and
                       …      named multiple uncharged individuals. The call quickly turned to matters unrelated
25                            to the procurement of narcotics. The call ended at the 16:10 minute mark.]

26
             67
                  The parties on the call were advised the Fresno County Jail phone system is subject to monitoring and recording.
27           68
                On June 10, 2025, members of the investigative team detained PULIDO during a vehicle stop. PULIDO advised
     (559) 413-9807 was PULIDO’s cell phone number. PULIDO’s cell phone was located during the detention and found to be
28
     associated to phone number (559) 413-9807.

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 1                                                        [END OF CALL]
 2          333.    Based on my training and experience, I know that members of the ENTERPRISE refer to

 3 narcotics using terms and phrases associated to food. I have also heard SANCHEZ refer to the

 4 procurement of narcotics as “grocery shopping” during prior intercepted calls.

 5          334.    Therefore, I believe SANCHEZ asked PULIDO where PULIDO purchases narcotics

 6 from. PULIDO initially did not understand SANCHEZ’s hidden meaning and answered with

 7 establishments that PULIDO has purchased groceries from. SANCHEZ then clarified, “Yeah. No –

 8 and then the other food too? The other food. The other food.” To which PULIDO answered with

 9 sources to which she acquires narcotics.

10          335.    At 5:22 PM, SANCHEZ used the Fresno County Jail phone system to call (559) 413-

11 9807 (TT 9807) utilized by PULIDO. SANCHEZ used his Fresno County Jail Identification Number

12 to place this call. The following is a transcript of the pertinent portions of that conversation:

13                                         [BEGINNING AT THE 1:40 MINUTE MARK]
         SANCHEZ        Remember what we were talking about earlier?
14         PULIDO       Uh – no.
15                      About – remember what I asked you? Where you used to go grocery shopping and
         SANCHEZ
                        stuff like that?
16          PULIDO      Oh, yeah, yeah, yeah.
                        Ok – um – is [stuttering] there like Costco – like – do they have – uh – big – yeah.
17                      Uh – [stuttering][UI] My Dad wants to barbeque and everything – and you need to
         SANCHEZ
                        go over there and barbeque with them. Just take a pound of meat. You know what I
18                      mean?
19         PULIDO       Yeah.
         SANCHEZ        Yeah.
20         PULIDO       Oh, like to get a pound of meat?
         SANCHEZ        Yeah.
21         PULIDO       See if they want me to take a pound of meat?
22                      Yes. For you. And then I got a burrito for you. And you don’t owe that 60 bucks
         SANCHEZ
                        no more or nothing.
23          PULIDO      Alright. I don’t know if they’re going to have. We’ll see. Let me tap in real quick.
                        [The call ended as the two rehashed the statements made.] The call ended at the 3:28
24                 …
                        minute mark.]
25                                                         [END OF CALL]

26          336.    Based on my training and experience, I know members of the ENTERPRISE use food

27 terms to describe narcotics. I also know from the context of the earlier call, that SANCHEZ asked

28 PULIDO who she purchases narcotics from. I know the term “burrito” to be used by SANCHEZ to

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 1 describe an ounce of methamphetamine. I also know the phrase, “tap in” to be used in popular culture

 2 which means, “to contact.”

 3           337.    Therefore, I believe SANCHEZ called PULIDO to ask PULIDO to contact her source

 4 of supply to purchase a pound of narcotics on SANCHEZ’s behalf. SANCHEZ related that in return,

 5 SANCHEZ would forgive PULIDO’s debt of $60 and provide PULIDO with an ounce of

 6 methamphetamine.

 7           338.    At 5:43 PM, SANCHEZ used the Fresno County Jail phone system to call (559) 413-

 8 9807 (TT 9807) utilized by PULIDO. During this call, PULIDO stated, “Yeah I called and then [UI] he

 9 will make a call, and he’s waiting on him.” I believe PULIDO communicated to SANCHEZ that

10 PULIDO had contacted her source of supply as requested by SANCHEZ, and that the source was

11 working on locating a pound of narcotics. SANCHEZ then stated, “So most likely you’re going to go

12 over there to the barbeque?” PULIDO related, “yeah, yeah for sure.” I believe SANCHEZ again was

13 using “the barbeque” as coded language to communicate the procurement of narcotics on SANCHEZ’s

14 behalf, to which PULIDO advised she was able to complete.

15           339.    At 6:58 PM, SANCHEZ used the Fresno County Jail phone system to call (559) 401-

16 8633 69 (TT 8633), used by FELISCIANO. During this call, SANCHEZ and FELISCIANO discussed

17 funds available to SANCHEZ to purchase narcotics. SANCHEZ, satisfied with the finances then

18 stated, “Text Gracie. Say my primo said thumbs up.”

19           340.    Based on my training and experience, I believe “Gracie” to be Grace PULIDO. I also

20 know, “primo” to be a name by which FELISCIANO identifies SANCHEZ. I know “thumbs up” to be

21 another way of saying, “we are good to go.”

22           341.    Therefore, I believe SANCHEZ and FELISCIANO discussed funding the pending

23 purchase of narcotics. SANCHEZ then requested FELISCIANO send a text message to PULIDO, to

24 communicate that PULIDO was to plan on purchasing the pound of narcotics. Concurrently,

25 FELISCIANO used (559) 401-8633 (TT 8633) to send a text message to (559) 413-9807 (TT 9807)

26

27           69
               On March 11, 2025, members of the investigative team established physical surveillance on FELISCIANO.
     Members of the investigative team called (559) 401-8633 and spoke with FELISCIANO while surveilling her. Therefore, I
28
     believe FELISCIANO is the user of (559) 401-8633.

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 1 utilized by PULIDO. This transaction was captured on a pen-register installed on (559) 401-8633 (TT

 2 8633) via a court order.

 3           342.     At 8:01 PM, SANCHEZ used the Fresno County Jail phone system to call (559) 413-

 4 9807 (TT 9807) utilized by PULIDO. PULIDO communicated to SANCHEZ that, “early in the

 5 morning, he said yeah for the 11.” SANCHEZ then responded in affirmation and stated, “I got you for

 6 a burrito” and “thank you Grace.”

 7           343.     I know based on my training and experience that drug traffickers often shorten words

 8 describing money. For example, in this call when PULIDO stated, “for the 11” she communicated “for

 9 $1,100.” I also know that “burrito” is synonymous with an ounce of methamphetamine. I know based

10 on my training and experience, that a pound of methamphetamine is typically sold in the Central Valley

11 of California for $1,100.

12           344.     I believe PULIDO communicated to SANCHEZ that PULIDO’s source of supply

13 would sell SANCHEZ a pound of methamphetamine for $1,100 tomorrow morning. SANCHEZ then

14 reiterated that PULIDO would receive an ounce of methamphetamine for this procurement.

15           345.     On June 10, 2025, at 9:35 AM, SANCHEZ used (213) 334-1252 70 (TT18) to call

16 PULIDO on (559) 413-9807 (TT 9807). During this call, PULIDO stated, “I’m driving over there to

17 go do that.” I believe PULIDO communicated to SANCHEZ that PULIDO was on her way to procure

18 the narcotics as planned. PULIDO then stated, “Carly wanted you to call her,” “because I guess

19 yesterday you told her whatever she had in hand, and I ended up needing the whole – the 11 so fucking

20 uh – I think she just wanted to clear that with you.” Later in the call, SANCHEZ stated, “text me an tell

21 me touchdown” to which PULIDO responded in affirmation.

22           346.     I know based on my training and experience that “Carly” is Carly BALBOA, the sister of

23 SANCHEZ. I also know BALBOA to distribute and store narcotics and finances on SANCHEZ’s

24 behalf. I know “on hand” to mean “in one’s possession.” I know that drug traffickers often shorten

25 words describing money. For example, in this call when PULIDO stated, “the 11” she communicated

26

27           70
                 (213) 334-1252 was identified as being a contraband cell phone used by both SANCHEZ and other incarcerated
     persons within the Salinas Valley State Prison during the course of this investigation. I also recognized SANCHEZ’s voice
28
     to be the same on this call as compared to the previously mentioned Fresno County Jail phone calls.

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 1 “the $1,100.” I also know, “touchdown” to be a term ENTERPRISE members use when they have

 2 successfully obtained narcotics for distribution.

 3          347.   Therefore, I believe PULIDO communicated to SANCHEZ that BALBOA gave

 4 PULIDO all the money BALBOA had, which was $1,100, to purchase the pound of methamphetamine

 5 at the direction of SANCHEZ. I checked the historical location data on the GPS tracking device affixed

 6 to PULIDO’s vehicle pursuant to a court order and found that on June 9, 2025, at 9:27 PM, PULIDO’s

 7 vehicle traveled to BALBOA’s residence located at 664 Northstar Drive in the City of Hanford. I

 8 believe this GPS data corroborated that PULIDO did in fact obtain the finances for this procurement

 9 from BALBOA at the direction of SANCHEZ. SANCHEZ then directed PULIDO to text SANCHEZ

10 when the methamphetamine had been procured.

11          348.   At 12:56 PM, PULIDO used (559) 413-9807 (TT 9807) to send a textmessage to

12 SANCHEZ on (213) 334-1252 (TT18) which read, “Should be here any minute.” At approximately

13 1:00 PM, members of the investigative team established physical surveillance on PULIDO’s vehicle

14 and found it to be unoccupied at 1020 Evergreen Avenue in the City of Lemoore, CA. At 1:33 PM, the

15 investigative team observed a white Volkswagen sedan arrive at 1020 Evergreen Avenue. An

16 uncharged individual exited the residence and retrieved a manilla envelope with a bulge from the

17 occupant(s) of the Volkswagen sedan. The uncharged individual returned to the residence of 1020

18 Evergreen Avenue, as the Volkswagen sedan departed. Simultaneously, PULIDO used (559) 413-9807

19 (TT 9807) to send a textmessage to SANCHEZ on (213) 334-1252 (TT18) which read, “It’s here are we

20 hooking up my friend for the paro or what.” I know “Paro” to be a Spanish slang term for “favor.” I

21 also know “hooking up” to mean to provide someone with something.

22          349.   I believe these text messages show that PULIDO had arrived at the source of supply’s

23 location, and that the narcotics had also arrived. I believe PULIDO asked SANCHEZ if he intended on

24 providing PULIDO’s friend with a gift in exchange for the favor he provided.

25          350.   At 1:40 PM, PULIDO received an incoming call on (559) 413-9807 (TT 9807) from

26 SANCHEZ on (213) 334-1252 (TT18). SANCHEZ related, “we can give him a couple basketballs and

27 give you six of em.”

28          351.   Based on my training and experience, I know “basketballs” are a term used by members

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 1 of the ENTERPRISE that mean methamphetamine packaged in 3.5 grams packages. I believe this call

 2 showed that PULIDO would give her friend a couple 3.5 gram packages of methamphetamine, and that

 3 PULIDO would get six of the same packages.

 4          352.   At 1:56 PM, members of the investigative team observed PULIDO exit the residence of

 5 1020 Evergreen Lane and entered the driver side of her vehicle. PULIDO departed the residence and

 6 was detained along with an uncharged passenger during a vehicle stop. PULIDO was identified by her

 7 California driver license while her vehicle and person were searched. Fresno County Sheriff’s Deputies

 8 located a clear bag containing a white crystalline substance under PULIDO’s left breast and recognized

 9 the substance to be methamphetamine based on their training and experience.

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25      FIGURE 7: PHOTOGRAPH OF WHITE CRYSTALLINE SUBSTANCE REMOVED FROM PULIDO'S PERSON.

26          353.   Based on all of the above, I believe SANCHEZ, FELISCIANO, BALBOA and

27 PULIDO, conspired to distribute and possess with intent to distribute a controlled substance, in

28 violation of 21 U.S.C. §§ 846, 841(a)(1).

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 1           B.      Count 2 - PINON Possesses and Distributes Methamphetamine

 2           354.    During April 15, 2025, a series of intercepted communications on (559) 931-4104 (TT1),

 3 used by Ray PINON 71, and (559) 301-6131 (TT 6131), used by an uncharged co-conspirator (UM49).

 4           355.    On April 15, 2025, at approximately 11:22 AM, the following phone call was made by

 5 PINON using (559) 931-4104 (TT1), to UM49, using (559) 301-6131 (TT 6131). After speaking about

 6 whether UM49 was going to sell PINON a rifle, UM49 asked PINON if when he gets off UM49 could

 7 get some “black t-shirts.” PINON told UM49, “Yes.” UM49 told PINON that he was not sure how

 8 many he would purchase, but he might get the “piece.” PINON told UM49 that sounded good, and the

 9 conversation ended.

10           356.    Based on my training, experience, and knowledge of this investigation, I believed the

11 uncharged co-conspirator was referring to black tar heroin when he referenced purchasing black t-shirts.

12 Based on my training and experience, I am aware that UM49 was possibly referring to a “Mexican

13 piece,” which based on my training and experience I know to be a term used in drug communities to

14 describe an ounce of heroin that weighs approximately 25 grams instead of 28 grams.

15           357.    On April 15, 2025, beginning at approximately 6:45 PM, PINON, using (559) 931-4104

16 (TT1), and UM49, using (559) 301-6131 (TT 6131), spoke about whether PINON could get the “white

17 shirts” down to “six.” PINON said no and offered to make a call, but UM49 said it was okay and that he

18 did not need it at that time. UM49 further said “I still got like . . . .” and the rest was unintelligible.

19 UM49 confirmed with PINON that if he obtained six “black shirts” it would only be “two fifty,” but if

20 he got 12 it would be 600, and it would cost more money. PINON asked, “How much did I tell you the

21 half was?” UM49 replied, “Six hundred.” PINON asked if it would be easier to get that. UM49 stated,

22 “two sixes,” which is two quarters is “five hundred,” and further stated that “[i]t’s a hundred dollars

23 cheaper.” PINON admitted those are the prices “they” gave him and that is what he goes off of. When

24 UM49 asked, “How much for a zip of the cris?” PINON said it would cost $120. UM49 then said he

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26           71
                 The investigative team learned via intelligence gathered from a Confidential Human Source (CHS-1) that
     PINON’s used the cell phone number (559) 931-4104. This was corroborated as multiple individual’s call PINON “risk”
27
     during intercepted calls on (559) 931-4104. “Risk” is one of the street monikers PINON is known by. Members of the
     investigative team have also intercepted PINON on (559) 931-4104 while simultaneously watching PINON talk on the
28
     phone via a pole camera installed near PINON’s residence. Therefore, I believe PINON is the user of (559) 301-6131.

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 1 would take one of those, but he is going to count the money and call back.

 2          358.   Based on my training and experience, I know that drug traffickers commonly use the

 3 term “crys” to refer to crystal methamphetamine. Therefore, I believe that UM49 asked PINON how

 4 much money it would cost him to purchase an ounce of crystal methamphetamine. Based on my training

 5 and experience I know a “zip” is a street drug terminology to describe an ounce. PINON told UM49 it

 6 would cost him $120, which is consistent with my knowledge of the price for an ounce of

 7 methamphetamine as of the writing of this warrant.

 8          359.   On April 15, 2025, at approximately 7:14 PM, PINON, using (559) 931-4104 (TT1),

 9 received a call from UM49, using (559) 301-6131 (TT 6131). During that call, UM49 told PINON he

10 did not need “ice cream” and would probably need it tomorrow, but if anything, he needed some “cris”

11 and some “black,” which as stated above I believe to mean crystal methamphetamine and black tar

12 heroin. After speaking again about selling PINON a rifle, UM49 then stated he wanted to come over

13 and get some "black shirts" and some "ice cream." PINON told UM49 they were acting weird on the ice

14 cream. PINON told UM49 he thought his drug source wanted more money for the "ice cream," which

15 he originally told UM49 would be $120. PINON told UM49 he would call him in about 40 minutes.

16          360.   Based on the context of the previous calls, as well as my training and experience, I

17 believe that UM49 was indicating during this call that he wanted to purchase black tar heroin and/or

18 methamphetamine.

19          361.   On April 15, 2025, at approximately 7:41 PM, PINON, using (559) 931-4104 (TT1),

20 called UM49, using (559) 301-6131 (TT 6131). During the call, PINON told UM49, “It's good to go”.

21 UM49 asked PINON, “the white and black”? PINON confirmed that UM49 wanted ice cream. PINON

22 told UM49 he could obtain six black t-shirts for “two something” and that it would cost $120 for the ice

23 cream. PINON told UM49 he would talk to UM49 when UM49 arrived at PINON’s house.

24          362.   The investigative team then established surveillance on PINON’s residence at 17271

25 Tornado Avenue, Huron, CA.

26          363.   At approximately 8:29 PM, the surveillance team observed a white truck approaching

27 PINON’s residence. An individual was subsequently observed exiting the truck and entering PINON’s

28 residence. The driver then came back out, briefly re-entered the truck, and then re-entered the residence.

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 1          364.    At approximately 8:54 PM, the driver again entered the truck, appeared to turn it on, and

 2 then left the vehicle again.

 3          365.    At approximately 9:06 PM, the driver again entered the driver’s seat and drove away

 4 from the residence. The investigative team maintained mobile surveillance on the vehicle as it began to

 5 depart the area and conducted a traffic stop on the vehicle at approximately 9:27 PM.

 6          366.    During a search of the vehicle, UM49 was contacted and identified. The team recovered

 7 two clear plastic bags containing approximately 30 grams of a white crystalline substance consistent

 8 with the appearance of methamphetamine on UM49’s person.

 9          367.    Additionally, during the stop, a team member observed the phone in UM49’s possession

10 while another team member called (559) 301-6131 (TT 6131). While the second team member was

11 calling that number, the first team member observed UM49’s phone begin to ring. I therefore believe

12 that UM49 is the user of (559) 301-6131 (TT 6131).

13          368.    Based on the calls set out above, as well as my knowledge of the investigation, I believe

14 PINON distributed methamphetamine to UM49 on April 15, 2025.

15          C.      Count 3 - VELAZQUEZ and PINON Distribute and Possess with Intent to

16          Distribute Methamphetamine

17          369.    On April 26, 2025, PINON coordinated with VELAZQUEZ and CHS-1 for

18 VELAZQUEZ to distribute narcotics to PINON, at which point PINON distributed those narcotics to

19 CHS-1.

20          370.    On April 26, 2025, the investigative team became aware that PINON conspired to

21 distribute a pound of methamphetamine from VELASQUEZ (supplier) to CHS-1. CHS-1 purchased

22 this methamphetamine at the direction of the investigative team.

23          371.    At 11:40 AM, PINON used (559) 931-4104 (TT 4104) to call CHS-1 on a phone number

24 they had previously provided to the investigative team. The following is a transcript of the call,

25 beginning at the 2:25 minute mark:

26       NAME                                            TRANSCRIPTION
                                               [BEGINNING of CONVERSATION]
27     PINON        Well, tell her that I – that I – that you have some – that they’re at a thousand.
28      CHS-1       Alright.
       PINON        Right now. But I need it right now. No – hey Tuesday, Monday, Wednesday. If she
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 1                   wan’t em right now, if not forget it.
        CHS-1        Ok.
 2      PINON        I don’t want to go through all that bullshit again. Like – oh, we got the money.
 3      CHS-1        [UI] Don’t give people time to adjust basically.
                     Ya – just fucking yes or no, and we got it – and the half for 500 and a full for a
        PINON
 4                   thousand – and um – the O.Z.s we could do em at 1 – 140 – 150. So…
        CHS-1        Ok.
 5      PINON        Ok.
 6      CHS-1        I’ll call you right back
                                                          [END of CALL]
 7          372.   In prior controlled purchases of narcotics between CHS-1 and PINON, the investigative

 8 team instructed CHS-1 to inform PINON that CHS-1 was brokering purchases of narcotics on behalf of

 9 a female rival gang member. Based on my training and experience, I know drug traffickers use vague or

10 innocuous language to communicate about narcotics in an attempt to thwart law enforcement’s ability to

11 arrest and prosecute them. I believe when PINON stated, “that you have some” and “they’re at a

12 thousand,” PINON actually stated that PINON had pounds of methamphetamine for sale at a thousand

13 dollars a pound. I also believe that when PINON stated, “half for 500 and a full one for a thousand” “the

14 O.Z.s we could do em at 1 – 140 – 150,” PINON actually communicated that PINON would sell a half

15 pound of methamphetamine for $500, a full pound of methamphetamine for $1,000, and ounces of

16 methamphetamine for between $140 and $150.

17          373.   Therefore, I believe PINON called CHS-1 to communicate that PINON had pounds of

18 methamphetamine for sale, and would sell them to CHS-1 connection for the aforementioned prices.

19          374.   At 11:43 AM, CHS-1 contacted members of the investigative team and related that

20 PINON had procured methamphetamine and had attempted to sell it to CHS-1. The investigative team

21 instructed CHS-1 to finalize the purchase with PINON and that the investigative team would provide

22 $1,000 to CHS-1 to purchase a pound of methamphetamine from PINON. CHS-1 agreed and related

23 CHS-1 would attempt to use PINON’s vehicle to act as a courier between PINON and the investigative

24 team.

25          375.   At 3:08 PM, CHS-1 called PINON on (559) 931-4104. The call turns to the

26 methamphetamine procurement 15 seconds into the call. The following is a transcript of the pertinent

27 portions of that call:

28                                            [BEGINNING of CONVERSATION]

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 1        CHS-1      Well, they’re ready.
          PINON      They’re ready?
 2        CHS-1      Yeah.
 3        PINON      To sell – I mean to buy one?
          CHS-1      Yeah.
 4                   Ok. [CHS-1], If I let you use my car, how fucking fast are you going to get over
          PINON
                     there and back?
 5        CHS-1      [UI] there and back.
 6        PINON      I need it there and back, and give me the money so I can get more.
                     [The conversation ended as CHS-1 reasured PINON CHS-1 would be quick with
            …
 7                   the transaction.]
                                                        [END of CALL]
 8          376. Based on my training and experience, I believe that when PINON stated, “to buy one”
 9 PINON was communicating “to buy a pound of methamphetamine.” Therefore, I believe CHS-1

10 communicated to PINON that CHS-1’s buyer was ready to purchase a pound of methamphetamine, and

11 that PINON would allow CHS-1 to utilize PINON’s vehicle to broker the transaction.

12           377.    At 3:40 PM, PINON used (559) 931-4104 to call Hemir VELASQUEZ 72 on (213) 795-
13 3500 (TT14). The call occurred almost entirely in Spanish and was translated by a Spanish-speaking

14 member of the investigative team. The following is a transcript of the pertinent portions of that call:

15        NAME    TRANSCRIPTION (SPANISH)                    TRANSCRIPTION (ENGLISH)
                      [BEGINNING OF CALL]                         [BEGINNING OF CALL]
16
      VELASQUEZ [English]                               ‘Sup?
17      PINON   [English]                               Hey.
      VELASQUEZ [English]                               What?
18                                                      If you want, bring me one and a half, if
                Si quieres traeme una y media si
                quieres. O si no traeme una y si no     you want. Or if not, bring me one, and if
19
                traeme una Y que vaije mi compa pa      not, bring me one, and my friend comes to
20      PINON   llevar se lo. Y ahorita en unos         take it to him. And in about forty-five
                cuarenta cinco minutos. Unos veinte     minutes about twenty there and twenty
21              pa ya y veinte para tras. Por que yo le back. Because I told him to I was just
                dije que yo no mas fuera de [UI].       going to be [UI].
22              este Bueno… aqui tengo una ya. Ya       Well, here I have one now. They already
                me trajieron uno. Le dije que me        brought me one. I told him they brought
23
      VELASQUEZ trajieron uno por que iban a tocar.     me one because they were going to touch.
24              Compar a subir ayi para ya pa pa por Going to buy to raise for over there in
                Visalia…                                Visalia.
25      PINON   [English]                               Oh, oh, okay.
                Fueron vender a Visalia y aqui me       They went to Visalia and they left me one
26    VELASQUEZ
                dejaron una.                            here.
27           72
                On May 20, 2025, members of the investigative team established physical surveillance on VELASQUEZ and
     called (213) 795-3500. Simultaneously, the investigative team observed VELASQUEZ answer his cell phone. Therefore, I
28
     believe VELASQUEZ is the user of (213) 795-3500.

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 1                     OK Que Ve… Ok si vendo esa. Que           Okay, what… Okay, if I sell that one.
         PINON
                       voy a tener aqui pa vender yo.            What am I going to have here to sell?
 2                     Si si te estoy diciendo te estoy
                                                                 Yes, yes, I am telling you- I am telling you
 3                     diciendo Que vende esa que vende esa
                                                                 to sell that one- to sell that one. And we
                       Y mandamos Traer otra, dos si
                                                                 will send to bring another one, two if you
 4                     quieres, otras tres, cuatro, cinco.
                                                                 want, another three, four, five. Like for
                       Como a tu ahorita le ocupas piezas
 5                                                               you right now- you need pieces whole, and
                       enteras, ya como a tu si quieres has tu
      VELASQUEZ                                                  how you want- if you want, do your little
                       pasito en media te dejo media por que
 6                                                               steps in half, I’ll leave you half, because in
                       en el city ocupo sacar piezas enteras
                                                                 the city I need to take out whole pieces for
 7                     a la neta. Ok ocupas juntar hortita la
                                                                 reals. Okay, you need to gather right now
                       “unintelligible” ocupo vajar por,
                                                                 [UI] I need to take down, they need to take
 8                     ocapan vajar manana por por mas
                                                                 down tomorrow for more then and…
                       pues y
 9                     Pos te te dijo, que por que no
                                                                 Well, I told you, why did you not send for
         PINON         mandaste con pa trajer unos dos
10                                                               more, or to bring two right now?
                       horita
11    VELASQUEZ        Por que que asi um como asi.              Because like that, um, like that.
                       Por que ira voy a vender uno horita
                                                                 Because right now I’m going to sell one
12                     and then mi compa mi otro compa que
                                                                 and then my homie, my other homie, that
                       esta alla en pinche Hawaii, Va querer
13       PINON                                                   is in fuckin’ Hawaii, is going to want half.
                       una media. And then Uno dos, tres
                                                                 And then two, three here, that are going to
                       aqui, que van a querer unas otras
14                                                               want some here [UI]
                       aqui [UI]
15                     ok Horita vende ese Y horita, Horita      Okay, right now, sell that one and right
      VELASQUEZ
                       que trigan                                now, right now they will bring.
16      PINON          So So lo lo no se.                        So- So- I- I- I don’t know.
      VELASQUEZ        Hay te veo pa ya                          I’ll see you over there.
17
        PINON          [English]                                 Okay.
18                          [END OF CONVERSATION                       [END OF CONVERSATION]
19          378.   Based on the context of the previous calls set out above, as well as subsequent events set
20 out in further detail below, I believe that when PINON spoke with VELASQUEZ about “one and a

21 half,” he was speaking about a pound and a half of methamphetamine. Additionally, I therefore also

22 believe that when the parties spoke about single numbers (e.g. “three, four, five”) they were actually

23 speaking about pounds of methamphetamine.

24          379.   Therefore, I believe that PINON began the conversation by asking if VELASQUEZ
25 could bring him a pound and a half of methamphetamine, and if not, VELASQUEZ could just bring

26 “one.” When VELASQUEZ indicated that he only had “one,” PINON then asked what he would have

27 left to sell if he immediately sold the “one” that VELASQUEZ brought, and VELASQUEZ indicated

28 that he would bring more pounds of methamphetamine for PINON to sell later. PINON later confirmed

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 1 that he had multiple other individuals that were going to want to buy pounds of methamphetamine from

 2 him. The parties then ended the call with VELASQUEZ indicating that he would “see [PINON] over

 3 there.” Based on prior calls, as well as subsequent events, I believe PINON intended to obtain this

 4 pound of methamphetamine from VELASQUEZ to sell to CHS-1.

 5           380.     CHS-1 then travelled 73 to PINON’s residence at 17271 Tornado Avenue, Huron, CA,

 6 met with PINON in the driveway, and then entered the residence with PINON. The investigative team

 7 was able to view CHS-1’s arrival at the residence on the pole camera installed in the vicinity. At

 8 approximately 3:46 PM, a Hispanic male subject, not known to CHS-1, arrived at PINON’s residence

 9 and entered the garage. CHS-1 later informed the investigative team that CHS-1 and PINON met this

10 Hispanic male in the garage, where the Hispanic male gave PINON a clear plastic bag; PINON

11 immediately handed the bag to CHS-1. CHS-1 then entered PINON’s white Honda Accord and departed

12 the area with the bag; the unidentified male left the area approximately two minutes later, at 3:50 PM.

13 Based on the prior calls, I believe the Hispanic male that supplied PINON with the clear plastic bag was

14 in fact VELASQUEZ.

15           381.     Members of the surveillance team followed CHS-1 to a pre-planned meeting location.

16 CHS-1 and PINON’s white Honda were searched; no contraband was located other than the clear plastic

17 bag previously handed to CHS-1 by PINON. The investigative team located approximately one pound

18 of a clear white crystalline substance consistent with the appearance of methamphetamine inside of the

19 bag. CHS-1 was then given $1,000 in buy funds, returned to PINON’s residence, and gave the money to

20 PINON.

21           382.     Based on all of the above, I believe PINON and VELASQUEZ, conspired to distribute

22 and possess with intent to distribute a controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1).

23           D.       Count 4 – GUILLEN Conspires to Traffic in Firearms and Count 5 – VIERA

24           Possesses a Firearm as a Felon

25           383.     On May 9, 2025, the investigative team became aware that GUILLEN conspired to

26

27           73
                Because CHS-1 did not have a working vehicle, the investigative team was not able to meet with CHS-1 prior to
     CHS-1’s meeting with PINON due to PINON’s extensive network of individuals who inform him of strange or out-of-the-
28
     ordinary activity in Huron, CA.

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 1 broker the purchase of a firearm between an uncharged individual (UCC4) and VIERA JR.

 2           384.     At 12:38 PM, GUILLEN used (559) 508-6409 (TT9) to call an uncharged individual

 3 (UCC4) using (559) 934-9745 (TT 9745). The following is a transcript of the pertinent portions of the

 4 call:

 5                                                       [BEGINNING of CONVERSATION]
                  GUILLEN       Hey.
 6                   UCC4       Hello?
 7                GUILLEN       Hey you hear me?
                     UCC4       Yeah
 8                GUILLEN       Hey – they just sent me a picture of a 43X like yours.
                     UCC4       A what?
 9                GUILLEN       They sent me a 43X right now [UI]
10                   UCC4       How much?
                  GUILLEN       For 9.
11                   UCC4       Where at?
                  GUILLEN       In Fresno. They just told me to come grab it if you want it.
12                   UCC4       Tell them I’m going right now.
13                GUILLEN       Alright. Let me get the address real quick.
                     UCC4       Alright then. Call me.
14                GUILLEN       Alright look at the picture then.
                     UCC4       Alright then.
15                GUILLEN       Alright.
                                                                  [END of CALL]
16

17           385.     Based on my training and experience, I know a “43X” is a Glock pistol. I believe when
18 GUILLEN stated, “for 9” he communicated the price was $900. Therefore, I believe GUILLEN

19 communicated to the uncharged individual, that GUILLEN was contacted by an unknown individual

20 regarding the sale of a Glock 43X pistol. GUILLEN acted as a broker during this call and relayed the

21 seller was asking $900 for the pistol. The uncharged individual expressed interest in the firearm, and

22 GUILLEN related he would obtain the address for the transaction.

23           386.     At 1:20 PM, GUILLEN used (559) 508-6409 (TT9) to call an unknown male (UM333)
24 on (559) 420-3927 74 (TT 3927). The following is a transcript of that call:

25                                                       [BEGINNING of CONVERSATION]
                    UM333 What happened?
26                GUILLEN Hey, you hear me?
27
             74
                 Although the investigative team suspects VIERA JR. is the user of (559) 420-3927, there are not enough
28
     articulable facts to confirm this suspicion. Therefore, the user of (559) 420-3927 is herein referenced as UM333.

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 1               UM333 Yeah.
                         Fuck dog, do you think the homie would take um – you think the homie would
 2            GUILLEN
                         fucking take um – CashApp?
 3               UM333 I – I think he – I could ask him why?
                         Cuz Dog, the fucking homie is fucking – Dog he left Fresno dog – but his girls
              GUILLEN
 4                       out there and he could CashApp his girl and she’ll pick it up.
                 UM333 Alright for sure. Let me see right now.
 5                       [The call ended as GUILLEN expressed his frustration with “the homie” for
                    …
                         doing the transaction in this manner.]
 6
                                                         [END of CALL]
 7          387. Based on my training and experience, I know the term “homie” to mean a fellow gang

 8 member. I also know “CashApp” to be a money sending/receiving application. I know “his girl” to

 9 mean girlfriend or wife. Therefore, based on the fact that GUILLEN called UM333 shortly after

10 speaking with the uncharged individual, I believe UM333 is acting on behalf of the seller for this firearm

11 transaction. I therefore believe GUILLEN called UM333 to ask if the seller of the firearm would accept

12 a CashApp payment for a firearm. GUILLEN indicated that “the fucking homie,” who I believe to be

13 the uncharged individual, had just left Fresno, but could send his paramour to pick up the firearm should

14 the seller agree to accept CashApp as a form of payment.

15          388.   At 1:24 PM, GUILLEN used (559) 508-6409 (TT9) to call the uncharged individual on

16 (559) 934-9745 (TT 9745). During this call, GUILLEN and the uncharged individual discuss other

17 firearms available for purchase within the ENTERPRISE, as well as the “G43X” that the uncharged

18 individual is inclined to purchase. GUILLEN told the uncharged individual, that “he said that you guys

19 could CashApp the money” and “how far is your girl from that address right now?” GUILLEN then

20 clarified, “835 W. Ashlan Avenue.” the uncharged individual related it was unlikely his girlfriend could

21 make it before the seller had to leave the residence at 1:40 PM, due to the fact that the uncharged

22 individual had to deposit the cash he had on hand in order to transfer any money on CashApp.

23 GUILLEN related he would just “tell him [seller] it’s not going to be CashApp – it’s going to be cash”

24 and that the transaction would take place in a few hours. Both GUILLEN and the uncharged individual

25 agreed and the call ended shortly thereafter. During this call, I believe that GUILLEN was utilizing a

26 second phone to communicate with the seller of the firearm. This observation is based on the fact that

27 GUILLEN was heard during this call reading text messages aloud and sending text messages to the
                   nd
28 seller while a 2 phone could be heard periodically making notification sounds that indicated incoming

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 1 messages were being received. This belief was corroborated when the investigative team observed (559)

 2 508-6409 (TT9) had a lack of transactional data during this call. This search of transactional data was

 3 conducted via a Pen Register Trap and Trace device which was installed on (559) 508-6409 (TT9)

 4 pursuant to a court order.

 5          389.     Based on my training and experience and the context from the prior calls, I believe

 6 GUILLEN originally planned to have the uncharged individual send his girlfriend to pick up the firearm

 7 from 835 W. Ashlan Avenue in the City of Fresno, while the uncharged individual sent the money via

 8 CashApp. This plan was not completed, and therefore had to be modified to accommodate the purchase

 9 of the firearm.

10          390.     At 2:46 PM, GUILLEN used (559) 508-6409 (TT9) to call an unknown male (UM333)

11 on (559) 420-3927 (TT 3927). The following is a transcript of that call:

12                                                [BEGINNING OF CONVERSATION]
                UM333        Hello?
13            GUILLEN        Hey, send me the address.
14              UM333        I’m at my house.
              GUILLEN        Huh?
15              UM333        My house.
              GUILLEN        Well send me the address.
16              UM333        Alright.
17            GUILLEN        Alright
                                                               [END of CALL]
18          391.     Based on the context of this call, as well as subsequent events, I believe GUILLEN

19 contacted UM333 after speaking with the uncharged individual to obtain UM333’s location so that

20 GUILLEN could in turn relay that information to the uncharged individual to complete the firearm

21 transaction. Though no data was intercepted by the investigative team on TT9, based on my training and

22 experience, I know it is very common for firearms traffickers to communicate with each other using

23 means other than their cellular phones, and therefore believe that this is what happened here.At 4:17

24 PM, the uncharged individual used (559) 934-9745 (TT 9745) to call GUILLEN on (559) 508-6409

25 (TT9). During this short call, the uncharged individual advised he was 20 minutes away. GUILLEN

26 asked the uncharged individual to inform GUILLEN when the uncharged individual was 10 minutes

27 away.

28          392.     I believe the uncharged individual called GUILLEN to inform GUILLEN of the

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 1 uncharged individuals estimated time of arrival, due the fact that GUILLEN would relay this

 2 information to the seller of the firearm. This is significant due to the fact that this call showed that

 3 GUILLEN brokered this firearm transaction.

 4          393.    Immediately following this call, GUILLEN used (559) 508-6409 (TT9) to call an

 5 unknown male (UM333) on (559) 420-3927 (TT 3927). During this call GUILLEN told UM333 that,

 6 “he’s 20 minutes away.” Based on the context of the prior call, I believe GUILLEN relayed the

 7 uncharged individual’s current location to facilitate the firearm transaction.

 8          394.    At 4:38 PM, GUILLEN used (559) 508-6409 (TT9) to call the uncharged individual on

 9 (559) 934-9745 (TT 9745). During this call, the uncharged individual related he was arriving at the

10 seller’s location. GUILLEN related he would notify the seller, who GUILLEN identified as “the

11 homie from 5th Street,” to come outside.

12          395.    I know based on my training and experience that “homie” is a term for a fellow gang

13 member, while “5th street” is the Vario Fifth Street Bulldog criminal street gang within the City of

14 Fresno. Additionally, I know that the word “homie” is generally used when referring to members of

15 one’s own gang, and I therefore believe it unlikely that GUILLEN would use this word with someone

16 who is not also a Bulldog gang member, as he is at the very least referring to UM333 as a Bulldog gang

17 member. However, the fact that GUILLEN said “the homie from 5th Street” is more significant, as it

18 implies that GUILLEN knows that the uncharged individual is aware that the phrase “5th Street” in a

19 Bulldog gang clique context refers to the 5th Street Bulldog criminal street gang clique. In other words, I

20 believe GUILLEN is effectively identifying UM333 as a member of the 5th Street Bulldog criminal

21 street gang clique and expecting the uncharged individual to understand this fact, which would be

22 unlikely if the uncharged individual were not also a Bulldog gang member. Therefore, I believe that this

23 conversation indicates not only that GUILLEN and UM333 are Bulldog gang members, but that the

24 uncharged individual is also a Bulldog gang member and that GUILLEN is aware of this fact.

25 Therefore, I believe this call showed that the uncharged individual had arrived at the seller’s location,

26 and that GUILLEN would contact this fellow gang member to coordinate the sale of the firearm.

27          396.    In May of 2020, GUILLEN was arrested for a violation of California Penal Code section

28 30305(b)(1) – A misdemeanor count of possessing ammunition as a member of a criminal street gang,

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 1 and California Penal Code section 25850(c)(3) – A felony count of possessing a firearm as a member of

 2 a criminal street gang. GUILLEN, because of this arrest, is aware that it is a Felony in the State of

 3 California to possess a firearm as a member of a criminal street gang.

 4          397.       Therefore, I believe GUILLEN not only knew that this firearm transaction was illegal

 5 due to it circumventing the requirements set out in California Penal Code section 27545, but it was also

 6 a Felony based solely on the fact that GUILLEN was coordinating the purchase of a firearm from

 7 Bulldog criminal street gang members, who are prohibited from possessing a firearm per California

 8 Penal Code section 25850(c)(3), as GUILLEN was arrested for this violation in the year 2020.

 9          398.       At 4:43 PM, GUILLEN used (559) 508-6409 (TT9) to call the uncharged individual on

10 (559) 934-9745 (TT 9745). During this call, the uncharged individual asked if the seller was wearing a

11 white T-shirt. GUILLEN related he wasn’t sure, but the seller was named, “the homie Herm” and that

12 those in his company were “the homies from 5th.”

13          399.       Based on my training and experience, I know “Herm” from “5th street” to be Herman

14 VIERA JR.

15          400.       Members of the investigative team established physical surveillance at 4362 E. Ball

16 Avenue, the address of record for Herman VIERA JR. and watched as the uncharged individual arrived

17 in a black Toyota sedan at 4:43 PM. Simultaneously, members of the investigative team observed

18 VIERA JR 75 exit the residence wearing a white tank top and carried an object to the uncharged

19 individual who remained in his vehicle. The uncharged individual then left VIERA JR.’s residence.

20          401.       At 4:46 PM, UM333 used (559) 420-3927 (TT 3927) to call GUILLEN on (559) 508-

21 6409 (TT9). The following is a transcript of the pertinent portions of that call:

22                                                       [BEGINNING of CONVERSATION]
          GUILLEN                Yeah.
23         UM333                 He got it.
24        GUILLEN                Alright then, thank you.
           UM333                 Yup.
25                               [UI] appreciate it – um – I’ll let you know what comes up over here from our
          GUILLEN
                                 side alright.
26         UM333                 Yup it’s good, tap in.
27        GUILLEN                Alright then, send my love, thank you.

28          75
                 VIERA JR. was positively identified by his prior booking photograph.

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 1          UM333               I send mine too.
                                                              [END of CALL]
 2          402.       Based on my training and experience, and the context gathered from the prior call, I
 3 believe UM333 confirmed that the sale of the firearm between VIERA JR. and the uncharged

 4 individual had been completed.

 5          403.       At 4:53 PM, members of the investigative team observed the uncharged individual arrive
 6 at the “Dollar General” parking lot located at 1520 N. First Street, Fresno, CA. The uncharged

 7 individual met with an unknown individual who appeared to give the uncharged individual a box

 8 containing a chain necklace.

 9          404.       At 5:20 PM, members of the investigative team located the uncharged individual and
10 detained him during a vehicle stop and determined the uncharged individual was the sole occupant of the

11 vehicle. The uncharged individual was identified by his California driver license. A probable cause

12 search of the passenger compartment of the uncharged individual’s vehicle revealed a Glock Model 43X

13 firearm was stored under the driver’s seat of the vehicle. The firearm was serialized and found to be

14 recently stolen in March of 2025 76. The uncharged individual was arrested and advised of his rights

15 pursuant to the Miranda decision. The uncharged individual waived his right to silence and counsel and

16 provided a statement. The uncharged individual related he obtained the firearm from his aunt who he

17 identified. The uncharged individual advised he could not remember his aunt’s birthday, her phone

18 number or her address nor would that information be on his cellphone. The uncharged individual further

19 advised his aunt got the Glock pistol from the uncharged individual’s grandfather, upon him passing

20 away in 2023. The uncharged individual was asked multiple follow-up questions regarding the source

21 of the firearm, to which he eventually stated, “[he] just wanted to get this over with.” The uncharged

22 individual was subsequently booked into the Fresno County Jail.

23          405.       On June 12, 2025, Special Agent Kristin Loeffler utilized the specialized training she
24 received from the Bureau of Alcohol, Tobacco, Firearms, and Explosives in the origin and manufacture

25 of firearms to examine a picture of the firearm and confirmed with me that the firearm had been

26 manufactured outside the state of California.

27

28          76
                 Fresno Police Department Case #2503130758.

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 1           406.       Based on all of the above, I believe GUILLEN brokered the purchase of a firearm

 2 between the uncharged individual and VIERA JR, knowing that it would be a felony for the uncharged

 3 individual to use, carry, or possess that firearm under the laws of the State of California, in violation of

 4 18 U.S.C. § 933(a)(1), and that VIERA JR, a convicted felon, knowingly possessed and distributed a

 5 firearm in violation of 18 U.S.C. § 922(g)(1).

 6           E.         Count 6 – LICEA, AYALA, VASQUEZ, and FORNES Conspire to Deal in

 7           Firearms without a License and Count 7 - VASQUEZ and FORNES Conspire to Traffic in

 8           Firearms

 9           407.       On May 11, 2025, at approximately 6:59 PM, the investigative team intercepted a call

10 between VASQUEZ on (559) 895-2027 77 (TT10) and Brian FORNES (FORNES) on (559) 742-

11 9396 78 (TT23).

12           408.       During the call, VASQUEZ spoke to FORNES about picking up a “chop” in the “C” by

13 the “airport.” I know from conducting and working on multiple gang investigations that “chop” is a

14 commonly used slang term by gang members to describe fully automatic firearms, specifically fully

15 automatic rifles. I also know from working this wire investigation that “C” is a shortened version for the

16 town of Coalinga in California. From the call it appears VASQUEZ is requesting FORNES to go with

17 him to acquire an automatic firearm by the airport in Coalinga. The call then drops.

18           409.       Several seconds later VASQUEZ on (559) 895-2027 (TT10) calls FORNES on (559)

19 742-9396 (TT23) and VASQUEZ confirms he would like FORNES to pick him up so he can pick up a

20 “chop” by the “airport” where “the helicopters land” out in the “C.” FORNES agrees to assist

21 VASQUEZ and tells him that his won’t be ready to go until around 7:30.

22           410.       On May 11, 2025, a surveillance team was set in Huron, CA to follow VASQUEZ and

23 FORNES to observe them obtaining a firearm. At 7:40 PM the surveillance team positively identified

24 VASQUEZ and FORNES at a Chevron gas station located at 36700 Lassen Ave, Huron, CA. The two

25
             77
                  On March 13, 2025, members of the investigative team established physical surveillance on VASQUEZ while
26 calling (559) 895-2027 (TT10). Simultaneously, the investigative team observed VASQUEZ answer his cell phone.
     Therefore, I believe VASQUEZ is the user of (559) 895-2027 (TT10).
27           78
               On May 11, 2025, members of the investigative team detained FORNES at the termination of a vehicle pursuit.
     FORNES provided (559) 742-9396 as the phone number to his cell phone. Therefore, I believe FORNES is the user of
28
     (559) 742-9396.

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 1 were observed in a 2019 Hyundai Elantra, Ohio license plate number KCF5947. The surveillance team

 2 observed FORNES get into the driver’s seat and VASQUEZ into the front passenger seat. The Hyundai

 3 then drove out of the Chevron parking lot and traveled South on Lassen Ave. Surveillance followed the

 4 Hyundai out of Huron and towards Coalinga.

 5           411.     On May 11, 2025, at approximately 7:43 PM, the investigative team intercepted a call

 6 between VASQUEZ on (559) 895-2027 (TT10) and Jose LICEA (J. LICEA) on 559-410-2221 79 (TT

 7 2221). J. LICEA told VASQUEZ “that fool” was waiting and told VASQUEZ to “bang that shit.”

 8 Approximately 10 minutes after this call at 7:53 PM VASQUEZ on (559) 895-2027 (TT10) placed a

 9 call to J. LICEA on TT26. VASQUEZ confirmed with J. LICEA that his was supposed to “grab it and

10 hand this one off?” J. LICEA agreed and told VASQUEZ to hand off “the box.” J. LICEA asks if

11 VASQUEZ saw the contact and that the contact should be under the bridge. VASQUEZ confirmed that

12 he saw a car pulled over under the bridge. J. LICEA told VASQUEZ to go to that car and tell them that

13 VASQUEZ was with him. The surveillance team at this time observed the Hyundai travel to an offroad

14 area underneath Interstate 5 (I5) near South El Dorado Avenue and a dirt extension of Phelps Ave. A

15 few minutes later, VASQUEZ on (559) 895-2027 (TT10) received a call from J. LICEA on 559-410-

16 2221 (TT 2221). J. LICEA told VASQUEZ “don’t hand it until you pop it” and “don’t hand it until you

17 see that it works.” VASQUEZ confirmed with J. LICEA that he wanted him to “load it and shoot it?”

18 J. LICEA responded positively and told VASQUEZ to ask for “Servando.” At approximately 8:09 PM

19 VASQUEZ on (559) 895-2027 (TT10) called J. LICEA on 559-410-2221 (TT 2221). VASQUEZ said

20 that the “fool” put one round in the “AR” right in front of him and shot towards the office. VASQUEZ

21 told J. LICEA that the AR “smacks.” VASQUEZ then told J. LICEA that he was on his way back into

22 town and they agreed to meet up once VASQUEZ was back in town. The surveillance team was able to

23 observe the vehicle that met with VASQUEZ, it had a California license plate 8ZBG048 and was

24 registered to Servando AYALA, date of birth December 21, 1994, address 389 Jefferson St, Coalinga,

25
             79
                559-410-2221 (TT 2221) is subscribed to “Jose Licea.” Members of the investigative team have intercepted calls
26
     in which the user of 559-410-2221 is called, “T-Bird.” Based on my knowledge of the investigation, I know that “T-Bird” is
     the moniker used by Jose LICEA. On May 4, 2025, J. LICEA was detained in a vehicle stop by the investigative team. I
27
     searched the historical precision location data associated with 559-410-2221 (TT 2221) and found 559-410-2221 (TT 2221)’s
     location data covered the location at which J. LICEA had been physically detained at the time. Therefore, I believe J.
28
     LICEA is the user of 559-410-2221 (TT 2221).

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 1 CA.

 2           412.    Based on the above conversation, J. LICEA appears to have orchestrated a firearms trade

 3 or purchase between the seller “Servando,” and the buyers VASQUEZ and FORNES. This is apparent

 4 due to the fact that J. LICEA seems to be giving step-by-step instructions to VASQUEZ on who

 5 VASQUEZ is meeting, where the meeting is to take place, how to exchange the firearms, and how to

 6 test the firearms. When J. LICEA tells VASQUEZ to “bang that shit” and “don’t hand it until you see

 7 that it works,” I believe J. LICEA is telling VASQUEZ to ensure that the firearm worked and was fully

 8 functional before he completed the trade. This was confirmed with VASQUEZ asks J. LICEA if he

 9 wants him to “load it and shoot it?” From the conversations above it appeared VASQUEZ did have the

10 firearm tested when he told J. LICEA “that the “fool” put one round in the “AR” right in front of him

11 and shot towards the office. I know that AR is a common acronym for a an Armalite Rifle or Assault

12 Rifle, in both instances it refers to a rifle. The person who was selling the firearm to VASQUEZ appears

13 for have loaded the rifle and fired it in the direction of an office. The surveillance team in the area who

14 were following VASQUEZ at the time reported hearing gunshots coming from the direction where

15 VASQUEZ and “Servando” were parked. It should be noted that the surveillance personnel were not

16 close enough to determine who was firing the weapon.

17           413.    The investigative team searched the Pen Register Trap and Trace records installed on

18 559-410-2221 (TT 2221) and found that on May 11, 2025, between 3:26 PM and 7:37 PM, J. LICEA

19 received 11 calls on 559-410-2221 (TT 2221) from the phone number (559) 403-3241 80 (TT 3241). T-

20 Mobile was subpoenaed for (559) 403-3241 (TT 3241) and returned subscriber information for

21 Servando AYALA with residential address of 389 Jefferson St, Coalinga, CA. With the call timing for

22 J. LICEA on 559-410-2221 (TT 2221) to (559) 403-3241 (TT 3241) matching with J. LICEA on 559-

23 410-2221 (TT 2221) calling VASQUEZ on (559) 895-2027 (TT10), I believe that Servando AYALA

24 was the “Servando” involved in the illegal firearms transfer described above.

25           414.    After the firearms transfer was completed, VASQUEZ with FORNES in the Hyundai

26
             80
                 I entered (559) 403-3241 into CashApp, a commonly used money sending mobile phone application, which
27
     indicated that (559) 961-6401 was associated with the account name “servando ayala” and the account handle
     “$9nty4kidd559.” Furthermore, AYALA is listed as the subscriber of (559) 403-3241. Therefore, I believe AYALA is the
28
     user of (559) 403-3241.

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 1 started to drive towards Huron. They called J. LICEA and asked where he was located. I believe they

 2 were bringing the firearm they had just acquired from AYALA to J. LICEA, which is why J. LICEA

 3 was coordinating the transfer of the firearm. As they arrived in Huron a traffic stop was conducted by

 4 the Fresno County Sheriff’s Office. The Hyundai, being driven by FORNES, failed to yield and a

 5 vehicle pursuit was initiated. During the pursuit VASQUEZ on (559) 895-2027 (TT10) called J.

 6 LICEA on 559-410-2221 (TT 2221) at 8:21 PM and VASQUEZ said he “lost the chop.” VASQUEZ

 7 appeared to be short of breath and sounded like he could be running. VASQUEZ then told J. LICEA

 8 “they caught me.” At approximately 8:34 PM the Fresno County Sheriff’s Office notified the

 9 surveillance personnel that two subjects were apprehended from the pursuit of the Hyundai, the two

10 subjects were VASQUEZ and FORNES. During a subsequent search of the area a rifle was located.

11 The rifle appeared to have been thrown by one of the occupants of the Hyundai.

12          415.   A Bureau of Alcohol, Tobacco, Firearms, and Explosives Special Agent utilized their

13 specialized training in the origin and manufacture of firearms to examine a picture of the firearm and

14 confirmed with me that the firearm had been manufactured outside the state of California.

15          416.   When I reviewed VASQUEZ’s criminal history, I observed that he has several previous

16 felony arrests in 2019 and 2021, both for carrying a loaded firearm. When I reviewed FORNES’

17 criminal history, I observed that he was arrested in 2019 for carrying a loaded firearm as a gang

18 member. When I reviewed AYALA’s criminal history, I observed that 2012, AYALA had a Felony

19 conviction for selling controlled substances. I therefore believe that both VASQUEZ and FORNES

20 were aware that if they possessed the rifle described above, they could be arrested for felony offenses

21 under the laws of the state of California.

22          417.   Members of the investigative team found that on October 4, 2023, Coalinga Police

23 Department (COPD) was dispatched to an assault with a firearm. COPD Officers contacted the victim

24 and found that Servando AYALA pointed a firearm at the victim. On October 12, 2023, COPD Officers

25 arrested AYALA, and searched his residence pursuant to a search warrant. COPD Officers located and

26 seized multiple illegal firearms and ammunition during this search. COPD Case #23-2043 was filed by

27 the Fresno County District Attorney’s Office for multiple charges. Ultimately, the charges were reduced

28 and AYALA was convicted of a misdemeanor charge of Penal Code 30605(a) – possession of an assault

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 1 weapon.

 2           418.        Based on the fact that AYALA is a Felon and has recently had all of his illegal firearms

 3 and firearm’s accessories removed from his residence by law enforcement, I believe AYALA is not

 4 simply selling firearms personally owned by him. I believe AYALA procured additional firearms after

 5 this seizure by Coalinga Police Department and was intentionally circumventing the requirements set

 6 out in California Penal Code section 27545 81 during the aforementioned sale of firearms to FORNES

 7 and VASQUEZ. Furthermore, these beliefs are further corroborated by the fact that AYALA was

 8 observed advertising the capabilities of these firearms in violation of California Penal Code sections

 9 25850 82 and 246.3 83.

10           419.        Therefore, I believe that VASQUEZ and FORNES conspired and attempted to obtain a

11 firearm, the possession of which was a felony under the laws of the state of California, a violation of 18

12 U.S.C. § 933 (a)(1) and (a)(3). I also believe that J. LICEA knowingly conspired with AYALA to

13 illegally purchase a firearm, and that AYALA did in fact engage in the business of dealing in firearms

14 with VASQUEZ and FORNES, in violation of 18 U.S.C. § 371 and 922(a)(1)(A).

15           F.          Count 8 – QUESADA Illegally Possessed and Distributed a Firearm.

16           420.        On May 31, 2025, Jesus QUESADA, a convicted felon, illegally possessed and

17 distributed a firearm to O.A.A., an uncharged individual.

18           421.        On May 31, 2025, between approximately 5:54 PM and 6:29 PM, Jesus QUESADA, 84

19 using (559) 796-3656 (TT27) and an uncharged individual (O.A.A.), 85 using (559) 309-2506 (TT 2506),

20 exchanged the following text messages:

21
             81
                  Failure to use a licensed firearms dealer for a private party transfer.
22
             82
                  Carrying a loaded firearm in public.
23           83
                  Discharging a firearm in public in a grossly negligent manner.
24            84
                 On May 25, 2025, at approximately 3:14 PM, members of the investigative team conducting surveillance
     observed a male entering a vehicle and positively identified the male as Jesus QUESADA based on comparison to a known
25   California Department of Motor Vehicles photograph of Jesus QUESADA. Members of the investigative team followed
     QUESADA and observed that the approximate location of (559) 796-3656 (TT27)was the same as
26   QUESADA. Additionally, (559) 796-3656 (TT27) is subscribed to Jesus Quesada. I therefore believe that the user of (559)
     796-3656 (TT27) is QUESADA.
27           85
                As is set out below, during a traffic stop later that day on a vehicle driven by O.A.A., a phone in O.A.A.’
     possession began to ring when a member of the investigative team called (559) 309-2506 (TT 2506). I therefore believe that
28
     O.A.A. is the user of (559) 309-2506 (TT 2506).

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 1          O.A.A.     Can we use your piece
            O.A.A.     ?
 2          O.A.A.     If not it’s cool lmk cuz ima be in Lemoore rq
 3       QUESADA       Of course you can
         QUESADA       I’ll be home in 5 minutes
 4          O.A.A.     Ok
            O.A.A.     Ok
 5          O.A.A.     Close can u come out with it I got to still get my bros lol
 6                     Ok
         QUESADA
 7          422.   Based on my training and experience, I know that the word “piece” is commonly used in

 8 criminal street gang culture to refer to a firearm. I also know that the acronym “R.Q.” is used in popular

 9 culture to refer to the phrase “right quick.”

10          423.   Therefore, I believe that in this text message exchange, O.A.A. was asking QUESADA if

11 O.A.A. could use QUESADA’s firearm, and I believe QUESADA agreed to allow him to do so. I

12 believe that O.A.A. then asked QUESADA to come outside when O.A.A. was close to QUESADA’s

13 residence.

14          424.   After the initial text messages sent and received in this thread, the investigative team had

15 established surveillance on 640 Kimball Lane, Hanford, CA, a property QUESADA owns and which is

16 registered to him with the California Department of Motor Vehicles. At approximately 6:31 PM, a red

17 Chevy SUV was seen pulling up the address. The surveillance team observed QUESADA walk up to

18 the vehicle from the residence and then return to the residence.

19          425.   The surveillance team then followed the red SUV and coordinated a traffic stop on the

20 vehicle several minutes later. A Glock 19, serial number BGZD037, chambered in 9 millimeter, was

21 located in the vehicle and O.A.A. was arrested and booked into the Kings County Jail. The following is

22 a picture of the firearm:

23 ///

24 ///

25 ///

26 ///

27 ///

28 ///

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24          426.   During the stop, a team member called (559) 309-2506 (TT 2506), and watched as the

25 phone which had been in O.A.A.’ possession began to ring. I therefore believe that O.A.A. is the user of

26 (559) 309-2506 (TT 2506).

27          427.   A Special Agent with ATF utilized their specialized training in the origin and

28 manufacture of firearms to examine a picture of the firearm and confirmed with me that the firearm had

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 1 been manufactured outside the state of California.

 2            428.     Later that evening, at approximately 8:19 PM, an unidentified male (UM597), using

 3 (559) 796-5389 (TT 5389) called QUESADA, using (559) 796-3656 (TT27). QUESADA began the

 4 conversation by asking, “Are you guys okay?” UM597 asked if QUESADA had given “Adrian” 86

 5 something, to which QUESADA responded, “He asked me for something.” UM597 responded, “Well,

 6 he got fuckin’ pulled over and now he’s booked.” When UM597 and QUESADA continued to discuss

 7 the situation, QUESADA eventually said that “that shit was extra. You know what I’m talkin’ about?”

 8 UM597 indicated that he did. The parties then discussed how they believed O.A.A. had lied to them

 9 about the circumstances surrounding the matter, after which QUESADA said, “Well, that’s what he told

10 me. He said, ‘I’m in Lemoore, tio. Um, can I hold something?’ And I said, ‘Yes.’ Fuck. I don’t give a

11 fuck about the toy, but-” The parties then briefly spoke over each other, after which QUESADA said,

12 “The thing is- it’s, um, extra. And that’s not good.” UM597 then asked if QUESADA thought that

13 O.A.A. would be questioned, and QUESADA responded that he did not know but had “wiped it” before

14 he gave “it” to O.A.A.. UM597 then clarified that he wanted to know if O.A.A. had “got one” or was

15 “hiding it” and QUESADA responded, “No, no, no. He asked me. Because- remember, you text[ed]

16 me? [UM 597: “Yeah.”] And- and then I thought you guys were all goin’ together. And [UI] I even said

17 too, ‘Are you sure? Because you don’t got no tags or none o’ that shit.” At that point, UM597 indicated

18 that he just wanted to let QUESADA know and QUESADA responded, “Ok, I’m gonna- yeah, I gotta

19 put something- some stuff away.” The parties then spoke about how O.A.A. was in “Kings.”

20            429.     Based on my training and experience, I know that gang members and firearms traffickers

21 commonly speak in vague or innocuous phrases when speaking about firearms in order to attempt to

22 confuse law enforcement and avoid criminal liability for their illegal activity. Here, based on the context

23 of the information set out above, I believe the parties used the words, “something,” “shit,” and “stuff” to

24 refer to one or more firearms. I also know that it is very common for the same communities to use the

25 word “toy” to refer to a handgun, specifically. Furthermore, I know that the word “extra” is commonly

26 used in street gang circles to refer to a firearm that will yield more evidence if it is examined closely; for

27
              86
                  It should be noted that name as said by UM597 sounded closer to a name such as “Ayden.” However, given the
28
     totality of the circumstances, I believe it is clear that he was speaking about O.A.A., as O.A.A.’s middle name is “Adrian.”

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 1 example, if the firearm has been used in a homicide and its casings entered into a national database

 2 meant to identify the firearm if it is ever used again, an examination of the firearm from one criminal

 3 incident would yield “extra” evidence of other criminal activity. I also know that gang members

 4 commonly attempt to remove any of their fingerprints from firearms by wiping them after a firearm has

 5 been used in criminal activity. Finally, I know that contraband traffickers take special care to make sure

 6 that their vehicle registration is current, as this removes a way for law enforcement to conduct traffic

 7 stops on their vehicles and therefore impede their criminal activity. Based on my knowledge of the

 8 investigation, I know that O.A.A.’ middle name is “Adrian” and that he indicated during the traffic stop

 9 that this was the name he uses on a daily basis.

10          430.    Therefore, based on the context of the events set out above, I believe that UM597 had

11 been informed of O.A.A.’ arrest and was calling QUESADA to ask if QUESADA had given O.A.A. –

12 “Adrian” – a firearm. I believe that QUESADA acknowledged that he did. When UM597 indicated that

13 O.A.A. had been arrested and then booked into jail, QUESADA indicated that he was worried because

14 the firearm had been used in criminal activity and would therefore yield “extra” evidence. I believe that

15 QUESADA also indicated that he had wiped the fingerprints off of the firearm before giving it to

16 O.A.A., and that he also had other firearms which he needed to hide, given the fact that this firearm had

17 been brought to the attention of law enforcement. Finally, I believe that QUESADA indicated that he

18 had questioned O.A.A. to make sure that his vehicle’s “tags,” (i.e. registration tags) were current so that

19 ARIAS could not be pulled over.

20          431.    When I reviewed QUESADA’s criminal history, I observed that he has been convicted of

21 several felonies, including a 1994 conviction for California Penal Code § 12021(a) – felon in possession

22 of a firearm, 1999 convictions for California Penal Code § 246 – Shooting into an inhabited dwelling

23 and California Penal Code § 245(a)(2) – assault with a firearm upon a person, and a 2001 conviction for

24 California Penal Code § 459 – burglary.

25          432.    Therefore, I believe that on May 31, 2025, QUESADA, a convicted felon, illegally

26 possessed and distributed a firearm which had travelled in interstate commerce to Osbaldo O.A.A., a

27 violation of 18 U.SC. § 922(g)(1).

28

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 1                                          III.      CONCLUSION

 2          433.   Based on the totality of facts set forth in this affidavit, I believe there is probable cause to

 3 believe that the defendants committed the violations as described above.

 4          434.   I respectfully request the issuance of arrest warrants for individuals listed above.

 5          I declare under penalty of perjury that the facts contained herein are true and correct to the best

 6 of my knowledge and belief.

 7                                                         _______________________________________
                                                           Ryan Steger, Special Agent
 8                                                         Federal Bureau of Investigation
 9

10 Attested to by the applicant in accordance with
   the requirements of Fed.R.Crim.P. 41.1, by internet/
11 telephone this ____
                  23rd day of June, 2025.

12

13

14 The Honorable Stanley A. Boone
   United States Magistrate Judge
15

16
     Approved as to form and substance:
17
   /s/ Antonio J. Pataca
18 Antonio J. Pataca
   Assistant United States Attorney
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                             PENALTY SLIP


COUNT 1:             IGNACIO SANCHEZ,
                         AKA “GIDDY”;
                     BENNY GONZALES,
                         AKA “HUERO”;
                     RAMONA FELISCIANO;
                     JENNIFER ESCOBEDO;
                     ARMANDO ALFARO,
                         AKA “WHISPER”;
                     LUIS AMARO AGUILAR;
                     CARLY BALBOA;
                     TIMOTHY CHENOT,
                         AKA “LIL WHISPER”;
                     BARBARA DIAZ;
                     SUSANNA GARCIA;
                     AXEL GUEVARA,
                         AKA “ACTION”;
                     CARLOS GUILLEN,
                         AKA “C-DOG”;
                     GILBERTO HERNANDEZ;
                     ANTHONY JEFF;
                         AKA “ENVY”;
                     VICTORIA LIMA;
                     ANGEL SOLORIO LOPEZ,
                         AKA “RONZO”;
                     RICARDO LOPEZ,
                         AKA “R-DOG”;
                     DAMIEN MURPHY;
                     BRIDGETT MURPHY;
                     RICARDO NUNEZ;
                     LAURA PLASENCIA,
                         AKA “LP”;
                     GRACIE PULIDO;
                     DANIEL LOUBET ROMERO,
                         AKA “TOPO”;
                     DEBBIE SANCHEZ;
                     NAUL SANDOVAL;
                     ANGEL SOTO RIOS;
                     RODRIGO RUVALCABA,
                         AKA “REGAL”;
                     VICTOR TAMAYO;
                     LOUIS BONILLA; and
                     CRYSTAL MARTINEZ
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VIOLATION:           Conspiracy to Distribute and Possess with
                     Intent to Distribute Methamphetamine in violation of 21
                     U.S.C. §§ 846, 841(a)(1)

PENALTY:             Mandatory minimum of 10 years in prison and up to life; or
                     Fine of up to $10,000,000; or both fine and imprisonment
                     Supervised release of at least 5 years and up to life
                     $100 Special Assessment (mandatory on each count)


COUNT 2:             RAY PINON, AKA “LIL RAY”


VIOLATION:           Distribution and Possession with Intent to Distribute
                     Methamphetamine in violation of 21 U.S.C. § 841(a)(1)


PENALTY:             Mandatory minimum of 10 years in prison and up to life; or
                     Fine of up to $10,000,000; or both fine and imprisonment
                     Supervised release of at least 5 years and up to life
                     $100 Special Assessment (mandatory on each count)


COUNT 3:             RAY PINON, AKA “LIL RAY”
                     HEMIR ALONSO FEVELA VELAZQUEZ;

VIOLATION:           Distribution and Possession with Intent to Distribute
                     Methamphetamine in violation of 21 U.S.C. § 841(a)(1)

PENALTY:             Mandatory minimum of 10 years in prison and up to life; or
                     Fine of up to $10,000,000; or both fine and imprisonment
                     Supervised release of at least 5 years and up to life
                     $100 Special Assessment (mandatory on each count)


COUNT 4:             CARLOS GUILLEN,
                        AKA “C-DOG”;

VIOLATION:           Conspiracy to Traffic in Firearms in violation of 18 U.S.C. §
                     933(a)(1), (2), and (3)

PENALTIES:           Maximum of 15 years in prison,
                     A fine of up to $250,000 fine, or both,
                     A term of Supervised Release of up to three years
                     $100 Special Assessment (mandatory on each count)
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COUNT 5:             HERMAN VIERA JR.

VIOLATION:           Felon in Possession of a Firearm in violation of 18 U.S.C. §
                     922(g)(1)

PENALTIES:           Maximum of 15 years in prison,
                     A fine of up to $250,000 fine, or both,
                     A term of Supervised Release of up to three years
                     $100 Special Assessment (mandatory on each count)

COUNT 6:             SERVANDO AYALA;
                     JOSE LICEA;
                         AKA “T-BIRD”;
                     ALEXANDER VASQUEZ,
                         AKA “A-DOG”;
                     BRIAN FORNES

VIOLATION:           Conspiracy to Deal Firearms Without a License in violation of
                     18 U.S.C. §§ 371 and 922(a)(1)

PENALTIES:           Maximum of 5 years in prison,
                     A fine of up to $250,000 fine, or both,
                     A term of Supervised Release of up to three years
                     $100 Special Assessment (mandatory on each count)

COUNT 7:             ALEXANDER VASQUEZ,
                         AKA “A-DOG”;
                     BRIAN FORNES

VIOLATION:           Conspiracy to Traffic in Firearms in violation of 18 U.S.C. §
                     933(a)(1), (2), and (3)

PENALTIES:           Maximum of 15 years in prison,
                     A fine of up to $250,000 fine, or both,
                     A term of Supervised Release of up to three years
                     $100 Special Assessment (mandatory on each count)

COUNT 8:             JESUS QUESADA, AKA “ROJO”.

VIOLATION:           Felon in Possession of a Firearm in violation of 18 U.S.C. §
                     922(g)(1)

PENALTIES:           Maximum of 15 years in prison,
                     A fine of up to $250,000 fine, or both,
                     A term of Supervised Release of up to three years
                     $100 Special Assessment (mandatory on each count)
